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                            FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

          APACHE STRONGHOLD, a                     No. 21-15295
          501(c)(3) nonprofit organization,
                                                      D.C. No.
                        Plaintiff-Appellant,       2:21-cv-00050-
                                                        SPL
           v.

          UNITED STATES OF AMERICA;                ORDER AND
          THOMAS J. VILSACK, Secretary,             AMENDED
          U.S. Department of Agriculture             OPINION
          (USDA); RANDY MOORE, Chief,
          USDA Forest Service; NEIL
          BOSWORTH, Supervisor, USDA
          Forest Service, Tonto National Forest;
          TOM TORRES, Acting Supervisor,
          USDA Forest Service, Tonto National
          Forest,

                      Defendants-Appellees,
          ______________________________

          RESOLUTION COPPER MINING,
          LLC,

                        Intervenor.
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                  Appeal from the United States District Court
                           for the District of Arizona
                  Steven Paul Logan, District Judge, Presiding

                Argued and Submitted En Banc March 21, 2023
                            Pasadena, California

                             Filed March 1, 2024
                            Amended May 14, 2024

           Before: Mary H. Murguia, Chief Judge, and Ronald M.
          Gould, Marsha S. Berzon, Carlos T. Bea, Mark J. Bennett,
            Ryan D. Nelson, Daniel P. Collins, Kenneth K. Lee,
            Danielle J. Forrest, Lawrence VanDyke and Salvador
                         Mendoza, Jr., Circuit Judges.

                                     Order;
                 Per Curiam Opinion; Opinion by Judge Collins;
              Partial Concurrence and Partial Dissent by Judge Bea;
                        Concurrence by Judge R. Nelson;
                        Concurrence by Judge VanDyke;
                        Dissent by Chief Judge Murguia;
                              Dissent by Judge Lee
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                                    SUMMARY *


              Religious Freedom Restoration Act / Free Exercise
                                  Clause

              The en banc court filed (1) an order denying a petition
          for rehearing en banc before the full court and amending
          Judge Collins’s opinion, and (2) Judge Collins’s amended
          opinion in a case in which the en banc court affirmed the
          district court’s order denying Apache Stronghold’s motion
          for a preliminary injunction against the federal government’s
          transfer of Oak Flat—federally owned land within the Tonto
          National Forest—to a private company, Resolution
          Copper.
              Oak Flat is a site of great spiritual value to the Western
          Apache Indians and also sits atop the world’s third-largest
          deposit of copper ore. To take advantage of that deposit,
          Congress by statute—the Land Transfer Act—directed the
          federal government to transfer the land to Resolution
          Copper, which would then mine the ore.
              Apache Stronghold, an organization that represents the
          interests of certain members of the San Carlos Apache Tribe,
          sued the government, seeking an injunction against the land
          transfer on the ground that the transfer would violate its
          members’ rights under the Free Exercise Clause of the First
          Amendment, the Religious Freedom Restoration Act
          (“RFRA”), and an 1852 treaty between the United States and
          the Apaches.


          *
           This summary constitutes no part of the opinion of the court. It has
          been prepared by court staff for the convenience of the reader.
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              The per curiam opinion provides an overview of the
          votes of the en banc court:
              •   A majority of the en banc court (Chief Judge
                  Murguia, and Judges Gould, Berzon, R. Nelson, Lee
                  and Mendoza) concluded that (1) the Religious Land
                  Use and Institutionalized Persons Act of 2000
                  (“RLUIPA”), and RFRA are interpreted uniformly;
                  and (2) preventing access to religious exercise is an
                  example of substantial burden. A majority of the en
                  banc court therefore overruled the narrow definition
                  of substantial burden under RFRA in Navajo Nation
                  v. U.S. Forest Service, 535 F.3d 1058 (9th Cir. 2008)
                  (en banc).
              •   A different majority of the en banc court (Judges
                  Bea, Bennett, R. Nelson, Collins, Forrest, and
                  VanDyke) concluded that (1) RFRA subsumed,
                  rather than overrode, the outer limits that Lyng v.
                  Northwest Indian Cemetery Protective Ass’n, 485
                  U.S. 439 (1988), placed on what counts as a
                  governmental imposition of a substantial burden on
                  religious exercise; and (2) under Lyng, a disposition
                  of government real property does not impose a
                  substantial burden on religious exercise when it has
                  “no tendency to coerce individuals into acting
                  contrary to their religious beliefs,” does not
                  “discriminate” against religious adherents, does not
                  “penalize” them, and does not deny them “an equal
                  share of the rights, benefits, and privileges enjoyed
                  by other citizens.” Apache Stronghold’s claims
                  under the Free Exercise Clause and RFRA failed
                  under these Lyng-based standards and the claims
                  based on the 1852 treaty failed for separate reasons.
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              In his amended opinion for the court, Judge Collins,
          joined by Judges Bea, Bennett, R. Nelson, Forrest, and
          VanDyke, held that Apache Stronghold was unlikely to
          succeed on the merits on any of its three claims before the
          court, and consequently was not entitled to preliminary
          injunctive relief.
             •   Apache Stronghold’s claim that the transfer of Oak
                 Flat to Resolution Copper would violate the Free
                 Exercise Clause failed under the Supreme Court’s
                 controlling decision in Lyng because the project
                 challenged here is indistinguishable from that in
                 Lyng. As in Lyng, the government’s actions with
                 respect to “publicly owned land” would “interfere
                 significantly with private persons’ ability to pursue
                 spiritual fulfillment according to their religious
                 beliefs,” but it would have no “tendency to coerce”
                 them “into acting contrary to their religious
                 beliefs.” Also, as in Lyng, the challenged transfer of
                 Oak Flat for mining operations did not discriminate
                 against Apache Stronghold’s members, did not
                 penalize them, or deny them an “equal share of the
                 rights, benefits, and privileges enjoyed by other
                 citizens.”
             •   Apache Stronghold’s claim that the transfer of Oak
                 Flat to Resolution Cooper would violate RFRA
                 failed for the same reasons because what counts as
                 “substantially burden[ing] a person’s exercise of
                 religion” must be understood as subsuming, rather
                 than abrogating, the holding of Lyng.
             •   Apache Stronghold’s claim that the 1852 Treaty of
                 Sante Fe created an enforceable trust obligation that
                 would be violated by the transfer of Oak Flat failed
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                 because the government’s statutory obligation to
                 transfer Oak Flat abrogated any contrary treaty
                 obligation.
              Concurring in part and dissenting in part, Judge Bea,
          joined by Judge Forrest except for footnote 1 and by Judge
          Bennett with respect to Part II, dissented from paragraph one
          of the per curiam opinion’s purported overruling of Navajo
          Nation because a majority of the panel already affirmed the
          district court, under the different rationale in Judge Collins’s
          majority opinion, the district court’s finding that the transfer
          of Oak Flat will impose no substantial burden under
          RFRA. He concurred in full with Judge Collins’s majority
          opinion, and wrote separately to provide additional reasons
          in support of the conclusion that Apache Stronghold cannot
          obtain relief under RFRA.
              Concurring, Judge R. Nelson stated that en banc review
          was warranted to correct the faulty legal test (not outcome)
          in Navajo Nation. He explained that since Navajo Nation
          was decided, it has become clear that “substantial burden”
          means more in RLUIPA than the narrow definition Navajo
          Nation gave it under RFRA, and a majority of the en banc
          court now rejects the narrow construction of “substantial
          burden” in Navajo Nation. While the dissent raises a
          plausible textual interpretation of “substantial burden” under
          RFRA, Judge R. Nelson ultimately disagrees with
          it. Because RFRA does not overrule the Supreme Court’s
          binding precedent in Lyng, Apache Stronghold has no viable
          RFRA claim.
              Concurring, Judge VanDyke agreed with the majority
          that this decision is controlled by Lyng, and wrote separately
          to elaborate on why the alleged “burden” in this case is not
          cognizable under RFRA and to explain why reinterpreting
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          RFRA to impose affirmative obligations on the government
          to guarantee its own property for religious use would
          inevitably result in religious discrimination.
              Dissenting, Chief Judge Murguia, joined by Judges
          Gould, Berzon, and Mendoza, and by Judge Lee as to all but
          Part II.H, wrote that the utter destruction of Oak Flat, a site
          sacred to the Western Apaches since time immemorial, is a
          “substantial burden” on the Apaches’ sincere religious
          exercise under RFRA. Navajo Nation wrongly defined
          “substantial burden” as a narrow term of art and foreclosed
          relief. In light of the plain meaning of “substantial burden,”
          RFRA prohibits government action that “oppresses” or
          “restricts” “any exercise of religion, whether or not
          compelled by, or central to, a system of religious belief,” to
          a “considerable amount,” unless the government can
          demonstrate that imposition of the burden is in furtherance
          of a compelling governmental interest and the least
          restrictive means of furthering that compelling
          governmental interest. Chief Judge Murguia would hold
          that Apache Stronghold has shown that it is likely to succeed
          on the merits of its RFRA claim, and would remand for the
          district court to determine whether the Land Transfer Act is
          justified by a compelling interest pursued through the least
          restrictive means. Finally, Chief Judge Murguia rejected the
          government’s eleventh-hour argument that RFRA does not
          apply to the Land Transfer Act.
              Dissenting, Judge Lee joined all of Chief Judge
          Murguia’s dissent except for Section II.H because the
          government waived the argument that RFRA cannot apply
          to the Land Transfer Act.
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          Additional Mennonite Organizations.



                                   ORDER

              The slip opinion filed on March 1, 2024 is amended as
          follows:

              1) On page 33, after “(quoting Lyng, 485 U.S. at 451).”,
          delete the remainder of the paragraph through and including
          “neutral and generally applicable.” Immediately after that
          shortened paragraph, add the following new paragraph:
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                     But the Court has not said, and could not
                 have said, that the holding of Lyng rested on
                 the view that Lyng was itself a case involving
                 a neutral and generally applicable law. As we
                 have set forth, Lyng rested on a holding about
                 the scope of the term “prohibiting” under the
                 Free Exercise Clause and never mentioned or
                 endorsed a Smith-style rule. At most, the
                 Court has suggested in dicta that Lyng fits a
                 pattern of cases in which the Court had
                 upheld laws that were “neutral and generally
                 applicable without regard to religion” in the
                 sense that they did not “‘penalize religious
                 activity by denying any person an equal share
                 of the rights, benefits, and privileges enjoyed
                 by other citizens.’” Trinity Lutheran Church
                 of Columbia, Inc. v. Comer, 582 U.S. 449,
                 460 (2017) (quoting Lyng, 485 U.S. at 449).
                 But Trinity Lutheran did not have before it
                 the more focused question whether, in light
                 of the parcel-specific rigging of the statutory
                 framework in Lyng, the underlying statute at
                 issue in Lyng could be properly deemed to
                 qualify as “neutral and generally applicable”
                 under the details of Smith’s framework. As
                 we have explained, Lyng involved a situation
                 in which, after religious objections had been
                 raised to the G-O road and the road’s
                 construction had been enjoined, Congress
                 proceeded to adopt an explicit statutory
                 gerrymander for the precise parcel at issue.
                 See supra at 27–28. That manifestly would
                 not fit the Court’s current understanding of a
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                 case involving a neutral and generally
                 applicable law. See, e.g., Church of the
                 Lukumi, 508 U.S. at 542 (emphasizing that
                 “categories of selection” in legislative
                 drafting “are of paramount concern when a
                 law has the incidental effect of burdening
                 religious practice”). In all events, even if the
                 law in Lyng were deemed, in hindsight, to be
                 neutral and generally applicable within the
                 meaning of Smith, the fact remains that the
                 holding of Lyng did not rest on any such
                 premise, but instead on the view that the
                 challenged actions there lacked the sort of
                 features that would qualify as “prohibiting”
                 the free exercise of religion.

              2) On page 43, in the sentence that begins
          “Consequently,” add “pre-Smith” immediately before
          “framework for applying”.

              An amended version of the opinion, reflecting these
          changes, accompanies this order. The per curiam opinion,
          the concurrences, and the dissents are unchanged. The full
          court has been advised of the petition for rehearing en banc
          before the full court filed on April 15, 2024 (Dkt. No. 184),
          and no judge of the court has requested a vote on whether to
          rehear the matter en banc. Fed. R. App. P. 35; Ninth Circuit
          General Order 5.8. Accordingly, the petition for rehearing
          en banc before the full court is DENIED. No further
          petitions for rehearing will be entertained.
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                                    OPINION

          PER CURIAM:

              A majority of the en banc court (Chief Judge MURGUIA
          and Judges GOULD, BERZON, R. NELSON, LEE, and
          MENDOZA) concludes that (1) the Religious Land Use and
          Institutionalized Persons Act of 2000 (“RLUIPA”), 42
          U.S.C. § 2000cc, et seq., and the Religious Freedom
          Restoration Act (“RFRA”), 42 U.S.C. § 2000bb, et seq., are
          interpreted uniformly; and (2) preventing access to religious
          exercise is an example of substantial burden. A majority of
          the en banc court therefore overrules Navajo Nation v. U.S.
          Forest Service to the extent that it defined a “substantial
          burden” under RFRA as “imposed only when individuals are
          forced to choose between following the tenets of their
          religion and receiving a governmental benefit (Sherbert) or
          coerced to act contrary to their religious beliefs by the threat
          of civil or criminal sanctions (Yoder).” 535 F.3d 1058 (9th
          Cir. 2008) (emphasis added).
              A different majority (Judges BEA, BENNETT, R.
          NELSON, COLLINS, FORREST, and VANDYKE)
          concludes that (1) RFRA subsumes, rather than overrides,
          the outer limits that the Supreme Court’s decision in Lyng v.
          Northwest Indian Cemetery Protective Ass’n, 485 U.S. 439
          (1988), places on what counts as a governmental imposition
          of a substantial burden on religious exercise; and (2) under
          Lyng, a disposition of government real property does not
          impose a substantial burden on religious exercise when it has
          “no tendency to coerce individuals into acting contrary to
          their religious beliefs,” does not “discriminate” against
          religious adherents, does not “penalize” them, and does not
          deny them “an equal share of the rights, benefits, and
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          privileges enjoyed by other citizens.” Lyng, 485 U.S. at
          449–50, 453. The same majority holds that Apache
          Stronghold’s claims under the Free Exercise Clause and
          RFRA fail under these Lyng-based standards and that the
          claims based on the 1852 Treaty fail for separate reasons.
              We therefore AFFIRM the district court’s order denying
          the motion for a preliminary injunction.
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          COLLINS, Circuit Judge, delivered the following opinion
          for the court, in which BEA, BENNETT, R. NELSON,
          FORREST, and VANDYKE, Circuit Judges, join:

              Oak Flat, an area located on federally owned land within
          Tonto National Forest, is a site of great spiritual value to the
          Western Apache Indians, who believe that it is indispensable
          to their religious worship. But Oak Flat also sits atop the
          world’s third-largest deposit of copper ore. To take
          advantage of that deposit, Congress by statute directed the
          federal Government to transfer the land to a private
          company, Resolution Copper, which would then mine the
          ore. Apache Stronghold, an organization that represents the
          interests of certain members of the San Carlos Apache Tribe,
          sued the Government, seeking an injunction against the land
          transfer on the ground that the transfer would violate its
          members’ rights under the Free Exercise Clause of the First
          Amendment, the Religious Freedom Restoration Act
          (“RFRA”), and an 1852 treaty between the United States and
          the Apaches. The district court denied Apache Stronghold’s
          request for a preliminary injunction on the ground that
          Apache Stronghold had not shown a likelihood of success on
          the merits. See Apache Stronghold v. United States, 519
          F. Supp. 3d 591, 598 (D. Ariz. 2021). We affirm.
                                         I
                                         A
              Apache Stronghold is an Arizona nonprofit corporation
          “based in the Western Apache lands of the San Carlos
          Apache Tribe.” It describes itself as “connecting Apaches
          and other Native and non-Native allies from all over the
          world.” Its declared mission is “to battle continued
          colonization, defend Holy sites and freedom of religion, and
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          . . . build[] a better community through neighborhood
          programs and civic engagement.” The San Carlos Apache
          Tribe of the San Carlos Reservation is a federally recognized
          Indian tribe located on the San Carlos Reservation, roughly
          100 miles east of Phoenix.
              Apache Stronghold’s members engage in traditional
          Western Apache religious practices. Among the locations
          that are central to their religion is a place called “Chí’chil
          Biłdagoteel,” which in English means “Emory Oak Extends
          on a Level.” That accounts for the site’s more common
          name, which is “Oak Flat.”             According to Apache
          Stronghold’s expert witness, Western Apache religious
          practices at Oak Flat date back at least a millennium. The
          Western Apache believe that Oak Flat is a “sacred place”
          that serves as a “direct corridor” to “speak to [their] creator.”
          Specifically, they believe that Oak Flat is the site where one
          of the “Ga’an”—spirit messengers between the Western
          Apache and their Creator—“has made its imprint, its spirit.”
          The Western Apache believe that the Ga’an, and the Western
          Apaches’ interaction with the Ga’an, constitute “a crucial
          part” of their “personal being,” and that Oak Flat thus
          provides them “a unique way . . . to communicate” with their
          Creator.
              Members of the tribe report that they “cannot have this
          spiritual connection with the land anywhere else on Earth.”
          Oak Flat is “the only area” with these unique features,
          making it “crucial” to Western Apache religious life. As one
          example, members of the tribe stated that certain Western
          Apache religious practices must occur at Oak Flat and
          cannot take place anywhere else. And even among those
          religious practices that need not necessarily occur at Oak
          Flat, some trace their origins to practices that were first
          begun there. One such practice is the “Sunrise Ceremony,”
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          a rite of passage for Western Apache girls to recognize “the
          gift of life and the bearing of children to the female.” The
          Western Apache believe that “the place the ceremony takes
          place is the life thread forever connecting the place and the
          girls who have their ceremony there.” One member testified
          that “the most important part about” the Sunrise Ceremony
          “is that everything that we are able to use for the ceremony
          comes from Chí’chil Biłdagoteel, Oak Flat.” Accordingly,
          in Western Apache religious belief, harms to Oak Flat work
          a corresponding spiritual harm to those who performed their
          Sunrise Ceremonies there, damaging their “life and their
          connection to their rebirth.”
                                        B
               In addition to being a sacred site for the Western Apache,
          Oak Flat is also a place of considerable economic
          significance. Located near the “Copper Triangle,” Oak Flat
          sits atop the third-largest known copper deposit in the world.
          Roughly 4,500 to 7,000 feet beneath Oak Flat is an ore
          deposit containing approximately two billion tons of “copper
          resource.” The U.S. Forest Service estimates that, if mined,
          this deposit could yield around “40 billion pounds of
          copper.” For that reason, there has long been considerable
          interest among mining companies in gaining access to the
          Oak Flat deposit.
              Believing the copper beneath Oak Flat to be a significant
          asset, various members of Arizona’s congressional
          delegation drafted legislation to compel the Government to
          transfer Oak Flat and its surroundings to Resolution Copper,
          a private mining company. Such legislation was introduced
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          in each Congress from 2005 through 2014. 1 Although these
          bills were the subject of numerous hearings and other
          congressional action over the years, 2 these legislative efforts

          1
           See, e.g., Southeast Arizona Land Exchange and Conservation Act of
          2005, H.R. 2618, 109th Cong. (2005); Southeast Arizona Land Exchange
          and Conservation Act of 2005, S. 1122, 109th Cong. (2005); Southeast
          Arizona Land Exchange and Conservation Act of 2006, H.R. 6373, 109th
          Cong. (2006); Southeast Arizona Land Exchange and Conservation Act
          of 2006, S. 2466, 109th Cong. (2006); Southeast Arizona Land Exchange
          and Conservation Act of 2007, H.R. 3301, 110th Cong. (2007); Southeast
          Arizona Land Exchange and Conservation Act of 2007, S. 1862, 110th
          Cong. (2007); Southeast Arizona Land Exchange and Conservation Act
          of 2008, S. 3157, 110th Cong. (2008); Southeast Arizona Land Exchange
          and Conservation Act of 2009, H.R. 2509, 111th Cong. (2009); Southeast
          Arizona Land Exchange and Conservation Act of 2009, S. 409, 111th
          Cong. (2009); Southeast Arizona Land Exchange and Conservation Act
          of 2011, H.R. 1904, 112th Cong. (2011); Southeast Arizona Land
          Exchange and Conservation Act of 2013, H.R. 687, 113th Cong. (2013);
          Southeast Arizona Land Exchange and Conservation Act of 2013, S. 339,
          113th Cong. (2013).
          2
            A House subcommittee held a hearing on H.R. 3301 in the 110th
          Congress, but no further action was taken on that bill. See H.R. 3301,
          Southeast Arizona Land Exchange and Conservation Act of 2007:
          Hearing Before the Subcomm. on Nat’l Parks, Forests, & Pub. Lands of
          the H. Comm. on Nat. Res., SERIAL NO. 110-52 (Nov. 1, 2007). In the
          111th Congress, a Senate subcommittee held a hearing on S. 409 on June
          17, 2009, and that bill was subsequently reported on March 2, 2010 to
          the Senate floor, where no further action was taken. See Public Lands
          and Forests Bills: Hearing Before the Subcomm. on Pub. Lands &
          Forests of the S. Comm. on Energy & Nat. Res., S. HRG. NO. 111-65
          (June 17, 2009); S. REP. NO. 111-129 (March 2, 2010). In the 112th
          Congress, H.R. 1904 was considered at a June 14, 2011 House
          subcommittee hearing, reported out of committee on October 14, 2011,
          and passed by the full House on October 26, 2011. See H.R. 473, et al.:
          Hearing Before the Subcomm. on Nat’l Parks, Forests, & Pub. Lands of
          the H. Comm. on Nat. Res., SERIAL NO. 112-40 (June 14, 2011); H.R.
          REP. NO. 112-246 (Oct. 14, 2011); 157 CONG. REC. H7090–110 (Oct.
          26, 2011). A Senate committee then held a hearing on H.R. 1904 on Feb.
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          did not bear fruit until late 2014, when Congress passed, and
          the President signed, the Carl Levin and Howard P. “Buck”
          McKeon National Defense Authorization Act for Fiscal
          Year 2015 (“NDAA”). See Pub. L. No. 113-291, 128 Stat.
          3292 (2014). Included as § 3003 of the NDAA was a version
          of the previously oft-proposed “Southeast Arizona Land
          Exchange and Conservation Act.” 3 Id. § 3003, 128 Stat. at
          3732–41 (classified to § 539p of the unenacted title 16 of the
          United States Code).
              Section 3003’s declared purpose is “to authorize, direct,
          facilitate, and expedite the exchange of land between
          Resolution Copper and the United States.” 16 U.S.C.
          § 539p(a). To that end, it directs that “if Resolution Copper
          offers to convey to the United States all right, title, and
          interest of Resolution Copper” in certain “non-Federal land,”
          then “the Secretary [of Agriculture] is authorized and
          directed to convey to Resolution Copper, all right, title, and
          interest of the United States in and to the Federal land.” Id.

          9, 2012. See Resolution Copper: Hearing Before the S. Comm. on
          Energy & Nat. Res., S. HRG. NO. 112-486 (Feb. 9, 2012). In 2013, both
          House and Senate subcommittees held further hearings in the 113th
          Congress on the respective versions of the legislation, and the House bill
          was reported to the House floor on July 22, 2013. See Oversight Hearing
          Titled “America’s Mineral Resources: Creating Mining and
          Manufacturing Jobs and Securing America”: Hearing on H.R. 1063, et
          al., Before the Subcomm. on Energy & Mineral Res. of the H. Comm. on
          Nat. Res., SERIAL NO. 113-7 (March 21, 2013); Current Public Lands,
          Forests, and Mining Bills: Hearing Before the Subcomm. on Pub. Lands,
          Forests, & Mining of the S. Comm. on Energy & Nat. Res., S. HRG. NO.
          113-342 (November 20, 2013); H.R. REP. NO. 113-167 (July 22, 2013).
          3
            Apache Stronghold derides § 3003 as a “midnight” rider attached to a
          “must-pass” bill, but that characterization ignores the extensive hearings
          and congressional consideration given to the land transfer proposal over
          the previous seven years. See supra note 2.
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          § 539p(c)(1). The referenced “Federal land” consists of
          “approximately 2,422 acres of land located in Pinal County,
          Arizona,” including Oak Flat and the surrounding area. Id.
          § 539p(b)(2); see U.S. Forest Service, Resolution Copper
          Project & Land Exchange, Map of Land Exchange Parcels,
          (2015), https://www.resolutionmineeis.us/documents/usfs-
          resolution-land-exchange-parcels-2016
          [https://perma.cc/JEC7-GUC4].
              The land exchange is subject to certain conditions. For
          example, title to the land the Government would receive
          from Resolution Copper must be in a form that is acceptable
          to the Secretaries of Agriculture and the Interior, and must
          conform to the Department of Justice’s “title approval
          standards.” 16 U.S.C. § 539p(c)(2)(A), (B). The federal and
          non-federal land must be independently appraised, id.
          § 539p(c)(4), and the value of the exchanged land equalized
          as set forth in the statute, id. § 539p(c)(5). Other provisions
          of § 3003 provide direction concerning ancillary matters
          related to the exchange. E.g., id. § 539p(i).
              In recognition of the Western Apaches’ religious beliefs,
          Congress incorporated an accommodation provision into
          § 3003. That provision directs the Secretary of Agriculture
          to “engage in government-to-government consultation with
          affected Indian tribes” to address concerns “related to the
          land exchange.” 16 U.S.C. § 539p(c)(3)(A). Further, the
          statute obligates the Secretary to work with Resolution
          Copper to address those concerns and to mitigate any
          possible “adverse effects on the affected Indian tribes.” Id.
          § 539p(c)(3)(B). The statute also requires Resolution
          Copper to keep Oak Flat accessible to the public for as long
          as safely possible, id. § 539p(i)(3), and Congress explicitly
          set aside another religiously significant area, Apache Leap,
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          in order to “preserve [its] natural character” and “allow for
          traditional uses of the area.” Id. § 539p(g)(2).
              Lastly, Congress expressly stated that the land exchange
          would generally be governed by the National Environmental
          Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq. Thus,
          § 3003 requires that an environmental impact statement
          (“EIS”) be prepared under NEPA prior to the Secretary
          executing the land exchange. 16 U.S.C. § 539p(c)(9)(B).
          Congress supplemented the ordinary NEPA requirements
          for such statements and required that the EIS for the land
          transfer also “assess the effects of the mining” on “cultural
          and archaeological resources” in the area and “identify
          measures . . . to minimize potential adverse impacts on those
          resources.” Id. § 539p(c)(9)(C). The EIS was then to form
          “the basis for all decisions under Federal law related to the
          proposed mine,” such as “the granting of any permits, rights-
          of-way,” and construction approvals. Id. § 539p(c)(9)(B).
              The statute commands that the land transfer take place
          “[n]ot later than 60 days after” the publication of the EIS.
          16 U.S.C. § 539p(c)(10). Nowhere in § 3003 does Congress
          confer on the Government discretion to halt the transfer. The
          statute mandates that the Government secure an appraisal of
          the land, id. § 539p(c)(4)(A); that it prepare the EIS, id.
          § 539p(c)(9)(B); and that it then transfer the land, id.
          § 539p(c)(10).       Although Resolution Copper could
          theoretically prevent the transfer by refusing “to convey to
          the United States all right, title, and interest . . . in and to the
          non-Federal land,” id. § 539p(c)(1), no corresponding
          authority exists for the Government.
              Once the land transfer takes place, Resolution Copper
          plans to extract the ore by using “panel caving,” a technique
          that entails digging a “network of shafts and tunnels below
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          the ore body.” Resolution Copper will then detonate
          explosives to fracture the ore, which will “move[]
          downward” as a result. That, in turn, will cause the ground
          above to begin to collapse inward. Over the next 41 years,
          Resolution Copper will remove progressively more ore from
          below Oak Flat, causing the surface geography to become
          increasingly distorted. The resulting subsidence will create
          a large surface crater, which the Forest Service estimates will
          span approximately 1.8 miles in diameter and involve a
          depression between 800 and 1,115 feet deep.
              This collapse will not occur immediately upon transfer
          of the land.      Even once Resolution Copper begins
          construction on the mine, it will be as much as six years
          before the mining facilities will be operational. And during
          that time, Resolution Copper is required by the terms of
          § 3003 to keep Oak Flat accessible to “members of the
          public, including Indian tribes, to the maximum extent
          practicable, consistent with health and safety requirements.”
          16 U.S.C. § 539p(i)(3). Even so, the Government conceded
          at argument that “the access will end before subsidence
          occurs, because it wouldn’t be safe to have people accessing
          the land when it could subside.” Once the mine is
          operational, the Forest Service estimates that it will produce
          ore for at least 40 years before closure and reclamation
          activities commence to decommission the mine.
                                        C
              On January 4, 2021, the Forest Service announced that
          the EIS for the land transfer would be published in 11 days,
          on January 15. That publication would trigger the 60-day
          window for the federal Government to transfer title to the
          land. 16 U.S.C. § 539p(c)(10). Seeking to halt the transfer,
          Apache Stronghold sued the federal Government and its
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          relevant officials on January 12, requesting declaratory
          relief, “a permanent injunction prohibiting” the “Land
          Exchange Mandate,” and ancillary fees and costs. Three
          days later, on January 15, the Government released the EIS
          as planned.
              Apache Stronghold asserted several different claims in
          support of its prayer for relief. First, it alleged that the
          Government provided too little advance notice of the
          publication of the EIS, thereby infringing Apache
          Stronghold’s members’ rights under the Due Process Clause
          and under the Petition Clause of the First Amendment. Next,
          Apache Stronghold alleged that the land transfer would
          violate its members’ rights under the 1852 Treaty of Sante
          Fe. As this treaty-based claim has been described by Apache
          Stronghold in this court, the 1852 treaty assertedly imposed
          fiduciary trust obligations on the Government to “protect the
          traditional uses of ancestral lands,” even if the Government
          “has formal title to the land.” The transfer would allegedly
          violate the treaty—and this corresponding federal trust
          obligation—because it would “allow total destruction” of the
          property and prevent the Western Apache from conducting
          their traditional religious practices.
              Apache Stronghold also argued that the transfer would
          violate its members’ rights under the Free Exercise Clause
          of the First Amendment and under RFRA. With respect to
          its Free Exercise Clause claim, Apache Stronghold argued
          that § 3003 was not a neutral law of general applicability and
          was therefore subject to strict scrutiny. See Church of the
          Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520,
          546 (1993). And, according to Apache Stronghold, the
          transfer was neither in support of a compelling governmental
          interest nor narrowly tailored to accomplish such an interest.
          As to RFRA, Apache Stronghold argued that the land
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          exchange “chills, burdens, inhibits, and destroys” the
          religious exercise of its members, thus substantially
          burdening their exercise of religion in violation of RFRA.
          As with the Free Exercise Clause claim, Apache
          Stronghold’s RFRA claim asserted that the transfer was not
          narrowly tailored to accomplish a compelling governmental
          interest. See 42 U.S.C. § 2000bb-1(b). Lastly, Apache
          Stronghold alleged that the federal Government
          intentionally discriminated against its members on account
          of their religion in violation of the Free Exercise Clause.
              Two days after filing suit, Apache Stronghold moved for
          a temporary restraining order (“TRO”) and preliminary
          injunction. Specifically, Apache Stronghold sought an order
          “preventing Defendants from publishing a Final
          Environmental Impact Statement . . . and from conveying
          the parcel(s) of land containing Oak Flat.”
              On January 14, 2021, the district court denied Apache
          Stronghold’s motion for a TRO. After conducting an
          evidentiary hearing on February 3, the district court denied
          the preliminary injunction motion on February 12. Because
          the district court concluded that Apache Stronghold had not
          demonstrated “a likelihood of success on, or serious
          questions going to, the merits” of its claims, the district court
          did not consider the remaining preliminary injunction
          factors. See Apache Stronghold, 519 F. Supp. 3d at 598,
          611. Apache Stronghold timely appealed.
              On March 1, 2021, during the pendency of this appeal,
          the Government withdrew its EIS for the land transfer and
          mine. It explained that “additional time is necessary to fully
          understand concerns raised by Tribes” and to “ensure[] the
          agency’s compliance with federal law.” To date, the
          Government has provided the court no concrete estimate of
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          when the EIS will be issued, except to pledge that it is not
          awaiting the decision in this case and to state that it will
          provide the court and Apache Stronghold at least 60 days’
          notice prior to issuing the EIS.
                                        II
              We have jurisdiction under 28 U.S.C. § 1292(a)(1). We
          review the district court’s refusal to issue a preliminary
          injunction for abuse of discretion. See AK Futures LLC v.
          Boyd Street Distro, LLC, 35 F.4th 682, 688 (9th Cir. 2022).
          We review the district court’s “underlying legal conclusions
          de novo” and its “factual findings for clear error.” Id.
              To show that it is entitled to a preliminary injunction,
          Apache Stronghold “must establish [1] that [it] is likely to
          succeed on the merits, [2] that [it] is likely to suffer
          irreparable harm in the absence of preliminary relief, [3] that
          the balance of equities tips in [its] favor, and [4] that an
          injunction is in the public interest.” Winter v. Natural Res.
          Def. Council, Inc., 555 U.S. 7, 20 (2008). The first factor—
          likelihood of success on the merits—is “the most important,”
          and “when a plaintiff has failed to show the likelihood of
          success on the merits, we need not consider the remaining
          three [factors].” Garcia v. Google, Inc., 786 F.3d 733, 740
          (9th Cir. 2015) (en banc) (citations and internal quotation
          marks omitted). In this court, Apache Stronghold only
          challenges the district court’s likelihood-of-success
          determination with respect to its claims under the Free
          Exercise Clause, RFRA, and the 1852 treaty. Because, as
          we shall explain, Apache Stronghold has no likelihood of
          success on any of those three claims, we have no occasion to
          address the remaining Winter factors.
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                                       III
              Apache Stronghold asserts that the transfer of Oak Flat
          from the Government to Resolution Copper would “violate
          the Free Exercise Clause.” This claim fails under the
          Supreme Court’s controlling decision in Lyng v. Northwest
          Indian Cemetery Protective Association, 485 U.S. 439
          (1988).
                                        A
              The dispute in Lyng arose from the Government’s long-
          running effort to build a road connecting the northwest
          California towns of Gasquet and Orleans (the “G-O road”).
          485 U.S. at 442. One of the final components of that project
          involved the construction of “a 6-mile paved segment
          through the Chimney Rock section of the Six Rivers
          National Forest,” a section that had “historically been used
          for religious purposes by Yurok, Karok, and Tolowa
          Indians.” Id. As part of its preparation of a final
          environmental impact statement concerning the completion
          of the road through Chimney Rock, the Forest Service
          “commissioned a study of the American Indian cultural and
          religious sites in the area.” Id. That study recommended
          against completion of the road, because “any of the available
          routes ‘would cause serious and irreparable damage to the
          sacred areas which are an integral and necessary part of the
          belief systems and lifeway of Northwest California Indian
          peoples.’” Id. (citation omitted). The Forest Service
          nonetheless decided to proceed with the construction of the
          road. Id. at 443. “At about the same time, the Forest Service
          adopted a management plan allowing for the harvesting of
          significant amounts of timber in this area of the forest.” Id.
              The Forest Service’s actions were promptly challenged
          in a federal lawsuit brought by “an Indian organization,
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          individual Indians,” the State of California, and others.
          Lyng, 485 U.S. at 443. The district court permanently
          enjoined both the timber management plan and the
          construction of the remaining section of the road, holding
          that these actions would infringe the rights of tribal members
          under the Free Exercise Clause as well as violate other
          provisions of federal law. Id. at 443–44. While the case was
          pending on appeal in this court, Congress intervened by
          enacting the California Wilderness Act of 1984, Pub. L. No.
          98-425, 98 Stat. 1619 (1984). See Lyng, 485 U.S. at 444.
          That statute designated much of the land governed by the
          Forest Service’s timber management plan as protected
          wilderness, thereby barring “commercial activities such as
          timber harvesting.” Id. However, the Act specifically
          “exempt[ed] a narrow strip of land, coinciding with the
          Forest Service’s proposed route for the remaining segment
          of the G-O road, from the wilderness designation.” Id. This
          was done precisely “to enable the completion of the
          Gasquet-Orleans Road project if the responsible authorities
          so decide.” Id. (quoting S. REP. NO. 98-582, at 29 (1984)).
          A panel of this court subsequently vacated the district court’s
          injunction to the extent that it had been mooted by the
          wilderness designations in the California Wilderness Act,
          but otherwise largely affirmed the district court. See
          Northwest Indian Cemetery Protective Ass’n v. Peterson,
          795 F.2d 688, 698 (9th Cir. 1986); see also Lyng, 485 U.S.
          at 444–45.
              The Supreme Court reversed. In addressing the Free
          Exercise Clause issue, which was a necessary component of
          the relief granted by the district court, the Court began by
          acknowledging that “[i]t is undisputed that the Indian
          [plaintiffs’] beliefs are sincere and that the Government’s
          proposed actions will have severe adverse effects on the
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          practice of their religion.” Lyng, 485 U.S. at 447. As the
          Court explained, it was undisputed that the “projects at issue
          in this case could have devastating effects on traditional
          Indian religious practices,” and the Court therefore accepted
          the premise that “the G-O road will virtually destroy the
          Indians’ ability to practice their religion.” Id. at 451
          (simplified); see also id. (acknowledging that the threat to
          the Indian plaintiffs’ “religious practices is extremely
          grave”). Despite these acknowledged severe impacts, the
          Court nonetheless held that the Government was not
          required to demonstrate a “compelling need” or otherwise to
          satisfy strict scrutiny. Id. at 447. That was true, the Court
          held, because the plaintiffs would not “be coerced by the
          Government’s action into violating their religious beliefs,”
          nor would that action “penalize religious activity by denying
          any person an equal share of the rights, benefits, and
          privileges enjoyed by other citizens.” Id. at 449.
              The Court held that the case was, in that respect,
          comparable to Bowen v. Roy, 476 U.S. 693 (1986), in which
          the Court rejected a Free Exercise challenge to a federal
          statute “that required the States to use Social Security
          numbers in administering certain welfare programs.” Lyng,
          485 U.S. at 448–49. The plaintiffs in Roy contended that the
          governmental assignment of a “numerical identifier” would
          seriously impede their ability to practice their religion by
          “rob[bing] the spirit of their daughter and prevent[ing] her
          from attaining greater spiritual power.”        Id. at 448
          (simplified) (quoting Roy, 476 U.S. at 696). Although the
          result would be a significant interference with the Roy
          plaintiffs’ religious beliefs, the Roy Court held that the
          challenged governmental action—the state and federal
          governments’ “internal” use of a Social Security number—
          nonetheless did not implicate the Free Exercise Clause. Id.
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          As the Court explained, “[t]he Free Exercise Clause simply
          cannot be understood to require the Government to conduct
          its own internal affairs in ways that comport with the
          religious beliefs of particular citizens.” Id. (quoting Roy,
          476 U.S. at 699). “The Free Exercise Clause affords an
          individual protection from certain forms of governmental
          compulsion; it does not afford an individual a right to dictate
          the conduct of the Government’s internal procedures.” Id.
          (quoting Roy, 476 U.S. at 700).
              The Lyng Court acknowledged that “[i]t is true that this
          Court has repeatedly held that indirect coercion or penalties
          on the free exercise of religion, not just outright prohibitions,
          are subject to scrutiny under the First Amendment.” 485
          U.S. at 450 (emphasis added). Such indirect coercion or
          penalties would include a denial of program benefits “based
          solely” on the claimant’s religious beliefs and practices, as
          well as any other denial of “an equal share of the rights,
          benefits, and privileges enjoyed by other citizens.” Id. at
          449–50. But the Court held that the Free Exercise Clause’s
          protection against government conduct “prohibiting” the
          free exercise of religion, see U.S. CONST. amend. I, does not
          protect against the “incidental effects of government
          programs, which may make it more difficult to practice
          certain religions but which have no tendency to coerce
          individuals into acting contrary to their religious beliefs.”
          Id. at 450; see also id. at 451 (noting that the “crucial word
          in the constitutional text is ‘prohibit’”).
              In light of these principles, the Court concluded, the
          claim in Lyng could not “meaningfully be distinguished”
          from that in Roy. Lyng, 485 U.S. at 449. Although the
          resulting effects on the religious practices of the Indian
          plaintiffs would “virtually destroy” their “ability to practice
          their religion,” those religious impacts nonetheless did not
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          implicate the Free Exercise Clause because the
          governmental actions that caused them had “no tendency to
          coerce individuals into acting contrary to their religious
          beliefs.” Id. at 450–51. Nor was this a situation in which
          the Government had “discriminate[d]” against the plaintiffs,
          as might be the case if Congress had passed “a law
          prohibiting the Indian [plaintiffs] from visiting the Chimney
          Rock area.” Id. at 453. According to the Court, the Indian
          plaintiffs sought, not “an equal share of the rights, benefits,
          and privileges enjoyed by other citizens,” but rather a
          “religious servitude” that would “divest the Government of
          its right to use what is, after all, its land.” Id. at 449, 452–
          53.
              The project challenged here is indistinguishable from
          that in Lyng. Here, just as in Lyng, the Government’s actions
          with respect to “publicly owned land” would “interfere
          significantly with private persons’ ability to pursue spiritual
          fulfillment according to their own religious beliefs,” but it
          would have “no tendency to coerce” them “into acting
          contrary to their religious beliefs.” 485 U.S. at 449–50. And
          just as with the land use decisions at issue in Lyng, the
          challenged transfer of Oak Flat for mining operations does
          not “discriminate” against Apache Stronghold’s members,
          “penalize” them, or deny them “an equal share of the rights,
          benefits, and privileges enjoyed by other citizens.” Id. at
          449, 453. Under Lyng, Apache Stronghold seeks, not
          freedom from governmental action “prohibiting the free
          exercise” of religion, see U.S. CONST. amend. I, but rather a
          “religious servitude” that would uniquely confer on tribal
          members “de facto beneficial ownership of [a] rather
          spacious tract[] of public property.” Lyng, 485 U.S. at 452–
          53. Under Lyng, Apache Stronghold’s Free Exercise Clause
          claim must be rejected.
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                                        B
              Apache     Stronghold’s     various    arguments      for
          distinguishing Lyng are all without merit.
              First, Apache Stronghold argues that Lyng is
          distinguishable because, in that case, the virtual destruction
          of the “Indians’ ability to practice their religion” was
          accomplished without actually destroying any “sites where
          specific rituals take place.” 485 U.S. at 451, 454. According
          to Apache Stronghold, Lyng’s holding is limited to cases
          involving only interference with “subjective” spiritual
          experiences and therefore does not apply to a case, such as
          this one, involving “physical destruction of a sacred site.”
          Although the dissent does not directly address the merits of
          Apache Stronghold’s Free Exercise Clause claim, see
          Dissent at 197, the dissent’s discussion of Lyng (undertaken
          in the context of analyzing RFRA) seeks to distinguish the
          case on the comparable ground that the project at issue there
          would not have precluded physical access to the relevant
          sacred sites, see Dissent at 220–26. These efforts to
          distinguish Lyng are refuted by Lyng itself.
              In Lyng, the State of California argued that Roy was
          distinguishable on the ground that it involved only
          interference with the plaintiffs’ “religious tenets from a
          subjective point of view,” whereas Lyng involved a
          “proposed road [that] will ‘physically destroy the
          environmental conditions and the privacy without which the
          religious practices cannot be conducted.’” 485 U.S. at 449
          (simplified) (emphasis added). The Court rejected this
          proffered subjective/physical distinction, expressly holding
          that there was no permissible basis to “say that the one form
          of incidental interference with an individual’s spiritual
          activities should be subjected to a different constitutional
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          analysis than the other.” Id. at 449–50. This holding
          requires rejection of Apache Stronghold’s analogous
          proffered distinction between interference with subjective
          experiences and physical destruction of the means of
          conducting spiritual exercises.
              The dissent contends that “Lyng did not specifically
          address government action that prevented religious
          exercise,” and that it therefore does not apply to a case, such
          as this one, in which the Government’s actions will
          physically destroy the site and thereby literally prevent its
          future use for religious purposes. See Dissent at 228–29
          (emphasis added). This effort to distinguish Lyng also fails,
          because, once again, it ultimately relies on too expansive a
          notion of what counts as “prohibiting” the free exercise of
          religion. We readily agree that “prevent” can often be
          synonymous with “prohibit,” see Prohibit, WEBSTER’S
          THIRD NEW INTERNATIONAL DICTIONARY 1813 (1981 ed.)
          (“WEBSTER’S THIRD”) (“to prevent from doing or
          accomplishing something”), and in that sense it is true that
          “prevent[ing] the plaintiff from participating in an activity
          motivated by a sincerely held religious belief” qualifies as
          prohibiting free exercise. Yellowbear v. Lampert, 741 F.3d
          48, 55 (10th Cir. 2014) (citing, inter alia, Lyng, 485 U.S. at
          450); see also Graham v. Comm’r, 822 F.2d 844, 850–51
          (9th Cir. 1987). But “prevent” also can have the broader
          sense of “frustrate,” “keep from happening,” or “hinder,”
          which is how the dissent uses the term here. See Prevent,
          WEBSTER’S THIRD, supra, at 1798. Lyng squarely rejected
          that broader notion of “prohibiting the free exercise” of
          religion:

                 The dissent begins by asserting that the
                 “constitutional guarantee we interpret today
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                 . . . is directed against any form of
                 government action that frustrates or inhibits
                 religious practice.”      The Constitution,
                 however, says no such thing. Rather, it
                 states: “Congress shall make no law . . .
                 prohibiting the free exercise [of religion].”

          485 U.S. at 456 (emphasis altered) (citations omitted).
              Thus, contrary to what the dissent posits, it is not enough
          under Lyng to show that the Government’s management of
          its own land and internal affairs will have the practical
          consequence of “preventing” a religious exercise. Indeed,
          Lyng explicitly rejected that broader notion of “prohibiting”
          religious exercise, concluding that it was foreclosed by Roy:

                 . . . Bowen v. Roy rejected a First Amendment
                 challenge to Government activities that the
                 religious objectors sincerely believed would
                 “‘rob the spirit’ of [their] daughter and
                 prevent her from attaining greater spiritual
                 power.”       The dissent now offers to
                 distinguish that case by saying that the
                 Government was acting there “in a purely
                 internal manner,” whereas land-use decisions
                 “are likely to have substantial external
                 effects.” Whatever the source or meaning of
                 the dissent’s distinction, it has no basis in
                 Roy. Robbing the spirit of a child, and
                 preventing her from attaining greater spiritual
                 power, is both a “substantial external effect”
                 and one that is remarkably similar to the
                 injury claimed by [the plaintiffs] in the case
                 before us today. The dissent’s reading of Roy
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                 would effectively overrule that decision,
                 without      providing      any compelling
                 justification for doing so.

          Lyng, 485 U.S. at 456 (emphasis added) (citations and
          further quotation marks omitted).
              Second, Apache Stronghold argues that Lyng is
          distinguishable because it involved application of a neutral
          and generally applicable law, inasmuch as “the road in Lyng
          was carried out pursuant to the California Wilderness Act of
          1984.” By contrast, according to Apache Stronghold, this
          case involves legislative action directed at “one ‘particular
          property,’” which is the antithesis of a “generally
          applicable” law. The dissent also endorses this ground for
          distinguishing Lyng, arguing that Lyng merely stands for the
          “proposition that the compelling interest test is
          ‘inapplicable’ to ‘across-the-board’ neutral laws.” See
          Dissent at 229 (citation omitted). Once again, Lyng itself
          refutes this ground for attempting to distinguish that
          decision.
              As Lyng itself makes clear, the California Wilderness
          Act was not a neutral and generally appliable law in the sense
          that Apache Stronghold posits, because it contained an
          express exemption for the “narrow strip of land” that exactly
          “coincid[ed] with the Forest Service’s proposed route for the
          remaining segment of the G-O road.” 485 U.S. at 444. Thus,
          contrary to what Apache Stronghold claims, the relevant
          provisions of the statute at issue in Lyng likewise involved
          legislative action directed at “one ‘particular property.’”
          Indeed, it was precisely this feature of the challenged actions
          in Lyng that the plaintiffs there sought to invoke as a ground
          for distinguishing Roy: whereas Roy involved the
          “mechanical” application of a general program requirement
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          for the welfare program at issue, Lyng involved “a case-by-
          case substantive determination as to how a particular unit of
          land will be managed.” 485 U.S. at 449. In rejecting this
          effort to distinguish Roy, the Lyng Court did not dispute that
          such a distinction existed as a factual matter between the two
          cases. Instead, the Court held that the distinction simply
          provided no grounds for distinguishing Roy. Id. at 449–50.
          That was true, the Court explained, because the central
          ingredient of a Free Exercise Claim—some “tendency to
          coerce individuals into acting contrary to their religious
          beliefs”—was absent in both cases. Id. at 450. 4
             The dissent claims that, even if the Lyng decision did not
          view itself as resting on a rule about neutral and generally
          applicable laws, Employment Division, Department of
          Human Resources of Oregon v. Smith, 494 U.S. 872 (1990),
          and other post-Smith decisions have read it that way. See

          4
            The dissent nonetheless insists that the Forest Service’s plan and the
          special legislative carve-out in Lyng—both of which were tailored for
          the specific property at issue—were “generally applicable” because
          “there was no indication” that they were “made because of, rather than
          in disregard of,” the religious interest in that particular property. See
          Dissent at 232–33 (emphasis added). This contention fails, because it
          mixes up the distinct issues of whether a particular law is “neutral” and
          whether it is “generally applicable.” Even if the plan and legislation at
          issue in Lyng were “neutral” in the limited sense that it was not their
          “object . . . to infringe upon or restrict practices because of their religious
          motivation,” Church of the Lukumi, 508 U.S. at 533 (emphasis added),
          they were plainly not “generally applicable” as that phrase is currently
          understood, given that they were directed at one particular property. See,
          e.g., International Church of the Foursquare Gospel v. City of San
          Leandro, 673 F.3d 1059, 1066 (9th Cir. 2011) (“In this case, while the
          zoning scheme itself may be facially neutral and generally applicable,
          the individualized assessment that the City made to determine that the
          Church’s rezoning and CUP request should be denied is not.” (emphasis
          added)).
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          Dissent at 229–31. That is not correct. All that the Court
          has stated is that Smith and its progeny “drew support for
          [Smith’s] neutral and generally applicable standard from
          cases involving internal government affairs,” such as Lyng.
          Fulton v. City of Philadelphia, 593 U.S. 522, 536 (2021)
          (emphasis added). Thus, in Smith, the Court stated that its
          core holding—i.e., that strict scrutiny does not apply to
          neutral laws of general applicability—was supported by
          Lyng’s broader observation that the boundaries of the Free
          Exercise Clause “cannot depend on measuring the effects of
          a governmental action on a religious objector’s spiritual
          development.” 494 U.S. at 885 (quoting Lyng, 485 U.S. at
          451).
              But the Court has not said, and could not have said, that
          the holding of Lyng rested on the view that Lyng was itself a
          case involving a neutral and generally applicable law. As
          we have set forth, Lyng rested on a holding about the scope
          of the term “prohibiting” under the Free Exercise Clause and
          never mentioned or endorsed a Smith-style rule. At most,
          the Court has suggested in dicta that Lyng fits a pattern of
          cases in which the Court had upheld laws that were “neutral
          and generally applicable without regard to religion” in the
          sense that they did not “‘penalize religious activity by
          denying any person an equal share of the rights, benefits, and
          privileges enjoyed by other citizens.’” Trinity Lutheran
          Church of Columbia, Inc. v. Comer, 582 U.S. 449, 460
          (2017) (quoting Lyng, 485 U.S. at 449). But Trinity
          Lutheran did not have before it the more focused question
          whether, in light of the parcel-specific rigging of the
          statutory framework in Lyng, the underlying statute at issue
          in Lyng could be properly deemed to qualify as “neutral and
          generally applicable” under the details of Smith’s
          framework. As we have explained, Lyng involved a
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          situation in which, after religious objections had been raised
          to the G-O road and the road’s construction had been
          enjoined, Congress proceeded to adopt an explicit statutory
          gerrymander for the precise parcel at issue. See supra at 27–
          28. That manifestly would not fit the Court’s current
          understanding of a case involving a neutral and generally
          applicable law. See, e.g., Church of the Lukumi, 508 U.S. at
          542 (emphasizing that “categories of selection” in legislative
          drafting “are of paramount concern when a law has the
          incidental effect of burdening religious practice”). In all
          events, even if the law in Lyng were deemed, in hindsight, to
          be neutral and generally applicable within the meaning of
          Smith, the fact remains that the holding of Lyng did not rest
          on any such premise, but instead on the view that the
          challenged actions there lacked the sort of features that
          would qualify as “prohibiting” the free exercise of religion.
              The dissent also points to Lyng’s observation that,
          because the “Constitution does not permit government to
          discriminate against religions that treat particular physical
          sites as sacred,” a “law prohibiting the Indian respondents
          from visiting the Chimney Rock area would raise a different
          set of constitutional questions.” 485 U.S. at 453 (emphasis
          added); see also Dissent at 225. According to the dissent,
          “the Land Transfer Act is exactly that kind of ‘prohibitory’
          law.” See Dissent at 225. That contention is refuted by the
          fact that, under the statute, any post-transfer prohibitions that
          Resolution Copper may impose on public access to Oak Flat
          would be nondiscriminatory. See 16 U.S.C. § 539p(i)(3)
          (stating that, “[a]s a condition of conveyance,” Resolution
          Copper must “provide access to the surface of the Oak Flat
          Campground to members of the public, including Indian
          tribes, to the maximum extent practicable . . . until such time
          as the operation of the mine precludes continued public
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          access for safety reasons”). To the extent that the dissent
          instead reads Lyng as endorsing the broader notion that the
          Free Exercise Clause would be violated by a
          nondiscriminatory law that will ultimately have the effect of
          precluding public access to a particular parcel of land, that
          view cannot be squared with Lyng’s explicit rejection of
          such a broad concept of “prohibiting.” Indeed, under the
          dissent’s expansive view, any transfer of Government land
          without a condition guaranteeing access to a sacred site on
          that parcel would amount to a prohibition on free exercise.
          Lyng, however, explicitly rejects the view that the Free
          Exercise Clause requires any such “religious servitude” on
          Government land, which would confer “de facto beneficial
          ownership of some rather spacious tracts of public property.”
          485 U.S. at 452–53.
              In sum, Lyng stands for the proposition that a disposition
          of government real property is not subject to strict scrutiny
          when it has “no tendency to coerce individuals into acting
          contrary to their religious beliefs,” does not “discriminate”
          against religious adherents, does not “penalize” them, and
          does not deny them “an equal share of the rights, benefits,
          and privileges enjoyed by other citizens.” Lyng, 485 U.S. at
          449–50, 453. In such circumstances, the essential ingredient
          of “prohibiting” the free exercise of religion is absent, and
          the Free Exercise Clause is not violated. And because
          Lyng’s application of that rule in the context of that case
          cannot meaningfully be distinguished in this case, Apache
          Stronghold has no likelihood of success on its Free Exercise
          claim.
                                       IV
              Apache Stronghold also contends that the sale of Oak
          Flat to Resolution Copper would violate its members’ rights
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          under RFRA. Congress enacted RFRA in 1993 “in direct
          response” to Smith’s narrow construction of the Free
          Exercise Clause, see City of Boerne v. Flores, 521 U.S. 507,
          512 (1997), and Congress did so precisely “in order to
          provide greater protection for religious exercise than is
          available” under the Free Exercise Clause as construed in
          Smith, see Holt v. Hobbs, 574 U.S. 352, 357 (2015). The
          question here is whether the broader protection afforded by
          RFRA has the practical effect of displacing, by statute, the
          pre-Smith decision in Lyng. The answer to that question is
          no.
                                       A
              In order to understand what RFRA enacts, it is important
          to begin with the decision that RFRA sought to supersede,
          namely, Employment Division v. Smith.
              Smith involved a denial of unemployment benefits to two
          Oregon workers who “were fired from their jobs with a
          private drug rehabilitation organization because they
          ingested peyote for sacramental purposes at a ceremony of
          the Native American Church, of which both [were]
          members.” 494 U.S. at 874. The claimants appealed that
          denial of benefits to the Oregon Court of Appeals, which
          held that the denial violated the Free Exercise Clause. Id.
          On the State’s further appeal, the Oregon Supreme Court
          agreed. Id. at 875. The U.S. Supreme Court granted
          certiorari, but it initially held only that, “if a State has
          prohibited through its criminal laws certain kinds of
          religiously motivated conduct without violating the First
          Amendment, it certainly follows that it may impose the
          lesser burden of denying unemployment compensation
          benefits to persons who engage in that conduct.”
          Employment Div., Dep’t of Human Res. of Oregon v. Smith,
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          485 U.S. 660, 670 (1988). The Court therefore remanded
          the case to the Oregon Supreme Court to address “whether
          [the plaintiffs’] sacramental use of peyote was in fact
          proscribed by Oregon’s controlled substance law.” Smith,
          494 U.S. at 875. On remand, the Oregon Supreme Court
          answered that question in the affirmative and otherwise
          “reaffirmed its previous ruling” in the plaintiffs’ favor. Id.
          at 876. The U.S. Supreme Court again granted review. Id.
          Thus, although Smith had started out as an unemployment
          compensation case, it returned to the Supreme Court as
          squarely presenting the question of whether Oregon’s
          criminal prohibition on all use of peyote violated the Free
          Exercise Clause. Id. Accordingly, unlike Lyng, Smith
          presented no threshold question as to whether the challenged
          Oregon law actually “prohibit[ed]” the claimants’ religious
          exercise. See U.S. CONST. amend I.
              A sharply divided Court held that there was no violation
          of the Free Exercise Clause. Justice Scalia’s majority
          opinion for five Justices acknowledged what it described as
          “the balancing test set forth in Sherbert v. Verner, 374 U.S.
          398 (1963),” under which “governmental actions that
          substantially burden a religious practice must be justified by
          a compelling governmental interest.” Smith, 494 U.S. at
          883. The Court noted that it had applied the Sherbert test in
          three cases to “invalidate[] state unemployment
          compensation rules that conditioned the availability of
          benefits upon an applicant’s willingness to work under
          conditions forbidden by his religion.” Id. The Court also
          observed that, in several other decisions, the Court
          “purported to apply the Sherbert test in contexts other than
          that,” but that it had “always found the test satisfied.” Id.
          Citing specifically to (among other decisions) Roy and Lyng,
          the Court further noted that, “[i]n recent years [the Court]
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          ha[s] abstained from applying the Sherbert test (outside the
          unemployment compensation field) at all.” Id. The Court
          then held that, “[e]ven if we were inclined to breathe into
          Sherbert some life beyond the unemployment compensation
          field, we would not apply it to require exemptions from a
          generally applicable criminal law.” Id. at 884 (emphasis
          added). Reviewing its caselaw more broadly, the Court held
          that its decisions had “consistently held that the right of free
          exercise does not relieve an individual of the obligation to
          comply with a ‘valid and neutral law of general applicability
          on the ground that the law proscribes (or prescribes) conduct
          that his religion prescribes (or proscribes).’” Id. at 879
          (citation omitted). Citing Lyng, the Court held that “[t]he
          government’s ability to enforce generally applicable
          prohibitions of socially harmful conduct, like its ability to
          carry out other aspects of public policy, ‘cannot depend on
          measuring the effects of a governmental action on a religious
          objector’s spiritual development.’” Id. at 885 (quoting Lyng,
          485 U.S. at 451).
              The Court’s holding that the Sherbert test does not apply
          to neutral and generally applicable prohibitions drew the
          sharp disagreement of four Justices, in a separate opinion
          written by Justice O’Connor. 5 According to Justice
          O’Connor, the Court’s caselaw has “respected both the First
          Amendment’s express textual mandate and the

          5
            Because Justice O’Connor ultimately concurred in the judgment even
          under the Sherbert test, her separate opinion was technically styled as a
          concurrence in the judgment. See Smith, 494 U.S. at 891–907. The other
          three Justices who joined Justice O’Connor’s criticism of the majority’s
          abandonment of the Sherbert test did not agree that the Oregon law
          survived that test, and they therefore only partially joined her
          concurrence and also filed a separate dissent. See id. at 907–21
          (Blackmun, J., dissenting).
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          governmental interest in regulation of conduct by requiring
          the government to justify any substantial burden on
          religiously motivated conduct by a compelling state interest
          and by means narrowly tailored to achieve that interest.”
          Smith, 494 U.S. at 894 (O’Connor, J., concurring in the
          judgment). Citing the unemployment compensation case of
          Thomas v. Review Board of the Indiana Employment
          Security Division, 450 U.S. 707 (1981), Justice O’Connor
          elaborated on her understanding of what it meant for
          government to impose a substantial burden on religious
          exercise:

                 [T]he essence of a free exercise claim is relief
                 from a burden imposed by government on
                 religious practices or beliefs, whether the
                 burden is imposed directly through laws that
                 prohibit or compel specific religious
                 practices, or indirectly through laws that, in
                 effect, make abandonment of one’s own
                 religion or conformity to the religious beliefs
                 of others the price of an equal place in the
                 civil community. As [the Court] explained in
                 Thomas:
                     “Where the state conditions receipt of an
                     important     benefit    upon     conduct
                     proscribed by a religious faith, or where
                     it denies such a benefit because of
                     conduct mandated by religious belief,
                     thereby putting substantial pressure on an
                     adherent to modify his behavior and to
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                     violate his beliefs, a burden upon religion
                     exists.” 450 U.S., at 717–718.

          Smith, 494 U.S. at 897 (O’Connor, J., concurring in the
          judgment). Thus, Justice O’Connor concluded, “[t]he
          Sherbert compelling interest test applies” to both “cases in
          which a State conditions receipt of a benefit on conduct
          prohibited by religious beliefs and cases in which a State
          affirmatively prohibits such conduct.” Id. at 898. In either
          type of case, Justice O’Connor concluded, it did not matter
          whether the law was a “neutral” or “generally applicable”
          one. Id. at 898–900. The Court’s precedents, she explained,
          reflected a “consistent application of free exercise doctrine
          to cases involving generally applicable regulations that
          burden religious conduct.” Id. at 892.
                                        B
              Congress promptly sought to supersede, by statute,
          Smith’s holding that “neutral, generally applicable laws that
          incidentally burden the exercise of religion usually do not
          violate the Free Exercise Clause.” Holt, 574 U.S. at 356–57.
          As stated expressly in § 2 of RFRA, Congress’s primary
          purpose in enacting the Act was to “restore the compelling
          interest test as set forth in Sherbert v. Verner, 374 U.S. 398
          (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972) and to
          guarantee its application in all cases where free exercise of
          religion is substantially burdened.”                 42 U.S.C.
          § 2000bb(b)(1). That stated purpose was based on RFRA’s
          express finding that “laws ‘neutral’ toward religion may
          burden religious exercise as surely as laws intended to
          interfere with religious exercise.” Id. § 2000bb(a)(1).
              Section 3(a) of RFRA establishes the general rule that
          “[g]overnment shall not substantially burden a person’s
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          exercise of religion even if the burden results from a rule of
          general applicability.” 42 U.S.C. § 2000bb-1(a). In its
          current form, that prohibition extends to any “branch,
          department, agency, instrumentality, [or] official (or other
          person acting under color of law) of the United States” or of
          the District of Columbia, the Commonwealth of Puerto Rico,
          or the United States’ territories and possessions. Id.
          § 2000bb-2(1), (2). The sole exception to this general rule
          is contained in § 3(b), which states:

                     Government may substantially burden a
                 person’s exercise of religion only if it
                 demonstrates that application of the burden to
                 the person—
                        (1) is in furtherance of a compelling
                     governmental interest; and
                         (2) is the least restrictive means of
                     furthering that compelling governmental
                     interest.

          Id. § 2000bb-1(b). The net effect is that the government may
          substantially burden a person’s exercise of religion if and
          only if the government’s action can survive “strict scrutiny.”
          See Gonzales v. O Centro Espírita Beneficente União do
          Vegetal, 546 U.S. 418, 430 (2006).
              Congress also made clear its intent that RFRA operate as
          a framework statute, “displacing the normal operation of
          other federal laws.” Bostock v. Clayton Cnty., 590 U.S. 644,
          682 (2020). Specifically, § 6 of RFRA provides that the Act
          “applies to all Federal law, and the implementation of that
          law, whether statutory or otherwise, and whether adopted
          before or after” the date of RFRA’s enactment. 42 U.S.C.
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          § 2000bb-3(a). Congress further provided that “[f]ederal
          statutory law adopted after [RFRA’s enactment] is subject to
          [RFRA] unless such law explicitly excludes such application
          by reference to [RFRA].” Id. § 2000bb-3(b).
              RFRA does not define what it means to “substantially
          burden a person’s exercise of religion.” 42 U.S.C. § 2000bb-
          1(a), (b). But “Congress legislates against the backdrop of
          existing law,” McQuiggin v. Perkins, 569 U.S. 383, 398 n.3
          (2013), and the meaning of that phrase is clearly elucidated
          by considering the body of law discussed in the “separate
          opinions” in Smith, which “concerned the very issue
          addressed” by Congress in § 3 of RFRA. Williams v. Taylor
          (Terry Williams), 529 U.S. 362, 411 (2000). 6
              As Terry Williams explained, in the unusual situation in
          which the “broader debate and the specific statements” of the
          Justices in a particular decision “concern[] precisely the
          issue” that Congress later addresses in a statute that borrows
          the Justices’ terminology, Congress should be understood to
          have “adopt[ed]” the relevant “meaning given a certain term
          in that decision.” 529 U.S. at 411–12. Thus, in construing
          the standards of review applicable in deciding habeas corpus
          petitions under the Antiterrorism and Effective Death
          Penalty Act (“AEDPA”), Terry Williams turned to “[t]he
          separate opinions” in Wright v. West, 505 U.S. 277 (1992),
          which concerned that “very issue.” 529 U.S. at 411. As
          Terry Williams recounted, the respective opinions of Justice


          6
           We refer to this case as “Terry Williams” because, in an extraordinary
          coincidence, the Supreme Court on the very same day decided another
          case named “Williams v. Taylor” (in which the petitioner was Michael
          Williams). See 529 U.S. 420 (2000); see also Shinn v. Martinez Ramirez,
          596 U.S. 366, 381 (2022) (similarly referring to the other case as
          “Michael Williams”).
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          Thomas and Justice O’Connor in Wright vigorously debated
          whether habeas review should be deferential, with Justice
          O’Connor concluding that a federal court should review de
          novo whether the state court’s resolution of the federal issue
          was “correct,” and Justice Thomas concluding that a federal
          court should “simply” inquire as to whether the state
          decision was “reasonable.” Id. at 410–11. In addressing the
          issue of the appropriate standards of review in AEDPA’s
          amendments to the habeas statute, see 28 U.S.C. § 2254,
          “Congress specifically used the word ‘unreasonable,’”
          thereby confirming that it had effectively adopted Justice
          Thomas’s position and rejected Justice O’Connor’s. See
          Terry Williams, 529 U.S. at 411.
              RFRA presents exactly the sort of distinctive situation in
          which the principles discussed in Terry Williams are
          applicable. Terry Williams invoked those principles with
          respect to AEDPA even though the Court conceded that
          there was “no indication in § 2254(d)(1) itself that Congress
          was ‘directly influenced’ by Justice Thomas’ opinion in
          Wright.” 529 U.S. at 411 (emphasis added). As the Court
          explained, “Congress need not mention a prior decision of
          this Court by name in a statute’s text in order to adopt either
          a rule or a meaning given a certain term in that decision.” Id.
          But where, as with RFRA, Congress does specifically
          “mention a prior decision of this Court by name in a statute’s
          text,” id., the inference is all the more inescapable that, when
          Congress borrows the Justices’ same phrasing, it does so
          against the backdrop of how those terms were understood in
          the relevant opinions accompanying that decision. Here,
          RFRA was enacted against the backdrop of the vigorous
          debate between Justice Scalia and Justice O’Connor in
          Smith; both of their opinions used variations of the phrase
          “substantially burden” in describing the pre-Smith
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          framework for evaluating Free Exercise Clause claims 7;
          RFRA’s text states that its purpose is to supersede, by
          statute, the decision in “Employment Division v. Smith, 494
          U.S. 872 (1990),” see 42 U.S.C. § 2000bb(a)(4); and, in
          superseding Smith, RFRA uses the phrase “substantially
          burden,” id. § 2000b-1(a), (b).           The inference is
          overwhelming that Congress thereby “adopt[ed]” the
          “meaning given [that] certain term in that decision.” Terry
          Williams, 529 U.S. at 411.             Consequently, RFRA
          unmistakably sought to enshrine, by statute, the basic
          principles reflected in the pre-Smith framework for applying
          the Free Exercise Clause that is described in those opinions,
          and that framework clearly includes Lyng.
              Thus, for example, Justice O’Connor’s separate opinion
          in Smith confirms that the “substantial burden” rule
          established in the Court’s caselaw is consistent with, and
          does not abrogate, the Court’s decision in Lyng (which she
          wrote). As Justice O’Connor explained in her separate
          opinion in Smith, Lyng did not “signal” a “retreat from [the
          Court’s] consistent adherence to the compelling interest test”
          in evaluating governmental action prohibiting the free
          exercise of religion; instead, it reflected the underlying limits
          in the governmental conduct reached by the Free Exercise
          Clause. Smith, 494 U.S. at 900 (O’Connor, J., concurring in
          the judgment). She argued that, like Roy, Lyng involved the

          7
            See Smith, 494 U.S. at 883 (“Under the Sherbert test, governmental
          actions that substantially burden a religious practice must be justified by
          a compelling governmental interest.” (emphasis added)); id. at 894
          (O’Connor, J., concurring in the judgment) (stating that, under the
          Court’s existing caselaw, the government is required “to justify any
          substantial burden on religiously motivated conduct by a compelling
          state interest and by means narrowly tailored to achieve that interest”
          (emphasis added)).
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          Government’s “conduct [of] its own internal affairs” in a
          way that did not implicate the Free Exercise Clause’s rule
          about “what the government cannot do to the individual.” Id.
          (emphasis added) (citation omitted). That view is consistent
          with Lyng, which—as we have exhaustively explained
          earlier—rests on the premise that the Government’s actions
          there, although substantially destructive of the Indians’
          religious interests, did not involve “prohibiting the free
          exercise” of religion within the meaning of the Free Exercise
          Clause. See supra at 28–31.
              Moreover, Justice O’Connor’s Smith concurrence
          contained a detailed explication of what counts as a
          cognizable burden under the Court’s then-existing caselaw,
          and it closely dovetails with Lyng. As she explained, such
          burdens may be “imposed directly through laws that prohibit
          or compel specific practices”; they may be imposed
          “indirectly through laws that, in effect, make abandonment
          of one’s own religion or conformity to the religious beliefs
          of others the price of an equal place in the civil community”;
          or they may involve benefit conditions that “put[] substantial
          pressure on an adherent to modify his behavior and to violate
          his beliefs.” Smith, 494 U.S. at 897 (O’Connor, J.,
          concurring in the judgment) (emphasis added) (citation
          omitted).
              Likewise, nothing in Justice Scalia’s majority opinion in
          Smith suggested that the Court thought that Lyng was
          inconsistent with the substantial burden test. Instead, in the
          course of arguing for a broader jettisoning of Sherbert’s
          compelling interest test, the Smith majority simply cited
          Lyng as an instance in which that strict scrutiny test had not
          been applied. See Smith, 494 U.S. at 883. As noted earlier,
          the Smith majority also argued that its broader position drew
          support from Lyng’s general observation that the limitations
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          imposed by the Free Exercise Clause “cannot depend on
          measuring the effects of a governmental action on a religious
          objector’s spiritual development,” id. at 885 (quoting Lyng,
          485 U.S. at 451), but that likewise reflects no criticism of
          Lyng’s holding about the scope of “prohibiting” under the
          Free Exercise Clause.
               Indeed, the only debate that Justice Scalia and Justice
          O’Connor had concerning Lyng related to the majority’s use
          of this latter comment to bolster its broader rule about neutral
          laws of general applicability. Justice O’Connor objected
          that the majority took that comment out of Lyng’s specific
          context, which involved only the Government’s conduct of
          its “internal affairs” and therefore did not implicate the Free
          Exercise Clause’s rule about “what the government cannot
          do to the individual.” Smith, 494 U.S. at 900 (O’Connor, J.,
          concurring in the judgment) (citation omitted). The Court
          responded that there was no basis for limiting the cited
          principle in the way that Justice O’Connor posited. Lyng’s
          observation should apply more broadly, the Court explained,
          because “it is hard to see any reason in principle or
          practicality why the government should have to tailor its
          health and safety laws to conform to the diversity of religious
          belief, but should not have to tailor its management of public
          lands, Lyng, supra, or its administration of welfare
          programs, Roy, supra.” Id. at 885 n.2. This debate about
          whether and how to extend an observation made in Lyng
          reflects no criticism of Lyng’s ultimate holding.
              Accordingly, both Justice O’Connor’s concurrence and
          the majority opinion in Smith strongly confirm that, under
          the then-existing framework of Free Exercise Clause
          jurisprudence, the proposition that the government must
          justify, by strict scrutiny, any “substantial burden” on
          religious exercise is one that subsumes, rather than
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          overrides, Lyng’s holding about the scope of government
          action that is reached by the constitutional phrase
          “prohibiting the free exercise thereof.” U.S. CONST. amend.
          I. As a decision about the scope of the term “prohibiting,”
          Lyng defines the outer bounds of what counts as a cognizable
          substantial burden imposed by the government. That is
          plainly how Justice O’Connor viewed Lyng in Smith, and the
          Smith majority did not disagree. When Congress copied the
          “substantial burden” phrase into RFRA, it must be
          understood as having similarly adopted the limits that Lyng
          placed on what counts as a governmental imposition of a
          substantial burden on religious exercise. See Terry Williams,
          529 U.S. at 411–12; see also ANTONIN SCALIA & BRYAN A.
          GARNER, READING LAW: THE INTERPRETATION OF LEGAL
          TEXTS 322 (2012) (“If a statute uses words or phrases that
          have already received authoritative construction by the
          jurisdiction’s court of last resort, . . . they are to be
          understood according to that construction.”).
                                        C
              The dissent’s exclusive reliance on its composite
          understanding of the dictionary definitions of “substantial”
          and “burden,” see Dissent at 201, contravenes the
          interpretive principles discussed in Terry Williams, as well
          as the crucial context supplied by Smith and Lyng. As a
          result, the dissent’s construction of the phrase elides the
          crucial ingredient that Lyng reflects, which is that the phrase
          “substantial burden” must ultimately be bounded by what
          counts as within the domain of the phrase “prohibiting the
          free exercise thereof.” U.S. CONST. amend. I (emphasis
          added).
             It is no answer to say, as the dissent does, that we have
          applied that dictionary definition in construing the meaning
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          of the identical term “substantial burden” as used in the
          Religious Land Use and Institutionalized Persons Act
          (“RLUIPA”). See Dissent at 208–10. The dissent overlooks
          the fact that RLUIPA expressly applies only to “substantial
          burdens” in two specific contexts—namely, “impos[ing] or
          implement[ing] a land use regulation,” 42 U.S.C.
          § 2000cc(a)(1), and restrictions on “a person residing in or
          confined to an institution” affiliated with a government, id.
          § 2000cc-1(a). See id. § 1997; see also Cutter v. Wilkinson,
          544 U.S. 709, 715 (2005). Because both of these specific
          contexts inherently involve coercive restrictions, they do not
          raise a similar Lyng-type issue about the bounds of what
          counts as “prohibiting” religious exercise. In RLUIPA’s two
          specific contexts, where that crucial element is already
          baked in, the dictionary definitions of “substantial” and
          “burden” will adequately flesh out the concept of
          “substantial burden” against that backdrop. The same is true
          under RFRA, once it is recognized that RFRA preserves
          Lyng’s understanding of what counts as “prohibiting” the
          free exercise of religion. But the same is not true if, with
          respect to RFRA, the critical context supplied by Smith and
          Lyng is overlooked. That would yield a very different
          concept of “substantial burden” under RFRA, one that
          (unlike RLUIPA) is shorn of any requirement to show that
          the governmental action has a “tendency to coerce
          individuals into acting contrary to their religious beliefs,”
          “discriminate[s]” against religious adherents, “penalize[s]”
          them, or denies them “an equal share of the rights, benefits,
          and privileges enjoyed by other citizens.” Lyng, 485 U.S. at
          449–50, 453. Nothing in RFRA indicates that Congress
          intended to eliminate this crucial element or to abrogate
          Lyng.
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              The dissent’s contrary conclusion that RFRA does
          supersede Lyng rests on the premise that Lyng was based on
          a Smith-style holding about neutral and generally applicable
          rules. See Dissent at 229–33. For the reasons that we have
          already explained, that premise is patently incorrect. The
          law at issue in Lyng was manifestly not generally applicable,
          and nothing in Lyng rests upon, or endorses, the broad rule
          later adopted in Smith. See supra at 28–29, 35–37. Indeed,
          the most that the Smith majority claimed was that one
          particular statement in Lyng should be extended in a way that
          would support differential treatment of neutral laws of
          general applicability. See Smith, 494 U.S. at 885.
              The dissent is also wrong in asserting that a 2000
          amendment to RFRA—enacted as part of RLUIPA—
          demonstrates Congress’s intent that RFRA not be tied to the
          constitutional understanding of what counts as “prohibiting”
          the free exercise of religion. See Dissent at 205–06. Prior
          to RLUIPA, RFRA defined the specific term “exercise of
          religion” to “mean[] the exercise of religion under the First
          Amendment to the Constitution.” See Pub. L. No. 103-141
          § 5(4), 107 Stat. 1488, 1489 (1993). However, a circuit split
          developed as to whether, as a result, RFRA’s protections
          were limited to only those practices that are “central” to, or
          “mandated” by, a person’s faith. Compare Bryant v. Gomez,
          46 F.3d 948, 949 (9th Cir. 1995) (adopting those limitations)
          with Mack v. O’Leary, 80 F.3d 1175, 1178–79 (7th Cir.
          1996) (noting the circuit split and rejecting Bryant), vacated
          on other grounds, 522 U.S. 801 (1997). Congress, of course,
          cannot statutorily change the scope of the Free Exercise
          Clause as construed by the courts, but it could effectively
          abrogate decisions such as Bryant by decoupling RFRA’s
          definition of “exercise of religion” from the Free Exercise
          Clause and then giving it a broader meaning for purposes of
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          RFRA. That is exactly what Congress did in RLUIPA. In
          § 7(a)(3) of RLUIPA, Congress rewrote the definition of
          “exercise of religion” in RFRA to mean “religious exercise,
          as defined in section 8 of the Religious Land Use and
          Institutionalized Persons Act of 2000 [42 U.S.C. § 2000cc-
          5].” See Pub. L. No. 106-274, § 7(a)(3), 114 Stat. 803, 806
          (2000). Section 8 of RLUIPA, in turn, defines “religious
          exercise” to mean “any exercise of religion, whether or not
          compelled by, or central to, a system of religious belief,” and
          further provides that the “use, building, or conversion of real
          property for the purpose of religious exercise shall be
          considered to be religious exercise.” See 42 U.S.C.
          § 2000cc-5(7)(A)–(B). But in thus decoupling the definition
          of what activities count as the “exercise of religion” from the
          Free Exercise Clause,” Congress did not alter the phrase
          “substantial burden,” nor did it suggest that that phrase
          should be understood as somehow being decoupled from any
          notion of what counts as “prohibiting” the free exercise of
          religion under pre-Smith caselaw. 8
              The dissent further errs in contending that our
          construction of “substantial burden” here disregards the
          Supreme Court’s rejection of the view that “RFRA merely
          restored th[e] Court’s pre-Smith decisions in ossified form.”
          Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 715–16

          8
            To the extent that the dissent insinuates that the amended RFRA’s
          borrowing of RLUIPA’s definition of religious exercise has the effect of
          abrogating Lyng, see Dissent at 205–06, that is quite wrong. The dissent
          has not cited any authority—and we are aware of none—that would
          support the extraordinary proposition that RFRA and RLUIPA purport
          to grant freestanding rights to obtain otherwise unavailable access to the
          real property of others for religious use. Put simply, neither statute
          purports to grant persons a “religious servitude” over the property of
          others. Lyng, 485 U.S. at 452.
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          (2014); see also Dissent at 206. The proposition the Court
          rejected in Hobby Lobby was that RFRA protected only the
          particular collection of practices that happened to have been
          “specifically addressed in [the Court’s] pre-Smith
          decisions,” much like AEDPA requires a showing of
          “‘clearly established Federal law, as determined by the
          Supreme Court of the United States.’” Id. at 714 (quoting
          28 U.S.C. § 2254(d)(1)). That “absurd” view, the Court
          explained, would mean that “resident noncitizen[s]” would
          not be protected by RFRA, given that there was no “pre-
          Smith case in which th[e] Court entertained a free-exercise
          claim brought by a resident noncitizen.” Id. at 715–16.
          Hobby Lobby thus does not stand for the quite different—
          and erroneous—proposition that RFRA is somehow exempt
          from the settled rule that “Congress legislates against the
          backdrop of existing law.” McQuiggin, 569 U.S. at 398 n.3.
          Indeed, even the dissent concedes that RFRA must be
          construed in light of “the Supreme Court’s pre-Smith Free
          Exercise jurisprudence.” See Dissent at 210–11; see also id.
          at 215 (noting that we have previously “relied on pre-Smith
          Free Exercise Clause cases to define substantial burden”).
                                *       *       *
              Accordingly, RFRA’s understanding of what counts as
          “substantially burden[ing] a person’s exercise of religion”
          must be understood as subsuming, rather than abrogating,
          the holding of Lyng. That holding therefore governs Apache
          Stronghold’s RFRA claim as well, and that claim therefore
          fails for the same reasons discussed earlier. See supra at 31.
                                        V
              Finally, Apache Stronghold also argues that an 1852
          treaty of “perpetual peace and amity” between the “Apache
          Nation of Indians” and the United States, see TREATY WITH
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          THE APACHES, July 1, 1852, art. 2, 10 Stat. 979 (1853),
          created an enforceable trust obligation that would be violated
          by the transfer of Oak Flat. That trust obligation, Apache
          Stronghold argues, stems from Article 9 of the treaty, which
          provides, in relevant part, that

                 Relying confidently upon the justice and the
                 liberality of the [federal] government, and
                 anxious to remove every possible cause that
                 might disturb their peace and quiet, it is
                 agreed by the aforesaid Apache’s [sic] that
                 the government of the United States shall at
                 its earliest convenience designate, settle, and
                 adjust their territorial boundaries, and pass
                 and execute in their territory such laws as
                 may be deemed conducive to the prosperity
                 and happiness of said Indians.

          Id., art. 9; see also id., art. 11 (stating that “the government
          of the United States shall so legislate and act as to secure the
          permanent prosperity and happiness of said Indians”).
          Specifically, Apache Stronghold argues that the
          Government’s treaty obligation to “pass and execute . . .
          such laws as may be deemed conducive to the prosperity and
          happiness’” of the Apaches should be “construed to obligate
          the United States to preserve traditional Apache religious
          practices on their historic homeland.” Thus construed,
          Apache Stronghold contends, the Government’s obligations
          under the treaty override any power or obligation to transfer
          Oak Flat under § 3003. This contention fails. Even
          assuming arguendo that Apache Stronghold’s interpretation
          of the Government’s treaty obligations is correct, the
          Government’s statutory obligation to transfer Oak Flat under
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          § 3003 clearly abrogates any contrary treaty obligation, not
          the other way around. 9
              “Congress has the power to abrogate Indians’ treaty
          rights,” but Congress generally must “clearly express its
          intent to do so.” South Dakota v. Bourland, 508 U.S. 679,
          687 (1993). To the extent that Apache Stronghold is correct
          in contending that the Government has a treaty-based trust
          obligation to retain Oak Flat for the benefit of the tribe and
          its members, § 3003 clearly and manifestly abrogates any
          such obligation. Section 3003 was passed to accomplish a
          single goal: to “authorize, direct, facilitate, and expedite the
          exchange of land between Resolution Copper and the United
          States.” 16 U.S.C. § 539p(a). The entirety of the statute is
          built around that ultimate objective. There are various
          preparatory requirements, like consultations and report
          generation, e.g., id. § 539p(c)(3), (c)(4), (c)(6)(A), (c)(9),
          and post-transfer rules about land disposition and

          9
            Although Apache Stronghold has adequately shown that its members
          face an imminent threatened injury in fact that is fairly traceable to the
          alleged treaty violation, see Susan B. Anthony List v. Driehaus, 573 U.S.
          149, 157–58 (2014), the district court concluded that allowing its
          members to assert what it deemed to be the tribe’s treaty rights violated
          the “prudential requirement that a plaintiff ‘cannot rest his claim to relief
          on the legal rights or interests of third parties.’” Apache Stronghold, 519
          F. Supp. 3d at 598 (quoting Warth v. Seldin, 422 U.S. 490, 499 (1975)).
          Because the parties’ dispute over this “prudential” requirement does not
          involve our subject matter jurisdiction, we are not required to resolve it
          before addressing the merits of the treaty issue. See FW/PBS, Inc. v. City
          of Dallas, 493 U.S. 215, 237 (1990) (finding that the relevant plaintiffs
          had Article III standing and then rejecting a claim on the merits after
          assuming arguendo that “prudential, jus tertii standing” was met); cf.
          Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,
          125–28 (2014) (clarifying that “‘prudential standing’ is a misnomer” and
          must be distinguished from the jurisdictional requirements of Article III
          (citation omitted)).
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          management, id. § 539p(d)(2), (e), (g), (h), but they all lead
          up to the transfer of Oak Flat.               Indeed, § 3003
          unambiguously states that, upon completion of the
          preparatory steps, “if Resolution Copper offers to convey to
          the United States all right, title, and interest of Resolution
          Copper in and to the non-Federal land, the Secretary is
          authorized and directed to convey to Resolution Copper, all
          right, title, and interest of the United States in and to the
          Federal land.” Id. § 539p(c)(1) (emphasis added). Section
          3003’s clear direction that, after consultation with the tribe,
          the transfer shall occur simply cannot co-exist with Apache
          Stronghold’s claim that the treaty requires that it shall not
          occur. Section 3003 plainly abrogates any tribal treaty rights
          that would otherwise preclude the transfer. See Bourland,
          508 U.S. at 687.
                                        VI
              For the foregoing reasons, Apache Stronghold is
          unlikely to succeed on the merits of any of the three claims
          before this court. It consequently cannot show that it is
          entitled to preliminary injunctive relief, and we need not
          consider the remaining Winter factors. See Garcia, 786 F.3d
          at 740.     The district court’s order denying Apache
          Stronghold’s motion for a preliminary injunction is therefore
          affirmed.
               AFFIRMED.


          BEA, Circuit Judge, dissenting in part and concurring in
          part, with whom Circuit Judge FORREST joins except for
          footnote one; Circuit Judge BENNETT joins with respect
          to Part II:
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                                              I.
              I dissent from paragraph one of the per curiam opinion,
          which announces that the term “substantial burden” as used
          in RFRA and RLUIPA “are interpreted uniformly,” declares
          that Navajo Nation v. U.S. Forest Service, 535 F.3d 1058
          (9th Cir. 2008), is overruled as a result of this interpretation
          of uniformity between RFRA and RLUIPA, and volunteers,
          in place of that 15-year precedent, a new test for when a
          government action imposes a “substantial burden” under
          RFRA that broadly asks whether the government conduct
          “prevent[s] access to religious exercise.” We also did not
          apply this test to arrive at the ultimate decision of this Court,
          and this test does not address any “issue [that is] germane to
          the eventual resolution of th[is] case.” United States v.
          Johnson, 256 F.3d 895, 914–16 (9th Cir. 2001) (separate
          opinion of Kozinski, J., Trott, T.G. Nelson, Silverman, JJ.)
          (emphasis added). That is because a majority of this panel
          has already affirmed, under the completely different rationale
          in Judge Collins’s majority opinion, the district court’s
          finding that the transfer of Oak Flat will impose no
          substantial burden under RFRA. 1


          1
            The statements in paragraph one of the per curiam can be characterized
          only as dicta that address “question[s] . . . not essential to the decision”
          reached in this case. Judicial Dictum, Black’s Law Dictionary (11th ed.
          2019); see Bryan A. Garner et al., The Law of Judicial Precedent 46–47
          (1st ed. 2016). Our decision today—the only decision that resolves this
          controversy—is that the transfer of Oak Flat will impose no “substantial
          burden” on Apache Stronghold’s religious exercise under RFRA. To
          state the obvious, it is unnecessary to overrule Navajo Nation to reach
          that outcome because Navajo Nation directly supports our holding. See,
          e.g., infra Part II.C.
          Nor do I think the separate majority’s pronouncements in paragraph one
          of the per curiam opinion deserve binding weight in future cases even
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                                             II.
              I concur in full with Judge Collins’s majority opinion. I
          agree that RFRA’s term “substantial burden” does not
          include the governmental action at issue here “because the
          plaintiffs would not ‘be coerced by the Government’s action
          into violating their religious beliefs,’ nor would that action
          ‘penalize religious activity by denying any person an equal
          share of the rights, benefits, and privileges enjoyed by other
          citizens.’” And I agree that Congress “adopted the limits
          that Lyng places on what counts as a governmental
          imposition of a substantial burden on religious exercise”
          when Congress passed the Religious Freedom Restoration
          Act, 42 U.S.C. § 2000bb, et seq. (“RFRA”). Further, I agree
          that RFRA and the Religious Land Use and Institutionalized
          Persons Act, 42 U.S.C. § 2000cc, et seq. (“RLUIPA”), are
          applied in contexts so distinguishable from one another as to


          under our “well-reasoned” dicta rule. See Johnson, 256 F.3d at 914–16
          (separate opinion of Kozinski, J., Trott, T.G. Nelson, Silverman, JJ.),
          adopted as the law of the circuit in Miranda B. v. Kitzhaber, 328 F.3d
          1181, 1186 (9th Cir. 2003). No majority of this panel has filed a separate
          opinion setting forth the rationale behind paragraph one of the per curiam
          opinion. Neither Chief Judge Murguia’s dissent nor Judge R. Nelson’s
          concurrence reflect the rationale of this Court that would support
          overruling Navajo Nation. We have, in other words, two sentences of
          dicta in the opening of a majority per curiam opinion—which purport to
          effect a seismic shift in our RFRA jurisprudence—but no guiding
          rationale that explains this sea change in our law. This cannot be the
          scenario that Johnson’s “well-reasoned” dicta rule was meant for. When
          we held in Johnson that a panel’s ruling on an issue, though
          “[un]necessary in . . . a strict logical sense,” can become the law of this
          circuit so long as the panel “decide[s] [it] after careful analysis,” the
          “analysis” we had in mind was the analysis “in a published opinion” of
          the court, id. at 914; see id. at 909 n.1, not the separate rationales of a
          fractured majority expressed in different writings.
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          make RLUIPA cases entirely unhelpful when interpreting
          RFRA.
              I write separately to provide additional reasons in
          support of the conclusion that Apache Stronghold cannot
          obtain relief under RFRA. First, I will discuss the further
          textual and contextual evidence that the term “substantial
          burden,” as used in RFRA, has the same limited meaning it
          had in federal court cases decided prior to RFRA’s
          enactment. Second, I will discuss how RFRA and RLUIPA,
          in addition to having distinguishable applications, also have
          distinguishable texts, such that RLUIPA cases ought not to
          be used to interpret RFRA for this additional reason. Third,
          I will discuss the serious practical problems that would arise
          with the test proposed by Chief Judge Murguia in her lead
          dissent. Last, I will discuss how, even were RFRA to
          provide the Apache a viable claim for relief, RFRA’s
          application in this case would nonetheless be abrogated by
          Congress’s express direction in the Land Exchange Act that
          the land exchange be consummated.
                        FACTUAL BACKGROUND
              Congress passed the Land Exchange Act in 2015. The
          Land Exchange Act authorizes and directs the exchange of
          land between the United States Government and two foreign
          mining companies (known collectively as “Resolution
          Copper”). 16 U.S.C. § 539p. The 2,422-acre parcel of
          Arizona land that Congress has expressly authorized and
          directed the Secretary of the Interior to convey to Resolution
          Copper is located within the Tonto National Forest and
          includes a sacred Apache ceremonial ground called Chí’chil
          Biłdagoteel—known in English as “Oak Flat.”
             On January 12, 2021, Apache Stronghold, a nonprofit
          organization with members who belong to Western Apache
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          tribes, filed suit seeking to prevent the land exchange and
          ensure that its members would forever have a right to access
          Oak Flat. Two days later, Apache Stronghold filed a Motion
          for Temporary Restraining Order and Preliminary
          Injunction. The district court held a hearing on the motion
          on February 3, 2021, and denied it nine days later. The
          district court found “that the Apache peoples have been
          using Oak Flat as a sacred religious ceremonial ground for
          centuries.” Apache Stronghold v. United States, 519 F.
          Supp. 3d 591, 603 (D. Ariz. 2021). The district court also
          found that the Apache believed that “Resolution Copper’s
          planned mining activity on the land will close off a portal to
          the Creator forever and will completely devastate the
          Western Apaches’ spiritual lifeblood.” Id. at 604. This
          finding is undisputed.
              Apache Stronghold appealed, and on June 24, 2022, a
          three-judge panel of this court affirmed the denial of the
          preliminary injunction. Apache Stronghold v. United States,
          38 F.4th 742 (9th Cir. 2022). The panel opinion relied on
          our en banc decision in Navajo Nation v. U.S. Forest Service,
          535 F.3d 1058, 1069–70 (9th Cir. 2008) (en banc), to decide
          the RFRA claim. 38 F.4th at 753.
              On November 17, 2022, upon a vote of a majority of the
          non-recused active judges, the court sua sponte ordered that
          this case be reheard en banc.
                          LEGAL BACKGROUND
                        A. Pre-RFRA Jurisprudence
              Before the 1993 enactment of RFRA, in Sherbert v.
          Verner, 374 U.S. 398 (1963), and Wisconsin v. Yoder, 406
          U.S. 205 (1972), the Supreme Court had laid out a strict
          scrutiny test for certain governmental actions that interfered
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          with the constitutional right of free exercise of religion as set
          forth in the First Amendment. Under that strict scrutiny test,
          the government cannot impose a substantial burden on the
          exercise of a religious adherent’s sincerely held religious
          beliefs unless that burden is outweighed by a compelling
          governmental interest. Sherbert, 374 U.S. at 403–06. 2
              In Sherbert, the plaintiff was fired from her job for
          refusing to work on Saturday, the Sabbath day of her faith.
          The Court held that the state’s denial of unemployment
          benefits to the plaintiff substantially burdened her religious
          exercise by forcing her to “choose between following the
          precepts of her religion and forfeiting benefits, on the one
          hand, and abandoning one of the precepts of her religion in
          order to accept work, on the other hand.” Id. at 404.
              In Yoder, members of the Old Order Amish religion
          appealed their convictions under a law that required them to
          send their children to school until the age of sixteen—a
          violation of the tenets of the Amish religion, which prohibit
          the schooling of children beyond the eighth grade. The
          Court held that the state’s schooling mandate, as applied to
          three Amish children who had completed the eighth grade
          but who had not yet reached the age of sixteen, caused a
          substantial burden because it “affirmatively compel[led] [the
          Amish], under threat of criminal sanction, to perform acts
          undeniably at odds with fundamental tenets of their religious
          beliefs.” 406 U.S. at 218.
             The Supreme Court’s analysis of burdens in Sherbert and
          Yoder represented a fundamental inquiry: whether the

          2
           When we assess claims that the government has infringed on the free
          exercise of religion, we use the terms “strict scrutiny” and “the
          compelling interest test” to refer to the same test. See Fulton v. City of
          Philadelphia, 141 S. Ct. 1868, 1876–77, 1881 (2021).
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          governmental action coerces the individual religious
          adherent to violate or abandon his sincere religious beliefs.
          See Hobbie v. Unemployment Appeals Comm’n of Fla., 480
          U.S. 136, 144 (1987) (“[T]he forfeiture of unemployment
          benefits for choosing [to engage in religious conduct] brings
          unlawful coercion to bear on the employee’s choice.” (citing
          Sherbert, 374 U.S. at 404)); Tilton v. Richardson, 403 U.S.
          672, 689 (1971) (plurality) (“Appellants, however, are
          unable to identify any coercion directed at the practice or
          exercise of their religious beliefs.”); Bd. of Educ. of Cent.
          Sch. Dist. No. 1 v. Allen, 392 U.S. 236, 249 (1968)
          (“[A]ppellants have not contended that the New York law in
          any way coerces them as individuals in the practice of their
          religion.”); Sch. Dist. of Abington Twp., Pa. v. Schempp, 374
          U.S. 203, 223 (1963) (“[I]t is necessary in a free exercise
          case for one to show the coercive effect of the enactment as
          it operates against him in the practice of his religion.”).
              The Supreme Court specifically addressed the
          application of Sherbert’s and Yoder’s tests to the
          Government’s excavation and reconfiguration of the
          government’s own land in Lyng v. Northwest Indian
          Cemetery Protective Association, 485 U.S. 439 (1988). In
          Lyng, the United States Forest Service wanted to build a road
          through an area “significant as an integral and
          indispens[a]ble part of Indian religious conceptualization
          and practice.” Id. at 442. The road was to be built on Forest
          Service land, generally available to the public—Indians
          included. A study by the Forest Service found that the
          construction of the road “would cause serious and
          irreparable damage to the sacred areas which are an integral
          and necessary part of the belief systems and lifeway of
          Northwest California Indian peoples.” Id. The Indians filed
          suit, seeking to enjoin the construction of the road.
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              The Supreme Court held that the construction of the road
          did not burden the Indians’ religious practices in a way that
          would require the government to meet the compelling
          interest test—not because the religious practices were
          unaffected, but because the construction of the road did not
          “coerce[]” the Indians “into violating their religious beliefs,”
          as in Yoder, nor “penalize religious activity by denying any
          person an equal share of the rights, benefits, and privileges
          enjoyed by other citizens,” as in Sherbert. Id. at 449. In
          other words, it was irrelevant that “the Indians’ spiritual
          practices would become ineffectual” or made “more
          difficult” because there was “no tendency to coerce
          individuals into acting contrary to their religious beliefs.”
          Id. at 450. Thus, the burden suffered by the Indians was
          qualitatively different than the burden required to be proven
          to obtain relief under Sherbert and Yoder. Even accepting
          that the road-building project “could have devastating
          effects on traditional Indian religious practices” or even
          “virtually destroy the Indians’ ability to practice their
          religion,” id. at 451, the project did not put the Indians to the
          choice between violating or abandoning their religious tenets
          and losing vested benefits or incurring a governmental
          penalty. Because there was no personal coercion, the new
          road did not substantially burden the Indians’ constitutional
          right to the free exercise of their religion. Id. at 447. 3


          3
            In dicta, the Supreme Court in Lyng mentioned that “a law prohibiting
          the Indian respondents from visiting the [sacred] area would raise a
          different set of constitutional questions.” Id. at 453. The Supreme Court
          gave no indication as to what “different . . . constitutional questions”
          would be raised under such circumstances, what analysis the Court
          would use to answer those questions, or what answers the Court would
          reach. We do not give any weight to “an unconsidered statement” found
          in Supreme Court dicta, Valladolid v. Pac. Operations Offshore, LLP,
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               The lead dissent argues, however, that Smith interpreted
          “Lyng [as] stand[ing] for the proposition that the compelling
          interest test is ‘inapplicable’ to ‘across-the-board’ neutral
          laws” because Smith quoted from Lyng when it established
          that rule. We addressed and rejected this same argument
          fifteen years ago. See Navajo Nation, 535 F.3d at 1072–73.
          The fact that Smith divined some support for its rule from the
          Lyng’s language does not mean that Lyng was the case that
          established the rule that “neutral, generally applicable laws”
          are exempt from the Sherbert and Yoder test.4 That case was
          Smith. And Congress cited Smith, not Lyng, as the case that
          “virtually eliminated the requirement that the government
          justify burdens on religious exercise imposed by laws neutral
          toward religion.” See 42 U.S.C. § 2000bb(a)(4). 5
              Smith, if anything, construed Lyng as one of several
          examples where the Court declined to apply the compelling
          interest test because the government action in that case was
          not coercive, making the burden it imposed on religious
          practice not “substantial[]” within the meaning of Sherbert.
          Emp. Div., Dep’t of Hum. Res. of Or. v. Smith, 494 U.S. 872,

          604 F.3d 1126, 1131–32 (9th Cir. 2010), aff’d, 565 U.S. 207 (2012), and
          this language in Lyng does not establish that the term “substantial
          burden” has any greater or different meaning than used in the remainder
          of the opinion in Lyng and in other pre-RFRA cases.
          4
            I agree in full with Judge Collins’s explanation as to why the law at
          issue in Lyng was not neutral or generally applicable. Simply put, an Act
          of Congress that deals with a specific stretch of road in Northern
          California is not, by definition, a “neutral law of general application.”
          5
            RFRA also explicitly endorsed “the compelling interest test as set forth
          in prior Federal court rulings”—that is, the test used in federal court
          rulings prior to Smith. 42 U.S.C. § 2000bb(a)(5) (emphasis added).
          Lyng was handed down two years prior to Smith. Thus, Lyng was one of
          the “prior Federal court rulings” which Congress explicitly wanted to
          restore.
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          883 (1990) (citing Sherbert, 374 U.S. at 402–03). Smith
          explained that the government action in Sherbert
          “substantially burden[ed] . . . religious practice” because it
          coerced a religious adherent into violating her beliefs by
          “condition[ing] the availability of [unemployment] benefits
          upon [her] willingness to work under conditions forbidden
          by h[er] religion.” Smith, 494 U.S. at 883 (citing Sherbert,
          374 U.S. at 402–03). But the Court had “never invalidated
          any governmental action on the basis of the Sherbert test”
          outside the unemployment benefit context because none of
          the challenged state actions in those cases were coercive.
          Smith, 494 U.S. at 883. Whether it was the “military dress
          regulations [in Goldman v. Weinberger] that forbade the
          wearing of yarmulkes,” the state “prison’s refusal [in
          O’Lone v. Estate of Shabazz] to excuse inmates from work
          requirements to attend worship services,” the federal statute
          in Bown v. Roy “that required [Social Security] benefit
          applicants . . . to [obtain and] provide their Social Security
          numbers,” or the “devastating effects on . . . religious
          practices” caused by the “Government’s logging and road
          construction activities on [sacred] lands” in Lyng—these
          activities, at most, interfered with religious exercise as an
          incident to the operation of governmental affairs. Smith, 494
          U.S. at 883–84 (internal citations and quotations omitted).
          They did not entice religious adherents into violating the
          tenets of their faith in exchange for government benefits, as
          the government had done in Sherbert. See id.
              Pre-RFRA cases applying (or refusing to apply)
          Sherbert’s compelling interest test only confirm what Smith
          later observed: that coercion is the sine qua non for what
          constitutes a “substantial[] burden” under Sherbert. Id. at
          883. In Thomas v. Review Board of the Indiana Employment
          Security Division, 450 U.S. 707 (1981), a religious adherent
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          was fired for refusing to participate in the production of
          armaments, and the state denied him unemployment
          benefits. Although Thomas was a relatively easy application
          of Sherbert, the Supreme Court took the occasion to reiterate
          that only personal coercion qualifies as a substantial burden
          under the Free Exercise Clause: “Where the state conditions
          receipt of an important benefit upon conduct proscribed by a
          religious faith, or where it denies such a benefit because of
          conduct mandated by religious belief, thereby putting
          substantial pressure on an adherent to modify his behavior
          and to violate his beliefs, a burden upon religion exists.” Id.
          at 717–18. The Supreme Court held that a substantial burden
          was placed on the religious adherent and granted relief under
          the Free Exercise Clause. Id. at 720.
              In Bowen v. Roy, 476 U.S. 693 (1986)—one of the
          examples that Smith identified as not involving a substantial
          burden, see Smith, 494 U.S. at 883—an Indian religious
          adherent challenged the Government’s internal use of a
          Social Security number to identify the religious adherent’s
          daughter, Bowen, 476 U.S. at 699. The religious adherent
          testified that the Government’s use of a Social Security
          number would “rob” his daughter of “her spirit.” Id. at 697.
          The Supreme Court explained how the use of the Social
          Security number was not a substantial burden by drawing a
          distinction between burdens that coerce the religious
          adherent to violate or abandon his sincere religious beliefs
          and those that do not:

                 The Free Exercise Clause simply cannot be
                 understood to require the Government to
                 conduct its own internal affairs in ways that
                 comport with the religious beliefs of
                 particular citizens. Just as the Government
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                 may not insist that appellees engage in any
                 set form of religious observance, so appellees
                 may not demand that the Government join in
                 their chosen religious practices . . . .

          Id. at 699–700. In other words, “[t]he Free Exercise Clause
          affords an individual protection from certain forms of
          governmental compulsion; it does not afford an individual a
          right to dictate the conduct of the Government’s internal
          procedures.” Id. at 700. The Supreme Court concluded that
          the use of the Social Security number did not create a
          substantial burden, even though it might “rob” the “spirit” of
          the adherent’s daughter, because “in no sense d[id] it
          affirmatively compel [the adherents], by threat of sanctions,
          to refrain from religiously motivated conduct or to engage in
          conduct that they f[ound] objectionable for religious
          reasons.” Id. at 703. The Supreme Court thus denied relief
          under the Free Exercise Clause. Id. at 712.
              Only a few years before RFRA, the Supreme Court
          decided Jimmy Swaggart Ministries v. Board of
          Equalization of California, 493 U.S. 378 (1990), in which
          the Court held that a generally applicable tax does not
          impose a “constitutionally significant burden on [the
          religious adherent’s] religious practices or beliefs.” Id. at
          392. In explaining why the tax did not impose a substantial
          burden, the Supreme Court reasoned that “in no sense has
          the State ‘conditioned receipt of an important benefit upon
          conduct proscribed by a religious faith, or denied such a
          benefit because of conduct mandated by religious belief,
          thereby putting substantial pressure on an adherent to modify
          his behavior and to violate his beliefs.’” Id. at 391–92
          (alterations adopted) (quoting Hobbie, 480 U.S. at 141).
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              In sum, pre-RFRA jurisprudence set forth very clear
          guidelines as to what type of burden is “substantial” enough
          to require the government to demonstrate a compelling
          interest: government action that coerces a religious adherent
          to violate or abandon the tenets of his religion—by
          threatening, for example, the denial of a governmental
          benefit to which the person is otherwise entitled or the
          imposition of a penalty based on the religious adherent’s
          choice to act in accordance with the protected tenets of his
          religion. Whether one might think the phrase “substantial
          burden” admits a broader definition, the Supreme Court did
          not. It was with this clear jurisprudential history that RFRA
          adopted “substantial burden” as a statutory term. 6
              The lead dissent disagrees, arguing that “pre-RFRA
          precedents did not limit the kinds of burdens protected under
          the Free Exercise Clause to the types of burdens challenged
          in Sherbert (the choice between sincere religious exercise
          and receiving government benefits) and in Yoder (the threat
          of civil or criminal sanctions).” Instead, the dissent argues
          that “the Supreme Court’s pre-Smith jurisprudence
          recognizes at least one other category of government action
          that violates the Free Exercise Clause: preventing a religious


          6
            The Supreme Court’s jurisprudence prior to Smith used the term
          “burden” or “undu[e] burden,” and did not specifically use the term
          “substantial burden”—though our own pre-Smith jurisprudence certainly
          did. See Callahan v. Woods, 736 F.2d 1269, 1273 (9th Cir. 1984). The
          use of the term “substantial burden” did not appear in Supreme Court
          case law until Smith itself. See 485 U.S. at 883. Nonetheless, Smith’s
          use of the term “substantial burden,” as well as our own use of that term
          in pre-Smith jurisprudence, invoked the entire line of cases, beginning
          with Sherbert and Yoder, in which the Court had identified the kinds of
          burdens on religious adherents which the government must justify with
          a compelling interest.
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          adherent from engaging in religious exercise.” The dissent
          cites two cases to support this theory.
              First, the dissent cites Cruz v. Beto, 405 U.S. 319, 322
          (1972) (per curiam). In Cruz, Texas state prison officials
          barred a Buddhist prisoner from using a prison chapel, which
          was available to prisoners who were members of other
          religious sects. Id. at 319. Prison officials had also
          facilitated distribution of religious materials of non-
          Buddhist faiths. Id. at 319–20. But when the prisoner shared
          Buddhist religious material with other prisoners, prison
          officials retaliated by placing the prisoner in solitary
          confinement and on a diet of bread and water for two weeks,
          without access to newspapers, magazines, or other sources
          of news. Id. at 319. Further, the prison officials prohibited
          the prisoner from corresponding with his religious advisor,
          even though prison officials facilitated correspondence with
          religious advisors for prisoners of other faiths. Id.
              The Buddhist prisoner sued the prison officials under 42
          U.S.C. § 1983 for violating his rights to the free exercise of
          his religion under the First and Fourteenth Amendments.
          The district court denied relief under the theory that a
          prisoner’s exercise of religion should be left “to the sound
          discretion of prison administrators,” and held that
          “disciplinary and security reasons . . . may prevent the
          ‘equality’ of exercise of religious practices in prison,” and
          thus ruled that prisoners do not enjoy a right to the free
          exercise of religion under the First and Fourteenth
          Amendments. Id. at 321. The Fifth Circuit affirmed.
              The Supreme Court reversed in a five-page, per curiam
          opinion. The Court held that prisoners enjoy the right to the
          free exercise of religion and held that the allegations in the
          prisoner’s complaint were sufficient to state a claim under
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          the First and Fourteenth Amendments. Id. at 322. When the
          Court analyzed the prisoner’s complaint, the Court did not
          discuss which of the prison officials’ actions—the denial of
          access to the chapel, a religious advisor, and news sources,
          or the placement of the prisoner in solitary confinement and
          on a diet of bread and water for two weeks—constituted a
          qualifying burden for First Amendment purposes. The Court
          never held that the denial of access to the prison chapel was
          a sufficient burden on its own or that the burdens discussed
          in Sherbert and Yoder were merely two examples of a
          broader inquiry. The Court never even cited Sherbert or
          Yoder.
              It was unnecessary for the Court to conduct a detailed
          analysis of the burden on the religious adherent in Cruz: the
          religious adherent’s complaint easily stated enough facts to
          allege a plausible Free Exercise Clause violation under
          Sherbert or Yoder. The religious adherent in Cruz alleged
          that prison officials denied access to governmental benefits
          that were generally available to similarly situated prisoners
          of other religions. The denial of those benefits plainly
          qualified as a cognizable burden under Sherbert, 374 U.S. at
          404. 7 Further, he alleged that the prison officials placed the
          prisoner in solitary confinement and on a diet of bread and
          water for two weeks as punishment for his distribution of
          religious materials. Those penalties easily qualified as
          burdens under Yoder, 406 U.S. at 218. Nowhere in the
          Court’s decision is there any mention of a First Amendment
          right to access and use governmental property for exercise
          of a religious rite.

          7
            Moreover, these denials likely qualified as violations of the Equal
          Protection Clause of the Fourteenth Amendment, which the prisoner had
          also invoked as a basis for relief. See Cruz, 405 U.S. at 320 n.1.
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              Second, the dissent cites O’Lone v. Estate of Shabazz,
          482 U.S. 342 (1987). In O’Lone, prison officials in a New
          Jersey state prison forced some Muslim prisoners to work
          outside the prison during workdays, which included Friday
          afternoons, the Muslim holy day. Id. at 345–47. The
          Muslim prisoners filed suit to challenge the prison regulation
          because the regulations prevented the prisoners from
          attending a religious service, which their faith commanded
          them to perform on Friday afternoons. Id. at 345. The
          Supreme Court analyzed the claim not with Sherbert and
          Yoder’s compelling interest framework, but with a
          “reasonableness” test that the Court had used at that time for
          Free Exercise claims arising in the prison context. Id. at 349.
          The Court held that the prison regulations were reasonable.
          Id. at 351–53.
              O’Lone is clearly inapplicable. The Court barely
          mentioned that the Muslim plaintiffs were barred from
          attending their religious event and never analyzed whether
          that bar constituted a qualifying burden under the First
          Amendment. There was no discussion whether the bar might
          have constituted or been backed by the denial of a vested
          governmental benefit or the imposition of a penalty. The
          Court, of course, did not need to address the issue whether
          the burden was a qualifying burden because the Court ruled
          against the prisoners on the grounds that the prison
          regulations were “reasonable.” Even had the court provided
          some guidance on whether the denial of access to a religious
          site was a qualifying burden in O’Lone, it would have been
          inapplicable in the present case because RFRA adopted
          Sherbert and Yoder’s compelling interest framework, not the
          now-abandoned “reasonableness” framework in use in
          prisoner cases at the time of O’Lone.
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              The mere fact that the governmental actions in Cruz and
          O’Lone had caused, as one of their effects, what one could
          describe as the prevention or denial of access to a location
          for sincere religious exercise, does not mean that the
          Supreme Court recognized that such an effect constitutes a
          “substantial burden” for purposes of the Sherbert test. That
          simply was not a finding in either case.
                        B. Smith, RFRA, and RLUIPA
              In 1990, the Supreme Court decided Employment
          Division, Department of Human Resources of Oregon v.
          Smith, 494 U.S. 872 (1990). In Smith, two individuals were
          fired from their jobs at a private drug rehabilitation
          organization because they ingested peyote at a ceremony of
          the Native American Church. Id. at 874. An Oregon agency
          denied both individuals unemployment compensation
          because the agency determined that the individuals had been
          discharged for work-related misconduct. Id. Oregon courts
          reversed, holding that Sherbert and Yoder prohibited the
          denial of unemployment benefits to the religious adherent on
          the basis of his participation in religious conduct. Id. at 874–
          76. The Supreme Court, however, disagreed, holding that
          Sherbert and Yoder’s substantial burden test does not
          prevent a state from enacting and enforcing “neutral,
          generally applicable laws” such as Oregon’s criminal law
          prohibition against the use of peyote. Id. at 878–82.
             Congress responded to Smith in 1993 by enacting RFRA.
          Congress disagreed with Smith’s exempting “neutral,
          generally applicable laws” from the reach of Sherbert and
          Yoder, saying that Smith had “virtually eliminated the
          requirement that the government justify burdens on religious
          exercise imposed by laws neutral toward religion.” 42
          U.S.C. § 2000bb(a)(4). Congress required that “the
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          compelling interest test as set forth in prior Federal court
          rulings” apply no matter whether the challenged law was one
          of neutral, general applicability. 42 U.S.C. § 2000bb(a)(5).
          RFRA then pointedly and specifically cited two Supreme
          Court cases; RFRA explained that Congress’s intent was “to
          restore the compelling interest test as set forth in Sherbert v.
          Verner, 374 U.S. 398 (1963) and Wisconsin v. Yoder, 406
          U.S. 205 (1972).” 42 U.S.C. § 2000bb(b)(1).
              Against this backdrop, Congress provided the following
          statutory language: “Government shall not substantially
          burden a person’s exercise of religion even if the burden
          results from a rule of general applicability,” unless the
          government “demonstrates that application of the burden to
          the person (1) is in furtherance of a compelling
          governmental interest; and (2) is the least restrictive means
          of furthering that compelling governmental interest.” 42
          U.S.C. §§ 2000bb-1(a), (b)(1)–(2).
              In 1997, the Supreme Court curtailed the scope of
          RFRA. In City of Boerne v. Flores, the Supreme Court held
          that RFRA was unconstitutional as applied to the actions and
          laws of state governments because Congress had exceeded
          the authority delegated to it in the Fourteenth Amendment to
          the Constitution. 521 U.S. 507 (1997). When Congress
          passed RFRA, Congress invoked its authority under the
          Fourteenth Amendment to extend the reach of RFRA to
          regulate state actions and lawmaking. Id. at 516; see also
          U.S. Const. amend. XIV, § 5 (“The Congress shall have
          power to enforce, by appropriate legislation, the provisions
          of this article.”). In City of Boerne, the Supreme Court held
          that Congress’s reliance on the Fourteenth Amendment as a
          basis for regulating state actions and lawmaking was
          misplaced because the Fourteenth Amendment permits
          Congress to enforce only existing constitutional rights, not
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          to define new constitutional rights. Id. at 536. And because
          the Supreme Court had held in Smith that the Free Exercise
          Clause of the First Amendment did not provide any right to
          be exempt from a neutral law of general applicability, the
          rights protected in RFRA went beyond the rights protected
          under the First Amendment and therefore exceeded
          Congress’s power to regulate the state and local actions
          under the Fourteenth Amendment. Id. at 534–35.
              In 2000, in response to City of Boerne, Congress passed
          a new, different, and narrower statute: RLUIPA. RLUIPA’s
          application and text differs from RFRA’s in many important
          and decisive ways, discussed further below.           Most
          significantly, RLUIPA makes no mention of Sherbert or
          Yoder or any other case and does not purport to restore any
          test “set forth in prior federal court rulings.”
                              C. Navajo Nation
              In 2008, we took Navajo Nation v. United States Forest
          Service en banc to resolve disagreement over what kinds of
          burdens qualify as “substantial burdens” on the exercise of
          religion under RFRA. 535 F.3d 1058 (9th Cir. 2008) (en
          banc). In Navajo Nation, a coalition of Indian tribes and
          environmentalist organizations filed a lawsuit seeking to
          prohibit the United States Forest Service from approving
          planned upgrades to a ski resort located on federal property.
          Id. at 1062. The Indian plaintiffs, who considered the whole
          mountain at issue to be a sacred place in their religion,
          contended that the planned use of artificial snow made from
          recycled wastewater containing microscopic amounts of
          human fecal matter would spiritually contaminate the entire
          mountain. Id. at 1062–63. The Indian plaintiffs claimed that
          the use of recycled wastewater would cause:
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                 (1) the inability to perform a particular
                 religious ceremony, because the ceremony
                 requires collecting natural resources from the
                 Peaks that would be too contaminated—
                 physically,    spiritually,    or   both—for
                 sacramental use; and (2) the inability to
                 maintain daily and annual religious practices
                 comprising an entire way of life, because the
                 practices require belief in the mountain’s
                 purity or a spiritual connection to the
                 mountain that would be undermined by the
                 contamination.

          Navajo Nation v. U.S. Forest Serv., 479 F.3d 1024, 1039 (9th
          Cir. 2007) (vacated panel opinion). The panel opinion held
          that the planned use of recycled wastewater would create a
          substantial burden on the Indians’ religious practices, and
          the panel granted relief under RFRA. See id. at 1042–43.
              In reversing the panel decision, our en banc decision
          noted that RFRA used “substantial burden” as “a term of art
          chosen by Congress to be defined by reference to Supreme
          Court precedent.” Navajo Nation, 535 F.3d at 1063. While
          RFRA did not include a definition of “substantial burden”
          among its several definitions, see 42 U.S.C. § 2000bb-2, the
          en banc panel reasoned that “[w]here a statute does not
          expressly define a term of settled meaning, ‘courts
          interpreting the statute must infer, unless the statute
          otherwise dictates, that Congress means to incorporate the
          established meaning of that term.’” Id. at 1074 (alterations
          adopted) (quoting N.L.R.B. v. Town & Country Elec., Inc.,
          516 U.S. 85, 94 (1995)).
             The en banc panel therefore applied the Sherbert and
          Yoder framework and concluded that the planned use of
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          recycled wastewater to make artificial snow did not coerce
          the religious adherents to violate the tenets of their religion
          and therefore did not qualify as a “substantial burden.” Id.
          at 1078. Despite the fact that the use of recycled wastewater
          might destroy “an entire way of life,” the en banc panel
          concluded that a substantial burden was not present because
          the use of recycled wastewater did “not force the Plaintiffs
          to choose between following the tenets of their religion and
          receiving a governmental benefit, as in Sherbert,” nor did it
          “coerce the Plaintiffs to act contrary to their religion under
          the threat of civil or criminal sanctions, as in Yoder.” Id. at
          1070.
              Since our decision in Navajo Nation, a majority of
          circuits have followed suit, defining the term “substantial
          burden” as including only government actions which coerce
          individual religious adherents to violate or abandon their
          sincere religious beliefs. 8

          8
            See Perrier-Bilbo v. United States, 954 F.3d 413, 431 (1st Cir. 2020),
          cert. denied, 141 S. Ct. 818 (Nov. 9, 2020); Newdow v. Peterson, 753
          F.3d 105, 109 (2d Cir. 2014) (per curiam); Real Alternatives, Inc. v. Sec’y
          Dep’t of Health & Hum. Servs., 867 F.3d 338, 356 (3d Cir. 2017); Liberty
          Univ., Inc. v. Lew, 733 F.3d 72, 100 (4th Cir. 2013); U.S. Navy Seals 1-
          26 v. Biden, 27 F.4th 336, 350 (5th Cir. 2022); New Doe Child #1 v.
          United States, 901 F.3d 1015, 1026 (8th Cir. 2018); Kaemmerling v.
          Lappin, 553 F.3d 669, 678 (D.C. Cir. 2008).
          Four circuits have used a definition of “substantial burden” that includes
          both governmental actions that coerce religious adherents to violate or
          abandon their sincere religious beliefs and governmental actions that
          prevent the religious adherent from participating in religiously motivated
          conduct. See Yellowbear v. Lampert, 741 F.3d 48, 55 (10th Cir. 2014);
          Haight v. Thompson, 763 F.3d 554, 565 (6th Cir. 2014); Lovelace v. Lee,
          472 F.3d 174, 187–88 (4th Cir. 2006); Murphy v. Mo. Dep’t of Corrs.,
          372 F.3d 979, 988 (8th Cir. 2004). The dissent cites to these circuits as
          support for its proposed test. But these four circuits failed to provide any
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                                       DISCUSSION
           A. The Textual and Contextual Evidence Compels the
             Conclusion That Congress Intended “Substantial
            Burden” to Be Defined by Its Case-Based, Technical
             Definition, Rather Than Its Dictionary Definition.
              “Words are to be understood in their ordinary, everyday
          meanings—unless the context indicates that they bear a
          technical sense.” Antonin Scalia & Bryan A. Garner,
          Reading Law: The Interpretation of Legal Texts 69 (2012)
          (emphasis added). When a statute addresses a subject
          already addressed in jurisprudence, “ordinary legal meaning
          is to be expected, which often differs from common
          meaning.” Id. at 73 (emphasis added). “If a word is
          obviously transplanted from another legal source, whether
          the common law or other legislation, it brings the old soil
          with it.” Id. (quoting Felix Frankfurter, Some Reflections on
          the Reading of Statutes, 47 Colum. L. Rev. 527, 537 (1947))
          (alteration adopted); see also Twitter, Inc., v. Taamneh, 143
          S. Ct. 1206, 1218 (2023); Sekhar v. United States, 570 U.S.
          729, 733 (2013).
              “If a statute uses words or phrases that have already
          received authoritative construction by the jurisdiction’s

          statutory, textual, or historical reason for expanding the definition of
          “substantial burden.” “An authority derives its persuasive power from
          its ability to convince others to go along with it.” Regents of the Univ.
          of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d 476, 509 (9th Cir. 2018)
          (quoting Bryan A. Garner, et al., The Law of Judicial Precedent 170
          (2016)), rev’d in part and vacated in part on other grounds, 140 S. Ct.
          1891 (2020); see also Chad Flanders, Toward A Theory of Persuasive
          Authority, 62 Okla. L. Rev. 55, 65 (2009) (“[T]he force of persuasive
          authority is the unforced force of the better argument.”). Decisions from
          other circuits made without any analysis are not valuable as persuasive
          authorities.
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          court of last resort, . . . they are to be understood according
          to that construction.” Scalia & Garner at 322. Of course,
          “[t]he clearest application” of this canon occurs when the
          legislature codifies a test previously expressed in judicial
          cases. Id.; see also United States v. Hansen, 143 S. Ct. 1932,
          1942 (2023) (“[W]hen Congress ‘borrows terms of art in
          which are accumulated the legal tradition and meaning of
          centuries of practice, it presumably knows and adopts the
          cluster of ideas that were attached to each borrowed word.’”
          (quoting Morissette v. United States, 342 U.S. 246, 263
          (1952))). 9
              When the full context is considered—the discussion in
          pre-Smith jurisprudence of which governmental actions
          generate cognizable burdens, the agreement between the
          majority and concurrence in Smith that only those
          governmental actions that coerce the religious adherent to
          violate or abandon his religious tenets are cognizable
          burdens, the use of the term “substantial burden” by both the
          majority and concurrence in Smith to describe such burdens,
          the fact that RFRA cited to Smith, and the fact that RFRA
          adopted the term “substantial burden” without modification
          and without noting any disapproval of the limited scope
          given to that term by the majority and concurrence in
          Smith—it is clear that Congress employed the term
          “substantial burden” in RFRA not for its dictionary


          9
            The lead dissent cites Tanzin v. Tanvir, 141 S. Ct. 486, 491 (2020), to
          support the proposition that dictionary definitions should be used to
          define RFRA’s terms. In Tanzin, the Supreme Court used a dictionary
          to define the term “appropriate relief” under RFRA because no party
          argued that the term had taken on a technical meaning. The fact that one
          term in a statute does or does not have a technical meaning has no effect
          on the interpretation of other terms in the statute.
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          definition but for the technical definition given to that term
          by Smith and prior federal court rulings.
              This view is confirmed by two pieces of textual evidence
          in the body of RFRA itself: RFRA’s statement of purpose
          and RFRA’s dual citation to Sherbert and Yoder.
            1. RFRA states that its purpose is to “restore” the free
           exercise of religion test “as set forth in prior federal court
                                     rulings.”
               When Congress expressly states a purpose for a statute, 10
          that statement of purpose “is ‘an appropriate guide’ to the
          ‘meaning of the statute’s operative provisions.’” Gundy v.
          United States, 139 S. Ct. 2116, 2127 (2019) (quoting Scalia
          & Garner at 218) (alteration adopted). “Purpose sheds light
          . . . on deciding which of various textually permissible
          meanings should be adopted.” Scalia & Garner at 57.
              Congress’s expressed desire to “restore” the free
          exercise of religion test “as set forth in prior federal court
          rulings” is a strong indication that Congress meant to have
          the term “substantial burden” in RFRA mean the same thing
          the term had meant “in prior federal court rulings.” 42
          U.S.C. § 2000bb(a)(5).
              The lead dissent argues that this analysis prioritizes
          RFRA’s statement of purpose over RFRA’s operative
          language. Not so. As the dissent acknowledges, “RFRA
          does not define ‘substantial burden.’” Thus, there is no such
          “operative language” in the statute to be overridden and the


          10
             My discussion here references Congress’s statements of purpose
          explicitly laid out in the text of 42 U.S.C. § 2000bb, not any purpose
          which might be divined from the legislative history of the statute, such
          as the records of the Congressional committee reports or debates.
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          statement of purpose is “an appropriate guide” to clarify the
          undefined term. Gundy, 139 S. Ct. at 2127.
               2. RFRA directly cites and incorporates Sherbert and
                  Yoder as setting forth Congress’s desired test.
              RFRA’s direct citation to Sherbert and Yoder—and lack
          of citation to any other pre-Smith case—cannot be overstated
          for purposes of properly interpreting RFRA. Congress
          rarely chooses to cite and incorporate directly a judicial case
          into the body of a statute. When it does so, courts
          interpreting that statute always give the case citation and its
          incorporation dispositive or at least highly persuasive
          effect. 11

          11
             See Lusnak v. Bank of Am., N.A., 883 F.3d 1185, 1191–94 (9th Cir.
          2018) (giving dispositive weight to 12 U.S.C. § 25b’s citation to Barnett
          Bank of Marion Cnty., N.A. v. Nelson, 517 U.S. 25 (1996)); Cantero v.
          Bank of Am., N.A., 49 F.4th 121 (2d Cir. 2022) (same); Baptista v.
          JPMorgan Chase Bank, N.A., 640 F.3d 1194, 1197 (11th Cir. 2011)
          (same); United States v. Alabama, 691 F.3d 1269, 1297 (11th Cir. 2012)
          (giving dispositive weight to 8 U.S.C. § 1643’s citation to Plyler v. Doe,
          457 U.S. 202 (1982)); Ass’n of Banks in Ins., Inc. v. Duryee, 270 F.3d
          397, 405 (6th Cir. 2001) (giving dispositive weight to 15 U.S.C. § 6701’s
          citation to Barnett Bank of Marion Cnty., N.A. v. Nelson, 517 U.S. 25
          (1996)); Nat’l Treasury Emps. Union v. United States, 950 F.2d 1562,
          1568 (Fed. Cir. 1991) (giving dispositive weight to 19 U.S.C. § 1451’s
          citation to United States v. Myers, 320 U.S. 561, 566 (1944)); Long v.
          Salt River Valley Water Users’ Ass’n, 820 F.2d 284, 287 (9th Cir. 1987)
          (using Arizona v. California, 376 U.S. 340 (1964), to define the
          Government’s duties under 43 U.S.C. § 1524 because § 1524 cites
          Arizona); United States v. Bell, 761 F.3d 900, 913 n.6 (8th Cir. 2014)
          (holding that 22 U.S.C. § 7101’s citation to and rejection of the narrow
          scope of United States v. Kozminski, 487 U.S. 931 (1988), means that the
          scope of § 7101 must at least include the scope of Kozminski); United
          States v. Calimlim, 538 F.3d 706, 714 (7th Cir. 2008) (same); United
          States v. Bradley, 390 F.3d 145, 150 (1st Cir. 2004) (same), cert.
          granted, judgment vacated on other grounds, 545 U.S. 1101 (2005); see
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              But even more impressive is that in no statute other than
          RFRA has Congress ever cited more than one case in setting
          a single statutory test. Bearing in mind the canon of statutory
          interpretation against surplusage—which teaches us that
          neither citation “should needlessly be given an interpretation
          that causes it to duplicate another provision or to have no
          consequence,” Scalia & Garner at 174—we must ask why
          Congress saw the need to cite both Sherbert and Yoder.
              Sherbert and Yoder both held that no government action
          can burden an individual’s free exercise of religion without
          using means narrowly tailored to a compelling governmental
          interest. See Sherbert, 374 U.S. at 406; Yoder, 406 U.S. at
          213–15. If that was all the law that Congress wanted to
          “restore,” 42 U.S.C. § 2000bb(b)(1), then citation to either
          Sherbert or Yoder would have been adequate. Yet Congress,
          legislating in response to Smith, nonetheless felt the need to
          cite both Sherbert and Yoder.
              The material difference between Sherbert and Yoder was
          in the kind of coercive burden the Supreme Court recognized
          as substantial in each case. In Sherbert, the Court recognized
          that the denial of governmental benefits to which the
          claimant was otherwise entitled because of her choice to
          engage in religiously motivated conduct can be a substantial
          burden; in Yoder, the Supreme Court recognized that the
          imposition of a governmental penalty because of the
          religious adherent’s participation in religiously motivated
          conduct can have the same coercive effect. Sherbert, 374
          U.S. at 403–04; Yoder, 406 U.S. at 218. Because Congress

          also Taamneh, 143 S. Ct. at 1218 (using Halberstam v. Welch, 705 F.2d
          472 (D.C. Cir. 1983), to define aiding and abetting under 18 U.S.C.
          § 2333 because Congress cited Halberstam in the findings section of the
          Justice Against Sponsors of Terrorism Act, which amended § 2333).
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          cited both Sherbert and Yoder, those two cases and the two
          types of coercion they recognized provide the lens through
          which courts interpret RFRA’s “substantial burden.” 12
              We must then ask why Congress cited only Sherbert and
          Yoder. The canon of statutory interpretation expressio unius
          est exclusio alterius teaches us that “[t]he expression of one
          thing implies the exclusion of others.” Scalia & Garner at
          107. Thus, by citing only Sherbert and Yoder, Congress did
          more than merely endorse the two types of coercive burdens
          recognized in those cases as determinative of the scope of
          the term “substantial burden.” Congress could have just as
          easily cited Cruz or O’Lone as additional examples of cases
          where the burden at issue was “substantial,” but it did not.
          Congress therefore implied that any other kinds of burdens
          on religious exercise are excluded from the meaning of
          “substantial burden” in RFRA. See United States v.
          Giordano, 416 U.S. 505, 514 (1974) (a statute’s listing of



          12
             The dissent and Judge R. Nelson argue that RFRA’s statement of
          purpose referred to the “compelling interest” portion of Sherbert and
          Yoder, but not the definition of “substantial burden.” The definition of
          “substantial burden” used in pre-RFRA jurisprudence was a core
          predicate part of the test that RFRA, in its own words, sought to
          “restore.” 42 U.S.C. § 2000bb(b)(1) (“The purposes of this chapter are—
          (1) to restore the compelling interest test as set forth in Sherbert v.
          Verner, 374 U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205
          (1972).”); see also Tanzin, 592 U.S. at 45 (“RFRA sought to . . . restore
          the pre-Smith ‘compelling interest test’ . . . .’”) (quoting 42 U.S.C.
          § 2000bb(1)–(2)). Smith itself defined the test as follows: “Under the
          Sherbert test, governmental actions that substantially burden a religious
          practice must be justified by a compelling governmental interest.” 494
          U.S. at 883 (emphasis added). It is impossible to “restore” the
          compelling interest test without restoring the original definition of its
          essential predicate, the “substantial burden.”
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          two individuals authorized to enforce the statute implied that
          others were not authorized to enforce the statute).
              Nor does RFRA’s choice of words suggest that Congress
          cited Sherbert and Yoder as mere examples of the pre-Smith
          test. We should not read into a statute a phrase that
          “Congress knows exactly how to adopt . . . when it wishes,”
          but which Congress has not adopted in the statute at issue.
          Ysleta Del Sur Pueblo v. Texas, 142 S. Ct. 1929, 1942
          (2022); see also Astrue v. Ratliff, 560 U.S. 586, 595 (2010).
          There are several phrases Congress has, and could have
          again, employed to communicate that Sherbert and Yoder
          should be treated as mere examples of substantial burdens.
          See, e.g., 8 U.S.C. § 1368 (“for example”); 15 U.S.C. § 769
          (“to include”); 34 U.S.C. § 12621 (“such as”). But Congress
          used none of these phrases. The lead dissent offers no
          rationale nor cites any authority for its suggestion that Yoder
          and Sherbert were mere “examples” of substantial burdens.
              These canons of statutory interpretation reinforce the
          conclusion that RFRA codified only a limited definition of
          “substantial burden”: “substantial burden” means personal
          coercion, limited to the threatened denial of a vested benefit
          or the threatened imposition of a penalty because of the
          religious adherent’s participation in protected religious
          conduct, as set forth in Sherbert and Yoder.
             3. Hobby Lobby did not remove or alter the technical
            definition of “substantial burden” adopted by Congress.
              The lead dissent cites Burwell v. Hobby Lobby Stores,
          Inc., 573 U.S. 682, 706, 714–15 (2014), for the proposition
          that RFRA “goes ‘far beyond what is constitutionally
          required’ under the Free Exercise Clause” and thus “Navajo
          Nation made too much of the fact that RFRA explicitly
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          mentions Sherbert and Yoder by name in explaining the
          statute’s purpose.”
              The dissent’s citation to Hobby Lobby is an unfortunate
          example of “snippet analysis”: the use of selected words in
          a case as the basis for an argument, without mention of the
          case’s actual issues, reasoning, and holding, or to what those
          words actually referred to in that case. See Humphrey’s
          Executor v. United States, 295 U.S. 602, 627 (1935)
          (“[G]eneral expressions, in every opinion, are to be taken in
          connection with the case in which those expressions are
          used. . . . [T]heir possible bearing on all other cases is
          seldom completely investigated.” (quoting Cohens v.
          Virginia, 19 U.S. (6 Wheat.) 264, 399–400 (1821) (Marshall,
          C.J.))).
              The Hobby Lobby decision lends no support to the
          dissent’s proposed expansion of the definition of
          “substantial burden.” At issue in Hobby Lobby was a
          governmental mandate that required employers to provide
          insurance coverage to employees for certain forms of
          contraception. Id. at 689–90. The government threatened
          penalties against the employers if they did not comply with
          the mandate. The employers sued to enjoin the imposition
          of such penalties, invoking RFRA. The question presented
          to the Supreme Court was whether corporations, such as
          Hobby Lobby, enjoy protection under RFRA even though
          pre-RFRA jurisprudence had been applied only to protect the
          right to free exercise of religion of natural persons. The
          Supreme Court held that RFRA applies to a broad category
          of plaintiffs, including plaintiffs who do not necessarily
          “f[a]ll within a category of plaintiffs one of whom had
          brought a free-exercise claim that [the Supreme] Court
          entertained in the years before Smith.” Id. at 716. The
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          Supreme Court therefore held that certain corporations may
          bring suit under RFRA.
              Hobby Lobby emphasized that RFRA is not limited to the
          factual incidences of pre-RFRA jurisprudence as to who can
          sue the federal government under RFRA. But neither Hobby
          Lobby nor RFRA went “far beyond” pre-RFRA First
          Amendment cases as to what could be sued on: what
          constituted an actionable “substantial burden.” Hobby
          Lobby never rejected the test used by pre-RFRA
          jurisprudence, including the portion of the test at issue here:
          the definition of “substantial burden.” Nothing about Hobby
          Lobby can be read to suggest that “substantial burden” is
          anything but a term of art or that it extends past the
          definitions provided in Sherbert and Yoder. To the contrary,
          Hobby Lobby held that a substantial burden was present in
          that case by using the pre-RFRA test. See id. at 726 (holding
          that regulation at issue created a “substantial burden” under
          RFRA because the governmental action threatened penalties
          against religiously adherent employers who refused to
          provide contraceptive care as part of their heath provision
          plans, and therefore involved “coercion”). Thus, the snippet
          of Hobby Lobby’s language quoted by the dissent dealt with
          the expansion of the list of who could sue under RFRA. It
          did not expand the list of what constitutes a “substantial
          burden,” or which government actions can be halted. As to
          what constituted a “substantial burden,” Hobby Lobby
          simply followed Yoder and pre-RFRA Supreme Court
          decisions. 13


          13
            The dissent also cites 42 U.S.C. § 2000bb-3(c). Section 2000bb-3,
          enacted as part of RFRA, is entitled “Applicability.” Subsection (c) says:
          “Nothing in [RFRA] shall be construed to authorize any government to
          burden any religious belief.” 42 U.S.C. § 2000bb-3(c). This statutory
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             B. The Textual Differences Between RFRA and
           RLUIPA Make RLUIPA Cases Inapposite in the RFRA
                                Context.
              Rather than utilize straightforward methods of statutory
          interpretation based on the language of RFRA, as explained
          above, the lead dissent gets to its proposed definition of
          “substantial burden” by way of a different statute: RLUIPA.
          The dissent argues that the term “substantial burden” “has
          the same meaning under both RFRA and RLUIPA.” And
          because, “under RLUIPA,” “denying access to or preventing
          religious exercise qualifies as a substantial burden,” the lead
          dissent’s conclusion then follows: “transferring Oak Flat to
          Resolution Copper will amount to a substantial burden under
          RFRA.”


          language is unhelpful for two reasons. First, this kind of statutory
          language merely acts as a failsafe provision, included to prevent any
          unintended consequences of the operative language of the statute. Here,
          the language ensures that RFRA’s terms are not somehow construed to
          expand the government’s ability to burden religion. The language is
          unhelpful for determining what the rest of the statute in fact prohibits.
          We have reached the same conclusion when interpreting similar
          language in other statutes. See Cabazon Band of Mission Indians v.
          Wilson, 37 F.3d 430, 433 (9th Cir. 1994); Cath. Soc. Servs., Inc. v.
          Thornburgh, 956 F.2d 914, 923 (9th Cir. 1992), vacated on other
          grounds sub nom. Reno v. Cath. Soc. Servs., Inc., 509 U.S. 43 (1993).
          But second, even if the statute said what the dissent claims—that the
          government “may not burden any religious belief”—that language would
          nevertheless be unhelpful because we would still be required to
          determine what kinds of government actions qualify as “burdens” and
          whether the term “burden” is used in a technical sense. Nothing about
          this statutory language states or implies that RFRA’s use of the term
          “substantial burden” is anything but a reference to a term of art or that
          Congress intended to expand the kinds of burdens that qualify under
          RFRA beyond those identified in Sherbert and Yoder.
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              This reasoning is erroneous for two reasons. First, as
          explained by the majority, RFRA and RLUIPA apply in
          contexts so distinguishable as to make any discussion of
          burdens in RLUIPA cases entirely unhelpful when
          interpreting RFRA. But second, RLUIPA cases are
          unhelpful for interpreting RFRA because the text of
          RLUIPA, especially its land use provision, uses language
          that implies a broader test.
               What the dissent refers to as “RLUIPA” in fact
          encompasses two different statutory provisions. RLUIPA’s
          first operative provision governs state land-use and zoning
          regulations. 42 U.S.C. § 2000cc(a)(1). Its second operative
          provision governs state regulation of institutionalized
          persons. 42 U.S.C. § 2000cc-1(a). No party argues that
          RLUIPA applies to this case. The Land Exchange Act is not
          a state land-use law. The members of Apache Stronghold
          are not institutionalized persons. Yet, Apache Stronghold
          and the dissent argue that somehow the similarities between
          RFRA and the two provisions of RLUIPA should make all
          RLUIPA precedent binding when we interpret RFRA.
              RLUIPA’s two operative provisions are somewhat
          similar to RFRA, but they are not identical. The dissent
          argues that RFRA and RLUIPA are “distinguished only in
          that they apply to different categories of governmental
          actions.” 14 However, several other distinctions must be

          14
             The dissent cites Hobby Lobby for this proposition. The Court in
          Hobby Lobby remarked in a passing comment that RLUIPA “imposes
          the same general test as RFRA but on a more limited category of
          governmental actions.” 573 U.S. at 695. Remember: Hobby Lobby was
          exclusively a federal law action; no state, state land-use regulation, or
          state prisoner was involved; hence, RLUIPA was inapplicable. The
          Court never analyzed the differences between RFRA and RLUIPA and
          never held that RFRA and RLUIPA are distinguished only in that they
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          drawn between RFRA and RLUIPA, especially RLUIPA’s
          land-use provision. First, RFRA cites and incorporates
          Sherbert and Yoder, but no provision in RLUIPA mentions
          either case, nor indeed any case. Second, RFRA restores a
          test “set forth in prior Federal court rulings,” but no
          provision in RLUIPA invokes any “prior Federal court
          rulings” as a framework for its test. Third, RFRA must be
          construed using normal tools of statutory interpretation,
          including the presumption that Congress intended to
          incorporate the settled meaning of a term of art, but RLUIPA
          must “be construed in favor of a broad protection of religious
          exercise, to the maximum extent permitted by” its terms. 42
          U.S.C. § 2000cc-3(g).
              For RLUIPA’s land-use provision in particular, the
          distinctions from the text of RFRA are dramatic: RFRA
          requires the government to provide a compelling interest to
          justify substantial burdens on any person’s religious
          exercise, but RLUIPA’s land-use provision requires a
          compelling interest to justify substantial burdens on the
          religious exercise of any person, religious assembly, or
          religious institution. See 42 U.S.C. § 2000cc(a)(1). And
          RLUIPA’s land-use provision contains multiple commands
          specifically seeking to eliminate “land use regulations” that
          substantially burden “[t]he use, building, or conversion of
          real property” for religious purposes, but RFRA contains no


          apply to different categories of governmental actions. In any event, that
          Hobby Lobby stated in the abstract that RLUIPA and RFRA “impose[]
          the same general test” (i.e., that the Government may not “substantially
          burden” a person’s “religious exercise” unless it is “in furtherance of a
          compelling government interest” and does so by the “least restrictive
          means”) is hardly a full-throated endorsement of the notion that the
          discrete test for determining when Government action imposes
          “substantial burden” is the same between the statutes.
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          analogous language. See 42 U.S.C. § 2000cc(b)(1), (b)(2),
          (b)(3).
              Even accepting that the institutionalized-persons portion
          of RLUIPA imposes the same standard as RFRA in some
          ways, see Holt v. Hobbs, 574 U.S. 352, 358 (2015), that
          comparison does not require any change to our interpretation
          of RFRA. Under RLUIPA’s institutionalized persons
          provision, the Supreme Court has assessed the question
          whether the government action has created a “substantial
          burden” by assessing whether the government action coerces
          the religious adherent to violate or abandon his sincere
          religious beliefs. E.g., id. at 361 (“If petitioner contravenes
          [the prison grooming] policy and grows his beard, he will
          face serious disciplinary action. Because the grooming
          policy puts petitioner to this choice, it substantially burdens
          his religious exercise.”). 15 Thus, the fact that the Supreme
          Court has implied a connection between RFRA and
          RLUIPA’s institutionalized-persons provision serves only to
          reaffirm the result we reached in Navajo Nation.
              RLUIPA’s land-use provision, however, clearly requires
          a different standard. See Navajo Nation, 535 F.3d at 1077.
          Sherbert’s and Yoder’s personal coercion test cannot provide
          the full test for “substantial burden” under RLUIPA’s land-

          15
            The dissent cites Ramirez v. Collier, 142 S. Ct. 1264 (2022), for the
          proposition that a prison official’s denial of an inmate’s access to the
          inmate’s pastor during the inmate’s execution is a substantial burden.
          The Supreme Court made no such holding in Ramirez. The Supreme
          Court merely noted that there was no dispute on the “substantial burden”
          prong and moved on with the analysis. The Supreme Court never
          discussed whether a threat of governmental sanctions might have backed
          the prison official’s decision or whether the denial of affirmative
          approval for the minister’s presence might count as the denial of a vested
          governmental benefit.
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          use provision because the land-use provision does not
          protect merely persons, nor does it protect merely the
          “exercise of religion” as that term is understood in Free
          Exercise Clause jurisprudence. Instead, the land-use portion
          of RLUIPA targets a far broader kind of burden: regulations
          that have any substantial effect on a religious assembly’s or
          institution’s use, building, or conversion of real property
          owned by that religious assembly or institution.
              When addressing claims under the land-use provision of
          RLUIPA, we have thus naturally taken a broader view of the
          phrase “substantial burden”—though we have honored the
          presumption of consistent usage by analogizing the burden
          of the land-use regulations to the burden of personal
          coercion set forth in Sherbert and Yoder. See, e.g., Guru
          Nanak Sikh Soc. of Yuba City v. Cnty. of Sutter, 456 F.3d
          978, 988 (9th Cir. 2006) (comparing the burden of the land-
          use regulation to the laws struck down by the Supreme Court
          under the Free Exercise Clause as having a “tendency to
          coerce individuals into acting contrary to their religious
          beliefs”).
              The Supreme Court has never held that RFRA and the
          land-use provision of RLUIPA must be interpreted using the
          same standard, nor has the Supreme Court ever cited a
          RLUIPA land-use case as setting the standard for a claim
          brought under RFRA. Passing comments by the Supreme
          Court which might suggest some connection between RFRA
          and the institutionalized-persons portion of RLUIPA do not
          mean that the Supreme Court meant to overrule its clear pre-
          RFRA jurisprudence. Nor do such comments suggest the
          Supreme Court intended to establish a legal rule that yoked
          the definition of “substantial burden” under RFRA to the
          analysis conducted under the textually distinguishable land-
          use portion of RLUIPA.
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              Application of normal tools of statutory interpretation to
          RFRA—the statute actually before us—provides a clear
          result: the term “substantial burden” is a term of art and is
          limited to those burdens identified in Sherbert and Yoder. 16
          When the law provides such a clear result under RFRA, it is
          unnecessary to divine what the Supreme Court might do
          under RLUIPA.
              William of Ockham’s razor teaches that when one is
          faced with two competing ideas, the simplest explanation is
          generally the best. See United States v. Newhoff, 627 F.3d
          1163, 1166 (9th Cir. 2010). “Congress does not ‘hide
          elephants in mouseholes’ by ‘alter[ing] the fundamental
          details of a regulatory scheme in vague terms or ancillary
          provisions.’” Sackett v. EPA, 143 S. Ct. 1322, 1340 (2023)
          (quoting Whitman v. Am. Trucking Assns., Inc., 531 U.S.
          457, 468 (2001)). The dissent’s circuitous route through
          RLUIPA to define a term for which RFRA already provides
          a clear definition is unnecessary and contrary to these
          principles of statutory interpretation.


          16
             Judge R. Nelson argues that “substantial burden” is not a term of art
          because pre-RFRA cases used it “not as [a phrase with a precise]
          definition” but as a shorthand way for describing a “legal framework” or
          test. But terms of art often are words that describe legal tests and
          standards. See, e.g., United States v. Callahan Walker Const. Co., 317
          U.S. 56, 60–61 (1942) (“[T]he phrase ‘fair and equitable’ had become a
          term of art, [and] Congress used it in the sense in which it had been used
          by the courts in reorganization cases, and that whether a plan met the test
          of fairness and equity long established by judicial decision was . . . a
          question to be answered . . . by the court as a matter of law.”); Twin City
          Sportservice, Inc. v. Charles O. Finley & Co., Inc., 676 F.2d 1291, 1300
          (9th Cir. 1982) (“[‘]Substitutability in production,[’] while a more
          technical term of art, is another way of describing the analysis required
          by the first Tampa Electric test.”)
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           C. The Lead Dissent Understates the Sea Change That
           Its Proposed Definition of “Substantial Burden” Would
                                    Cause.
              For the entire history of our nation’s Free Exercise
          jurisprudence, we have focused our analysis on “what the
          government cannot do to the individual, not . . . what the
          individual can exact from the government.” Lyng, 485 U.S.
          at 451 (quoting Sherbert, 374 U.S. at 412 (Douglas, J.,
          concurring)). Yet the lead dissent would violate this simple
          principle by holding that RFRA empowers any individual to
          exact what is in effect a government easement that entitles
          his access and use of that land, so long as that is what his
          sincere beliefs require. In so holding, my colleagues purport
          to overrule the very type of claim that the Supreme Court
          unambiguously rejected in Lyng. Id. at 452 (rejecting that
          the First Amendment’s Free Exercise Clause entitled the
          religious adherent to a “religious servitude” on federal
          land). 17
              If the dissent’s reading of RFRA were accepted, such
          easements would be granted to sincere religious adherents
          for access to and use of vast expanses of federal land 18—


          17
            Easements are a subset of servitudes. See Marvin M. Brandt
          Revocable Tr. v. United States, 572 U.S. 93, 105 (2014).
          18
            See Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1066 n.7 (9th
          Cir. 2008) (en banc) (“In the Coconino National Forest alone, there are
          approximately a dozen mountains recognized as sacred by American
          Indian tribes. The district court found the tribes hold other landscapes to
          be sacred as well, such as canyons and canyon systems, rivers and river
          drainages, lakes, discrete mesas and buttes, rock formations, shrines,
          gathering areas, pilgrimage routes, and prehistoric sites. Within the
          Southwestern Region forest lands alone, there are between 40,000 and
          50,000 prehistoric sites. The district court also found the Navajo and the
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          perhaps even all federal land. See Lyng, 485 U.S. at 475
          (Brennan, J., dissenting) (“Because of their perceptions of
          and relationship with the natural world, Native Americans
          consider all land sacred.” (emphasis added)). Even sensitive
          federal facilities such as military installations could be
          encumbered by such easements.
              To obtain such an easement of access and use, the only
          determinative issue would be whether the religious adherent
          sincerely believes that such access to federal land is
          important to him for his religious exercise. Binding
          precedent forbids us from evaluating whether the religious
          adherent’s professed need to access federal land is true to his
          religion’s tenets. Id. at 449–50 (majority op.). Equally out
          of bounds is whether the access to federal land is necessary
          or central to the religion. See Hobby Lobby, 573 U.S. at 696.
          Were the religious adherent to say that access—at all times
          of the day and on all days of the year—was necessary for his
          religion, it would not be “for us to say that the line he drew
          was an unreasonable one.” Thomas, 450 U.S. at 715.
              So there is no limiting principle to the dissent’s proposal
          of defining “substantial burden” to include all government

          Hualapai Plaintiffs consider the entire Colorado River to be sacred. New
          sacred areas are continuously being recognized by the Plaintiffs.”).
          One religious adherent has testified that the “entire state of Washington
          and Oregon” is “very sacred” to him. Excerpts of Record at 716,
          Slockish v. U.S. Dep’t of Transp., 2021 WL 5507413 (9th Cir. Nov. 24,
          2021) (No. 21-35220), ECF No. 18-5. Another has claimed as sacred an
          area “extending 100 miles to the east and 100 miles to the west of the
          Colorado River from Spirit Mountain [in Nevada] in the north to the Gulf
          of California in the south”—some 40,000 square miles. Excerpts of
          Record at 27, La Cuna de Aztlan Sacred Sites Prot. Circle Advisory
          Comm. v. U.S. Dep’t of the Interior, 603 F. App’x 651 (9th Cir. 2015)
          (No. 13-56799), ECF No. 12-3.
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          actions “prevent[ing] or den[ying] access to sincere religious
          exercise.” 19 The result of each case would turn on the sole
          issue of the litigant’s religious sincerity. And when
          assessing that sincerity, the district court would not be
          permitted to ask whether the religious adherent’s profession
          of faith is “acceptable, logical, consistent, or comprehensible
          to others.” Thomas, 450 U.S. at 714. In addition, if the
          religious adherent only recently began to profess his beliefs,
          that would be generally irrelevant because, after all, it is
          possible that his beliefs were simply “late in crystallizing.”
          Malik v. Brown, 16 F.3d 330, 333 (9th Cir. 1994) (quoting
          Ehlert v. United States, 402 U.S. 99, 103 (1971)); see also
          Hobbie, 480 U.S. at 144 (“The timing of [the plaintiff]’s
          conversion is immaterial.”). With so many traditional
          indicators of testing sincerity off the table, a district court
          might be required to grant a religious easement to nearly any
          religious adherents who brought a land-based RFRA claim.
          It is difficult to conceive of a sincerely held claim that would
          be rejected. Even our appellate review of the district court’s
          sincerity determination would be limited because we would
          be required to affirm unless the sincerity determination was
          wholly “without support in inferences that may be drawn
          from facts in the record.” United States v. Hinkson, 585 F.3d
          1247, 1251 (9th Cir. 2009) (en banc).
              This low bar the dissent would set to obtain such
          religious easements contrasts sharply with the burden that
          the government would be required to meet to forestall or
          extinguish the easement: the compelling interest test. This


          19
             The Supreme Court cautions us not to adopt a test that has “no real
          limiting principle.” See Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2206
          n.11 (2020); see also Whole Woman’s Health v. Jackson, 142 S. Ct. 522,
          532 (2021); Wos v. E.M.A. ex rel. Johnson, 568 U.S. 627, 637 (2013).
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          test requires the government “to demonstrate a compelling
          interest and show that it has adopted the least restrictive
          means of achieving that interest.” City of Boerne, 521 U.S.
          at 509. Our relatively brief review of plaintiffs’ claims under
          the dissent’s proposed test would be followed by a searching
          and detailed inquiry of the government’s motivations and
          methods. See Gonzales v. O Centro Espirita Beneficente
          Uniao do Vegetal, 546 U.S. 418, 430–31 (2006). And, of
          course, it would not be enough for the government merely to
          assert a broad interest in the security of a particular piece of
          land: the government must justify the application of its
          exclusionary policies to each individual religious adherent
          who seeks access. See Hobby Lobby, 573 U.S. at 726.
          Courts would be required to “scrutinize[] the asserted harm
          of granting specific exemptions to particular religious
          claimants.” O Centro, 546 U.S. at 431. The government
          would be forced to face “the most demanding test known to
          constitutional law,” City of Boerne, 521 U.S. at 509, just to
          keep trespassers, albeit devout trespassers, off its land and
          out of its installations and buildings.
              The dissent’s proposed expansion of the definition of
          “substantial burden” is also not limited to this new easement
          right. The dissent argues that “substantial burden” is not a
          term of art, and should be defined as any “government action
          that ‘oppresses’ or ‘restricts’ ‘any exercise of religion,
          whether or not compelled by, or central to, a system of
          religious belief,’ to a ‘considerable amount,’” without any
          objective criteria or limiting principle as to what constitutes
          either “substantial” in “substantial burden” or
          “considerable” in “considerable amount.” Where Sherbert
          and Yoder provide two clear qualitative burdens that meet
          the definition of “substantial burden,” the dissent would
          insert more—and argues that Sherbert’s and Yoder’s
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          qualitative burdens are merely illustrative “examples” of
          burdens that would meet its objectively standardless,
          quantitative     definition    of    “substantial    burden”
          (i.e., “considerable amount”). No part of the dissent’s test
          would prevent a panel in a future case from recognizing an
          additional “example,” or would prevent a panel from simply
          turning to the dissent’s dictionary definition of “substantial
          burden” and ignoring the “examples” altogether.
               In future cases, we would be asked to determine whether
          religious exercises are “oppresse[d] or restrict[ed] . . . to a
          considerable amount,” and we would thus be forced to
          conduct a quantitative, rather than qualitative, analysis. In
          other words, we would have to assess how much the
          government action interferes with the religious practice—
          i.e., an examination of the effects of the government action—
          rather than in what way the government action interferes
          with the religious practice—i.e., an examination of the kind
          of government action at issue. This quantitative approach
          would be inconsistent with Supreme Court precedent, as
          explained above, but it also would be very difficult for a
          court to administer.
              So long as “substantial burden” is defined by reference
          to the character of the governmental action, rather than the
          particular effect it has on the claimant, the test is not difficult
          to administer: we simply ask whether the government action
          involves coercion in the form of denying the religious
          adherent a vested benefit or imposing a penalty on the
          religious adherent because of his participation in religiously
          motivated conduct. But for a court to determine whether a
          religious practice has been “oppresse[d] or restrict[ed] . . . to
          a considerable amount,” the court would be required to
          assess the importance of the particular religious practice to
          the religious adherent and to the religious adherent’s
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          religion, and assess the extent to which the practice is
          impaired by the relevant governmental action—inquiries
          that not only stray far from our expertise but also enter areas
          into which the Supreme Court has repeatedly told us courts
          cannot venture. 20 See Lyng, 485 U.S. at 449–50 (“This Court
          cannot determine the truth of the underlying beliefs that led
          to the religious objections here or in Roy, and accordingly
          cannot weigh the adverse effects on the appellees in Roy and
          compare them with the adverse effects on the Indian
          respondents. Without the ability to make such comparisons,
          we cannot say that the one form of incidental interference
          with an individual’s spiritual activities should be subjected
          to a different constitutional analysis than the other.” (citation
          omitted)); id. at 451 (“Whatever may be the exact line
          between unconstitutional prohibitions on the free exercise of
          religion and the legitimate conduct by government of its own
          affairs, the location of the line cannot depend on measuring
          the effects of a governmental action on a religious objector’s
          spiritual development.”); Hobbie, 480 U.S. at 144 n.9 (citing
          United States v. Ballard, 322 U.S. 78, 87 (1944)) (“In
          applying the Free Exercise Clause, courts may not inquire
          into the truth, validity, or reasonableness of a claimant’s
          religious beliefs.”); Thomas, 450 U.S. at 716 (“[I]t is not
          within the judicial function and judicial competence to
          inquire whether the petitioner or his fellow worker more
          correctly perceived the commands of their common faith.
          Courts are not arbiters of scriptural interpretation.”); see also
          Yellowbear v. Lampert, 741 F.3d 48, 54 (10th Cir. 2014)

          20
            A “substantial burden” on economic activity, for example, can be
          measured in dollars and cents. See, e.g., Groff v. DeJoy, 143 S. Ct. 2279,
          2294 (2023). But our precedent has yet to recognize a spiritual
          “currency” or other quantitative way to measure a governmental action’s
          impact on religion.
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         (Gorsuch, J.) (“[W]e also lack any license to decide the
         relative value of a particular exercise to a religion. That job
         would risk in the attempt not only many mistakes—given
         our lack of any comparative expertise when it comes to
         religious teachings, perhaps especially the teachings of less
         familiar religions—but also favoritism for religions found to
         possess a greater number of ‘central’ and ‘compelled’
         tenets.”).
             To convince the reader that its proposed test is “narrow,”
         the dissent attempts to distinguish between the facts of this
         case and the facts of Navajo Nation and Lyng on the grounds
         that the Indians in Navajo Nation and Lyng suffered only
         “subjective” burdens, whereas the Indians here will suffer an
         objective burden through the loss of access to the land.
         However, the government actions in both Navajo Nation and
         Lyng undoubtedly meet the dissent’s proposed test. In both
         cases, the Government “prevent[ed] [the religious adherents]
         from engaging in sincere religious exercise.” In Lyng, the
         excavation and construction of the road caused “the Indians’
         spiritual practices [to] become ineffectual.” 485 U.S. at 450.
         In Navajo Nation, the use of recycled wastewater caused
         “the inability to perform” certain religious ceremonies and
         destroyed “an entire way of life.” 479 F.3d at 1039.
             The ability to perform a ceremony gutted of all religious
         meaning cannot be equated to the ability to perform the full
         religious ceremony. Access to an area stripped of spiritual
         significance—the mountain in Navajo Nation, the land near
         the road in Lyng—is not the same as access to an extant
         shrine for the religious adherent who wishes to use the land
         as a shrine. 21 The “sincere religious exercises” in Navajo

         21
            For instance, at the corner of Fillmore and Fell Streets in San
         Francisco, California, stands a building once known as Sacred Heart
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         Nation and Lyng were not only “prevent[ed] or denie[d],”
         they were completely destroyed, even if the lands
         themselves were not destroyed.
             In any event, the dissent’s discussion of what might
         count as the “prevent[ion] or deni[al of] access to sincere
         religious exercise” is frankly irrelevant in light of the fact
         that such prevention or denial of access would be merely one
         “example” of a substantial burden under the dissent’s
         proposed test. The real question under the dissent’s
         proposed test would be whether the governmental action
         “oppresses or restricts” the religious exercise “to a
         considerable amount.” Under that test, the government
         actions in Navajo Nation and Lyng would easily qualify as
         “substantial burdens”—results that would directly contradict
         our precedent and the Supreme Court’s precedent,
         respectively.
             The dissent, in sum, favors the plaintiffs in this case over
         the plaintiffs in Lyng and Navajo Nation simply because the
         plaintiffs in this case will lose an aspect of their religious
         practice that one can see and hear, whereas the plaintiffs in
         Lyng and Navajo Nation lost an intangible aspect of their
         religious practices. In short, the dissent would distinguish
         and prioritize the tangible aspects of religious activity over
         the intangible. This distinction finds no support in our
         precedent. Cf. Everson v. Bd. of Educ. of Ewing Twp., 330
         U.S. 1, 15 (1947) (“[T]he Federal Government . . . can[not]

         Catholic Church. Today, the building has been de-consecrated and
         converted into a roller-skate discotheque. See Amanda Font, Wanna Try
         Roller-Skating in San Francisco? Better Head to Church, KQED (Sept.
         22, 2022), https://www.kqed.org/news/11924576/wanna-try-roller-
         skating-in-san-francisco-better-head-to-church. Can a Catholic register
         as a parishioner at this roller disco—or expect to observe the Stations of
         the Cross therein during Holy Week?
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         pass laws which aid one religion . . . or prefer one religion
         over another.”).
          D. Even Were Apache Stronghold’s Claim Cognizable
          Under RFRA, the Land Exchange Act Mandates That
                     the Land Exchange Occur. 22
             Most claims under RFRA challenge a regulatory or
         discretionary decision of a federal agency. However, the
         claim in this case seeks to stop a federal action mandated by
         an Act of Congress. The Land Exchange Act states that the
         Secretary of Agriculture is “authorized and directed to
         convey” more than two thousand acres of land, including
         Oak Flat, to Resolution Copper if three main conditions are
         met. 16 U.S.C. § 539p(c)(1) (emphasis added).
             The three conditions are simple: (1) the Secretary must
         “engage in government-to-government consultation with
         affected Indian tribes concerning issues of concern to the
         affected Indian tribes related to the land exchange,” and then
         “consult with Resolution Copper and seek to find mutually
         acceptable measures to (i) address the concerns of the
         affected Indian tribes; and (ii) minimize the adverse effects
         on the affected Indian tribes resulting from mining and
         related activities on the Federal land conveyed to Resolution
         Copper under this section,” 16 U.S.C. § 539p(c)(3); (2) the
         Secretary must ensure that the land exchanged is of equal

         22
            Judge Lee contends that the Government forfeited this argument when
         it failed to raise it below. However, “in adjudicating a claim or issue
         pending before us, we have the authority to identify and apply the correct
         legal standard, whether argued by the parties or not.” Thompson v.
         Runnels, 705 F.3d 1089, 1098 (9th Cir. 2013). When a statute is invoked
         by the parties, we can inquire, even sua sponte, whether the statute has
         been expressly or impliedly repealed. See generally U.S. Nat. Bank of
         Or. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 447 (1993).
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         value, 16 U.S.C. § 539p(c)(5); and (3) the Secretary must
         ensure that the land exchange complies with the National
         Environmental Policy Act of 1969, 16 U.S.C. § 539p(c)(9).
             Congress knew the adverse effects that the Land
         Exchange Act would have upon the Indian tribes with
         respect to the planned excavation of the Oak Flat area.
         Wendsler Nosie, Sr., Chairman of the San Carlos Apache
         Tribe and leader of Apache Stronghold, testified before the
         House Natural Resources Committee, Subcommittee on
         National Parks, Forests, and Public Lands, in a hearing on
         the Land Exchange Act. Nosie testified that “[t]he lands to
         be acquired and mined . . . are sacred and holy places.”
         Southeast Arizona Land Exchange and Conservation Act of
         2007: Hearing on H.R. 3301 before the H. Comm. on Nat.
         Res., Subcomm. on Nat’l. Parks, Forests, and Pub. Lands.,
         110th Cong. 18 (2007). Nosie explained that Apache Leap
         is “sacred and consecrated ground for our People” because
         “seventy-five of our People sacrificed their lives at Apache
         Leap during the winter of 1870 to protect their land, their
         principles, and their freedom.” Id. at 19. He testified that
         “Oak Flat and nearby Devils Canyon are also holy, sacred,
         and consecrated grounds” that should not be transferred. Id.
         at 21–22.
             Ultimately, Congress struck a compromise. The Land
         Exchange Act directed the Forest Service to transfer the Oak
         Flat parcel to Resolution Copper, 16 U.S.C. § 539p(c)(10),
         but also required Resolution Copper to surrender all rights it
         held to mine under Apache Leap, 16 U.S.C. § 539p(g)(3).
         The Act directs the Forest Service to preserve Apache Leap
         “for traditional uses of the area by Native American people.”
         16 U.S.C. § 539p(g)(1), (2)(B).
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             The question is whether Congress’s careful compromise
         in the Land Exchange Act can be undone by Apache
         Stronghold’s invocation of a prior Act of Congress—
         namely, RFRA. The dissent argues that “[i]f Congress
         meant to exempt the Land Transfer Act from RFRA,
         Congress could and would have done so explicitly.” The
         dissent therefore argues that “RFRA applies to the Land
         Transfer Act.” But one Congress cannot prohibit a future
         Congress from using one of the most commonplace tools of
         lawmaking—the implied repeal. See Great N. Ry. Co. v.
         United States, 208 U.S. 452, 465 (1908). And while a
         statute’s anti-implied-repeal provision should be given some
         interpretive weight, the dissent’s proposed test would turn
         RFRA’s anti-implied-repeal provision into an impenetrable
         fortress—in direct contradiction to multiple Supreme Court
         cases.
                  1. RFRA’s Anti-Implied-Repeal Provision
            RFRA states that “[f]ederal statutory law adopted after
         November 16, 1993, is subject to this chapter unless such
         law explicitly excludes such application by reference to this
         chapter.” 42 U.S.C. § 2000bb-3(b). The Land Exchange
         Act, in turn, is silent on the applicability of RFRA.
             Such statutory language purporting to restrict the ability
         of later Congresses to repeal an act of an earlier Congress by
         implication cannot bar all implied repeals. See Great N. Ry.
         Co., 208 U.S. at 465 (“As the section of the Revised Statutes
         in question has only the force of a statute, its provisions
         cannot justify a disregard of the will of Congress as
         manifested, either expressly or by necessary implication, in
         a subsequent enactment.”).
            In Dorsey v. United States, 567 U.S. 260 (2012), for
         example, the Supreme Court invalidated a statute which
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         purported to authorize criminal prosecutions under any later-
         repealed criminal statute that was in force at the time of the
         crime unless the repealing statute “expressly provide[d]”
         that such prosecutions would be barred. 23 The Court held:

                  statutes enacted by one Congress cannot bind
                  a later Congress, which remains free to repeal
                  the earlier statute, to exempt the current
                  statute from the earlier statute, to modify the
                  earlier statute, or to apply the earlier statute
                  but as modified. And Congress remains free
                  to express any such intention either expressly
                  or by implication as it chooses.

         Id. at 274 (emphasis added) (citations omitted). Thus, a
         statutory provision that requires future Congresses to use
         express language to exempt an enactment from the earlier
         statute’s terms is not constitutional.
             However, that is not to say that the anti-implied-repeal
         language has no effect whatsoever. In Dorsey, the Court said
         that the anti-implied-repeal provision created “an important
         background principle of interpretation” and that the
         provision required courts, before finding an implied repeal
         in the face of an anti-implied-repeal provision, “to assure
         themselves that ordinary interpretive considerations point
         clearly in that direction.” Id. at 274–75; see also Marcello
         v. Bonds, 349 U.S. 302, 310 (1955) (giving significant

         23
            See 1 U.S.C. § 109 (“The repeal of any statute shall not have the effect
         to release or extinguish any penalty, forfeiture, or liability incurred under
         such statute, unless the repealing Act shall so expressly provide, and such
         statute shall be treated as still remaining in force for the purpose of
         sustaining any proper action or prosecution for the enforcement of such
         penalty, forfeiture, or liability.”).
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         weight to an anti-implied-repeal provision). The Supreme
         Court “has described the necessary indicia of congressional
         intent by the terms ‘necessary implication,’ ‘clear
         implication,’ and ‘fair implication,’ phrases it has used
         interchangeably.” Dorsey, 567 U.S. at 274. And in two
         cases, the Supreme Court has given some weight to RFRA’s
         anti-implied-repeal provision. See Little Sisters of the Poor
         Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367,
         2383 (2020); Hobby Lobby, 573 U.S. at 719 n.30. 24
             But the dissent’s proposed method of interpreting anti-
         implied-repeal provisions is incompatible with the Supreme
         Court’s method. The Supreme Court has held that one
         Congress cannot force a future Congress “to employ magical
         passwords in order to effectuate an exemption” from a
         statute. Marcello, 349 U.S. at 310. Yet the dissent argues
         that the Land Exchange Act should be required to employ
         one of two passwords to avoid the reach of RFRA: either an
         explicit reference to RFRA or “some variation of a
         ‘notwithstanding any other law’ provision.” The Supreme
         Court has held that implied repeals must remain available to
         future Congresses. See Dorsey, 567 U.S. at 274; Great N.
         Ry. Co., 208 U.S. at 465. But the dissent argues that an
         implied repeal, as traditionally understood, is impossible
         because the Land Exchange Act must include an “explicit[]”

         24
             Of course, even without an anti-implied-repeal provision, a party
         seeking to prove implied repeal carries a weighty burden. “The cardinal
         rule is that repeals by implication are not favored. Where there are two
         acts upon the same subject, effect should be given to both if possible.”
         Posadas v. Nat’l City Bank of N.Y., 296 U.S. 497, 503 (1936). “An
         implied repeal will only be found where provisions in two statutes are in
         ‘irreconcilable conflict,’ or where the latter Act covers the whole subject
         of the earlier one and ‘is clearly intended as a substitute.’” Branch v.
         Smith, 538 U.S. 254, 273 (2003) (quoting Posadas, 296 U.S. at 503).
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         exemption to avoid the reach of RFRA. The dissent’s
         approach affords far too much power to RFRA’s anti-
         implied-repeal provision.
           2. Whether the Land Exchange Act Can Be Reconciled
                               with RFRA
             The irreconcilability question must be read in the context
         of the relief sought by Apache Stronghold. As is relevant to
         Apache Stronghold’s RFRA claim, Apache Stronghold’s
         complaint sought a declaration that the land exchange
         between the United States and Resolution Copper “violate[s]
         the Religious Freedom Restoration Act.” The complaint
         prayed that the district court “[i]ssue a permanent injunction
         prohibiting [the land exchange].” Apache Stronghold’s
         motion for a temporary restraining order and preliminary
         injunction filed in the district court sought “to preserve the
         status quo by preventing Defendants from publishing a Final
         Environmental Impact Statement (‘FEIS’) on the ‘Southeast
         Arizona Land Exchange and Resolution Copper Mine
         Project’ and from conveying the parcel(s) of land containing
         Oak Flat.” Similarly, Apache Stronghold’s motion for
         injunction pending appeal sought an injunction against “the
         transfer and destruction of Oak Flat.”
             The Land Exchange Act grants some authority to the
         Secretary to “minimize the adverse effects on the affected
         Indian tribes” and to ensure that the land exchange complies
         with the National Environmental Policy Act of 1969. 16
         U.S.C. § 539p(c)(3)(B)(ii), (c)(9). But the plain text of the
         Land Exchange Act requires that the land exchange,
         including the exchange of Oak Flat, must occur if the
         preconditions are met. In fact, Apache Stronghold’s
         complaint refers to the land exchange as “The Land
         Exchange Mandate” and recognizes that “Section 3003 of
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         the [Land Exchange Act] mandates that the [land exchange]
         shall be done.”
             Apache Stronghold claims that the Government should
         be enjoined from transferring the land to Resolution Copper
         pursuant to RFRA. But that is the one thing that the Land
         Exchange Act clearly requires. If RFRA did provide a legal
         basis for Apache Stronghold’s claim, RFRA would be in
         “irreconcilable conflict” with the Land Exchange Act. See
         Branch, 538 U.S. at 273.
             That is not to say that all potential RFRA claims would
         be irreconcilable with the Land Exchange Act. Instead of
         seeking to block the entire land exchange, a plaintiff might,
         for example, claim that the conditions imposed upon
         Resolution Copper in the FEIS should be modified to
         provide greater accommodation for the religious practices of
         the Indians.
             But that is not the claim advanced by Apache
         Stronghold, and adopted by the dissent, in this case. 25 The
         claim here is that the land exchange should be stopped
         altogether. And that relief is directly in conflict with the
         Land Exchange Act. See 16 U.S.C. § 539p(c)(1). Because
         the RFRA claim advanced by Apache Stronghold is
         irreconcilable with the terms of the Land Exchange Act, the
         Land Exchange Act necessarily requires that the claim be
         rejected. See Dorsey, 567 U.S. at 274.
                                  CONCLUSION
            Pre-RFRA jurisprudence demonstrates that only
         governmental actions which coerce religious adherents to


         25
           Indeed, such a claim would likely fail on ripeness grounds because the
         terms of the final FEIS are not yet known.
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         violate or abandon their religious tenets can constitute
         “substantial burdens” on the free exercise of religion. See
         Hobbie, 480 U.S. at 144; Tilton, 403 U.S. at 689; Allen, 392
         U.S. at 249; Schempp, 374 U.S. at 223; Lyng, 485 U.S. at
         450; Bowen, 476 U.S. at 703. For coercion to affect a
         religious adherent personally, the coercion must involve
         either the denial of a vested benefit to the religious adherent
         or the imposition of a penalty on the religious adherent
         because of the religious adherent’s participation in
         religiously motivated conduct. See Hobbie, 480 U.S. at 144;
         Lyng, 485 U.S. at 449; Bowen, 476 U.S. at 703; Thomas, 450
         U.S. at 717–18; Jimmy Swaggart, 493 U.S. at 391–92.
             RFRA incorporated this settled definition of the term,
         and RFRA made this incorporation explicit when it stated
         that its purpose was to “restore” the free exercise of religion
         test “as set forth in prior federal court rulings,” and when it
         directly cited Sherbert and Yoder. The text of the statute and
         pre-RFRA jurisprudence command that the definition of
         “substantial burden” be limited to those burdens recognized
         in Sherbert and Yoder.
             Our en banc decision in Navajo Nation correctly
         interpreted RFRA, and our limited definition of “substantial
         burden” has served as a workable test for fifteen years. 26
             The proposed copper mine would not force the Apache
         to choose between violating or abandoning their sincere
         religious beliefs and receiving a governmental penalty or

         26
            Principles of stare decisis caution us not to overrule our precedent
         lightly. See United States v. Heredia, 483 F.3d 913, 918 (9th Cir. 2007)
         (en banc). These principles have a heightened effect in matters of
         statutory interpretation because the losing parties in such cases can seek
         relief in the halls of Congress. Kimble v. Marvel Ent., LLC, 576 U.S.
         446, 456 (2015).
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         losing a governmental benefit. Without any such coercion,
         there is no substantial burden. Thus, the Apache’s claim
         under RFRA must fail.
             Moreover, even were the Apache’s claim cognizable
         under RFRA, the language of the Land Exchange Act is
         clearly irreconcilable with the Apache’s claim for relief
         under RFRA. In such cases of direct conflict, the later
         statute—the Land Exchange Act—must be given effect over
         the earlier statute—RFRA.
             For these reasons, in addition to those expressed in Judge
         Collins’s majority opinion, I agree that the judgment of the
         district court must be affirmed, and I dissent from the per
         curium’s purported overruling of Navajo Nation.


         R. NELSON, Circuit Judge, concurring:

             In my view, en banc review was warranted to correct our
         faulty legal test (not the outcome) in Navajo Nation v. United
         States Forest Service, 535 F.3d 1058 (9th Cir. 2008) (en
         banc). Generally, we adopt the same definition of a term—
         like “substantial burden” here—when that term is used in
         similar statutes. For that reason, RFRA and RLUIPA apply
         the same legal definition of “substantial burden.” Since
         Navajo Nation was decided, it has become clear that
         “substantial burden” means more in RLUIPA than the
         narrow definition we gave it under RFRA. Today, a majority
         of the panel rejects the narrow construction of “substantial
         burden” in Navajo Nation. See Per Curiam at 14–15;
         Murguia Dissent at 185, 207 n.8. Six judges adopt a new test
         to define “substantial burden” going forward for both RFRA
         and RLUIPA. See Per Curiam at 14–15. A government act
         imposes a “substantial burden” on religious exercise if it (1)
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         “requires the plaintiff to participate in an activity prohibited
         by a sincerely held religious belief,” (2) “prevents the
         plaintiff from participating in an activity motivated by a
         sincerely held religious belief,” or (3) “places considerable
         pressure on the plaintiff to violate a sincerely held religious
         belief.” Yellowbear v. Lampert, 741 F.3d 48, 55 (10th Cir.
         2014); see also Bryant v. Gomez, 46 F.3d 948, 949 (9th Cir.
         1995) (per curiam) (citing Graham v. C.I.R., 822 F.2d 844,
         850–51 (9th Cir. 1987)) (holding that the “substantial
         burden” test is met when a religious adherent proves that a
         government action “prevent[ed] him or her from engaging in
         conduct or having a religious experience which the faith
         mandates”); Worldwide Church of God v. Phila. Church of
         God, Inc., 227 F.3d 1110, 1121 (9th Cir. 2000); Goehring v.
         Brophy, 94 F.3d 1294, 1299 (9th Cir. 1996); see also Per
         Curiam at 14–15.
             Even Judge Collins’s majority, which I join, adopts a
         new test without relying on Navajo Nation. As explained
         more fully in section V, the strained interpretation of
         “substantial burden” announced in Navajo Nation is not
         sustainable. In the last 15 years, the Supreme Court and
         virtually all the lower courts have recognized that
         “substantial burden” holds the same definitional meaning in
         RFRA and RLUIPA. While the terms may apply in different
         contexts that arise under the statutes, the definitions are the
         same.
             But the question remains—can RFRA be used to protect
         a religious practice exercised on government property? This
         case raises the prevent prong of RFRA’s “substantial burden”
         definition announced by our court today. As Chief Judge
         Murguia’s dissent notes, the ordinary meaning of
         “substantial burden” suggests that in selling the land, the
         government is preventing the Apache’s participation by
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         restricting their access to the land. See Murguia Dissent at
         200– 201. That much is true. But that conclusion conflicts
         with the Supreme Court’s direction in Lyng v. Northwest
         Indian Cemetery Protective Association, 485 U.S. 439
         (1988). Under Lyng, a “substantial burden” analysis does
         not apply to the internal affairs of the government. I
         therefore reach a different conclusion from the same
         beginning premise as the dissenters.
             Preventing access to religious exercise generally
         constitutes a substantial burden on religion. But the
         parameters of “substantial burden” are not unconstrained.
         We cannot ignore RFRA’s statutory context. The Supreme
         Court has distinguished the boundaries of cognizable
         burdens under the Free Exercise Clause. Through decades
         of case law, the Court formulated a test that examined
         whether there was a cognizable, substantial burden on
         religious exercise justified by a compelling government
         interest. In RFRA, Congress then applied the Court’s
         terminology, essentially codifying both the test and those
         parameters. Neither the Court nor Congress has defined
         “substantial burden.” But in Lyng, the Court held that the
         government’s use and alienation of its own land is not a
         substantial burden. And the Court repeated that principle
         even more broadly: “The Free Exercise Clause simply
         cannot be understood to require the Government to conduct
         its own internal affairs in ways that comport with the
         religious beliefs of particular citizens.” Id. at 448 (citing
         Bowen v. Roy, 476 U.S. 693, 699 (1986)) (internal citation
         omitted).
            This case thus turns on whether Congress’s codification
         of “substantial burden” in RFRA overruled Lyng’s
         application of substantial burden under the First
         Amendment. I am reluctant to conclude that a Supreme
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         Court opinion is implicitly reversed by Congress when
         Congress specifically adopts a term used in the Court’s prior
         opinions. I therefore conclude that Congress through RFRA
         did not reverse the Supreme Court’s holding in Lyng. As
         such, I join Judge Collins’s majority to affirm the district
         court’s denial of injunctive relief.
                                       I
             The National Defense Authorization Act for Fiscal Year
         2015 (NDAA) includes a section known as the Southeast
         Arizona Land Exchange and Conservation Act (Land
         Exchange). The Land Exchange requires the conveyance of
         federal land, including a parcel known as Oak Flat, to
         Resolution Copper, a foreign mining company. See 16
         U.S.C. § 539p. Resolution Copper intends to construct a
         large copper mine on Oak Flat. Once the transfer is
         complete, Oak Flat, as it is now known, by all accounts will
         eventually be destroyed by the mining activity. The planned
         mining technique will leave a two-mile-wide crater hundreds
         of feet deep and will affect about eleven square miles. The
         mining will thus permanently alter Oak Flat beyond
         recognition, destroying the Apache’s “cultural landscapes”
         and barring all access to that land for religious or other
         purposes. Additionally, spiritually significant objects, like
         Emory Oak, that play a key role in Apache ceremonies will
         be destroyed.
             Congress acknowledged the impact that the Land
         Exchange would have on the Apache’s religious practice. It
         included several provisions in the NDAA to balance this
         concern. The Land Exchange requires the Secretary to
         engage in “government-to-government consultation with
         affected Indian tribes concerning issues of concern to the
         affected Indian tribes related to the land exchange.” Id.
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         § 539p(c)(3)(A). Additionally, after consulting the tribes,
         the Secretary shall consult Resolution Cooper to “address the
         concerns of the affected Indian tribes” and “minimize the
         adverse effects on the affected Indian tribes resulting from
         mining and related activities on the Federal land conveyed
         to Resolution Copper.” Id. § 539p(c)(3)(B).
             Noticeably, despite the undisputedly significant impact
         that would befall Apache religious practice, Congress did not
         exempt the Land Exchange from RFRA. See Murguia
         Dissent § II.H. Perhaps Congress declined to do so because
         it believed that under preexisting Supreme Court precedent,
         including Lyng, no substantial burden was implicated and
         RFRA did not apply. This case thus requires us to answer
         whether RFRA imposes additional strictures on the land
         transfer.
                                      II
             The Constitution provides Congress with plenary power
         over Indian affairs. See United States v. Lara, 541 U.S. 193,
         200–01 (2004); U.S. Const. art. I, § 8. Congress addressed
         religious liberty for Native Americans in the American
         Indian Religious Freedom Act of 1978 (AIRFA), declaring
         that it

                shall be the policy of the United States to
                protect and preserve for American Indians
                their inherent right of freedom to believe,
                express, and exercise the traditional religions
                of the American Indian, Eskimo, Aleut, and
                Native Hawaiians, including but not limited
                to access to sites, use and possession of
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                sacred objects, and the freedom to worship
                through ceremonials and traditional rites.

         42 U.S.C. § 1996.
             In accordance with AIFRA, President Clinton signed
         Executive Order No. 13007, 61 Fed. Reg. 26,771 (1996).
         Like the Land Exchange, it requires agencies to, as
         practicable, “(1) accommodate access to and ceremonial use
         of Indian sacred sites by Indian religious practitioners and
         (2) avoid adversely affecting the physical integrity of such
         sacred sites.” Id. § 1. But that same Order meant “only to
         improve the internal management of the executive branch”
         and did not “create any right, benefit, or trust responsibility,
         substantive or procedural, enforceable at law or equity by
         any party against the United States, its agencies, officers, or
         any person.” Id. § 4.
             AIFRA does not confer “so much as a hint of any intent
         to create a cause of action or any judicially enforceable
         individual rights” and is merely a policy statement. Lyng,
         485 U.S. at 455. This paradox fuels the criticism that
         “despite its assertion of sweeping plenary power over Indian
         affairs, the federal government has done little of
         consequence to protect the ability of tribes to access and
         preserve sacred sites.” Stephanie Hall Barclay & Michalyn
         Steele, Rethinking Protections for Indigenous Sacred Sites,
         134 Harv. L. Rev. 1294, 1297 (2021).
             We would be daft to ignore that, historically, the
         relationship between the American government and native
         tribes has not been a pristine example of intergovernmental
         relations. See, e.g., McGirt v. Oklahoma, 140 S. Ct. 2452,
         2462 (2020) (“[I]t’s equally clear that Congress has since
         broken more than a few of its promises to the Tribe[s].”).
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         Although this reality is regrettable, we are bound to enforce
         only those statutory rights prescribed by Congress.
             Apache Stronghold asserts that Congress has protected
         native access to government land for religious practices in
         RFRA, and that the statute prevents the government from
         transferring Oak Flat to Resolution Copper. I do not agree.
         We apply the law as Congress wrote it and as the Supreme
         Court has interpreted it. Examination of the Supreme
         Court’s pre-RFRA jurisprudence illuminates why RFRA
         does not provide Apache Stronghold the right it seeks.
                                      III
                                      A
              RFRA does not appear in our legal system from the ether.
         It is a legislative response to the culmination of decades of
         caselaw interpreting the Free Exercise Clause. So I begin
         with the Free Exercise Clause.
              Religious liberty and the concept of free exercise are
         grounded in the bedrock of our founding and the structure of
         our system of government. See generally Michael W.
         McConnell, The Origins and Historical Understanding of
         Free Exercise of Religion, 103 Harv. L. Rev. 1409 (1990).
         At the founding, various state constitutions recognized a
         right to free exercise of religious beliefs. Even before
         ratification of the First Amendment in 1791, many state
         constitutions reflected the sentiment that “all men have a
         natural and unalienable right to worship Almighty God
         according to the dictates of their own consciences.” N.C.
         Const. art. XIX (Dec. 18, 1776), reprinted in 5 The Federal
         and State Constitutions, Colonial Charters, and Other
         Organic Laws of the States, Territories, and Colonies Now
         or Heretofore Forming the United States of America 2787,
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         2788 (Francis Newton Thorpe ed., 1909); see also Nathan S.
         Chapman, Disentangling Conscience and Religion, Ill. L.
         Rev. 1457, 1466 n.44 (2013) (listing state constitutional
         provisions). In Virginia, for instance, Thomas Jefferson
         drafted a 1779 bill establishing religious freedom that no one
         “shall be enforced, restrained, molested, or burthened in his
         body or goods, nor shall otherwise suffer, on account of his
         religious opinions or belief; but that all men shall be free to
         profess, and by argument to maintain, their opinions in
         matters of religion . . . .” A Bill for Establishing Religious
         Freedom (June 12, 1779), reprinted in 5 Founders’
         Constitution.
             Virginia’s view was echoed on the national level, too. Of
         the newly established American government, George
         Washington said: “All possess alike liberty of conscience
         and immunities of citizenship. It is now no more that
         toleration is spoken of, as if it was by the indulgence of one
         class of people, that another enjoyed the exercise of their
         inherent natural rights.” Letter to The Hebrew Congregation
         in Newport, Rhode Island (Aug. 18, 1790), The Papers of
         George Washington, Presidential Series, vol. 6, 1 July 1790 –
         30 Nov. 1790, ed. Mark A. Mastromarino. Charlottesville:
         University Press of Virginia, 1996, pp. 284–86. Washington
         echoed this same sentiment to other religious groups: “[t]he
         liberty enjoyed by the People of these States, of worshipping
         Almighty God agreeable to their Consciences, is not only
         among the choicest of their Blessings, but also of their
         Rights.” From George Washington to the Society of Quakers
         (Oct. 13, 1789), The Papers of George Washington,
         Presidential Series, vol. 4, 8 Sept. 1789 –15 Jan. 1790, ed.
         Dorothy Twohig. Charlottesville: University Press of
         Virginia, 1993, pp. 265–69. Washington conveyed this same
         sentiment to various religious groups, including Roman
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         Catholics, Presbyterians, the Moravian Society for Gospel,
         and others.       See George Washington to Religious
         Organizations,         https://www.mountvernon.org/george-
         washington/religion/george-washington-to-religious-
         organizations/. From the founding, free exercise of religion
         was intended to apply to all faiths. Native American
         religious practice is no exception. Their religious practice is
         honored and respected the same as any other religious
         practice or belief. 1 But their right to practice religion, like

         1
            The criticism that accommodating the Native American religious
         practices here “would inevitably require the government to discriminate
         between competing religious claimants,” VanDyke Concurrence at 167,
         is misguided. I disagree with my dissenting colleagues’ conclusion in
         this case because Apache Stronghold’s RFRA claim does not raise a
         cognizable substantial burden under Lyng. The dissenters are not wrong,
         however, because under their view “only some religions would benefit
         from the precedent created by such a decision.” Id. Almost any
         recognition of a substantial burden on religious practice would be subject
         to the same criticism. Our court has issued opinions more hostile to
         religion than any other court in the country. See, e.g., Huntsman v. Corp.
         of the President of the Church of Jesus Christ of Latter-day Saints, 76
         F.4th 962, 968 (9th Cir. 2023); Kennedy v. Bremerton Sch. Dist., 991
         F.3d 1004 (9th Cir. 2021), reversed 597 U.S. 507 (2022); Tandom v.
         Newsom, 992 F.3d 916 (9th Cir. 2021), disapproved 593 U.S. 61 (2021);
         Biel v. St. James Sch., 911 F.3d 603 (9th Cir. 2018), and Morrissey-Berru
         v. Our Lady of Guadalupe Sch., 769 Fed. Appx. 460 (9th Cir. 2019),
         reversed 140 S. Ct. 2049 (2020); Freedom from Religion Found., Inc. v.
         Chino Valley Uni. Sch. Dist. Bd. of Educ., 896 F.3d 1132 (9th Cir. 2018).
         But if courts were to deny religious claims based on how the decision
         may benefit one religion over another, we would pit religious interests
         against each other and undermine religious liberty far more than any
         position previously taken by our court. Would we deny a Muslim from
         growing a reasonable beard in prison because other religious prisoners
         would not get the same benefit? Or would we deny allowing a church to
         build a 100-foot spire because other religions do not have a similar
         religious belief? Or would we deny a religious school a voucher because
         some other religions do not operate schools? Such considerations by the
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         all religious practice protected by the Free Exercise Clause
         and our legal system, must track the law.
             Even the Founders recognized that religious exercise in
         a pluralistic society was bound to conflict with government
         structure. From the beginning, the Founders attempted to
         reconcile these competing views by distinguishing the
         freedom to believe from the freedom to act. As to religious
         freedom, Jefferson said that “the legislative powers of
         government reach actions only, and not opinions.” The
         Works, vol. 8 (Correspondence 1793-1798). G. P. Putnam’s
         Sons, 1905. Jefferson was not alone. Oliver Ellsworth, a
         member of the Constitutional Convention and later Chief
         Justice of the United States, wrote: “But while I assert the
         rights of religious liberty, I would not deny that the civil
         power has a right, in some cases, to interfere in matters of
         religion.” Connecticut Courant, Dec. 17, 1787, reprinted in
         1 Stokes, Church and State in the United States, 535. The
         question is, what are those cases?
                                           B
             The First Amendment right to free exercise of religion is
         not absolute. The Supreme Court has long formulated a legal
         framework balancing the interests of religious free exercise
         against the competing demands of government. For
         example, the government cannot restrict an individual’s
         religious opinion but may restrict individual religious action
         when the government has a sufficient interest. See Reynolds
         v. United States, 98 U.S. 145, 166 (1878) (While government
         laws “cannot interfere with mere religious belief and
         opinions, they may with practices.”).


         courts would be grossly inconsistent with religious liberty. Cf. VanDyke
         Concurrence II.B.iii & II.C.
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              The right to belief is distinct from the right to act and the
         latter is not free from government restrictions. See
         Braunfeld v. Brown, 366 U.S. 599, 603 (1961) (citing
         Cantwell v. State of Connecticut, 310 U.S. 296, 303–04, 306
         (1940)) (“[T]he freedom to act, even when the action is in
         accord with one’s religious convictions, is not totally free
         from legislative restrictions.”). Abraham Braunfeld, an
         Orthodox Jew, owned a retail store, but state law prohibited
         him from opening on Sunday, and his faith, from working on
         Saturday. See id. at 601. He challenged the law as a
         violation of the religious liberty clauses, claiming economic
         concerns required his store to be open six days a week. See
         id. at 602.
             Braunfeld reflects the early development of the
         “substantial burden/compelling interest” test that would later
         be expanded by the Supreme Court and codified by Congress
         in RFRA. The Court noted: “To strike down, without the
         most critical scrutiny, legislation which imposes only an
         indirect burden on the exercise of religion, i.e., legislation
         which does not make unlawful the religious practice itself,
         would radically restrict the operating latitude of the
         legislature.” Id. at 606.
             The Supreme Court later clarified the government
         interest analysis. In Sherbert v. Verner, a Seventh-day
         Adventist was terminated from her job and rejected
         alternative employment because she would not work on
         Saturday, her Sabbath. 374 U.S. 398, 399 (1963). South
         Carolina law barred her unemployment benefits because she
         declined an alternate suitable employment offer. See id. at
         401.
            The Court held that South Carolina’s law was
         unconstitutional because the burden on Sherbert’s exercise
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         acted as a fine imposed against her worship and was not
         justified by a compelling state interest. See id. at 403
         (“[A]ny incidental burden on the free exercise of appellant’s
         religion may be justified by a ‘compelling state interest in
         the regulation of a subject within the State’s constitutional
         power to regulate.’” (quoting NAACP v. Button, 371 U.S.
         415, 438 (1963))). The Court first examined whether
         Sherbert’s claim fell within the class of cognizable Free
         Exercise claims. See id. at 402–03. Because it was
         cognizable, the Court then examined whether Sherbert
         suffered a burden to her religious practice and whether a
         compelling state interest justified that “substantial
         infringement on [Sherbert’s] First Amendment right.” Id. at
         403–06.
             A decade later, the Court reiterated that in some cases the
         government can regulate “religiously grounded conduct.”
         Wisconsin v. Yoder, 406 U.S. 205, 220–21 (1972). The Court
         did not use the phrase “substantial burden” but invoked the
         same theory: Wisconsin could not require religious parents
         to send their children to school until age 16 because “only
         those interests of the highest order . . . can overbalance
         legitimate claims to the free exercise of religion.” Id. at 215,
         220.
             The Court returned to the idea of a “substantial burden”
         another decade later. See Thomas v. Rev. Bd. of Ind. Emp.
         Sec. Div., 450 U.S. 707, 717–18 (1981). It held that, while
         compulsion regarding religious exercise could be incidental,
         “the infringement upon free exercise is nonetheless
         substantial.” Id. at 718. Because Thomas quit his job due to
         his religious convictions against producing military
         weapons, the denial of unemployment benefits was an
         unconstitutional burden. See id. But the Court also stated
         that “[t]he mere fact that the petitioner’s religious practice is
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         burdened by a governmental program does not mean that an
         exemption accommodating his practice must be granted.
         The state may justify an inroad on religious liberty by
         showing that it is the least restrictive means of achieving
         some compelling state interest.” Id. (citing Yoder, 406 U.S.
         at 215). The Court’s citation to Yoder confirms that the
         substantial burden/compelling interest framework was
         consistent even in cases that did not mention it by name.
             The Court continued to make clear that its balancing
         framework did not guarantee relief for all religious burdens,
         even if those incognizable burdens were substantial in the
         ordinary sense. See United States v. Lee, 455 U.S. 252, 257
         (1982) (“The conclusion that there is a conflict between the
         Amish faith and the obligations imposed by the social
         security system is only the beginning, however, and not the
         end of the inquiry.”). The Court held that “[n]ot all burdens
         on religion are unconstitutional. The state may justify a
         limitation on religious liberty by showing that it is essential
         to accomplish an overriding governmental interest.” Id.
         (internal citations omitted). The Court did not analyze how
         substantial the burden of the tax law was on Amish beliefs
         when it analyzed whether the burden was cognizable. See
         id. at 257. The Court instead couched its holding on the
         government’s “very high” interest in managing the social
         security system. Id. at 259. And the government’s
         compelling interest in preserving the social security program
         outweighed the burden on religious exercise. See id. at 261.
             The Court followed up in Bowen v. Roy, in which Native
         American parents challenged the constitutionality of
         requiring a social security number for their child to receive
         federal food stamps and related benefits. 476 U.S. 693
         (1986). The parents believed that a social security number
         would “rob the spirit.” Id. at 696. In rejecting the religious
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         challenge, the Court echoed that “[n]ot all burdens on
         religion are unconstitutional.” Id. at 702.
             The Court again noted that the First Amendment does not
         “require the Government itself to behave in ways that the
         individual believes will further his or her spiritual
         development or that of his or her family.” Id. at 699
         (emphasis omitted). Instead, “[t]he Free Exercise Clause
         simply cannot be understood to require the Government to
         conduct its own internal affairs in ways that comport with
         the religious beliefs of particular citizens.” Id. The Court in
         Bowen did not analyze whether there was a “substantial
         burden” on any religious practice; it determined that the
         claim itself was not cognizable. Id. at 700 (“Roy may no
         more prevail on his religious objection to the Government’s
         use of a Social Security number for his daughter than he
         could on a sincere religious objection to the size or color of
         the Government’s filing cabinets.”).
             Two years later, the Court decided Lyng, the most
         factually relevant case here. In Lyng, Native American tribes
         challenged the construction of a road connecting two towns.
         485 U.S. at 442–43. The proposed six-mile paved road
         would affect sacred area used for religious purposes and
         rituals by Yurok, Karok, and Tolowa Indians. See id. A study
         commissioned by the U.S. Forest Service concluded that
         constructing the road “would cause serious and irreparable
         damage to the sacred areas which are an integral and
         necessary part of the belief systems and lifeway of
         Northwest California Indian peoples.” Id.
             The Court declined to interpret the Free Exercise Clause
         as permitting a significant burden on religious practice to
         weigh as equally, or even overrule, the government’s use of
         its land. See id. at 452. Indeed, it echoed that the
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         Constitution “does not, and courts cannot, offer to reconcile
         the various competing demands on government, many of
         them rooted in sincere religious belief, that inevitably arise
         in so diverse a society as ours.” Id. at 452.
               Lyng’s analytical framework was not new. The Court
         started by assessing whether the harms alleged were
         cognizable under the First Amendment, holding that
         “[w]hatever rights the Indians may have to the use of the area
         . . . those rights do not divest the Government of its right to
         use what is, after all, its land.” Id. at 452–53.
             And the Court acknowledged that the burden on religion
         was substantial because “the logging and road-building
         projects at issue in this case could have devastating effects
         on traditional Indian religious practices.” Id. at 451. No
         doubt a “devastating” impact that would foreclose religious
         practice is substantial in the ordinary sense. See Substantial,
         BLACK’S LAW DICTIONARY (6th ed. 1990) (“Of real worth
         and importance; of considerable value; valuable.”). But, like
         in several prior cases, the Court determined that even the
         potential foreclosure of the religious practice did not render
         the tribes’ religious claim cognizable under the First
         Amendment. See Lyng, 485 U.S. at 451–53. Lyng held that
         the Free Exercise Clause does not encompass claims relating
         to government management of its land. See id. And the
         Court stated Lyng’s holding even more broadly: The “Free
         Exercise Clause simply cannot be understood to require the
         Government to conduct its own internal affairs in ways that
         comport with the religious beliefs of particular citizens.” Id.
         at 448 (citing Bowen, 476 U.S. at 693) (internal citation
         omitted).
             Cases following Lyng but pre-Smith invoked the Court’s
         preexisting framework, but notably use the phrase
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         “substantial burden.” This represents no new test but
         articulates the test the Court had formulated all along: “Our
         cases have established that ‘[t]he free exercise inquiry asks
         whether government has placed a substantial burden on the
         observation of a central religious belief or practice and, if so,
         whether a compelling governmental interest justifies the
         burden.’” Jimmy Swaggart Ministries v. Bd. of Equalization
         of Cal., 493 U.S. 378, 384–85 (1990) (quoting Hernandez v.
         Commissioner, 490 U.S. 680, 699 (1989)). Within this
         framework, the Court separated cognizable substantial
         burdens from the incognizable. In so doing, it was not
         applying a uniform or literal dictionary construction of
         “substantial.” It was defining the applicable constitutional
         framework.
             In the pre-Smith cases, the Supreme Court used different
         variations to articulate the “substantial burden” standard.
         See Lee, 455 U.S. at 257 (“The state may justify a limitation
         on religious liberty” with “an overriding governmental
         interest.”); Thomas, 450 U.S. at 717–18 (“[T]he
         infringement . . . is nonetheless substantial.”); Yoder, 406
         U.S. at 220 (“A regulation neutral on its face may, in its
         application, nonetheless offend the constitutional
         requirement for governmental neutrality if it unduly burdens
         the free exercise of religion.”); Sherbert, 374 U.S. at 406
         (assessing whether a compelling state interest justified a
         “substantial infringement of appellant’s First Amendment
         right”). But there is no indication these were different tests;
         they are consistent applications of the same legal standard
         over several decades.
            Employment Division v. Smith, 494 U.S. 872 (1990), is
         no exception. The Court again made clear that the Free
         Exercise Clause recognizes only certain cognizable
         substantial burdens. And “[u]nder the Sherbert test,
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         governmental actions that substantially burden a religious
         practice must be justified by a compelling governmental
         interest.” Id. at 883 (citing Sherbert, 374 U.S. at 402–03;
         Hernandez, 490 U.S. at 699). Although Justice Scalia’s
         majority opinion held that the Sherbert test does not apply to
         neutral, generally appliable laws, it did not overrule Lyng.
         Smith, 494 U.S. at 883; see also Collins Maj. at 49–50.
         Therefore, Lyng is within the very pre-Smith framework
         reinvigorated by RFRA.
                                       IV
             RFRA was a direct rejection of Smith’s holding that all
         generally applicable laws that incidentally burden religious
         practice present no First Amendment claim. See Holt v.
         Hobbs, 574 U.S. 352, 356–57 (2015). RFRA codified the
         compelling interest test as set forth by Yoder and Sherbert.
         See id. As discussed above, under RFRA, a government’s
         “substantial burden” on the exercise of religious practice
         must be justified by a compelling interest narrowly tailored
         to accomplish that interest. 42 U.S.C. § 2000bb-1(b).
         RFRA’s text reflects the Supreme Court’s pre-Smith
         jurisprudence: “[G]overnments should not substantially
         burden religious exercise without compelling justification,”
         and “the compelling interest test as set forth in prior Federal
         court rulings is a workable test for striking sensible balances
         between religious liberty and competing prior governmental
         interests.” Id. § 2000bb-(a)(3), (5). Additionally, RFRA’s
         purpose was “to restore the compelling interest test.” Id.
         § (b)(1). RFRA expressly draws this restored test from the
         Court’s free exercise caselaw, discussed above.
             Like the several cases to predate it, RFRA does not
         define “substantial burden,” except “as set forth in prior
         Federal court rulings.” Id. § (a)(5). But RFRA’s religious
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         protections are plainly robust. RFRA applies to all federal
         law, statutory or otherwise, whether adopted before or after
         RFRA’s enactment. Id. § 2000bb-3(a).
             Shortly after RFRA was passed, the Court held that it
         only applied to the Federal Government. See City of Boerne
         v. Flores, 521 U.S. 507, 509 (1997). Congress then doubled
         down on its codified protections for religious exercise. See
         The Religious Land Use and Institutionalized Persons Act of
         2000 (RLUIPA), 42 U.S.C. § 2000cc et seq. RLUIPA
         amended RFRA’s definition of free exercise, both
         broadening it to include the use of real property for religious
         purposes and ensuring that RFRA and RLUIPA share the
         same definition. See Burwell v. Hobby Lobby Stores, Inc.,
         573 U.S. 682, 696 (2014). RLUIPA echoes the same
         command as RFRA that no government shall impose a
         “substantial burden” on religious exercise unless the
         government demonstrates that such an imposition “is in
         furtherance of a compelling governmental interest; and is the
         least restrictive means of furthering that compelling
         governmental interest.” 2 Id. § 2000cc(a)(1).
            As the court today holds, RFRA and RLUIPA apply the
         same test—that is clear from the text of both statutes and

         2
           Chief Judge Murguia contends that RLUIPA’s amendment to RFRA’s
         definition of “substantial burden” signals that Lyng does not apply to this
         case. See Murguia Dissent at 205–06. Even though the Supreme Court
         has noted that RLUIPA removed mention of the First Amendment and
         the Court has questioned “why Congress did this if it wanted to tie RFRA
         coverage tightly to the specific holdings of our pre-Smith free-exercise
         cases,” Hobby Lobby, 573 U.S. at 714, this is not the same as finding
         pre-Smith constructions of “substantial burden” inapplicable to its
         meaning. See Murguia Dissent at 205–06. While pre-Smith cases do not
         define “substantial burden,” this does not foreclose a holding that certain
         categories of cases do not apply to the “substantial burden” analysis.
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         from the Supreme Court’s discussion of them. 3 See Per
         Curiam at 14; Murguia Dissent at 207 n.8. RFRA and
         RLUIPA are “sister statute[s]” enacted “in order to provide
         very broad protection for religious liberty,” and RLUIPA
         protects religious accommodations “pursuant to the same
         standard as set forth in RFRA.” Holt, 574 U.S. at 356, 358
         (internal citations omitted). Although I agree with Chief
         Judge Murguia that RFRA and RLUIPA are interpreted
         uniformly, I cannot join her in assigning “substantial
         burden” its dictionary definition meaning. See Murguia
         Dissent at 200–201. “[W]e do not follow statutory canons
         of construction with their focus on ‘textual precision’ when
         interpreting judicial opinions.” Upper Skagit Indian Tribe v.
         Sauk-Suiattle Indian Tribe, 66 F.4th 766, 770 (9th Cir. 2023)
         (quoting United States v. Muckleshoot Indian Tribe, 235 F.3d
         429, 433 (9th Cir. 2000)); see also Parker v. Cnty. of
         Riverside, 78 F.4th 1109 (9th Cir. 2023) (R. Nelson, J.,
         concurring). Although “substantial burden” is in RFRA,
         Congress adopted “substantial burden” in RFRA from “prior
         Federal Court rulings,” 42 U.S.C. § 2000bb-(a)(5). Thus, we
         do not use the ordinary meaning of “substantial burden,” but
         the context given in those prior judicial opinions.
            Interpreting “substantial burden” in RFRA and RLUIPA
         consistently also follows rules of construction. Our notion
         of “in pari materia,” stemming from the related-statutes
         canon states that statutes concerning the same topic are to be

         3
            The Supreme Court in Hobby Lobby also disavowed differing
         constructions of another phrase used in both statutes. “[T]he phrase
         ‘exercise of religion,’ as it appears in RLUIPA, must be interpreted
         broadly, and RFRA states that the same phrase, as used in RFRA, means
         ‘religious exercis[e] as defined in [RLUIPA].’ . . . It necessarily follows
         that the ‘exercise of religion’ under RFRA must be given the same broad
         meaning that applies under RLUIPA.” 573 U.S. at 695 at n.5.
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         interpreted together, as though they were one law. See
         Erlenbaugh v. United States, 409 U.S. 239, 243 (1972) (“[A]
         legislative body generally uses a particular word with a
         consistent meaning in a given context.”); Antonin Scalia &
         Bryan A. Garner, Reading Law: The Interpretation of Legal
         Texts 170 (2012). To conclude otherwise would depart from
         the presumption of consistent usage—which has special
         force where, as here, there is a recognized “connection”
         between “the cited statute” and “the statute under
         consideration.” Scalia & Garner, Reading Law: The
         Interpretation of Legal Texts 172–73. Because RFRA and
         RLUIPA both restrict governments’ ability to impose
         “substantial burdens” on religion, there is no reason to define
         the same term differently. See id.
             Although RFRA and RLUIPA share the same definition,
         neither defines “substantial burden.” And the need to discern
         that definition is central to this appeal.
                                       V
             Before Navajo Nation, our court consistently invoked
         pre-Smith Free Exercise Clause cases and held that a
         “substantial burden” under RFRA includes preventing an
         individual from engaging in religious practice. See, e.g.,
         Goehring, 94 F.3d at 1299 (quoting Graham, 822 F.2d at
         850–51) (“substantial burden” test met when government
         “prevent[ed] him or her from engaging in conduct or having
         a religious experience which the faith mandates”); Bryant,
         46 F.3d at 949 (citing Graham, 822 F.2d. at 850–51); see also
         Worldwide Church of God, 227 F.3d at 1121; Stefanow v.
         McFadden, 103 F.3d 1466, 1471 (9th Cir. 1996).
             We then held that a substantial burden under RFRA “is
         imposed only when individuals are forced to choose between
         following the tenets of their religion and receiving a
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         governmental benefit (Sherbert) or coerced to act contrary
         to their religious beliefs by the threat of civil or criminal
         sanctions (Yoder).” Navajo Nation, 535 F.3d at 1070
         (emphasis added). A majority of the panel reverses this
         narrow holding of Navajo Nation today—specifically the
         limitation to “only” the specific circumstances of Sherbert
         and Yoder. See Per Curiam at 14; Murguia Dissent at 207
         n.8. Not only has the Supreme Court foreclosed the
         definition applied in Navajo Nation, but almost every circuit
         has declined to adopt such a narrow construction of
         “substantial burden.” “Substantial burden” is not limited to
         the burdens that were at issue in Sherbert and Yoder. See Per
         Curiam at 14; Murguia Dissent at 207. While I conclude that
         Navajo Nation was wrong for some overlapping and
         differing reasons than Chief Judge Murguia in her dissent, a
         majority of the panel rejects that test, thus controlling this
         question in future cases in this court.
                                        A
             The Supreme Court disavowed the narrow definition
         applied by the majority in Navajo Nation and asserted by
         Judge Bea here. See Bea Dissent at 91–93. The Supreme
         Court said: “Even if RFRA simply restored the status quo
         ante, there is no reason to believe . . . that the law was meant
         to be limited to situations that fall squarely within the
         holdings of pre-Smith cases.” Burwell, 573 U.S. at 706 n.18.
             The Supreme Court, however, has left lower courts to
         tackle the underlying definitional question; it has never
         defined a “substantial burden” in post-Smith cases, either. In
         Burwell, the Court had “little trouble concluding” that the
         contraceptive mandate, which permitted millions of dollars
         in fines, constituted a substantial burden on the exercise of
         petitioner’s religious beliefs. Id. at 719–20, 726. And in
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         Holt, the Court found that a prison grooming policy
         constituted a substantial burden because petitioner was
         required to shave his beard in serious violation of his
         religious beliefs or face discipline. See 574 U.S. at 361–62.
             Here, both Burwell and Holt involved instances of
         coercion akin to Yoder. See Bea Dissent at 86–87. While
         true, the Court did not limit its definition of substantial
         burden to Yoder or to any additional pre-Smith cases.
         Burwell, 573 U.S. at 706 n.18.
             Most of our sister circuits have heeded the Supreme
         Court’s words. Many have analyzed “substantial burden” in
         the presence of coercion like in Sherbert and Yoder. Still,
         none have expressly limited the definition of substantial
         burden only to that universe. Contra Bea Dissent at 78 n.8.
         And aside from whether “substantial burden” under RFRA
         is the same as under RLUIPA, many of our sister circuits
         have rejected the notion that a substantial burden must fall
         only under Sherbert or Yoder, and no other scenario.
            To begin with, the Third, Fifth, Sixth, Seventh, Eighth,
         Tenth, and Eleventh Circuits have treated RFRA and
         RLUIPA as analogous statutes and define “substantial
         burden” the same. 4 This underscores that RFRA and

         4
           See, e.g., Mack v. Warden Loretto FCI, 839 F.3d 286, 304 n.103 (3d
         Cir. 2016) (citing Washington v. Klem, 497 F.3d 272, 280 (3d Cir. 2007))
         (“although Klem examined the definition of ‘substantial burden’ in the
         context of RLUIPA, the two statutes [RFRA and RLUIPA] are
         analogous for purposes of the substantial burden test”); U.S. Navy Seals
         1-26 v. Biden, 27 F.4th 336, 350 (5th Cir. 2022) (citing Adkins v. Kaspar,
         393 F.3d 559, 570 (5th Cir. 2004), a RLUIPA case, to define “substantial
         burden” in a RFRA case); New Doe Child #1 v. Cong. of United States,
         891 F.3d 578, 588, (6th Cir. 2018) (citing Haight v. Thompson, 763 F.3d
         554, 565–66 (6th Cir. 2018), a RLUIPA case, to define “substantial
         burden” in a RFRA case); Korte v. Sebelius, 735 F.3d 654, 682–83 (7th
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         RLUIPA share the same definition of “substantial burden”
         and that Navajo Nation should be overruled on that issue.
             It is not correct, see Bea Dissent at 78, that the majority
         of circuits have followed Navajo Nation and these circuits
         limit “substantial burden” to Sherbert and Yoder. Without
         question, all courts apply the coercion and benefit tests
         identified in Navajo Nation. But no other court expressly
         limits RFRA to only those scenarios. The D.C. Circuit, for
         example, held that a substantial burden exists when the
         government leverages

                  “substantial pressure on an adherent to
                  modify his behavior and to violate his
                  beliefs,” as in Sherbert, where the denial of
                  unemployment benefits to a Sabbatarian who
                  could not find suitable non-Saturday
                  employment forced her “to choose between
                  following the precepts of her religion and
                  forfeiting benefits, on the one hand, and
                  abandoning one of the precepts of her




         Cir. 2013) (citing Civil Liberties for Urban Believers v. City of Chicago,
         342 F.3d 752, 761 (7th Cir. 2003), a RLUIPA case, to define “substantial
         burden” in a RFRA case); Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d
         1114, 1138 (10th Cir. 2013), aff’d sub nom. Hobby Lobby, 573 U.S. 682
         (describing RLUIPA as “a statute that adopts RFRA’s ‘substantial
         burden’ standard”); Midrash Sephardi, Inc. v. Town of Surfside, 366 F.3d
         1214, 1237 (11th Cir. 2004) (“RLUIPA revives RFRA’s substantial
         burden test”); Murphy v. Missouri Dep’t of Corr., 372 F.3d 979, 987 (8th
         Cir. 2004) (“several factors cause us to conclude that Congress intended
         that the language of the act [RLUIPA] is to be applied just as it was under
         RFRA”). None of these cases reference Sherbert or Yoder, let alone limit
         the definition of “substantial burden” to them.
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                religion in order to accept work, on the other
                hand.”

         Kaemmerling v. Lappin, 553 F.3d 669, 678 (D.C. Cir. 2008)
         (first quoting Thomas, 450 U.S. at 718; and Sherbert, 374
         U.S. at 404). The First Circuit applied a similar definition
         and cited Navajo Nation favorably. See Perrier-Bilbo v.
         United States, 954 F.3d 413, 431 (1st Cir. 2020) (“[C]ase law
         counsels that a substantial burden on one’s exercise of
         religion exists ‘[w]here the state conditions receipt of an
         important benefit upon conduct proscribed by a religious
         faith, or where it denies such a benefit because of conduct
         mandated by religious belief, thereby putting substantial
         pressure on an adherent to modify his behavior and to violate
         his beliefs.’”) (citing Navajo Nation, 535 F.3d at 1069–70).
         And while the Second Circuit recognizes Sherbert and Yoder
         as examples of substantial burden, it does not limit the
         definition to only those cases. See Jolly v. Coughlin, 76 F.3d
         468, 477 (2d Cir. 1996).
            Indeed, several other circuits adopt a test inconsistent
         with Navajo Nation but consistent with our approach today.
         The Eighth Circuit, for example, has held that a “substantial
         burden”

                must significantly inhibit or constrain
                conduct or expression that manifests some
                central tenet of a person’s individual religious
                beliefs; must meaningfully curtail a person’s
                ability to express adherence to his or her
                faith; or must deny a person reasonable
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                opportunity to engage in those activities that
                are fundamental to a person’s religion.

         United States v. Ali, 682 F.3d 705, 709–10 (8th Cir. 2012)
         (citing Patel v. U.S. Bureau of Prisons, 515 F.3d 807, 813
         (8th Cir. 2008)). There is no way to square the Eighth
         Circuit’s definition of “substantial burden” with Navajo
         Nation.
             The Seventh Circuit has also held that RFRA and
         RLUIPA adopt the same meaning of “substantial burden”:
         “[A] law, regulation, or other governmental command
         substantially burdens religious exercise if it ‘bears direct,
         primary, and fundamental responsibility for rendering a
         religious exercise . . . effectively impracticable.’” Korte v.
         Sebelius, 735 F.3d 654, 682–83 (7th Cir. 2013). The
         Seventh Circuit definition of “substantial burden” is more
         expansive than just Sherbert and Yoder.
             The Tenth Circuit has similarly held that a government
         act imposes a “substantial burden” on religious exercise if it:
         (1) “requires participation in an activity prohibited by a
         sincerely held religious belief,” (2) “prevents participation
         in conduct motivated by a sincerely held religious belief,” or
         (3) “places substantial pressure on an adherent . . . to engage
         in conduct contrary to a sincerely held religious belief.”
         Abdulhaseeb v. Calbone, 600 F.3d 1301, 1315 (10th Cir.
         2010); Yellowbear, 741 F.3d at 55. This is plainly contrary
         to our prior holding in Navajo Nation. And it is the legal test
         the majority adopts today to govern future RFRA cases.
            A survey of the caselaw from our sister circuits is clear.
         Our definition of substantial burden as articulated in Navajo
         Nation has not been adopted by any court since it was
         announced 15 years ago. “Substantial burden” is not limited
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         only to coercion or denial of a government benefit as
         articulated under Sherbert and Yoder.          The narrow
         interpretation of “substantial burden” from Navajo Nation
         misses a crucial nuance: what satisfies a condition does not
         automatically set its parameters in stone. The Supreme
         Court’s opinions in Holt and Burwell, and the holdings by
         virtually all other circuits, supports our holding today.
         Navajo Nation’s express limitation on the RFRA definition
         of “substantial burden” is properly overruled and no longer
         good law.
                                       B
             The majority’s holding overruling Navajo Nation’s legal
         test of “substantial burden” is a fully binding holding of the
         court. Judge Bea claims that the first paragraph of the per
         curiam opinion is dicta and not well-reasoned. See Bea
         Dissent at 59 n.1. He is wrong on both counts.
              First, the holding is not dicta. To the contrary, when we
         “confront[] an issue germane to the eventual resolution of
         the case, and resolve[] it after reasoned consideration in a
         published opinion, that ruling becomes the law of the circuit,
         regardless of whether doing so is necessary in some strict
         logical sense.” United States v. McAdory, 935 F.3d 838, 843
         (9th Cir. 2019) (quoting Cetacean Cmty. v. Bush, 386 F.3d
         1169, 1173 (9th Cir. 2004)). Judge Bea quotes that language
         (Bea Dissent at 59 n.1), but conveniently omits the relevant
         phrase: “regardless of whether doing so is necessary in some
         strict logical sense.” He does not get to dictate what
         reasoning is necessary to the ultimate conclusion in the case;
         nor does that matter under McAdory. I voted to take this case
         en banc to correct the wrong legal test of “substantial
         burden” in Navajo Nation. The issue was central to the
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         parties’ arguments and fully briefed before the district court,
         the three-judge panel, and the en banc panel.
             Judge Bea would resolve this case on narrower grounds.
         But had a majority of the panel been willing to uphold the
         legal test for “substantial burden” in Navajo Nation, this case
         could have been resolved on those narrower grounds. That
         position, however, failed to garner a majority; it failed to
         garner even a plurality. And rejecting the prior Navajo
         Nation legal test was important to the legal analysis of a
         majority of the judges on the panel in deciding this case.
         Indeed, without a majority of the court rejecting Navajo
         Nation’s legal test, this case could have been resolved simply
         by applying Navajo Nation as the panel opinion did, rather
         than on the narrower basis adopted in Judge Collins’s
         majority opinion. To be clear, Judge Collins’s opinion would
         not have garnered a majority vote of the panel had Navajo
         Nation not been overruled. So it was important to address
         that question.
              Moreover, defining “substantial burden” in a case that
         asks precisely whether the government imposed a substantial
         burden can hardly be viewed as so tangential to the case to
         be dicta in any meaningful sense. Nor can a majority’s
         rejection of a primary argument raised by the parties before
         resolving the case on other grounds be considered dicta. It
         is clearly “germane” under our precedent. We do that every
         day in our opinions. Judge Bea’s expansive view of dicta
         would have far-reaching consequences for potentially
         hundreds of our opinions if future panels were allowed to
         parse what issues were germane to support a particular
         result–and reject all other reasoning as dicta.
            Second, the holding is well reasoned. I explain why
         Navajo Nation applied the wrong legal definition of
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         “substantial burden.” See supra § V.A. And Chief Judge
         Murguia explains why Navajo Nation was wrong, joined by
         four other judges. See Murguia Dissent § II.A-C. True,
         some of the reasoning differs. But much of it overlaps. For
         example, I agree with Chief Judge Murguia’s reasoning that
         RFRA and RLUIPA both apply the same legal test. See
         Murguia Dissent § II.A (197–99); see also id. at 209 (quoting
         Holt, 574 U.S. at 356–57, and citing Gonzales v. O Centro
         Espírita Beneficente Uniaõ do Vegetal, 546 U.S. 418, 436
         (2006); Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct.
         2356, 2365 (2019)). I also agree with her reasoning that
         Navajo Nation adopted a narrow reading of ‘substantial
         burden.’ See id. at 206–07. And my analysis that no other
         circuit has adopted the “substantial burden” test in Navajo
         Nation largely tracks with her similar reasoning. See id.
         § II.C (209–10).
             Judge Bea’s contention that the first paragraph of the per
         curiam opinion is not well reasoned ignores the dozens of
         pages of reasoning provided in my concurrence and Chief
         Judge Murguia’s opinion. “Only ‘statements made in
         passing, without analysis, are not binding precedent.’” City
         of Los Angeles v. Barr, 941 F.3d 931, 943 n.15 (9th Cir.
         2019) (quoting In re Magnacom Wireless, LLC, 503 F.3d
         984, 993–94 (9th Cir. 2007)). The first paragraph of the per
         curiam opinion was neither made in passing nor without
         analysis. If anything, the holdings in the first paragraph of
         the per curiam opinion are “too well reasoned.” No
         reasonable reader (though perhaps aided by a strong dose of
         caffeine) can walk away after reading the various opinions
         without a plain understanding of how forcefully a majority
         of this panel believes that Navajo Nation’s legal definition
         of “substantial burden” was wrongly decided and must be
         overruled to resolve this case; and the reasoning behind that
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         conclusion. Judge Bea is free to dissent from that view. But
         he cannot bind future panels. No future panel of this court
         (except a future en banc panel) may adopt Judge Bea’s
         dissenting view.
                                           VI
             Even in overruling this aspect of Navajo Nation, our
         inquiry is not complete. We still must decide this case. We
         unanimously hold that Apache Stronghold has no First
         Amendment claim under Lyng. See Collins Maj. at 40;
         Murguia Dissent at 221–29. Apache Stronghold’s claim
         under RFRA, however, is much closer. The question
         remains—what constitutes a substantial burden and has that
         standard been met here? I agree with Judge Collins’s
         majority opinion that the burden here does not satisfy the
         “substantial burden” applied under RFRA.
             Two main theories emerge from the majority and
         concurrences. The majority holds that because Congress
         “copied the ‘substantial burden’ phrase into RFRA, it must
         be understood as having similarly adopted the limits that
         Lyng placed on what counts as a governmental imposition of
         a substantial burden on religious exercise.” Collins Maj. at
         46. I agree, but for additional reasons. I disagree, however,
         with the separate theory that “substantial burden” is a term
         of art with a specific definition. 5 See Bea Dissent at 93.

         5
           “Terms of art are words having specific, precise meanings in a given
         specialty.” Terms of Art, GERNER’S DICTIONARY OF LEGAL USAGE (3d
         ed. 2011); see also Term of Art, BLACK’S LAW DICTIONARY (11th ed.
         2019) (same). Judge Bea attacks this position, noting that “legal tests
         and standards” can “often” be a “term of art.” Bea Dissent at 93 n.16.
         His sole example, however, is the term “fair and equitable” which the
         Supreme Court described as a term of art 80 years ago. But “fair and
         equitable” had become a term of art because of the precise and consistent
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         While RFRA relies on the prior Supreme Court analytical
         framework of “substantial burden,” that term was never
         defined as a term of art.
                                            A
             It is a longstanding principle that “[w]hen a statutory
         term is obviously transplanted from another legal source, it
         brings the old soil with it.” Taggart v. Lorenzen, 139 S. Ct.
         1795, 1801 (2019) (citations and internal quotation marks
         omitted). The question is what “old soil” regarding
         “substantial burden” was grafted into RFRA. As explained
         above, “substantial burden” was not defined by the Supreme
         Court before the adoption of RFRA. “Substantial burden”
         or related phrasing was used by the Court not as a definition
         that could be transplanted, but as a legal framework to apply
         the Free Exercise Clause. And a legal framework differs
         from a precise definition.
             Judge Bea asserts that we must look only to pre-RFRA
         cases to define “substantial burden,” because the term was
         taken by Congress, without modification, from the Supreme
         Court’s pre-RFRA First Amendment jurisprudence; because
         RFRA states that its goal is to restore the test used by pre-
         RFRA federal court rulings; and because RFRA directly cites
         two Supreme Court decisions—Sherbert and Yoder—as


         definition attached to it over time. If 200 plus pages in six separate
         opinions in this case prove anything, it is that the definition of
         “substantial burden” has not been defined with the precision necessary
         to be a well-defined term of art. The Supreme Court had not defined
         “substantial burden” prior to Congress adopting RFRA. And other
         federal courts had not adopted a consistent definition of the term either.
         Our definition of “substantial burden” today, see Per Curiam at 14–15,
         is consistent with the definition adopted by other federal courts and may
         well constitute a term of art going forward.
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         determinative of the scope of the term “substantial burden.”
         See Bea Dissent at 80–87. But even taking these three
         assertions to their logical conclusions, this does not cabin
         “substantial burden” to Sherbert and Yoder.
                                       1
             As outlined above, “substantial burden” was used in
         several pre-Smith and pre-RFRA cases and referenced a prior
         analytical approach. See supra § III.B; Jimmy Swaggart
         Ministries, 493 U.S. at 384–85; Hernandez, 490 U.S. at 699.
         Congress adopted “substantial burden” from those “prior
         Federal court rulings.” 42 U.S.C. § 2000bb-(a)(5). None of
         those cases define “substantial burden.” But Congress, in
         adopting RFRA, expressly incorporated the contours and
         limitations of the “substantial burden” framework into
         RFRA.
             This aligns with how the Supreme Court described its
         own Free Exercise Clause jurisprudence. For example, the
         Court in Sherbert held that the government may not compel
         affirmation of a belief or penalize groups for holding certain
         views. 374 U.S. at 402. Same with Bowen: Free Exercise
         violation arises when “compulsion of certain activity with
         religious significance was involved.” 476 U.S. at 704.
         These holdings describe categories of claims protected by
         the First Amendment, but do not define “substantial burden”
         itself. There is again no definition of “substantial burden.”
         Thus, the legal context here reveals no technical definition
         or term of art.
                                       2
            Judge Bea next asserts that there is no evidence that
         Congress intended to expand or alter the definition of
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         “substantial burden” in pre-RFRA cases. 6 See Bea Dissent
         at 87. But this again assumes, incorrectly, that there ever
         was a precise definition. True, RFRA’s use of “substantial
         burden” strongly supports the conclusion that Congress was
         satisfied with that portion of the test as set forth in prior
         federal court rulings. But that does not mean that the terms
         were defined as a term of art. Cf. Bea Dissent at 93.
             Indeed, our sister circuits do not speak of “substantial
         burden” as a term of art. See, e.g., Mack, 839 F.3d at 286;
         U.S. Navy Seals 1-26, 27 F.4th at 336; New Doe Child #1,
         891 F.3d at 578; Korte, 735 F.3d at 654; Hobby Lobby, 723
         F.3d at 1114; Midrash, 366 F.3d at 1214; Murphy, 372 F.3d
         at 979. And for good reason: There is no definition by which
         they could do so. So while Lyng forecloses Apache
         Stronghold’s RFRA claim here, see Collins Maj. at 40, that
         is not because Lyng is part of any “old soil” that was used to
         define “substantial burden,” Bea Dissent at 79. Indeed, Lyng
         does not even use “substantial burden” or any analogous
         framing of the phrase. Lyng therefore cannot be read as
         establishing a precise definition of “substantial burden”
         “carried over into the soil” of RFRA. Taggart, 139 S. Ct. at
         1801 (emphasis added).
                                              3
             Judge Bea’s approach, which purports to be one
         grounded in the statute’s text, also violates fundamental
         principles of textualism. See Bea Dissent at 79–93. His
         application of the soil theory disregards a textual analysis of
         half of RFRA’s statutory language. The words of a

         6
           The Supreme Court seems to reject that premise: “[T]here is no reason
         to believe . . . that [RFRA] was meant to be limited to situations that fall
         squarely within the holdings of pre-Smith cases.” Burwell, 573 U.S. at
         706 n.18.
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         governing text are of paramount concern. We must analyze
         those words in their full context and not focus exclusively on
         particular provisions. See Textualism, BLACK’S LAW
         DICTIONARY (11th ed. 2019).
             Here, Judge Bea stresses that RFRA directly cites
         Sherbert and Yoder. See Bea Dissent at 82–85. But this only
         addresses half of the relevant textual inquiry. Section
         2000bb states that a purpose of RFRA is “(1) to restore the
         compelling interest test as set forth in Sherbert v. Verner,
         374 U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205
         (1972).” The rest of § 2000bb, however, reads “and to
         guarantee its application in all cases where free exercise of
         religion is substantially burdened; and (2) to provide a claim
         or defense to persons whose religious exercise is
         substantially burdened by government.” Id. § 2000bb(1)–
         (2) (emphasis added).
             Congress explicitly codified the test formulated in
         Sherbert and Yoder. But it did far more than that. It also
         extended RFRA’s reach to include any other substantial
         burdens (consistent with the Supreme Court’s application)
         on religious practice. Congress employs not one but two
         uses of “and.” Id. And Judge Bea ignores them both. We
         cannot ignore statutory language like that. If Judge Bea were
         correct, Congress would not need to have included language
         guaranteeing RFRA’s application in all cases in which there
         is a substantial burden. This is true even considering that
         Congress referenced Sherbert and Yoder to the exclusion of
         other cases, see Bea Dissent at 84–85, and that Congress
         declined to use phrases like “for example” to indicate that
         Sherbert and Yoder were mere examples of substantial
         burdens, id. at 85. The entire text of the subsection does not
         start and end with Sherbert and Yoder—it extends further to
         all substantial burdens. We cannot read Congress’s words
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         out of existence. See TRW Inc. v. Andrews, 534 U.S. 19, 31
         (2001) (quoting Duncan v. Walker, 533 U.S. 167, 174
         (2001)) (“We are ‘reluctant to treat statutory terms as
         surplusage in any setting’ . . . .”).
             Not only should we not read the statutory text out of
         existence, we also ought not read words into RFRA that are
         not there. That certain members of Congress made
         statements about RFRA’s scope as Congress debated its
         enactment does not provide any reliable evidence of RFRA’s
         meaning. See VanDyke Concurrence at 160–61. “The
         greatest defect of legislative history is its illegitimacy. We
         are governed by laws, not by the intentions of legislators.”
         Conroy v. Aniskoff, 507 U.S. 511, 519 (1993) (Scalia, J.,
         concurring). The use of such legislative history has been
         properly criticized as being “neither compatible with our
         judicial responsibility of assuring reasoned, consistent, and
         effective application of the statutes of the United States . . .
         .” Blanchard v. Bergeron, 489 U.S. 87, 99 (1989) (Scalia, J.,
         concurring); see also Does 1-6 v. Reddit, Inc., 51 F.4th 1137,
         1146 (9th Cir. 2022) (R. Nelson, J., concurring). And that
         remains true even though one of the comments came from
         Senator Hatch who sponsored and championed RFRA.
         Particularly when legislative history supports our textual
         interpretation of a statute, we must even more vigilantly
         guard against encroaching on fundamental statutory
         principles of construction. 7 Therefore, our assessment of


         7
           Whether RFRA’s sponsor or a slew of law professors agree with our
         reading of prior federal law has no bearing here where the statutory text
         makes clear that RFRA did not overrule Lyng. Had these commentators
         instead suggested that RFRA overruled Lyng, that would have similarly
         been irrelevant. Relying on those subjective views undermines the long-
         standing understanding that, “It is emphatically the province and duty of
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         substantial burden and of any implication of pre-RFRA
         cases, namely Lyng, must come from analysis grounded in
         the text. And because “substantial burden” is not a term of
         art with a specific definition, the soil theory is inapplicable.
                                          B
             I ultimately agree with Judge Collins’s majority opinion,
         which relies on a more compelling theory in this case than
         the soil theory. See Medina Tovar v. Zuchowski, 982 F.3d
         631, 644 (9th Cir. 2020) (en banc) (Callahan, J., dissenting)
         (“In the battle of competing aphorisms I think that ‘context
         matters’ prevails over the interpretive canon ‘bringing the
         old soil with it.’”). Judge Collins essentially invokes a
         different understanding of the Canon of Prior Construction.
         See Collins Maj. at 46–47 (citing Williams v. Taylor (Terry
         Williams), 529 U.S. 362 (2000)). This familiar canon is one
         of context: “If a statute uses words or phrases that have
         already received authoritative construction by the
         jurisdiction’s court of last resort, or even uniform
         construction by inferior courts or a responsible
         administrative agency, they are to be understood according
         to that construction.” Scalia & Garner, Reading Law: The
         Interpretation of Legal Texts 322.
            But construction is different than definition. Compare
         Construction, BLACK’S LAW DICTIONARY (11th ed. 2019)
         (“The act or process of interpreting or explaining the
         meaning of a writing”) with Definition, BLACK’S LAW
         DICTIONARY (11th ed. 2019) (“The meaning of a term as
         explicitly stated in a drafted document such as a contract, a
         corporate bylaw, an ordinance, or a statute”). Here, the


         the judicial department to say what the law is.” Marbury v. Madison, 5
         U.S. 137, 177 (1803).
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         Supreme Court has not defined “substantial burden.” Even
         so, the Court has construed the term. We apply that context
         to this case. Lyng is an authoritative construction that the
         substantial burden test codified in RFRA is inapplicable to
         certain challenges, including one in which the government
         manages its own land. True, the Smith majority rejected that
         the application of the Sherbert test strictly turned on “the
         government’s conduct of ‘its own internal affairs.’” 494
         U.S. at 885 n.2 (citing Lyng, 485 U.S. at 439). But this was
         to justify Smith’s rule of general applicability, which was
         expressly overruled in RFRA. RFRA, however, does not
         address, nor overrule Lyng.
             This said, I do not read RFRA as enshrining just Justice
         O’Connor’s view in her Smith concurrence. Cf. Collins Maj.
         at 50–51. Justice O’Connor’s articulation of Sherbert’s
         compelling interest test in her Smith concurrence was not her
         mere opinion, nor was it “her” test—it was the test
         established by decades of judicial precedent. Thus, in
         overruling Smith, Congress codified this preexisting
         framework in RFRA. And it follows that because RFRA’s
         stated purpose was to reject Smith, § 2000bb(a), and its
         effect was to codify the compelling interest test, id.
         § 2000bb(b)(1), RFRA therefore reinstated the legal
         framework’s parameters as well. See Parker Drilling Mgmt.
         Servs., Ltd. v. Newton, 139 S. Ct. 1881, 1890 (2019) (citing
         McQuiggin v. Perkins, 569 U.S. 383, 398 n.3 (2013))
         (“Congress legislates against the backdrop of existing law.”).
         RFRA thus adopted the term “substantial burden” from the
         Court’s prior construction of the Sherbert framework. It is
         therefore not just Smith (or Justice O’Connor’s
         concurrence), but the entirety of the Court’s pre-RFRA
         jurisprudence, that provides the contours of substantial
         burden.
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             I also have some reservations about Judge Collins’s
         broad categorization of the Supreme Court’s opinion in Terry
         Williams. That theory allows us to infer the meaning of a
         word or phrase when “‘broader debate and the specific
         statements’ of the Justices in a particular decision concern
         ‘precisely the issue’ that Congress later addresses in a statute
         that borrows the Justices’ terminology.” Collins Maj. at 46
         (quoting Terry Williams, 529 U.S. at 411–12). There is good
         reason to be cautious of an overapplication of this theory.
         The Supreme Court has not relied on it in the 23 years since
         Terry Williams—and we never have previously. Part of why
         Terry Williams has not been relied on more may be the
         Supreme Court’s own limitation: “It is not unusual for
         Congress to codify earlier precedent in the habeas context.”
         529 U.S. at 380 n.11. That same principle has not been
         established in the First Amendment context to date.
             Given these concerns, this theory should be used
         sparingly. But it is an appropriate application when
         considering a unique context like habeas in Terry Williams
         and an equally unique statute like RFRA where Congress
         explicitly adopted a term from multiple cases to codify that
         legal framework into law. See Smith, 494 U.S. at 883
         (“Under the Sherbert test, governmental actions that
         substantially burden a religious practice must be justified by
         a ‘compelling governmental interest.’”). Thus, despite the
         lack of explicit definition, the body of case law from which
         “substantial burden” springs forecloses Apache Stronghold’s
         RFRA claim here. A contrary conclusion would wrongfully
         ignore the textualist roots of “substantial burden.”
            The ultimate question is whether RFRA overrules Lyng.
         As explained above, the stronger case is that Lyng remained
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         part of the “substantial burden” analysis. 8 The Supreme
         Court has been clear: “‘If a precedent of this Court has direct
         application in a case,’ . . . a lower court ‘should follow the
         case which directly controls, leaving to this Court the
         prerogative of overruling its own decisions.’” Mallory v.
         Norfolk S. Ry. Co., 143 S. Ct. 2028, 2038 (2023) (citing
         Rodriguez de Quijas v. Shearson / Am. Express, Inc., 490
         U.S. 477, 484 (1989)). “This is true even if the lower court
         thinks the precedent is in tension with ‘some other line of
         decisions.’” Id.
             A commendable critique of Lyng might be that its
         holding lacks in originalist or textualist support. As Smith
         has been deeply criticized for its lack of original or textual
         grounding, the same may be said about Lyng, which Smith
         cites repeatedly. Cf. Fulton v. City of Philadelphia, 141 S.
         Ct. 1868, 1888 (2021) (Alito, J., concurring) (Smith “can’t
         be squared with the ordinary meaning of the text of the Free
         Exercise Clause or with the prevalent understanding of the
         scope of the free-exercise right at the time of the First
         Amendment’s adoption.”). Justice Alito concludes that “the
         ordinary meaning of ‘prohibiting the free exercise of
         religion’ was (and still is) forbidding or hindering
         unrestrained religious practices or worship.              That
         straightforward understanding is a far cry from the
         interpretation adopted in Smith.” Id. at 1896. Under that
         definition, perhaps it is time for the Supreme Court to revisit
         Lyng. But that is a task for a different Court on a different
         day.


         8
           It has been argued that because RFRA applies to all federal government
         action, 42 U.S.C. § 2000bb-3, it thus overrules Lyng. But RFRA also
         instructs courts to look to “prior Federal court rulings.” 42 U.S.C.
         § 2000bb(a)(5). Lyng is such a prior federal court ruling.
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             At any rate, Lyng remains the law. There, the Supreme
         Court held that the government action at issue was not a
         substantial burden because the First Amendment “simply
         cannot be understood to require the Government to conduct
         its own internal affairs in ways that comport with the
         religious beliefs of particular citizens.” 485 U.S. at 448.
         And because the land transfer here concerns the
         government’s management and alienation of its own land,
         which is no doubt part of its internal affairs, Lyng directly
         applies to any statutory application of “substantial burden”
         under RFRA as well. With no compelling evidence to
         support a finding that Lyng was overruled when Congress
         enacted RFRA, for the same reasons that Apache
         Stronghold’s claim fails under the First Amendment, it fails
         under RFRA too.
                                     VII
             RFRA is a unique statute. While the dissent raises a
         plausible textual interpretation of “substantial burden,” I
         ultimately disagree. In adopting RFRA, Congress used a
         specific term—“substantial burden”—which should
         reasonably be read to reject Smith but incorporate prior
         Supreme Court construction of that term. While we lack a
         precise definition, we are given guideposts. And Lyng is one
         of those.
             The phrase “substantial burden” does not exist in a
         vacuum. Rather, decades of Supreme Court precedent
         establish that only certain forms of substantial burdens are
         cognizable as that term is used to apply the Free Exercise
         Clause. And when the government seeks to manage its
         internal affairs and operate on its own land, no such
         cognizable burden exists under RFRA. Congress then
         codified this standard and its associated boundaries in
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         RFRA. Because RFRA does not overrule the Supreme
         Court’s binding precedent in Lyng, Apache Stronghold has
         no viable RFRA claim here.


         VANDYKE, Circuit Judge, concurring:

             I agree with the majority that our decision in this case is
         controlled by Lyng v. Northwest Indian Cemetery Protective
         Association, 485 U.S. 439 (1988). I write separately to
         elaborate on why the alleged “burden” in this case is not
         cognizable under the Religious Freedom Restoration Act
         (RFRA) and to explain why reinterpreting RFRA to impose
         affirmative obligations on the government to guarantee its
         own property for religious use would inevitably result in
         religious discrimination. Occupying the background of the
         majority opinion is a reality central to the resolution of this
         case: there is no textual, historical, or precedential support
         for the notion that a government’s refusal to use its own
         property to enable or subsidize religious practice is a
         cognizable burden under either the Free Exercise Clause or
         RFRA. Even assuming it’s theoretically possible to
         reconceptualize Uncle Sam’s parsimony as a “burden” on
         religious exercise, such stinginess in the allocation of the
         government’s own property isn’t the sort of burden our
         religious freedom guarantees were ever meant to address.
         And because the government action here did not constitute a
         cognizable burden, any reliance on the substantiality of the
         impact of the government’s decision on the plaintiffs in this
         case is misguided.
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                                             I.
             Enacted in response to one of the most criticized
         Supreme Court decisions in history, 1 RFRA was a laudable
         attempt to broadly restore religious liberty. But like any
         rights-endorsing statute, no matter its scope, RFRA has its
         limits. A cognizable RFRA claim arises only when (1) the
         government (2) substantially (3) burdens (4) religious
         exercise. 42 U.S.C. § 2000bb-1(a). Apache Stronghold
         claims that the government will burden the Apaches’
         religious exercise—specifically, their use of Oak Flat to
         worship and conduct ceremonies—by transferring
         ownership of the government’s property to Resolution
         Copper.
             Because it is undisputed that the Apaches’ desire to use
         Oak Flat to worship and conduct ceremonies qualifies as
         religious exercise, the only issue before our court is whether
         the transfer is an instance of the government burdening the
         Apaches’ religious exercise as that action has long been
         understood under RFRA and the Free Exercise Clause. After
         considering the logic underlying RFRA, and then reviewing
         the proper Free Exercise Clause and RFRA frameworks, it
         becomes apparent that the government does not burden
         religious exercise by refusing to ensure the government’s
         own property remains available to enable it.




         1
             Emp. Div., Dep’t of Hum. Res. of Or. v. Smith, 494 U.S. 872 (1990).
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             A. A commonsense reading of RFRA does not
                suggest the government burdens religion by
                refusing to use its property to enable religious
                activity.
             Notwithstanding the volume of ink spilt today by our en
         banc court across multiple opinions, it’s safe to say that we
         all agree on at least one thing: RFRA provides a claim for
         some—but not all—burdens that a person may experience in
         relation to his or her religious exercise. For starters, the
         burden must have been imposed by a particular entity—
         namely, the government. And related to that, when the
         government acts (or fails to act), not all of its actions (or
         inactions) that may have some incidental effect on an
         individual’s religious exercise are deemed to “burden” that
         person’s religious exercise within the meaning of our
         guarantees of religious freedom. 2
              This is confirmed by both common sense and the
         ordinary meaning of the verb “burden,” as a few illustrations
         will show. Imagine, for example, that a Muslim believes he
         must complete a religious pilgrimage to Mecca during his
         lifetime. But he lacks the money to do so. If his sister has
         enough money to pay for the trip but refuses to give it to him,
         no one would seriously claim that the sister “burdened” her
         brother’s religious exercise by refusing to give him her
         money to enable his exercise. Sure, there is a sense in which
         the brother faces a burden on his religious exercise: he
         doesn’t have something he needs to enable it. But few if any

         2
           Indeed, Apache Stronghold’s able counsel acknowledged at oral
         argument that not every government action that might be characterized
         as a “burden” is cognizable under RFRA, including when the
         government refuses to sell its land to a private party to build a church on
         the property.
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         would say his sister caused that burden by refusing to give
         him her money.
             If our example were changed slightly so that the brother
         asked the government instead of his sister for the money, the
         result would be unchanged.              Characterizing the
         government’s unwillingness to give its resources to our
         disadvantaged Muslim friend as a government-imposed
         burden on his religious exercise would be no less strange
         than in our first example.
             That is the key to this case. Much has been said about
         the substantiality of the burden the Apaches will experience
         when the government’s Oak Flat property is traded and
         eventually destroyed. It is certainly true that the effect is
         substantial. But its substantiality is irrelevant in this case.
         Even assuming one could counterintuitively characterize the
         government’s unwillingness to give someone its property as
         a “burden,” such a burden is not the type of government-
         imposed burden that is cognizable under RFRA or the Free
         Exercise Clause. Few people today would characterize the
         government withholding its own property as the government
         imposing a burden. And there is no reason to think that such
         a peculiar conception of a government-imposed burden had
         any more purchase at the time of the nation’s founding, at
         the time of the Fourteenth Amendment’s ratification, or at
         the time of RFRA’s enactment.              In short, Apache
         Stronghold’s RFRA claim fails because the government’s
         use of its own property simply does not impose on the
         Apaches’ religious exercise the type of “burden” that either
         RFRA or the Free Exercise Clause contemplate.
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             B. Under the Free Exercise Clause, the government
                does not burden religious exercise by managing
                its own property.
             The Free Exercise Clause comes into play when the
         government “prohibit[s]” the “free exercise” of religion,
         U.S. Const. amend. I, which courts have long interpreted as
         doing something that burdens such free exercise. Because
         this constitutional right “is written in terms of what the
         government cannot do to the individual, not in terms of what
         the individual can exact from the government,” the Supreme
         Court has recognized that government actions involving the
         government’s use of its own resources do not impose a First
         Amendment burden on a person’s religious exercise, even
         when such government actions may indirectly—and
         possibly even substantially—affect religious exercise. Lyng,
         485 U.S. at 450–51 (emphasis added) (quoting Sherbert v.
         Verner, 374 U.S. 398, 412 (1963) (Douglas, J., concurring)).
         Since well before Smith, it has been commonly understood
         that the government does not impose a burden when it
         merely refuses to subsidize a religious exercise. See, e.g.,
         Regan v. Tax’n with Representation of Wash., 461 U.S. 540,
         549 (1983) (“We have held in several contexts that a
         legislature’s decision not to subsidize the exercise of a
         fundamental right does not infringe the right, and thus is not
         subject to strict scrutiny.”); Sherbert, 374 U.S. at 412
         (Douglas, J., concurring) (“The fact that government cannot
         exact from me a surrender of one iota of my religious
         scruples does not, of course, mean that I can demand of
         government a sum of money, the better to exercise them.”).
            The understanding that a refusal to subsidize does not
         burden religious exercise is obviously not limited to just the
         government’s money. A Catholic priest can no more
         demand that the government provide him with communion
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         wine than he can demand that the government provide him
         with money to buy that wine. An elder of the Church of
         Jesus Christ of Latter-day Saints can’t insist that the
         government give him either a bicycle or the cash to buy one.
         Nor can a pastor require that the government provide him a
         church on government land so that he can better serve his
         flock. As in our initial Mecca example, the government has
         not “burdened” anyone’s religious exercise in any of these
         examples by withholding its own resources.
             Of course, every level of government in our nation
         distributes a variety of government benefits to a variety of
         recipients. And when the government does that, it cannot do
         so in a way that discriminates against or between religions.
         In Sherbert, for example, a state government provided
         unemployment benefits to workers who required Sunday off
         to practice their faith, but not to those whose religion
         required them to take Saturday off. 374 U.S. at 399–400,
         406. The Supreme Court correctly concluded that the Free
         Exercise Clause disallows such discrimination between or
         against religions in the provision of government benefits. Id.
         at 404. The Court explained that such differential treatment
         of religious adherents in the allocation of government
         benefits imposes the type of “burden” on religious liberty
         that the Free Exercise Clause was meant to protect against.
         Id. Indeed, it “puts the same kind of burden upon the free
         exercise of religion as would a fine imposed against
         appellant for her Saturday worship.” Id. This is because “to
         condition the availability of benefits upon [a religious
         observer’s] willingness to violate a cardinal principle of her
         religious faith effectively penalizes the free exercise of her
         constitutional liberties.” Id. at 406. Thus, Sherbert and its
         progeny make clear that once the government chooses to
         provide government benefits, it cannot do so in a
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         discriminatory fashion that effectively coerces potential
         recipients into abandoning their constitutional right to freely
         exercise their religion.
             But of course, nowhere did Sherbert (or any case since)
         conclude that the government had to provide unemployment
         benefits to anyone in the first instance; it simply concluded
         that if the government chose to do so, it couldn’t religiously
         discriminate.     See, e.g., Trinity Lutheran Church of
         Columbia, Inc. v. Comer, 582 U.S. 449, 467 (2017) (“[T]he
         exclusion of Trinity Lutheran from a public benefit for
         which it is otherwise qualified, solely because it is a church,
         is odious to our Constitution … and cannot stand.”). I’m not
         aware of any case applying Sherbert’s anti-discrimination
         principle that holds the government must either start
         providing or continue providing some government benefit—
         again, those cases simply stand for the reasonable
         proposition that if the government is doling out benefits, it
         must not discriminate against religion in the process of doing
         so.
             Unsurprisingly, the Supreme Court has also made clear
         that the Free Exercise Clause protects against the
         government burdening religious exercise by directly
         imposing requirements on people that are at odds with their
         religious beliefs. The Supreme Court addressed this
         situation in Wisconsin v. Yoder, 406 U.S. 205 (1972).
         Wisconsin had attempted to make school attendance
         mandatory until the age of 16. Id. at 207. This compulsory-
         attendance law was “undeniably at odds with fundamental
         tenets of [Amish] religious beliefs” and presented the Amish
         with a classic dilemma: exercising their religious beliefs
         would lead to criminal sanctions, but compliance with the
         law would violate their beliefs. Id. at 218. Yoder and many
         cases since then stand for the straightforward proposition
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         that, when the government says, “you must do X,” and your
         religion says, “you must not do X,” then the government’s
         demand has burdened your religious exercise.
             Both the Yoder type of burden and Sherbert type of
         burden, while different, converge under a single concept:
         government coercion. Yoder involved the most direct form
         of coercion: violate your religious scruples or be punished.
         Sherbert’s coercion is less direct but not necessarily less
         coercive: violate your religious scruples or be denied an
         otherwise available government benefit. Both the Yoder and
         Sherbert types of government coercion are conceptually
         quite different from a theoretical third type: the government
         simply refusing to give someone its property so that he can
         use it to exercise his religion. 3 This third type of government
         action is different in kind from the first two. In no way is
         the government coercively inducing or requiring people to

         3
           It is important to distinguish between a Sherbert-type burden and this
         third potential type of claim. Both involve the government withholding
         its property, but in Sherbert the government is already giving its property
         to some religious adherents, while discriminatorily withholding its
         property from others of a different religion. Thus, in a Sherbert case, the
         baseline condition is, so to speak, that the government is already
         providing its property to some (but not all) religious adherents. In
         contrast, the baseline condition in a case like this one is that the
         government is not giving its property to anyone, and the religious
         claimants nonetheless insist that the government must uniquely provide
         them with government property to enable their religious exercise.
         Apache Stronghold has not tried to make a Sherbert-type religious
         discrimination claim in this case, presumably because the government
         isn’t discriminatorily “giving” its land to anyone but is instead trading
         the government-owned Oak Flat for other land owned by the mining
         company. In other words, the government is effectively selling Oak Flat
         to the mining company, and Apache Stronghold hasn’t claimed any
         discriminatory action on the part of the government in, say, rejecting an
         equivalent competing offer from Apache Stronghold.
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         violate their religious beliefs. Instead, any coercion works
         in the opposite direction: people are demanding that the
         courts make the government enable or subsidize their
         religious beliefs by uniquely providing them with
         government property.
             While an able lawyer can certainly characterize this third
         type of claim as a “burden,” it has been well understood
         since before Smith that the Free Exercise Clause does not
         cover any such government decisions, regardless of the
         label. This is most unmistakably demonstrated by Lyng.
         There, the federal government had permitted the building of
         a road and the harvesting of timber on publicly owned land.
         Lyng, 485 U.S. at 441–42. Some Native American tribes
         argued that this would burden their religious practice on the
         government’s land. Id. at 447. But as the Court explained,
         the project did not burden religious exercise within the
         meaning of the Free Exercise Clause.            Id. at 452.
         Notwithstanding that the claimed effects from the road-
         building project could be “severe” and “virtually destroy
         the … Indians’ ability to practice their religion,” those
         effects did not give rise to a cognizable burden. Id. at 447,
         450–51.
             The reason the Indian tribes lacked a Free Exercise
         Clause claim in Lyng was because, despite the “devastating”
         incidental effect that the government’s management of its
         own land would have on their religious exercise, id. at 451,
         the tribes would not “be coerced by the Government’s action
         into violating their religious beliefs; nor would [the]
         governmental action penalize religious activity by denying
         [them] … benefits,” id. at 449. As Lyng made clear, the
         “Free Exercise Clause affords an individual protection from
         certain forms of governmental compulsion; it does not afford
         an individual a right to dictate the conduct of the
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         Government’s     internal” affairs,  particularly    the
         government’s management of its own property. Id. at 448
         (emphasis added) (quoting Bowen v. Roy, 476 U.S. 693,
         699–700 (1986)).
             Nothing since Lyng has cast into question the
         straightforward understanding that the Free Exercise Clause
         does not require the government to let you use its property—
         including its real property—to exercise your religion. Our
         court, sitting en banc fifteen years ago, reviewed these same
         cases and reached the same conclusion. See Navajo Nation
         v. U.S. Forest Serv., 535 F.3d 1058, 1068–73 (9th Cir. 2008)
         (en banc). 4 Regardless of how you label it, the government’s
         nondiscriminatory use of its own property has never been
         understood to impose a constitutionally cognizable burden
         on someone’s religious freedom—even when such
         governmental decisions incidentally have “devastating” and
         “severe adverse effects on the practice of [a] religion.” Lyng,
         485 U.S. at 447, 451.
               C. RFRA adopted the ordinary meaning of
                  “burden” as that term had been uniformly
                  understood in Free Exercise Clause cases.
             Echoing decades of Free Exercise precedent, RFRA
         prohibits the government from burdening a person’s
         religious exercise. 42 U.S.C. § 2000bb-1(a). As is typical
         in many statutes, RFRA defined some but not all terms that
         determine whether a person has a cognizable RFRA claim.
         For example, RFRA tells us that a person’s “religious
         exercise” includes “any exercise of religion, whether or not
         compelled by, or central to, a system of religious belief.” Id.

         4
          Our court reached the right result in Navajo Nation, although I might
         quibble with some of its rationale.
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         at §§ 2000bb-2(4), 2000cc-5(7)(A). Since this is a clear
         departure from how religious exercise had been understood
         under the First Amendment, 5 it made sense for Congress to
         provide that definition. But tellingly, RFRA does not define
         what it means for the government to “burden” religious
         exercise. The obvious reason for that, given the context of
         RFRA’s enactment and its clear textual departures from the
         First Amendment in other regards, is that RFRA meant
         “burden” in the way it had been commonly understood in the
         Free Exercise Clause context. Indeed, the Supreme Court
         has acknowledged as much. See Tanzin v. Tanvir, 592 U.S.
         43, 46–48 (2020) (citing Antonin Scalia & Bryan Garner,
         Reading Law: The Interpretation of Legal Texts 323 (2012)).
             In pre-RFRA First Amendment caselaw, it was well
         understood that the government burdens religious exercise
         when it acts in a coercive manner, and that the government’s
         decisions about how it uses its own property are not coercive
         unless they discriminate (as in Sherbert). During and
         immediately after RFRA’s enactment, everyone understood
         that RFRA carried forward this ordinary understanding of
         what it means to burden religious exercise. Post-RFRA
         caselaw only further confirmed that RFRA adopted the
         ordinary meaning of how the government may impose a

         5
          Prior to being amended by the Religious Land Use and Institutionalized
         Persons Act of 2000, 42 U.S.C. § 2000cc, et seq. (RLUIPA), RFRA
         defined “exercise of religion” as “the exercise of religion under the First
         Amendment to the Constitution.” Under this standard, courts had
         required the burdened religious exercise to be “central to” or “compelled
         by” the religion. See, e.g., Graham v. C.I.R., 822 F.2d 844, 850–51 (9th
         Cir. 1987), aff’d sub nom. Hernandez v. Comm’r, 490 U.S. 680, 699
         (1989); O’Lone v. Est. of Shabazz, 482 U.S. 342, 345 (1987); see also
         Bryant v. Gomez, 46 F.3d 948, 949 (9th Cir. 1995); Weir v. Nix, 114 F.3d
         817, 820 (8th Cir. 1997).
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         burden—and specifically, as relevant to this case, that the
         government’s use of its own property burdens religious
         exercise only when it is allocated in a discriminatory
         manner. Here, there is no claim that the government has
         used its resources in a discriminatory manner, and the
         government therefore has not burdened the Apaches’
         religious exercise within the meaning of RFRA.
                 i. The ordinary understanding of RFRA does
                    not support the claim that the government
                    burdens religious exercise by using its own
                    resources in a nondiscriminatory manner.
             If RFRA’s plain text doesn’t make it obvious enough that
         RFRA did not depart from the ordinary meaning of “burden”
         under the Free Exercise Clause, the discussion surrounding
         the passage of RFRA further confirms that the government
         does not burden religious exercise by using its own resources
         in a nondiscriminatory manner.
             When Congress enacted RFRA, it was well understood
         that a burden is imposed by the government’s use of its own
         resources only when the use of such resources discriminates
         against or between religions. Readily accessible examples
         of this widespread understanding are provided by
         congressional statements explicitly maintaining that RFRA
         “does not apply to government actions involving only
         management of internal Government affairs or the use of the
         Government’s own property or resources.” S. Rep. 103–
         111, at 9 (1993); see also 139 Cong. Rec. 26193 (1993)
         (remarks of Sen. Hatch) (explaining that Lyng and Bowen
         are unaffected by RFRA). 6 Leading religious liberty

         6
          Judge R. Nelson mildly chastises me for engaging in supposed faint-
         hearted textualism by citing the congressional record. I agree with both
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         scholars shared a similar understanding of RFRA’s effect,
         observing immediately after its enactment that, under
         RFRA, a “cognizable burden” does not exist when the
         government uses its resources in a nondiscriminatory
         manner that has only an indirect effect on religion. See
         Douglas Laycock & Oliver S. Thomas, Interpreting the
         Religious Freedom Restoration Act, 73 Tex. L. Rev. 209,
         228–30 (1994) (footnotes omitted). 7 No burden exists

         him and Justice Scalia, whom he quotes, that “[e]ven if the members of
         each house wish to do so, they cannot assign responsibility or making
         law—or the details of law—to one of their number, or to one of their
         committees.” Antonin Scalia & Bryan Garner, Reading Law: The
         Interpretation of Legal Texts 386 (2012). But as should be sufficiently
         clear from context, I am not citing to the views of specific legislators for
         the purpose of conclusively determining what RFRA means. Nor am I
         (as charged) preferencing legislative history just because it happens to
         support my understanding of RFRA. Instead, I cite such statements as
         further evidence of my point—with which I believe Judge Nelson
         agrees—that at the time of RFRA’s enactment, nobody would have
         understood the government’s decision about what to do with its own land
         to be a cognizable burden under RFRA. Individual legislators are no
         more able to authoritatively speculate about how a law will apply in a
         certain case than anyone else. That goes for legal academics, too—who
         I also cite. “The interpretation of the laws is,” after all, “the proper and
         peculiar province of the courts,” not Congress or the academy or anyone
         else. Alexander Hamilton, Federalist No. 78. My point is only to
         demonstrate the unanimity of understanding about what did and did not
         constitute a burden on religious exercise at the time of RFRA’s passage,
         which matters here because RFRA’s text indicates that it should be
         understood by reference to the state of Free Exercise jurisprudence
         before Smith.
         7
           See also Luralene D. Tapahe, After the Religious Freedom Restoration
         Act: Still No Equal Protection for First American Worshippers, 24 N.M.
         L. Rev. 331, 345 (1994) (noting that pre-RFRA courts declined to extend
         First Amendment protection to “challenges to government control of
         non-Indian land” and later explaining that, “[s]ince RFRA mandates that
         strict scrutiny be used only if a burden is first found, Indian free exercise
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         because citizens simply “may not demand that the
         Government join in their chosen religious practices” by
         providing the resources for such practices. Id. (quoting
         Lyng, 485 U.S. at 448). Everyone understood that, under
         RFRA, the government retains its right to use its resources
         according to its own preferences. 8 It does not have the

         claims will likely be resolved in the very same manner as before”); Ira
         C. Lupu, Of Time and the RFRA: A Lawyer’s Guide to the Religious
         Freedom Restoration Act, 56 Mont. L. Rev. 171, 202 (1995) (explaining
         that the “developing case law” on “substantial burden” under RFRA
         suggests that “religious exercise is burdened only by the combination of
         legal coercion and religious duty”); Daniel O. Conkle, The Religious
         Freedom Restoration Act: The Constitutional Significance of an
         Unconstitutional Statute, 56 Mont. L. Rev. 39, 73 & n.172 (1995) (noting
         that although “RFRA repudiates Smith, … it appears to leave the internal
         operations cases,” such as Lyng and Bowen, “unaffected”).
         8
             I of course agree with Judge Nelson that “[i]t is emphatically the
         province and duty of the judicial department to say what the law is.”
         Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803). But I
         respectfully disagree with his insistence that the uncontradicted view of
         a “slew of law professors” and legislators “has no bearing” on the proper
         interpretation of RFRA. I presume that Judge Nelson and I agree that it
         is the original public meaning of the text that controls our analysis, not
         some hidden or idiosyncratic meaning devised by judges. See Lynch v.
         Alworth-Stephens Co., 267 U.S. 364, 370 (1925) (“[T]he plain, obvious,
         and rational meaning of a statute is always to be preferred to any curious,
         narrow, hidden sense that nothing but the exigency of a hard case and
         the ingenuity and study of an acute and powerful intellect would
         discover.”). Part of the endeavor of surmising the original public
         meaning is understanding what the public would have originally
         understood the legislative enactment to mean, including the part of the
         public that was elected to Congress. If, for example, every law professor,
         every Congressman, and every other literate person in the United States
         were on record opining that a particular statute meant “X,” I would hope
         good originalists could count that as some useful evidence that its
         original public meaning was indeed “X,” not “Y.” See, e.g., Bostock v.
         Clayton County, 140 S. Ct. 1731, 1757 (Alito, J., concurring) (“As I will
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         obligation to enable religious practice by donating its own
         property.
                  ii. Cases interpreting RLUIPA are not
                      inconsistent with this well-established
                      understanding of RFRA.
             Understandably seeking to distance themselves from the
         settled understanding that the government does not burden
         religious exercise through the mere use of its resources in a
         nondiscriminatory manner, Apache Stronghold and the
         dissent focus heavily on caselaw interpreting a different
         statute, RLUIPA, to argue that the government will burden
         the Apaches’ religious exercise because the Apaches won’t
         be able to access Oak Flat once it is physically destroyed. In
         doing so, they improperly divorce the RLUIPA cases from
         the comprehensive and individualized coercive context
         inherent in every single RLUIPA case, implicitly endorsing
         that the Apaches are effectively prisoners in this country and
         therefore indistinguishable from the actual prisoners who
         bring claims under RLUIPA. Applying that obviously
         controversial assumption—and making no attempt to show
         that this assumption was widely shared when RFRA was
         enacted in 1993—the dissent relies heavily on what has been



         show, there is not a shred of evidence that any Member of Congress
         interpreted the statutory text that way when Title VII was enacted. …
         And for good measure, the Court’s conclusion that Title VII
         unambiguously reaches discrimination on the basis of sexual orientation
         and gender identity necessarily means that the EEOC failed to see the
         obvious for the first 48 years after Title VII became law.”). That is all I
         mean by referencing legislative statements above—it is part of my proof
         that everyone who knew anything about RFRA when it was enacted
         understood it as not requiring holy handouts of the government’s own
         property.
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         deemed a substantial burden on religious exercise in the
         prison context.
             I agree with the dissent that the substantiality of a burden
         can be measured the same way under both RLUIPA and
         RFRA. But whether a burden is cognizable in the first
         instance has always been a context-dependent inquiry. And
         what constitutes a cognizable burden in the prison context—
         surely the most comprehensively coercive setting in
         America today—obviously may be very different from what
         constitutes a “burden” under RFRA. That is why, for
         example, a Jewish prisoner has a right under RLUIPA to
         require the government to provide him with kosher meals,
         whereas a Jewish man outside of prison has no right to insist
         that the government deliver him free kosher food. 9
             The dissent’s need to resort to RLUIPA prison cases to
         justify its preferred outcome in this case is very telling. In

         9
            The other category of cases addressed by RLUIPA—land-use
         regulations, or “zoning”—is equally comprehensively coercive. Every
         zoning case involves the government telling someone what he can or
         can’t do with his own land. So when the government tells someone he
         can’t build a church on his own land, for example, that is just as coercive
         as forbidding someone from buying communion wine with his own
         money. As such, RLUIPA land-use cases, like cases in the prison
         context, usually don’t involve hard questions about whether the
         government’s regulation actually causes a burden on religious exercise.
         The coercive burden is obvious, inevitably making the litigated question
         whether the burden is substantial. See, e.g., Guru Nanak Sikh Soc’y of
         Yuba City v. County of Sutter, 456 F.3d 978, 988–92 (9th Cir. 2006)
         (discussing whether the regulation was “oppressive to a significantly
         great extent” (cleaned up)); Int’l Church of Foursquare Gospel v. City of
         San Leandro, 673 F.3d 1059, 1066 (9th Cir. 2011) (citing Guru Nanak,
         456 F.3d at 987) (“[O]ur practice is to examine the particular burden
         imposed by the implementation of the relevant zoning code on the
         claimant’s religious exercise and determine, on the facts of each case,
         whether that burden is ‘substantial.’”).
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         prisons, the “government exerts a degree of control
         unparalleled in civilian society.” Cutter v. Wilkinson, 544
         U.S. 709, 720 (2005) (emphasis added). It controls every
         aspect of an inmate’s life and renders him fully dependent
         on the government by stripping him of his ability to provide
         for his own needs. Brown v. Plata, 563 U.S. 493, 510
         (2011). It is certainly true that in RLUIPA cases, courts have
         concluded that the government must provide resources to
         prisoners for their religious exercise. But that’s for the same
         reason they require the government to provide prisoners with
         basic sustenance like food and clothing, id., or medical care,
         Estelle v. Gamble, 429 U.S. 97, 103 (1976), or protection
         from other inmates, Farmer v. Brennan, 511 U.S. 825, 833
         (1994)—because the government has coercively “stripped
         them of virtually every means of” providing for themselves,
         id. In a very real sense, the prisoner depends on the grace of
         the government for all his needs and in all his activities. This
         degree of direct and immediate coercion is, again,
         “unparalleled in civilian society.” Cutter, 544 U.S. at 720
         (emphasis added).
             As a result, in the vast majority of RLUIPA cases there
         is no need to explicitly analyze whether the government’s
         action burdens religious exercise—it’s a given. The only
         question is substantiality. And that may also be true for some
         RFRA cases. But it is not true for all of them, and certainly
         not this one. This case presents the opposite situation
         encountered in most RLUIPA cases. The substantiality of
         the effect on the Apaches’ religious exercise is obvious; it is
         the legal cognizability of any burden that is at issue. Thus,
         the dissent’s extensive reliance on inapt RLUIPA cases
         analyzing the substantiality of an undisputed burden is badly
         misplaced.
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              Ultimately, the dissent cannot rely on RLUIPA prison
         cases without also showing that the Apaches are identically
         situated vis-à-vis the government as the prisoners in those
         cases. The dissent makes no attempt to do so, and more
         importantly makes no attempt to show that this was the
         common understanding when RFRA was enacted. Absent
         such a showing, the only justification for the dissent’s
         extensive reliance on inapt RLUIPA jurisprudence to defend
         its result in this case is an implicit recognition that it can’t
         find justification in RFRA and the Free Exercise Clause. As
         discussed, all the RFRA and Free Exercise Clause cases
         support the common understanding that, unless you’re the
         government’s prisoner (literally, not metaphorically), the
         government’s nondiscriminatory use of its own property is
         not the type of action that gives rise to a cognizable burden
         on religious exercise.
               D. The government’s swap of Oak Flat for other
                  property does not burden the Apaches’ religious
                  exercise under RFRA.
             This case is not meaningfully different from Lyng or
         Navajo Nation. In all three cases, the government wanted to
         do something with its own land. In all three cases, what the
         government planned to do would substantially affect how the
         tribes wanted to use the government’s land for their own
         religious exercise. In Lyng and Navajo Nation, courts
         rejected the First Amendment and RFRA claims because,
         notwithstanding the “devastating effects” on religious
         exercise resulting from the government’s planned use of its
         land, the Free Exercise Clause and RFRA simply do not
         recognize such burdens resulting from the government’s
         nondiscriminatory use of its own property. This case is no
         different, but the dissent would have this court reach the
         opposite result. In doing so, it would for the first time
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         characterize something as a “burden” under RFRA that has
         never before been considered a cognizable burden. To do so
         would be an obvious rewriting of statutory law—a job for
         Congress, not the courts.
                                             II.
             Reconceiving the government’s nondiscriminatory use
         of its own property as a cognizable burden under RFRA
         would not only require a judicial rewrite of the statute; it
         would turn the statute on its head, requiring instead of
         reducing religious discrimination.           Because the
         government’s resources are not infinite, the expansion of
         RFRA advocated by Apache Stronghold and the dissent
         would inevitably require the government to discriminate
         between competing religious claimants. While no doubt
         some such claims—including those made by Apache
         Stronghold in this case—would be sympathetic, there is no
         way to resolve this case in the Apaches’ favor without
         endorsing a rule that would one day soon force the
         government to pick religious winners and losers. So even if
         this court did require the government to effectively hand
         over Oak Flat as a religious offering to the Apaches, only
         some religions would benefit from the precedent created by
         such a decision. 10

         10
           In Part I of this opinion, I have endeavored to explain why I think the
         dissent’s proposed interpretation of RFRA is wrong as a legal matter.
         And now, in Part II, I explain why that view is also wrongheaded. Judge
         Nelson misunderstands this approach, confusing the reasons I agree with
         the majority’s interpretation of RFRA (Part I) with the warnings I make
         about religious discrimination that would inevitably result if the dissent’s
         rewrite of RFRA was adopted (Part II). But to be clear, I agree with
         Judge Nelson that “[t]he dissenters are not wrong … because under their
         view ‘only some religions would benefit from the precedent created by
         such a decision.’” The reason the dissenters are wrong is because they
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             Eventually, lines limiting the court-enforced distribution
         of the government’s largesse would need to be drawn. And
         because, as explained above, the dissent’s novel approach
         has no basis in the text or original understanding of RFRA,
         any judicially created distinctions limiting the extent of the
         resulting religious entitlement would similarly lack any
         statutory justification. Worse, such distinctions would
         necessarily discriminate between religions, offering
         government property to some and not others and turning
         RFRA into a tragic parody of itself. One need look no
         further than the dissent itself to see early indications of the
         kind of discriminatory distinctions that might flow from this
         atextual understanding of RFRA.
               A. The dissent would establish a discriminatory
                  preference in favor or older religions and against
                  newer ones.
             Not far into the dissent, the reader encounters the first
         such distinction: religious practices with a lengthy historical
         pedigree apparently deserve more protection than newly
         established ones. Parroting Apache Stronghold’s repeated
         emphasis that the Apaches have worshipped at Oak Flat
         “since time immemorial,” the dissent heavily implies the
         Apaches should be treated preferentially because their
         religious exercise is a long-established practice. 11




         advance a view of RFRA that has no basis in its original public meaning.
         My point here is that in addition to being the legally wrong interpretation,
         the dissenters’ judicial revision of RFRA would also undermine the
         equal protection of religion that RFRA was enacted to protect.
         11
           The dissent is not alone in emphasizing the ancient nature of the
         Apaches’ religious practice. Both the panel and motion-stage dissents
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              The trouble with emphasizing the lengthy history of the
         Apaches’ religious practice at Oak Flat is that it is entirely
         irrelevant to our analysis under RFRA and the Free Exercise
         Clause. Our religious liberty protections “apply to all
         citizens alike,” Lyng, 485 U.S. at 452, and with equal force
         to a religion founded yesterday as to one with roots deep in
         prehistory. How long a person has practiced a religion, or
         how old that religion is, should be “immaterial to our
         determination that … free exercise rights have been
         burdened; the salient inquiry under” both RFRA and the Free
         Exercise Clause “is the burden involved.” Hobbie v.
         Unemployment Appeals Comm’n of Fla., 480 U.S. 136, 144
         (1987). It is bad enough that Apache Stronghold’s counsel
         made this discriminatory argument.          Our court has
         thankfully refused to make things worse by imbuing it with
         the force of law. 12

         did so also. See, e.g., Apache Stronghold v. United States, 38 F.4th 742,
         774 (9th Cir. 2022) (Berzon, J., dissenting).
         12
           It’s not hard to see how invidious this argument is when you consider
         a sincere religious observer whose newer religion requires the
         ceremonial use of Oak Flat, just like the Apaches. The government’s
         action of trading Oak Flat for other land would have exactly the same
         effect on both the observer of a newer religion and an Apache: neither
         would be able to use Oak Flat for religious ceremonies. But accepting
         the dissent’s implicit premise that the “time-immemorial” nature of the
         Apaches’ religious practice at Oak Flat is legally significant could lead
         to a different result in each of the two cases: the transfer of Oak Flat
         would burden the Apaches’ religious exercise, but the same transfer
         might not burden a similarly situated practitioner of the newer religion
         simply because the person (or, more precisely, the person’s
         predecessors) had not used the land before or for long enough. And what
         about a religion of intermediate age—say, a hundred years or so? How
         long is “long enough” to warrant protection under RFRA? By
         introducing the age of a religion and the length of religious practice as
         variables relevant to the analysis, the dissent offers an arbitrary and
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             Of course, the suggestion that long-established religious
         practices should receive favorable treatment under RFRA is
         made only lightly. The dissent stops short of a full-throated
         defense of such a rule. Instead, it contents itself to repeatedly
         emphasize the longstanding nature of the Apaches’ religious
         practice and leaves the legal significance of that fact to
         implication. Making the argument explicitly would lay its
         blatantly discriminatory character bare, but subtle though it
         may be, the dissent unmistakably lays the groundwork for a
         discriminatory limiting principle that (need it be said?) could
         never be supported under either the Free Exercise Clause or
         RFRA.
               B. The dissent’s interpretation of RFRA also
                  discriminates by providing more protection
                  against burdens accompanied by significant
                  physical or environmental impacts.
              Both the dissent and Apache Stronghold also take care to
         emphasize the extent of the physical destruction associated
         with the transfer of Oak Flat. The import of such argument
         is clear: as with age, the dissent and the Apaches would also
         establish a discriminatory preference in favor of protecting
         burdens on religious exercise with a significant physical or
         environmental component when compared to burdens
         associated with less physical manifestations. But doing so
         would be double error, both because such a rule wrongly
         implies that a practitioner’s religious harm under RFRA
         claim is somehow predicated on the physical attributes of the
         intrusion, and because it invites courts to measure the
         comparative significance of religious harms in physical
         terms, a behavior strictly prohibited in our jurisprudence.

         discriminatory distinction between observers of newer religions and
         long-established ones—a distinction that has no basis in RFRA.
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         Ultimately, this distinction too is contrary to both the text of
         RFRA and the background precedent that informed its
         understanding, and if adopted, it would likewise perpetuate
         religious discrimination.
                 i. Attempting to distinguish Lyng and Navajo
                    Nation by focusing on the extent of the
                    physical impact reads a discriminatory
                    preference for land-based religious practices
                    into RFRA.
             The biggest hurdle faced by the dissent and the Apaches
         is that this case is strikingly similar to both the Supreme
         Court’s decision in Lyng and our court’s en banc decision in
         Navajo Nation. To get around these cases, which doom its
         claims, Apache Stronghold attempts to distinguish them by
         emphasizing the physical differences between the
         government’s actions in those cases and this one. Navajo
         Nation and Lyng are different, they contend, because
         “neither … involved physical destruction of a sacred site.”
         The dissent employs similar logic, distinguishing Lyng on
         the basis that the transfer will result in the “utter destruction”
         of Oak Flat, which “will prevent the Western Apaches from
         visiting Oak Flat for eternity.” Not only does this argument
         fail to provide a suitable basis to distinguish Lyng and
         Navajo Nation, but it also introduces another arbitrary and
         discriminatory limitation on the scope of RFRA’s
         protection.
             In Navajo Nation, the government allowed a mountain
         sacred to multiple Indian tribes to be showered daily with 1.5
         million gallons of poopy water that, according to those
         tribes, would desecrate the mountain, render it impure, and
         destroy their ability to perform certain religious ceremonies.
         535 F.3d at 1062–63; id. at 1081 (Fletcher, J., dissenting).
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         So both Navajo Nation and this case present precisely the
         same impact on religious exercise from government land-use
         decisions: elimination of the ability to perform religious
         ceremonies. The dissent here, however, distinguishes
         Navajo Nation by asserting that “nothing ‘with religious
         significance … would be physically affected’” by the
         government’s decision to spray recycled wastewater
         containing human waste onto a sacred mountain (emphasis
         added). But that downplays the spiritual significance of the
         government’s action in Navajo Nation and ignores the
         court’s later reasoning in the same opinion that “[e]ven were
         we to assume … that the government action in this case
         w[ould] ‘virtually destroy the … Indians’ ability to practice
         their religion,’” the result would not have changed. Navajo
         Nation, 535 F.3d at 1072 (quoting Lyng, 485 U.S. at 451).
             The dissent similarly distinguishes and downplays the
         government’s land-use decisions in Lyng—notwithstanding
         their “severe” and “devastating effects on traditional Indian
         religious practices”—by highlighting the limited physical
         effects of the government’s actions in Lyng. In the face of
         Lyng and Navajo Nation, it nevertheless continues to rely on
         the extent of the physical impact that will result from the
         government’s decision to transfer Oak Flat.
              There is little doubt that the government’s decision to
         transfer Oak Flat will have consequences for the physical
         environment in and around that area, but as much as some
         may wish otherwise, this is not an environmental case. This
         is a case about religious injury, and the measure of that injury
         is the harm to religious exercise. That harm is precisely the
         same here as it was in Lyng and Navajo Nation: the complete
         inability of Native Americans to conduct certain religious
         ceremonies because of government decisions about how it
         uses government land.
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             The desire to distinguish Lyng and Navajo Nation by
         emphasizing the physical impact of the challenged
         government decision is certainly understandable from an
         environmentalist’s perspective, but doing so would result in
         an unfortunate perversion of RFRA. The view advocated by
         Apache Stronghold and endorsed by the dissent threatens to
         turn RFRA into a statute that arbitrarily gives greater
         protection to burdens on religious exercise that are more
         physical in nature, while downplaying equally significant
         burdens on other forms of religious exercise simply because
         they don’t similarly affect the physical environment. Such
         an approach privileges forms of religious exercise that
         preserve the physical environment at the expense of other
         religious exercise that might arguably lack similar positive
         environmental externalities. Again, it is understandable why
         this might be an attractive rewrite of RFRA for some modern
         judges—one could say that environmentalism is the favored
         religion du jour 13—it just has no basis whatsoever in
         RFRA’s text or original meaning.


         13
            See Joel Garreau, Environmentalism as Religion, The New Atlantis,
         Summer 2010, at 61 (“For some individuals and societies, the role of
         religion seems increasingly to be filled by environmentalism.”); Freeman
         Dyson, The Question of Global Warming, The New York Review of
         Books                   (June                   12,                2008),
         https://www.nybooks.com/articles/2008/06/12/the-question-of-global-
         warming/ (“There is a worldwide secular religion which we may call
         environmentalism …. Environmentalism has replaced socialism as the
         leading secular religion.”); Robert H. Nelson, Environmental Religion:
         A Theological Critique, 55 Case W. Res. L. Rev. 51, 51 (2004)
         (“Environmentalism is a type of modern religion.… Indeed, many
         leading environmentalists have characterized their own efforts in
         religious terms.”); Andrew Sullivan, Green Faith, The Atlantic (March
         28,              2007),                https://www.theatlantic.com/daily-
         dish/archive/2007/03/green-faith/229789/; Andrew P. Morriss &
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                 ii. A rule that distinguishes religious harms by
                     their physical measurability finds no support
                     in either the text of RFRA or the body of
                     caselaw supporting it.
             The physical impact of the government’s actions has no
         basis in the text of RFRA, and it is just as foreign to the pre-
         Smith understanding of the Free Exercise Clause that
         informed RFRA. But it is not simply the case that the
         dissent’s approach finds no support in RFRA’s text or
         caselaw; it has already been affirmatively rejected. Focusing
         on the physical destruction of Oak Flat resurrects an
         argument that the Supreme Court rejected outright in Lyng.
             In Lyng, the government sought to build a road that
         would result in the physical destruction of wilderness
         conditions necessary for the plaintiffs’ religious exercise,
         including “privacy, silence, and an undisturbed natural
         setting.” 485 U.S. at 442. The Court recognized that “too
         much disturbance of the area’s natural state would clearly
         render any meaningful continuation of traditional practices
         impossible,” meaning the “projects at issue … could have
         devastating effects on traditional Indian religious practices.”
         Id. at 451. The Court nevertheless explained that the
         incidental religious effect of such government action on
         native tribal religious activity—“devastating” though it
         might be—could not “meaningfully be distinguished from
         the use of a Social Security number” in Bowen v. Roy, in
         which a religious practitioner sincerely believed that merely
         issuing a Social Security number (which had the slightest of
         physical components) to a child would rob the child of her
         spirit. Id. at 449, 456. “In both cases, the challenged

         Benjamin D. Cramer, Disestablishing Environmentalism, 39 Env’t L.
         309, 323–42 (2009).
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         Government action would interfere significantly with
         private persons’ ability to pursue spiritual fulfillment
         according to their own religious beliefs.” Id. at 449. Thus,
         notwithstanding the significantly different physical effects
         of the government action in each case, the religious harms
         suffered were indistinguishable for purposes of determining
         whether a burden existed. Id. at 449–50. The presence or
         absence of the burden on religious exercise turns not on the
         degree of any physical impact from the government’s
         activity, as urged by Apache Stronghold and the dissent, but
         on the asserted harm to religious exercise, as explained in
         Lyng and Bowen.
                iii. Analyzing burdens on religious exercise with
                     reference to their associated physical impacts
                     is inherently discriminatory.
              Text and caselaw aside, it is also inequitable to let the
         physical consequences of a government action determine
         whether religious exercise has been burdened because
         religions differ in what might burden their exercise. Some
         religions place more emphasis on the material world, while
         others are more spiritually directed. Some center their
         devotion on historic rites held in set-apart, holy places, while
         others are not as ceremonially or geographically constrained.
         And of course, many faiths incorporate degrees of some or
         all of these defining characteristics into their religious
         practice.    The dissent’s misguided emphasis on the
         environmental consequences of the government’s action
         preferences some of these religious aspects over others, and
         if it were afforded legal significance, it would ensure that
         RFRA would be applied discriminatorily going forward.
         Religions that experience a substantial burden to their
         exercise due to government action that also has a substantial
         physical manifestation would be treated favorably.
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         Inversely, religions affected by government actions with less
         physical impact would be sent to the back of the bus. But
         our religious liberty protections were designed to extend to
         all religions, not just to those that may suffer a tangibly
         “objective” and “measurable” burden (whatever that might
         mean) evaluated in physical terms. A test that relies on the
         physical effects of government action could significantly
         reduce protection for religions that do not rely on tangible
         relics, material artifacts, or other paraphernalia. Such a test
         would threaten to overtly discriminate against and
         overwhelmingly under-protect religions less tied to the
         material world.
               C. The dissent encourages discrimination by
                  creating a baseless distinction between the
                  government’s real property and its other
                  property.
             The dissent relatedly appears to infer that there’s
         something legally special about the religious use of
         government-owned real property that makes it materially
         distinguishable from other forms of government resources.
         But again, this distinction bears no connection to anything in
         RFRA itself, and it too would invite future discrimination
         between religious groups.
             As a legal matter, limiting the dissent’s preferred rule
         that the government must give out its resources for religious
         exercise to religions that use particular real property in the
         government’s control is clearly disconnected from RFRA’s
         text. The practice of essentially every religion is resource
         constrained, and nothing in the statutory text supports
         distinguishing between the types of resources that religious
         observers need to conduct their religious exercises. Some
         need land, some need vehicles, some need cash (or Venmo).
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         Regardless of what they need in a particular instance to
         exercise their religion, one commonality among religious
         observers is that they are often limited in what religious
         activities they can engage in based on the resources they
         have available to them. And if the government owns the
         resources they need, they face the exact same problem—
         regardless of whether it’s land or legal tender, the
         government’s refusal to contribute its stuff is hindering their
         religious exercise.
             Grafting onto RFRA a special rule favoring religions that
         happen to require land would clearly discriminate against
         other religions.     What makes real property special,
         particularly under RFRA? Is needing specific real property
         to conduct a ceremony different under RFRA from needing
         a bike to proselytize? Or needing a sweat lodge made from
         certain trees under government control? There is no logical
         or textual basis in RFRA for the dissent’s suggestion that
         land is somehow special.           While certain tracts of
         government-owned land are religiously special for many
         Native Americans, other government property may be (or
         become) religiously special for other religions. Under the
         dissent’s approach, the latter would be treated worse than the
         former without any textual basis for the difference in
         treatment.
             The dissent tries to limit the discriminatory impact of the
         rule it offers by limiting it to circumstances where the
         government has unique control over access to religious
         resources. But that’s no limitation at all. The government
         has unique control over all its resources. Every dollar bill in
         circulation was at one point owned and “uniquely
         controlled” by the government—after all, the government
         alone prints legal tender. So if a religious observer sincerely
         believes he needs a government resource to exercise his
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         religion, including cash, the dissent’s “unique control”
         principle offers no practical limitation on what resources the
         government may need to give the religious observer.
         Arbitrarily carving out government favors for a religion that
         requires specific real property would invite discrimination
         against religions with different property needs. 14


         14
            So to recap: I not only think it would badly misinterpret RFRA to
         revise it the way the dissent does (Part I above), but I also think it would
         be a bad idea that would necessarily force the government to
         discriminatorily pick religious winners and losers in the distribution of
         its largesse (this Part II). Judge Nelson does not dispute my prediction
         that it would result in discrimination, but instead disputes my premise
         that such discrimination would be odious to the promise of religious
         liberty contained in both RFRA and the Constitution’s religion clauses.
         That surprises me. Since long before Smith was decided, it has been a
         bedrock principle of American religious liberty law that the government
         “cannot prefer one religion over another.” Larson v. Valente, 456 U.S.
         228, 246 (1982) (quoting Everson v. Bd. of Educ., 330 U.S. 1, 15 (1947)).
         With that time-honored principle in mind, I’m not sure what Judge
         Nelson is suggesting in his three hypotheticals. I would think it is beyond
         dispute that the government cannot discriminate by allowing a devout
         Muslim prisoner to grow a beard for religious reasons while disallowing
         the same or a similar religious exception for devout Jewish or Native
         American prisoners. See, e.g., Warsoldier v. Woodford, 418 F.3d 989
         (9th Cir. 2005); Sprouse v. Ryan, 346 F. Supp. 3d 1347 (D. Ariz. 2017).
         Is Judge Nelson seriously contending we could require a religious zoning
         exemption for a Catholic cathedral to build a 100-foot steeple, yet deny
         a mosque across the street the same exemption to build a 100-foot
         minaret? And does anyone seriously believe that a school-choice
         program that gave voucher money to Catholic schools but not Lutheran
         schools would pass constitutional muster?
         It has taken too long for the Supreme Court to recognize that
         discrimination against religion vis-à-vis supposedly “secular”
         counterparts is constitutionally problematic. See, e.g., Locke v. Davey,
         540 U.S. 712 (2004). But there has always been widespread acceptance
         that discrimination between religions is repugnant to the Constitution.
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             D. The dissent further encourages discrimination by
                reading a reparations theory into RFRA.
             Ultimately, none of the distinctions either explicitly or
         implicitly relied on by the dissent to rationalize its rewrite of
         RFRA have any basis in its text or original meaning. So
         what might better explain the result the dissent would prefer
         this court to reach? It appears that, buttressed by the
         argument of academics who appeared as amici in this case,
         what the dissent is really advocating for is what might best
         be called a reparations version of RFRA. See Stephanie H.
         Barclay & Michalyn Steele, Rethinking Protections for
         Indigenous Sacred Sites, 134 Harv. L. Rev. 1294 (2021).
              Under this “reconceptualized” and “alternative” theory
         of RFRA, Native Americans have a special historical and
         religious need for government-owned land because that land
         once belonged to them. As the academics explain, because
         the ancestors of Native Americans were mistreated and their
         land was taken, RFRA (and other laws) should be re-read to
         give current tribal members “unique” access to federal land.
         Id. at 1297–1303. Whatever the merits of these academic
         arguments, this court rightly declined to rewrite RFRA in
         service to them. If Native Americans are going to get unique
         protection of their religious exercise, they need to obtain it
         from Congress, not ask the courts to pretend they already got
         it from Congress.
                 i. Amici’s reparations theory of RFRA has no
                    basis in RFRA.
             For starters, the academic argument motivating the
         dissent’s approach has no basis in the text or original
         meaning of RFRA, nor does it pretend to. The scholars
         pushing their theory openly acknowledge that courts have
         historically interpreted RFRA and the Free Exercise Clause
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         to the contrary, id. at 1297, and that their approach requires
         courts to “recontextualize the way in which the
         law … view[s] coercion”—and thus what constitutes a
         burden—under RFRA, id. at 1302. Boiled down, theirs is a
         reparations theory of religious liberty for Native Americans,
         and Native Americans alone. Obviously, the reader will
         search RFRA in vain for any intergenerational theory of
         reparations, for Native Americans or otherwise. There is
         simply nothing in the text to that effect, and unsurprisingly,
         nobody at the time of RFRA’s enactment thought it was
         providing some type of reparations benefit.
             To overcome RFRA’s obvious textual silence, these
         scholars try to draw an analogy from religious
         accommodations in inherently coercive contexts—namely,
         prisons. If this sounds familiar, that’s because it’s the same
         analogy suggested by the dissent, which asserts that the
         transfer of Oak Flat “prevents the Apaches from practicing
         their religious beliefs … just as would an outright ban or
         religious worship … in prison.” They correctly observe that
         the reason religious inmates are entitled to receive
         government property in prison to practice their religions
         under RLUIPA is because of the inherently coercive
         environment of prison. Id. at 1333. Just as prisons are under
         exclusive government control, the argument goes, many
         sites sacred to Native Americans are under exclusive
         government control, and therefore the government should
         more proactively give its property to indigenous persons to
         offset the coercion suffered by their ancestors when the
         government took their land in the first place. Id. at 1339–43.
             It’s an interesting academic theory, and not one entirely
         devoid of moral force. But as already noted, nothing shows
         that Congress was attempting to do anything reparations-
         related when it passed RFRA. Even assuming the coercive
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         removal of Native Americans from their lands can be
         analogized in some way to the coercion experienced by
         prison inmates, direct and immediate coercion is entirely
         different from ancestral coercion. The religious liberty of an
         inmate is directly and immediately implicated by the
         extreme version of coercion the government has imposed on
         that inmate. In contrast, the “reconceptualized” version of
         coercion relied on by the scholars’ attempted rewrite of
         RFRA is the governmental coercion of the ancestors of
         present-day Native Americans. This reparations-based
         theory is not entirely different from saying the Fourth
         Amendment should be applied specially to modern-day
         African Americans because of the lingering effects of
         slavery. Again, regardless of whether the theory has any
         merit, the idea that RFRA meant this when it was enacted in
         1993 is entirely unfounded. RFRA was enacted to protect
         religious freedoms from current and future interference, not
         to turn back the clock and hunt for past burdens for which
         future religious devotees might be remunerated.
                 ii. To avoid discrimination, a reparations theory
                     of RFRA would entitle a wide variety of
                     religions to government handouts.
             But that isn’t the only problem with a reparations theory
         of RFRA. Even assuming that religious reparations for
         ancestral coercion were somehow legitimate, what is the
         limiting principle? Should every religious person who can
         plausibly claim ancestral discrimination be entitled to
         religious reparations? RFRA is supposed to be generally
         applicable to protect all religions, so surely if reparations for
         government-sanctioned ancestral coercion of Native
         Americans are available under RFRA, they should also be
         available to others. Native Americans are not the only
         recipients of past government-imposed or government-
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         allowed mistreatment arguably affecting their modern-day
         religious exercise. Indeed, if the dissent’s reparations theory
         of RFRA were ever adopted, one could expect swaths of
         religious claimants to line up for government benefits, each
         carrying the historical pedigree of discrimination against
         their respective religious tradition in tow.
             Baptists in colonial Virginia were horsewhipped and
         their ministers were imprisoned when the Church of England
         enjoyed a monopoly there. 15 Catholics were deprived of
         their political and civil rights at various times in all thirteen
         colonies, 16 antebellum mobs burned down their churches
         and occasionally massacred them, 17 and efforts to ratify a
         constitutional amendment designed to clamp down on their
         parochial schools—the “Blaine Amendment of 1870”—
         gained widespread traction after the Civil War. 18 Mormons

         15
           Michael W. McConnell, The Origins and Historical Understanding of
         Free Exercise of Religion, 103 Harv. L. Rev. 1409, 1421–23 (1990).
         16
           Forrest McDonald, Novus Ordo Seclorum: The Intellectual Origins of
         the Constitution 42 (1985).
         17
           E.g., Sydney E. Ahlstrom, A Religious History of the American People
         561 (2d ed. 2004) (describing anti-Catholic riots in Boston), 563
         (describing riots in Philadelphia and New York), 1090 (In the United
         States, “Catholics were subjected to disabilities, intolerance, and
         violence from the earliest times.”); Sean Wilentz, The Rise of American
         Democracy: Jefferson to Lincoln 451 (2005); Kurt T. Lash, The Second
         Adoption of the Establishment Clause: The Rise of the Nonestablishment
         Principle, 27 Ariz. St. L.J. 1085, 1118–20 (1995) (describing a massacre
         of Catholics in Kentucky).
         18
            Espinoza v. Montana Dep’t of Revenue, 140 S. Ct. 2246, 2259 (2020)
         (quoting Mitchell v. Helms, 530 U.S. 793, 828–29 (2000) (“The Blaine
         Amendment was ‘born of bigotry’ and ‘arose at a time of pervasive
         hostility to the Catholic Church and to Catholics in general’; many of its
         state counterparts have similarly shameful pedigree.”)); see Richard
         White, The Republic for Which It Stands: The United States During
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         were violently expelled from Missouri in 1838,19 denied the
         right to vote in Idaho in the 1880s, 20 and had their
         settlements in Utah undercut by the federal government in
         favor of Native Americans. 21 The first Jews to arrive in the
         colonies were nearly expelled because of their religion,22
         Ulysses S. Grant’s notorious “General Orders No. 11”
         expelled Jews from defeated Confederate territories, 23 and
         “anti-Semitism began to grow virulent as soon as the Jewish
         immigration rate started to rise during the 1880s.” 24 And of
         course, one could surely argue that some African Americans
         today continue to experience the lingering effects of slavery
         and segregation as resource constraints on the uninhibited
         exercise of their religion. 25       Black churches were

         Reconstruction and the Gilded Age, 1865–1896, at 317–21, in 7 Oxford
         Hist. of the United States (David M. Kennedy ed. 2017). See generally
         John C. Jeffries & James E. Ryan, A Political History of the
         Establishment Clause, 100 Mich. L. Rev. 279, 301–05 (2001).
         19
           See, e.g., Marie H. Nelson, Anti-Mormon Mob Violence and the
         Rhetoric of Law and Order in Early Mormon History, 21 Legal Stud. F.
         353, 358–73 (1997).
         20
           Davis v. Beason, 133 U.S. 333, 345–48 (1890), overruled by Romer v.
         Evans, 517 U.S. 620, 634 (1996).
         21
           See Uintah Ute Indians of Utah v. United States, 28 Fed. Cl. 768, 772–
         73 (1993).
         22
           Eli Faber, America’s Earliest Jewish Settlers, 1654–1820, at 25, in The
         Columbia Hist. of Jews and Judaism in Am. (Marc Lee Raphael ed.
         2008).
         23
           See, e.g., Eric Muller, All the Themes but One, 66 U. Chi. L. Rev. 1395,
         1420–24 (1999).
         24
              Ahlstrom, supra, at 973–74, 1090.
         25
           See, e.g., In re African-American Slave Descendants Litig., 471 F.3d
         754, 759–60 (7th Cir. 2006); Cato v. United States, 70 F.3d 1103, 1105–
         06, 1109–11 (9th Cir. 1995); see also Margaret Russell, Cleansing
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         sporadically suppressed by Southern states before the Civil
         War, 26 Bull Connor arrested congregants by the busload as
         they left the safety of the sanctuary to march for equal rights
         in the streets, 27 and some of the church buildings they left
         behind were bombed in their absence. 28
             History is replete with examples of the mistreatment of
         groups of people by other groups, and this nation’s history is
         unfortunately not exempt. Given this reality, it’s unclear
         why the reparations theory of RFRA offered by the dissent
         would stop with Native Americans and not extend to
         Baptists, Catholics, Mormons, Jews, and descendants of
         slaves, to name but a few possible groups.
             Regardless of the philosophical arguments for and
         against reparations, RFRA was not designed to create
         reparations for any aggrieved religious group. There is zero
         legal or textual basis for reading such a program into RFRA.
         If reparations are ever to come from any source, it must be
         from Congress, not the courts. And until Congress enacts
         religious reparations for Native Americans, courts should


         Moments and Retrospective Justice, 101 Mich. L. Rev. 1225, 1240
         (2003).
         26
           Steven Hahn, A Nation Under Our Feet: Black Political Struggles in
         the Rural South from Slavery to the Great Migration 45 (2003).
         27
            Taylor Branch, Pillar of Fire: America During the King Years 1963–
         65 77 (1998).
         28
           Id. at 137–38; see also Church Fires in the Southeast: Hearing Before
         the H. Comm. on the Judiciary, 104th Cong. 9–13 (1996) (statement of
         Donald L. Payne, Representative in Congress from the State of New
         Jersey, summarizing church burning incidents under criminal
         investigation in 1995–1996 in the Southeast states). See generally S.
         Willoughby Anderson, The Past on Trial: Birmingham, the Bombing,
         and Restorative Justice, 96 Calif. L. Rev. 471 (2008).
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         studiously avoid inventing such remedies under the auspices
         of RFRA, a statute designed to protect religious liberty for
         all. RFRA does not play favorites, and neither should we.
         For these reasons, I wholeheartedly agree with the majority’s
         refusal to rewrite RFRA to include an affirmative mandate
         to discriminate.


         MURGUIA, Chief Judge, dissenting, with whom GOULD,
         BERZON, and MENDOZA, Circuit Judges, join, and LEE,
         Circuit Judge, joins as to all but Part II.H:

             We are asked to decide whether the utter destruction of
         Chí’chil Biłdagoteel, a site sacred to the Western Apaches
         since time immemorial, is a “substantial burden” on the
         Apaches’ sincere religious exercise under the Religious
         Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb
         to bb-4. Under any ordinary understanding of the English
         language, the answer must be yes. This conclusion comports
         with the First Amendment’s protection against government
         conduct prohibiting the free exercise of religion, because the
         destruction of the Apaches’ sacred site will prevent
         worshipers from ever again exercising their religion. See
         U.S. Const. amend. I.
             Our decision in Navajo Nation v. United States Forest
         Service, 535 F.3d 1058 (9th Cir. 2008) (en banc), wrongly
         defined “substantial burden” as a narrow term of art and
         foreclosed any relief. Although a majority of this en banc
         court rejects Navajo Nation’s reasoning, see Nelson Op. at
         130; Collins Op. at 51–52 (no mention of Navajo Nation
         while recognizing that in certain instances “substantial
         burden” under RFRA can be read by its plain meaning), a
         different majority concludes that the Apaches’ RFRA claim
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         fails under Lyng v. Northwest Indian Cemetery Protective
         Association, 485 U.S. 439 (1988). Relying on Lyng, Judge
         Collins’ majority opinion (“the majority”) holds that the
         destruction of a sacred site cannot be described as a
         substantial burden no matter how devastating the impact on
         religious exercise, erroneously concluding that preventing a
         religious practice is neither prohibitory nor coercive. In so
         doing, the majority misreads RFRA, Supreme Court
         precedent, and our own case law. And rather than using the
         rare opportunity of sitting en banc to provide clarity, the
         majority leaves litigants in the dark as to what “substantial
         burden” means. I respectfully dissent.
                                 I. Background
             In a rider to a must-pass defense spending bill, Congress
         directed the Secretary of Agriculture to transfer 2,422 acres
         of federal land to Resolution Copper Mining, a foreign-
         owned limited liability company, to build an underground
         copper mine. The copper ore is located beneath Chí’chil
         Biłdagoteel, also known as Oak Flat, a sacred place where
         Western Apache people have worshiped and conducted
         ceremonies since time immemorial. 1 Once the land transfer
         occurs, Resolution Copper will mine the ore through a panel
         caving process, causing the land to subside and eventually
         creating a crater nearly two miles wide and a thousand feet
         deep. It is undisputed that this subsidence will destroy the
         Apaches’ historical place of worship, preventing them from
         ever again engaging in religious exercise at their sacred site.



         1
          Western Apache generally refers to the Apaches living in modern day
         Arizona, including ancestors of the White Mountain, San Carlos,
         Cibecue, and Tonto Apache.
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             The land transfer, however, is subject to RFRA.
         Congress enacted RFRA to protect the right to engage in
         religious practice without substantial government
         interference, which “the framers of the Constitution”
         understood “as an unalienable right.”            42 U.S.C.
         § 2000bb(a)(1). Thus, under RFRA, the federal government
         must provide a “compelling” justification pursued by the
         least restrictive means for any action that “substantially
         burden[s]” sincere religious exercise. Id. § 2000bb-1(b).
         Apache Stronghold, an Arizona nonprofit organization
         founded by a former Chairman of the San Carlos Apache
         Tribe to preserve Indigenous sacred sites, sued to enjoin the
         land transfer, arguing that, among other things, it violates
         RFRA. The district court, relying on our decision in Navajo
         Nation, declined to preliminarily enjoin the transfer,
         concluding that the destruction of Oak Flat did not amount
         to a substantial burden on the Apaches’ religious exercise.
         The district court therefore did not determine whether the
         government had provided sufficient justification for the land
         transfer.
             Because the land transfer will prevent Apache
         worshippers from engaging in sincere religious exercise at
         their sacred site, I would hold that Apache Stronghold is
         likely to succeed in establishing that the government has
         imposed a “substantial burden” on the Apaches’ religious
         exercise. Such a holding stems from the Supreme Court’s
         jurisprudence before and after the enactment of RFRA, as
         well as our own case law, which have long recognized that
         preventing people from engaging in religious exercise
         impermissibly burdens that exercise. And such a decision
         reflects the government’s unique control of access to Oak
         Flat, a degree of control that is rare outside the prison and
         land-use context. I would therefore reverse the district
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         court’s order concluding that there is no substantial burden,
         vacate the rest of the order, and remand to the district court
         to determine whether the government can demonstrate that
         the substantial burden posed by the land transfer is justified
         under subsection 2000bb-1(b).
         A. Oak Flat and the Land Transfer
             The Western Apache believe that their ancestral
         landscape is imbued with diyah, or spiritual power. This is
         especially true for Chí’chil Biłdagoteel, which means
         “Emory Oak Extends on a Level” or “Flat with Acorn Trees”
         or more simply “Oak Flat,” a 6.7-square-mile sacred site
         located primarily in the Tonto National Forest. Oak Flat is
         situated between Ga’an Bikoh (Devil’s Canyon), a canyon
         east of Oak Flat, and Dibecho Nadil (Apache Leap), the edge
         of a plateau west of Oak Flat.
             Oak Flat, Devil’s Canyon, and Apache Leap comprise a
         hallowed area where the Apaches believe that the Ga’an—
         the “guardians” and “messengers” between Usen, the
         Creator, and people in the physical world—dwell. Usen
         created the Ga’an as “the buffer between heaven and earth”
         and created specific “blessed places” for the Ga’an to reside.
         The Ga’an are “the very foundation of [Apache] religion,”
         and they protect and guide the Apache people. The Apaches
         describe the Ga’an as their “creators, [their] saints, [their]
         saviors, [and their] holy spirits.”
             Through Usen and the Ga’an, the Apaches believe that
         everything has life, including air, water, plants, animals, and
         Nahagosan—Mother Earth herself. The Apaches strive to
         remain “intertwined with the earth, with the mother” so they
         can “communicate with what [is] spiritual, from the wind to
         the trees to the earth to what [is] underneath.” Because of
         the importance of remaining connected to the land, the
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         Apaches view Oak Flat as a “direct corridor” to their
         Creator’s spirit and as the place where the Ga’an “live and
         breathe.” Oak Flat is thus “uniquely endowed with holiness
         and medicine,” and neither “the powers resident there, nor
         [the Apaches’] religious activities . . . can be ‘relocated.’”
             The Ga’an come “to ceremonies to impart well-being to”
         the Apaches “to heal, and to help the people stay on the
         correct path.” Oak Flat thus serves as a sacred ceremonial
         ground, and these ceremonies cannot take place “anywhere
         else.” For instance, young Apache women have a coming-
         of-age ceremony, known as a “Sunrise Ceremony,” in which
         each young woman will “connect her soul and her spirit to
         the mountain, to Oak Flat.” Similarly, “young boys that are
         coming into manhood” have a sweat lodge ceremony at Oak
         Flat. There, the Apaches also conduct a Holy Grounds
         Ceremony, which is a “blessing and a healing ceremony . . .
         for people who are sick, have ailments[,] or seek guidance.”
         The Apaches gather “sacred medicine plants, animals, and
         minerals essential to [these] ceremonies” from Oak Flat, and
         they use “the sacred spring waters that flow[] from the earth
         with healing powers” that are not present elsewhere.
         “Because the land embodies the spirit of the Creator,” if the
         land is desecrated, then the “spirit is no longer there. And so
         without that spirit of Chí’chil Biłdagoteel, [Oak Flat] is like
         a dead carcass.” Apache Stronghold v. United States, 519 F.
         Supp. 3d 591, 604 (D. Ariz. 2021).
             The Apaches have held Oak Flat sacred since long before
         the United States government and its people ventured west
         of the Rio Grande.         The Apaches, however, were
         dispossessed from their ancestral land during the nineteenth
         century, when miners and settlers moved west and clashed
         repeatedly with the local Apaches. To make peace, various
         Apache leaders signed the Treaty of Santa Fe in 1852,
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         wherein the United States government promised the
         Apaches that it would “designate, settle, and adjust their
         territorial boundaries” and “pass and execute” laws
         “conducive to the prosperity and happiness of” their people.
         Despite the treaty, conflict continued as more settlers,
         miners, and United States soldiers entered the Apaches’
         ancestral land, resulting in several massacres of the Apaches
         by soldiers and civilians. By the late 1870s, the United
         States government forcibly removed the Apaches from their
         ancestral homelands and onto reservations, so that today, the
         Apaches no longer live on lands encompassing their sacred
         places. Nonetheless, the Apaches “remain connected to their
         spirituality” and “the earth,” and they continue to come to
         Oak Flat to worship, conduct ceremonies, sing and pray, and
         gather sacred plants. Apache Stronghold, 519 F. Supp. 3d at
         603–04.
             In the twentieth century, the United States government
         took steps to protect Oak Flat from mining activity. In 1955,
         President Eisenhower reserved 760 acres of Oak Flat for
         “public purposes” to protect it from mineral exploration or
         other mining-related activities. 20 Fed. Reg. 7319, 7336–37
         (Oct. 1, 1955). President Nixon renewed that protection in
         1971. 36 Fed. Reg. 18,997, 19,029 (Sept. 25, 1971). That
         approach changed in 1995, after miners discovered a large
         copper deposit 7,000 feet beneath Oak Flat. The following
         decades saw several congressional attempts to transfer Oak
         Flat to Resolution Copper. Those efforts reached fruition in
         2014, when Congress passed the National Defense
         Authorization Act for Fiscal Year 2015, Pub. L. No. 113-291
         (2014) (“NDAA”). The NDAA included a rider that stripped
         Oak Flat’s mining protections and “authorized and directed”
         the Secretary of Agriculture to convey 2,422 acres of federal
         land, including Oak Flat, to Resolution Copper in exchange
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         for 5,344 acres of Arizona land currently owned by the
         company. See id. § 3003, 128 Stat. 3292 (codified at 16
         U.S.C. § 539p) (the “Land Transfer Act”). 2 Congress’s
         stated purpose for authorizing the exchange is to “carry out
         mineral exploration activities under” Oak Flat. 16 U.S.C.
         § 539p(c)(6)(A)(i).
             Under the Land Transfer Act, the Secretary of
         Agriculture must prepare an environmental impact statement
         (“EIS”) before the land transfer may take place. See id.
         § 539p(c)(9)(B). 3 This EIS will “be used as the basis for all”
         federal government decisions “significantly affecting the
         quality of the human environment,” including permitting
         necessary for any development of the transferred land. Id.
         The EIS must “assess the effects of the mining and related
         activities on the Federal land conveyed to Resolution Copper
         under [the Land Transfer Act] on the cultural and
         archeological resources that may be located on [that] land”
         and “identify measures that may be taken, to the extent
         practicable, to minimize potential adverse impacts on those
         resources.” Id. § 539p(c)(9)(C). Within sixty days of the
         Final EIS’s publication, and regardless of its contents, “the
         Secretary shall convey” the land to Resolution Copper. Id.
         § 539p(c)(10).
            In January 2021, the Forest Service, a division of the
         Department of Agriculture, issued an EIS, which has since

         2
           The 2,422-acre tract is known as the “Oak Flat Federal Parcel,” and
         includes the 760-acre section of land originally protected by President
         Eisenhower in 1955 (known as the “Oak Flat Withdrawal Area”) as well
         as additional National Forest Service lands near Oak Flat. The copper
         deposit sits primarily beneath the Oak Flat Withdrawal Area.
         3
          The Land Transfer Act is subject to several other conditions not at issue
         here. See, e.g., 16 U.S.C. § 539p(c)(2)(A), (B).
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         been withdrawn. In that EIS, the Forest Service concluded
         that the land transfer would remove Oak Flat from the Forest
         Service’s jurisdiction, making the Forest Service unable to
         “regulate” the mining activity under applicable
         environmental laws. The Forest Service found that the mine
         would be “one of the largest” and “deepest” “copper mines
         in the United States,” with an estimated 1,970 billion metric
         tons of copper situated 4,500 to 7,000 feet beneath Oak Flat.
         Resolution Copper will use an underground mining
         technique known as panel caving that carves a network of
         tunnels below the ore. As the ore is removed, the land above
         the ore “moves downward or ‘subsides.’” This “subsidence
         zone” or crater will reach between 800 and 1,115 feet deep
         and nearly two miles wide. The crater would start to appear
         within six years of active mining. The crater and related
         mining activity will have a lasting impact on the land of
         approximately eleven square miles. The Forest Service
         “assessed alternative mining techniques in an effort to
         prevent subsidence, but alternative methods were considered
         unreasonable.”
             As a result of the crater, the Forest Service determined
         that “access to Oak Flat and the subsidence zone will be
         curtailed once it is no longer safe for visitors.” The Forest
         Service therefore concluded that the mine would cause
         “immediate, permanent, and large in scale” destruction of
         “archaeological sites, tribal sacred sites, cultural landscapes,
         and plant and mineral resources.” 4 Oak Flat would “be
         permanently affected,” and tribal members would

         4
           Removing the ore will also create roughly one-and-a-half billion tons
         of waste that will need to be stored “in perpetuity” at a site close to Oak
         Flat. The Forest Service determined that development of the storage
         facility will “permanently bury or otherwise destroy many prehistoric
         and historic cultural artifacts, potentially including human burials.”
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         irreversibly lose access to the area for “religious purposes,”
         thus resulting in “an indescribable hardship to [Indigenous]
         peoples.” “[T]he impacts of the Resolution Copper [mine]
         . . . are substantial and irreversible due to the changes that
         would occur at Oak Flat.” The Forest Service also found that
         there are no mitigation measures that could “replace or
         replicate the historic properties that would be destroyed by
         project construction. . . . Archaeological sites cannot be
         reconstructed once disturbed, nor can they be fully
         mitigated.”
             In March 2021, the Department of Agriculture ordered
         the Forest Service to rescind the EIS. The Department
         explained that the government needed “additional time” to
         “fully understand concerns raised by Tribes and the public”
         and to “ensure the agency’s compliance with federal law.”
         While counsel for the government informed the en banc
         panel at oral argument in March 2023 that the environmental
         analysis would be completed and the EIS republished by the
         summer, the Forest Service has not yet issued a revised Final
         EIS.
         B. Procedural History
            Apache Stronghold filed this action several days before
         the government issued the now-withdrawn EIS. 5 As

         5
           Besides this case, there are two other pending cases seeking to prevent
         the land transfer. In January 2021, the San Carlos Apache Tribe sued the
         Forest Service to stop the land transfer under RFRA, the Free Exercise
         Clause, and the 1852 Treaty of Santa Fe, and moved to vacate the now
         withdrawn EIS as deficient under the Administrative Procedure Act
         (“APA”), the National Environmental Policy Act (“NEPA”), the Land
         Transfer Act, and the National Historic Preservation Act. See San Carlos
         Apache Tribe v. U.S. Forest Serv., No. 21-cv-0068 (D. Ariz.). Also in
         January 2021, a coalition of environmental and tribal groups sued the
         Forest Service to enjoin the land transfer and vacate the EIS as deficient
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         relevant on appeal, Apache Stronghold alleges that the Land
         Transfer Act violates RFRA, the First Amendment’s Free
         Exercise Clause, and trust duties created by the 1852 Treaty
         of Santa Fe. Two days after filing its complaint, Apache
         Stronghold filed a motion for a temporary restraining order
         and for a preliminary injunction to prevent the government
         from transferring the land to Resolution Copper. The district
         court denied the temporary restraining order, reasoning that
         Apache Stronghold could not show immediate and
         irreparable injury. Apache Stronghold, 519 F. Supp. 3d at
         597.
             The district court then held a hearing and took evidence
         before denying Apache Stronghold’s motion for a
         preliminary injunction. Id. at 611. The district court found
         that Apache Stronghold was unlikely to succeed on the
         merits of its RFRA, Free Exercise Clause, and breach of trust
         claims. See id. at 598–609. As to the RFRA claim, the
         district court concluded that although the “Government’s
         mining plans on Oak [Flat] will have a devastating effect on

         under the APA, NEPA, the Land Transfer Act, the Forest Service
         Organic Act, the Federal Land Policy and Management Act, and other
         statutory grounds. See Ariz. Mining Reform Coal. v. U.S. Forest Serv.,
         No. 2:21-cv-0122-DLR (D. Ariz.). Resolution Copper intervened in
         both cases, and the Defendants moved to consolidate all three cases. The
         district court in this case denied that motion, concluding that “there is
         minimal overlap in controlling questions of law between the pending
         cases” given the different legal theories advanced by the three plaintiffs.
              The parties agreed to stay both cases after the Forest Service
         withdrew its original EIS. See San Carlos Apache Tribe, No. 21-cv-0068
         (D. Ariz. Mar. 15, 2021); Ariz. Mining Reform Coal., No. 21-cv-0122
         (D. Ariz. Mar. 15, 2021). Those cases remain stayed, and the parties
         have filed regular joint status reports. The government has stated that it
         will give the defendants sixty days’ notice prior to filing an updated Final
         EIS. As of now, that notice has not been given.
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         the Apache people’s religious practices,” there was no
         “substantial burden” under this circuit’s limited definition of
         that term. Id. at 605–08 (citing Navajo Nation, 535 F.3d at
         1063–72). The district court therefore did not determine
         whether the government could establish a compelling
         interest to justify its actions, nor did the district court analyze
         the other preliminary injunction factors under Winter v.
         Natural Resources Defense Council, Inc., 555 U.S. 7, 20
         (2008). See Apache Stronghold, 519 F. Supp. 3d at 611.
         Apache Stronghold appealed, and moved for an injunction
         pending appeal.
             After the district court denied Apache Stronghold’s
         preliminary injunction motion, the Forest Service withdrew
         the Final EIS.       The three-judge motions panel that
         considered Apache Stronghold’s motion for an injunction
         pending appeal therefore concluded that Apache Stronghold
         had failed to show that it needed immediate relief to “avoid
         irreparable harm,” because the Forest Service expected to
         take “months” to complete its revised environmental review
         and the land transfer would not occur until then. Apache
         Stronghold v. United States, No. 21-15295, 2021 U.S. App.
         LEXIS 6562, at *2 (9th Cir. March 5, 2021) (“Injunction
         Order”). Accordingly, the divided motions panel denied
         Apache Stronghold’s motion. Id. In dissent, Judge Bumatay
         stated that he would have granted the motion and held that
         the land transfer violated RFRA because “the complete
         destruction of the land . . . . is an obvious substantial burden
         on [the Apaches’] religious exercise, and one that the
         Government has not attempted to justify.” Id. at *5
         (Bumatay, J., dissenting).
             On the merits, a divided three-judge panel affirmed the
         district court’s order. Apache Stronghold v. United States,
         38 F.4th 742 (9th Cir. 2022). We granted rehearing en banc.
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         Apache Stronghold v. United States, 56 F.4th 636 (9th Cir.
         2022). 6
                                     II. Discussion
             In Winter, the Supreme Court emphasized that injunctive
         relief, whether temporary or permanent, is an “extraordinary
         remedy never awarded as of right.” 555 U.S. at 24. A party
         seeking a preliminary injunction must show that: (1) it is
         “likely to succeed on the merits”; (2) it is “likely to suffer
         irreparable harm in the absence of preliminary relief”; (3)
         “the balance of equities tips in [its] favor”; and (4) “an
         injunction is in the public interest.” Id. at 20. “Where, as
         here, the government opposes a preliminary injunction, the
         third and fourth factors merge into one inquiry.” Porretti v.
         Dzurenda, 11 F.4th 1037, 1047 (9th Cir. 2021).
             The district court concluded that Apache Stronghold
         could not establish a likelihood of success on any of its three
         claims, so it denied the motion for a preliminary injunction.
         See Apache Stronghold, 519 F. Supp. 3d at 598–609.
         Because I conclude that Navajo Nation’s reasoning is
         incorrect and because I would hold that preventing a person
         from engaging in sincere religious exercise is a substantial
         burden under RFRA, I would reverse and remand. I would
         therefore consider neither the other two claims nor the
         remaining Winter factors. Finally, I conclude that RFRA
         applies to the Land Transfer Act. Because a majority of
         judges have voted to affirm, I respectfully dissent.




         6
           After oral argument, Resolution Copper intervened in this case before
         the district court, as well as before this court, for the limited purpose of
         participating in potential future litigation before the Supreme Court.
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         A. RFRA and the Religious                 Land      Use    and
            Institutionalized Persons Act
             In RFRA, Congress crafted a statutory right to the free
         exercise of religion broader than the corresponding
         constitutional right delineated by the Supreme Court in
         Employment Division, Department of Human Resources of
         Oregon v. Smith, 494 U.S. 872 (1990). In Smith, the
         Supreme Court held that the First Amendment tolerates
         neutral, generally applicable laws even when those laws
         burden or prohibit religious acts. Id. at 885–90. The
         Supreme Court explained that so long as the government’s
         burden on religious exercise, even if substantial, was not the
         “object of” a law, “the First Amendment has not been
         offended” and the government need not demonstrate a
         narrowly tailored, compelling governmental interest to
         justify it. Id. at 878–79; see also id. at 886 n.3 (“[G]enerally
         applicable, religion-neutral laws that have the effect of
         burdening a particular religious practice need not be justified
         by a compelling governmental interest.”).
             In response, in 1993, Congress enacted RFRA. Congress
         disagreed with the Supreme Court’s decision in Smith to
         “virtually eliminate[] the requirement that the government
         justify burdens on religious exercise imposed by laws neutral
         toward religion.” 42 U.S.C. § 2000bb(a)(4). Instead,
         Congress found that “the framers of the Constitution[]
         recogniz[ed the] free exercise of religion as an unalienable
         right,” and that governments, therefore, “should not
         substantially burden religious exercise without compelling
         justification.” Id. § 2000bb(a)(1), (3). Congress further
         determined that “the compelling interest test”—i.e., strict
         scrutiny—“is a workable test for striking sensible balances
         between religious liberty and competing prior governmental
         interests.” Id. § 2000bb(a)(5); see Gonzales v. O Centro
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         Espírita Beneficente Uniaõ do Vegetal, 546 U.S. 418, 430
         (2006). Congress then stated that RFRA’s two “purposes”
         were (1) “to restore the compelling interest test as set forth
         in Sherbert v. Verner, 374 U.S. 398 (1963) and Wisconsin v.
         Yoder, 406 U.S. 205 (1972)[,] and to guarantee its
         application in all cases where free exercise of religion is
         substantially burdened,” and (2) “to provide a claim or
         defense to persons whose religious exercise is substantially
         burdened by government.” 42 U.S.C. § 2000bb(b). RFRA
         therefore goes “far beyond what . . . is constitutionally
         required” under the Free Exercise Clause, and thus
         “provide[s] very broad protection for religious liberty.”
         Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 706
         (2014); see Ramirez v. Collier, 595 U.S. 411, 424 (2022).
             Four years later, however, the Supreme Court struck
         down the portion of RFRA regulating state and local
         governments, concluding that Congress had exceeded its
         power under § 5 of the Fourteenth Amendment to regulate
         states. City of Boerne v. Flores, 521 U.S. 507, 511, 536
         (1997). To repair RFRA’s constitutional defect, Congress
         enacted the Religious Land Use and Institutionalized
         Persons Act of 2000 (“RLUIPA”), 114 Stat. 803, 42 U.S.C.
         §§ 2000cc to cc-5, “which applies to the States and their
         subdivisions and invokes congressional authority under the
         Spending and Commerce Clauses.” Holt v. Hobbs, 574 U.S.
         352, 357 (2015). Recognizing their history and overlapping
         purposes, the Supreme Court has characterized RLUIPA and
         RFRA as “sister statute[s]” that “impose[] the same general
         test,” distinguished only in that they apply to different
         “categor[ies] of governmental actions.” Hobby Lobby, 573
         U.S. at 695, 730. In contrast to RFRA’s more general
         application to all federal government action, including
         federal prisons and federal land-use regulations by the
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         District of Columbia or U.S. territories, see 42 U.S.C.
         §§ 2000bb-1, 2000bb-3, RLUIPA governs only state land-
         use regulations, see id. § 2000cc, and religious exercise by
         institutionalized persons, typically in the state prison
         context, see id. § 2000cc-1. RLUIPA otherwise generally
         “mirrors RFRA.” Holt, 574 U.S. at 357–58; compare 42
         U.S.C. § 2000cc-1(a) (providing that a “substantial burden”
         in the state prison context must be justified by a compelling
         governmental interest pursued through the least restrictive
         means); with id. § 2000bb-1(b) (same test for federal
         government action).
         B. Defining “Substantial Burden”
             i. Plain Meaning
             With that background in mind, I turn to Apache
         Stronghold’s claim that the government will violate RFRA
         by transferring Oak Flat to Resolution Copper, which will
         result in the destruction of the Apaches’ place of worship.
         Under RFRA, the federal government may not “substantially
         burden a person’s exercise of religion . . . except as provided
         in subsection (b).” 42 U.S.C. § 2000bb-1(a). Subsection (b)
         provides that the “Government may substantially burden a
         person’s exercise of religion only if it demonstrates that
         application of the burden to the person—(1) is in furtherance
         of a compelling governmental interest; and (2) is the least
         restrictive means of furthering that compelling
         governmental interest.” Id. § 2000bb-1(b). Thus, to proceed
         with its RFRA claim, Apache Stronghold must show that (i)
         its sincere religious exercise is (ii) subject to a substantial
         burden imposed by the government. If Apache Stronghold
         makes that showing, the government must then justify that
         burden by demonstrating that (iii) it has a compelling interest
         that (iv) it is pursuing through the least restrictive means.
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             As to the Apaches’ religious exercise, the district court
         found, and the government does not dispute, that the
         Apaches have a sincere religious belief in worshipping and
         conducting ceremonies at Oak Flat. See Apache Stronghold,
         519 F. Supp. 3d at 603; see also 42 U.S.C. §§ 2000bb-2(4),
         2000cc-5(7)(A) (defining the “exercise of religion” to
         include “any exercise of religion, whether or not compelled
         by, or central to, a system of religious belief”). 7 Because the
         government concedes that “it is undisputed that RFRA
         applies to federal land-management statutes and their
         implementation,” on appeal, we must determine whether the
         transfer and resulting destruction of Oak Flat constitutes a
         substantial burden on the Apaches’ religious exercise.
             To define “substantial burden,” I begin with RFRA’s
         text. Tanzin v. Tanvir, 592 U.S. 43, 46 (2020); Williams v.
         Taylor, 529 U.S. 420, 431 (2000). Because RFRA does not
         define “substantial burden,” I “turn to the phrase’s plain
         meaning at the time of enactment.” Tanzin, 592 U.S. at 48;
         see also FCC v. AT & T Inc., 562 U.S. 397, 403 (2011).
         Indeed, when grappling with RFRA’s undefined terms, the
         Supreme Court has done just that. Tanzin, 592 U.S. at 45–
         49 (looking to RFRA’s plain meaning, using dictionaries, to
         conclude that “appropriate relief” encompasses claims for
         money damages against government officials in their
         individual capacities).



         7
          RFRA appropriately does not permit courts to judge the significance or
         “centrality” of a particular belief or practice, given that courts are not the
         proper arbiters of religious doctrine. See 42 U.S.C. §§ 2000bb-2(4),
         2000cc-5(7)(A). Courts can only inquire into the sincerity of the
         professed religiosity. See Hobby Lobby, 573 U.S. at 696, 717 n.28; cf.
         Cutter v. Wilkinson, 544 U.S. 709, 725 n.13 (2005).
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              At the time of RFRA’s passage, a “burden” was defined
         as “[s]omething oppressive” or “anything that imposes either
         a restrictive or onerous load” on an activity. Burden, Black’s
         Law Dictionary (6th ed. 1990); Webster’s Third New
         International Dictionary 298 (1986) (defining burden as
         “something that weighs down [or] oppresses”). A burden is
         “substantial” if it is “[o]f ample or considerable amount,
         quantity, or dimensions.” Substantial, Oxford English
         Dictionary 66–67 (2d ed. 1989). And “substantial” does not
         mean complete or total. Substantial, Black’s Law Dictionary
         (6th ed. 1990) (defining “substantial” as something
         “considerable”; not “nominal”). In light of the plain
         meaning of substantial burden, therefore, RFRA prohibits
         government action that “oppresses” or “restricts” “any
         exercise of religion, whether or not compelled by, or central
         to, a system of religious belief,” to a “considerable amount,”
         unless the government can demonstrate that imposition of
         the burden is in furtherance of a compelling governmental
         interest and the least restrictive means of furthering that
         compelling governmental interest. Accord Injunction Order,
         2021 U.S. App. LEXIS 6562, at *8–9 (Bumatay, J.,
         dissenting).
             ii. Navajo Nation’s Flawed Reasoning
             Our decision in Navajo Nation, relied upon by the district
         court, rejected a plain meaning reading of “substantial
         burden.” There, Native American tribes and their members
         sought to enjoin the use of artificial snow, made from
         recycled wastewater, on a public mountain sacred to their
         religion. Navajo Nation, 535 F.3d at 1062–63. This court
         concluded that using artificial snow was not a substantial
         burden under RFRA, because “the sole effect of the artificial
         snow is on the Plaintiffs’ subjective spiritual experience.”
         Id. at 1063, 1070 (emphasis added). Aside from holding that
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         subjective interference with religious exercise is not a
         substantial burden under RFRA, Navajo Nation also
         concluded that because Congress “incorporated” Sherbert
         and Yoder into RFRA, the only two categories of burden that
         could constitute a “substantial burden” are the specific types
         of burdens at issue in those cases. 535 F.3d at 1069–70; see
         also id. at 1063. Navajo Nation therefore held:

                Under RFRA, a “substantial burden” is
                imposed only when individuals are forced to
                choose between following the tenets of their
                religion and receiving a governmental benefit
                (Sherbert) or coerced to act contrary to their
                religious beliefs by the threat of civil or
                criminal sanctions (Yoder). Any burden
                imposed on the exercise of religion short of
                that described by Sherbert and Yoder is not a
                “substantial burden” within the meaning of
                RFRA, and does not require the application
                of the compelling interest test set forth in
                those two cases.

         Id. at 1069–70. This is erroneous for six reasons.
            First, Navajo Nation made too much of the fact that
         RFRA explicitly mentions Sherbert and Yoder by name in
         explaining the statute’s purpose. See 535 F.3d at 1074–75.
         Reading “substantial burden” by its plain language is fully
         consistent with RFRA’s statements of purpose. Congress
         explained that RFRA’s two “purposes” are (1) “to restore the
         compelling interest test as set forth in Sherbert and Yoder[,]
         and to guarantee its application in all cases where free
         exercise of religion is substantially burdened,” and (2) “to
         provide a claim or defense to persons whose religious
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         exercise is substantially burdened by government.” 42
         U.S.C. § 2000bb(b) (emphasis added) (citations omitted).
         Section 2000bb(b) thus links Sherbert and Yoder to the
         “compelling interest test,” not to the “substantial burden”
         inquiry. See 42 U.S.C. § 2000bb(b) (not mentioning
         Sherbert or Yoder in RFRA’s second purpose). Consonant
         with the statute’s purposes, the Supreme Court has
         recognized that “RFRA expressly adopted the compelling
         interest test ‘as set forth in Sherbert and Yoder.’” Gonzales,
         546 U.S. at 431 (quoting 42 U.S.C. § 2000bb(b)(1)
         (emphasis added) (citations omitted)). “In each of those
         cases, [the] Court looked beyond broadly formulated
         interests justifying the general applicability of government
         mandates and scrutinized the asserted harm of granting
         specific exemptions to particular religious claimants.” Id.
             In other words, when enacting RFRA, Congress was
         focused on governments’ justifications for burdens on
         religious exercise created by generally applicable laws—the
         requirement present in Sherbert and Yoder that Smith
         eliminated—not the definition of substantial burden. Justice
         O’Connor, concurring only in the judgment in Smith, made
         this point when she critiqued the Smith majority for dropping
         the “Sherbert compelling interest test” and argued that
         “[r]ecent cases have instead affirmed that [compelling
         interest] test as a fundamental part of our First Amendment
         doctrine. The cases cited by the [majority] signal no retreat
         from our consistent adherence to the compelling interest
         test.” Smith, 494 U.S. at 898, 900 (O’Connor, J., concurring
         in the judgment) (emphasis added) (cleaned up). Justice
         O’Connor notably did not describe the test as the “Sherbert
         substantial burden test,” because her disagreement with the
         Smith majority was not with the meaning of substantial
         burden but with the level of scrutiny. And the Smith majority
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         never defined substantial burden because it concluded the
         Sherbert test was entirely “inapplicable” in cases
         challenging neutral, generally applicable laws. See id. at
         884–85.
             Second, neither Sherbert nor Yoder contains the term
         “substantial burden.” It would therefore be surprising for
         Congress to invoke an interpretation of a purported term of
         art by referencing two cases, neither of which uses the term.
         See Sherbert, 374 U.S. at 406 (“substantial infringement”);
         Yoder, 406 U.S. at 220 (“unduly burdens”). Navajo Nation’s
         argument that “substantial burden” is a term of art from the
         Supreme Court’s pre-RFRA First Amendment jurisprudence
         makes little sense given that neither case includes that term.
         535 F.3d at 1074. Indeed, the Supreme Court did not
         commonly or consistently use the term “substantial burden.”
             In Church of the Lukumi Babalu Aye, Inc. v. City of
         Hialeah, for example, decided just months before Congress
         enacted RFRA, the Court explained that “[a] law burdening
         religious practice that is not neutral or not of general
         application must undergo the most rigorous of scrutiny,”
         without using the term “substantial burden.” 508 U.S. 520,
         546 (1993). If “substantial burden” truly was a term of art,
         then one would expect consistent usage. See Yellen v.
         Confederated Tribes of Chehalis Rsrv., 141 S. Ct. 2434,
         2445 (2021) (“Ordinarily . . . this Court reads statutory
         language as a term of art only when the language was used
         in that way at the time of the statute’s adoption.”).
             In looking to the term’s plain meaning, I do not ignore
         the significance of RFRA mentioning Sherbert and Yoder by
         name. But rather than implausibly reading “substantial
         burden” as a term of art shackled to Sherbert and Yoder, I
         rely on those cases—along with other “Federal court
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         rulings,” 42 U.S.C. § 2000bb(a)(5)—to properly situate
         “substantial burden” within RFRA. See infra § II(D). And
         it would unreasonably contort the English language to read
         “substantial burden” to exclude the utter destruction of
         sacred sites. “Because common sense rebels” at the
         majority’s interpretation of RFRA, “we should not adopt that
         interpretation unless the statutory language compels us to
         conclude that Congress intended such a startling result.”
         United States v. Ibarra-Galindo, 206 F.3d 1337, 1341 (9th
         Cir. 2000) (Canby, J., dissenting).
             Third, Navajo Nation (and the majority here) proceeds
         as if RFRA’s coverage is identical to that of the Free
         Exercise Clause, frozen in time at the moment of the
         statute’s enactment. But Congress amended RFRA in 2000
         and repealed RFRA’s previous definition of the “exercise of
         religion” as “the exercise of religion under the First
         Amendment to the Constitution.” Pub. L. No. 103-141, § 5
         (1993).      As the Supreme Court explained: “[t]hat
         amendment deleted the prior reference to the First
         Amendment,” and it is unclear “why Congress did this if it
         wanted to tie RFRA coverage tightly to the specific holdings
         of our pre-Smith free-exercise cases.” Hobby Lobby, 573
         U.S. at 714. Congress also broadened the definition of
         “religious exercise” in two ways: it eliminated any
         requirement that a religious exercise be “compelled by, or
         central to, a system of religious belief,” 42 U.S.C. § 2000cc-
         5(7)(A), and it specified that “religious exercise” includes
         “[t]he use, building, or conversion of real property for the
         purpose of religious exercise,” 42 U.S.C. § 2000cc-5(7)(B).
         The term “substantial burden” must therefore be construed
         in light of Congress’s express direction that RFRA applies
         to the use of property for religious purposes. See U.S. Nat’l
         Bank of Or. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439,
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         455 (1993) (explaining that statutory construction “is a
         holistic endeavor,” so “in expounding a statute, we must not
         be guided by a single sentence or member of a sentence, but
         look to the provisions of the whole law” (quotation marks
         omitted) (cleaned up)). That Congress amended RFRA to
         expressly include religious use of property reinforces my
         conclusion that the denial of religious exercise at a sacred
         site is a substantial burden on religious exercise, contrary to
         the holding of Navajo Nation.
             Fourth, considering this amendment to RFRA, and after
         Navajo Nation, the Supreme Court has rejected the notion
         that RFRA “merely restored [its] pre-Smith decisions in
         ossified form.” Hobby Lobby, 573 U.S. at 715–16. Instead,
         the Court explained that “the amendment of RFRA through
         RLUIPA surely dispels any doubt” that Congress did not
         intend “to tie RFRA coverage tightly to the specific holdings
         of our pre-Smith free-exercise cases.” Id. at 714; see also id.
         at 706 n.18 (explaining that there is “no reason to believe”
         that RFRA “was meant to be limited to situations that fall
         squarely within the holdings of pre-Smith cases”). I
         therefore rely on pre-Smith cases for guidance only.
             Fifth, and relatedly, as discussed in the next section,
         Navajo Nation’s choice to confine “substantial burden” to a
         term of art cannot stand in the face of the Supreme Court’s
         directive that RFRA and RLUIPA impose “the same
         standard.” Holt, 574 U.S. at 356–58 (quoting Gonzales, 546
         U.S. at 436); see also Food Mktg. Inst. v. Argus Leader
         Media, 139 S. Ct. 2356, 2365 (2019) (noting that courts do
         not “ordinarily imbue statutory terms with a specialized . . .
         meaning when Congress has not itself invoked” one).
            Finally, instead of just answering the question before it,
         Navajo Nation’s decision to define substantial burden as a
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         narrow term of art swept too broadly. Cf. City of Ontario v.
         Quon, 560 U.S. 746, 760 (2010) (“A broad holding . . . might
         have implications for future cases that cannot be
         predicted.”). This case asks whether the utter destruction of
         a sacred site is a substantial burden. That is a fundamentally
         different question than the one Navajo Nation considered,
         because there, plaintiffs still had “virtually unlimited access
         to the mountain” to “continue to pray, conduct their religious
         ceremonies, and collect plants for religious use.” Navajo
         Nation, 535 F.3d at 1063 (emphasis added); see id. (noting
         that nothing “with religious significance, or religious
         ceremonies . . . would be physically affected”). Because the
         Navajo Nation majority went to great lengths to emphasize
         that “no places of worship [were] made inaccessible,” id.,
         Navajo Nation should not have adopted a rule that extends
         to cases where places of worship will be obliterated. And by
         adopting such a broad holding, it erred.
             Accordingly, I would revise Navajo Nation’s definition
         of “substantial burden” to the extent that it defined that
         phrase as a term of art limited to the kinds of burdens at issue
         in Sherbert and Yoder. Rather, as discussed infra § II(D),
         the kinds of burdens challenged in Sherbert and Yoder are
         examples sufficiently demonstrating a substantial burden,
         not those necessary to do so. 8
         C. RFRA and RLUIPA Are Interpreted Uniformly
             RLUIPA, RFRA’s sister statute, supports my conclusion
         to define substantial burden by its plain meaning. RLUIPA’s

         8
          As reflected in the first paragraph of the per curiam opinion, a majority
         of this court has overruled Navajo Nation’s narrow test for a “substantial
         burden” under RFRA. I echo Judge Nelson’s clear refutation of any
         suggestion to the contrary. See Nelson Op. at 135–38.
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         “substantial burden” test largely mirrors RFRA’s test, and
         like RFRA, it does not define “substantial burden.” See 42
         U.S.C. §§ 2000cc, 2000cc-1, 2000cc-5(4)(A). So, as we did
         in San Jose Christian College v. City of Morgan Hill, I look
         to RLUIPA’s plain meaning to interpret “a ‘substantial
         burden’ on ‘religious exercise’” in the land-use context as “a
         significantly great restriction or onus upon such exercise.”
         360 F.3d 1024, 1034 (9th Cir. 2004); id. (“When a statute
         does not define a term, a court should construe that term in
         accordance with its ordinary, contemporary, common
         meaning.” (quotation marks omitted)). Since then, we have
         relied on this plain meaning definition of substantial burden
         in other RLUIPA cases. See, e.g., Guru Nanak Sikh Soc. of
         Yuba City v. County of Sutter, 456 F.3d 978, 988–89 (9th
         Cir. 2006); Int’l Church of Foursquare Gospel v. City of San
         Leandro, 673 F.3d 1059, 1067 (9th Cir. 2011). 9
             That “substantial burden” has the same meaning under
         both RFRA and RLUIPA is a logical application of statutory
         construction for several reasons. First, it is significant that
         these two Title 42 statutes use the same “substantial burden”
         and “compelling interest” language. See United States v.
         Nishiie, 996 F.3d 1013, 1026 (9th Cir. 2021) (“When
         Congress uses the same language in two statutes having
         similar purposes,” this Court starts with the “presum[ption]

         9
           Dictionaries contemporaneous with the enactments of RFRA and
         RLUIPA define “substantial” synonymously as either a “considerable”
         or a “significant” amount. To the extent there is any semantic difference,
         I conclude that the meaning of “substantial” is the same under both
         statutes, particularly given that RLUIPA was meant to restore part of
         RFRA’s original reach. See Holt, 574 U.S. at 357–58 (RLUIPA “mirrors
         RFRA”); Gonzales, 546 U.S. at 436 (RLUIPA allows incarcerated
         people “to seek religious accommodations pursuant to the same standard
         as set forth in RFRA.”).
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         that Congress intended that text to have the same meaning in
         both statutes.” (quotation marks omitted) (cleaned up));
         Antonin Scalia & Bryan A. Garner, Reading Law: The
         Interpretation of Legal Texts 172–73 (2012) (presumption of
         consistent usage). The term “religious exercise” also has an
         identical definition in the two statutes. See 42 U.S.C.
         §§ 2000bb-2(4), 2000cc-5(7)(A). The two sister statutes
         differ only in what categories of government action they
         control: RFRA applies to all federal action, including federal
         prisons and land-use restrictions, whereas RLUIPA governs
         state government land-use regulations and state prisons.
         Diverging definitions for identical terms in the two statutes
         would allow federal prisons to burden religious rights more
         heavily than state prisons, or vice versa, which is implausible
         given the statutes’ history and purpose. See Gonzales, 546
         U.S. at 436; Holt, 574 U.S. at 356–58 (explaining that the
         two statutes impose “the same standard”); Cutter, 544 U.S.
         at 716–17 (“To secure redress for [incarcerated persons] who
         encountered undue barriers to their religious observances,
         Congress carried over from RFRA [to RLUIPA] the
         ‘compelling governmental interest’/‘least restrictive means’
         standard.”); see also Austin v. U.S. Navy Seals 1–26, 142 S.
         Ct. 1301, 1307 (2022) (Alito, J., dissenting) (explaining that
         RLUIPA “essentially requires prisons to comply with the
         RFRA standard”).
             Second, the Supreme Court has cross-referenced the two
         statutes for support. See, e.g., Holt, 574 U.S. at 356–57 (a
         RLUIPA case invoking RFRA cases); Hobby Lobby, 573
         U.S. at 695, 729 n.37 (a RFRA case invoking RLUIPA
         cases).
             Third, at least seven other circuits agree with my
         conclusion that the two statutes’ “substantial burden”
         standards are one and the same. See, e.g., Mack v. Warden
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         Loretto FCI, 839 F.3d 286, 304 n.103 (3d Cir. 2016) (“[T]he
         two statutes are analogous for purposes of the substantial
         burden test.”); Madison v. Riter, 355 F.3d 310, 315 (4th Cir.
         2003) (RLUIPA “reinstate[d] RFRA’s protection against
         government burdens” and “mirror[s]” its provisions); A.A. ex
         rel. Betenbaugh v. Needville Indep. Sch. Dist., 611 F.3d 248,
         264 n.64 (5th Cir. 2010) (“same ‘substantial burden’
         question”); Korte v. Sebelius, 735 F.3d 654, 682–83 (7th Cir.
         2013) (“same understanding”); Patel v. U.S. Bureau of
         Prisons, 515 F.3d 807, 813 (8th Cir. 2008) (“same
         definition”); Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d
         1114, 1138 n.13 (10th Cir. 2013) (“interpreted uniformly”),
         aff’d sub nom. Hobby Lobby, 573 U.S. 682; Eternal Word
         Television Network, Inc. v. Sec’y of U.S. Dep’t of Health &
         Human Servs., 818 F.3d 1122, 1144 n.23 (11th Cir. 2016)
         (“same substantial burden analysis”); see also Sabir v.
         Williams, 52 F.4th 51, 60 & n.5 (2d Cir. 2022) (applying
         RLUIPA’s substantial burden precedent to a RFRA claim);
         EEOC v. R.G. & G.R. Harris Funeral Homes, Inc., 884 F.3d
         560, 587 (6th Cir. 2018) (relying on Holt, a RLUIPA case,
         to define substantial burden in a RFRA case), aff’d sub nom.
         Bostock v. Clayton County, 140 S. Ct. 1731 (2020).
            The great weight of authority thus buttresses my
         conclusion that RFRA and RLUIPA employ the same
         substantial burden test defined by its plain meaning.
         D. Preventing a Person from Engaging in Religious
            Exercise Is an Example of a Substantial Burden
             I next consider which government actions amount to a
         substantial burden on religious exercise. Keeping in mind
         that RFRA did not “merely restore[ the Supreme] Court’s
         pre-Smith decisions in ossified form,” Hobby Lobby, 573
         U.S. at 715, the Supreme Court’s pre-Smith Free Exercise
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         jurisprudence, as well as our own case law, provide at least
         three clear examples of a substantial burden on religious
         exercise: where the government (1) forces a religious
         adherent to choose between sincere religious exercise and
         receiving government benefits; (2) threatens a religious
         adherent with civil or criminal sanctions for engaging in
         sincere religious exercise; or (3) prevents a person from
         engaging in sincere religious exercise.
             i. Pre-Smith Free Exercise Jurisprudence
             I begin with Sherbert and Yoder, the two pre-Smith cases
         that RFRA mentions by name.                 See 42 U.S.C.
         § 2000bb(b)(1). In Sherbert, a state employer fired a
         Seventh-day Adventist because she refused to work on
         Saturdays, her faith’s day of rest. 374 U.S. at 399. The state
         denied the plaintiff’s claim for unemployment compensation
         benefits, finding that she had failed to accept work without
         good cause. Id. at 399–401. The Supreme Court held that
         the state’s denial of unemployment compensation to the
         plaintiff because she was exercising her faith imposed a
         “substantial infringement” under the Free Exercise Clause.
         Id. at 403–04, 406. Such a condition unconstitutionally
         forced the plaintiff “to choose between following the
         precepts of her religion and forfeiting benefits, on the one
         hand, and abandoning one of the precepts of her religion in
         order to accept work, on the other hand.” Id. at 404. Having
         determined that there was a “substantial infringement” on
         religious exercise, the Court then “consider[ed] whether
         some compelling state interest enforced in the eligibility
         provisions of the [state] statute justifie[d] the substantial
         infringement of [her] First Amendment right,” and held that
         the state’s concern about protecting against “fraudulent
         [unemployment] claims” was insufficiently compelling. Id.
         at 406–09.
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             In Yoder, a state prosecuted members of the Amish faith
         for violating a state law that required children to attend
         school until the age of sixteen. 406 U.S. at 207–08. The
         defendants sincerely believed that their children’s
         attendance in high school was “contrary to the Amish
         religion and way of life.” Id. at 209. The Supreme Court
         reversed the convictions, holding that the application of the
         compulsory school-attendance law to the defendants
         “unduly burden[ed]” their exercise of religion in violation of
         the Free Exercise Clause. Id. at 207, 220. According to the
         Court, the state law “affirmatively compel[led the
         defendants], under threat of criminal sanction, to perform
         acts undeniably at odds with fundamental tenets of their
         religious beliefs.” Id. at 218. As to the state’s interest
         underlying its truancy law, the Court explained that a general
         interest in compulsory education was insufficiently
         compelling. Id. at 221.
             But pre-RFRA precedents did not limit the kinds of
         burdens protected under the Free Exercise Clause to the
         types of burdens challenged in Sherbert (the choice between
         sincere religious exercise and receiving government
         benefits) and in Yoder (the threat of civil or criminal
         sanctions). Beyond these two cases, the Supreme Court’s
         pre-Smith jurisprudence recognizes at least one other
         category of government action that violates the Free
         Exercise Clause: preventing a religious adherent from
         engaging in religious exercise. In Cruz v. Beto, for example,
         a prison denied a Buddhist access to the prison chapel and
         prohibited him from corresponding with his religious
         advisor. 405 U.S. 319, 322 (1972) (per curiam). The Court
         reversed the dismissal of the complaint and held that, taking
         the allegations as true, the prison had violated the Free
         Exercise Clause. Id.
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             And in O’Lone v. Estate of Shabazz, prison officials
         “prevented Muslims . . . from attending Jumu’ah,” an
         Islamic congregational service held on Friday afternoons.
         482 U.S. 342, 347 (1987). The plaintiffs sued, “alleging that
         the prison policies unconstitutionally denied them their Free
         Exercise rights under the First Amendment.” Id. The
         Supreme Court recognized that preventing Muslims from
         engaging in religious exercise gave rise to a cognizable Free
         Exercise Clause claim. But, at the time, before RFRA and
         RLUIPA, prison officials were only required to show that a
         policy that burdened religious exercise was “reasonable.”
         Id. at 350. So the Court concluded that preventing Muslims
         from attending religious services was “justified by concerns
         of institutional order and security.” Id.; see id. at 351–52
         (concluding that, although there were “no alternative means
         of attending Jumu’ah,” the prison policy of preventing
         religious exercise was reasonable because “alternative
         means of exercising the [First Amendment] right” remained
         open as the plaintiffs were “not deprived of all forms of
         religious exercise” such as daily prayer).
             In dissent, Justice Brennan agreed that preventing an
         adherent from engaging in religious practices was sufficient
         to demonstrate a Free Exercise claim, but disagreed with the
         majority’s reasonableness standard:

                The prison in this case has completely
                prevented respondent inmates from attending
                the central religious service of their Muslim
                faith. I would therefore hold prison officials
                to the standard articulated in Abdul Wali,
                [which requires the government to
                demonstrate a compelling interest] and would
                find their proffered justifications wanting.
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                  The State has neither demonstrated that the
                  restriction is necessary to further an
                  important objective nor proved that less
                  extreme measures may not serve its purpose.

         Id. at 359 (Brennan, J., dissenting). RFRA and RLUIPA
         later essentially codified Justice Brennan’s dissent,
         eliminating the reasonableness test for evaluating prison
         policies and instead requiring federal and state prison
         policies that substantially burden religious exercise to be
         justified by a compelling interest furthered by the least
         restrictive means.     See 42 U.S.C. § 2000cc-1(a); id.
         § 2000bb-1(b). 10
            RFRA also instructs that courts look to “prior Federal
         court rulings.” 42 U.S.C. § 2000bb(a)(5). Like the Supreme
         Court, our own cases prior to Smith recognized that
         preventing a person from engaging in religious exercise
         implicates the Free Exercise Clause. For instance, in
         Graham v. Commissioner of Internal Revenue, we required
         a religious adherent, there a taxpayer, to show that the

         10
             Other pre-Smith examples falling outside the Sherbert/Yoder
         framework are Free Exercise Clause challenges to government autopsies.
         See Tanzin, 592 U.S. at 51 (noting that autopsies are among the cases in
         which RFRA grants effective relief) (citing Yang v. Sturner, 728 F. Supp.
         845 (D.R.I. 1990) (autopsy of son that violated Hmong beliefs), opinion
         withdrawn in light of Smith, 750 F. Supp. 558 (D.R.I. 1990)); see also
         City of Boerne, 521 U.S. at 547 (O’Connor, J., concurring in part)
         (discussing Yang as an example of why Smith was wrongly decided in
         the context of RFRA); Fulton v. City of Philadelphia, 141 S. Ct. 1868,
         1893 & n.26 (2021) (Alito, J., concurring in judgment) (discussing the
         import of Yang in the lead up to Congress enacting RFRA and stating
         that “Smith’s impact was quickly felt, and Congress was inundated with
         reports of the decision’s consequences” (citing 139 Cong. Rec. 9681
         (1993))).
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         government action “burdens the adherent’s practice of his or
         her religion by pressuring him or her to commit an act
         forbidden by the religion or by preventing him or her from
         engaging in conduct or having a religious experience.” 822
         F.2d 844, 850–51 (9th Cir. 1987) (emphasis added), aff’d
         sub nom. Hernandez v. Comm’r, 490 U.S. 680 (1989).
             The same is true in other cases. See, e.g., McElyea v.
         Babbitt, 833 F.2d 196, 197–99 (9th Cir. 1987) (citing
         O’Lone and recognizing a Free Exercise Clause claim where
         a prison had no weekly Jewish services and the plaintiff
         alleged that prison officials “prevented him from practicing
         his religion”); Allen v. Toombs, 827 F.2d 563, 567 (9th Cir.
         1987) (assuming that denial of access to a sweat lodge was a
         viable Free Exercise Clause claim, but upholding the prison
         policy under the O’Lone, pre-RFRA, reasonableness test);
         cf. Freeman v. Arpaio, 125 F.3d 732, 736 (9th Cir. 1997)
         (holding, in a Free Exercise Clause case decided post-City of
         Boerne and pre-RLUIPA, that “[i]n order to establish a free
         exercise violation, [a plaintiff] must show the defendants
         burdened the practice of his religion, by preventing him from
         engaging in [religious exercise], without [proper]
         justification” (footnote omitted)).
             ii. This Circuit’s Precedents Recognize Preventing
                 Religious Exercise Is a Substantial Burden
              Given this legal backdrop, it is unsurprising that in our
         first RFRA case in 1995, we relied on pre-Smith Free
         Exercise Clause cases to define substantial burden to include
         preventing a person from engaging in religious exercise. In
         Bryant v. Gomez, we held that to show a “substantial burden”
         under RFRA,
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                  the religious adherent has the obligation to
                  prove that a governmental action burdens the
                  adherent’s practice of his or her religion by
                  preventing him or her from engaging in
                  conduct or having a religious experience . . . .
                  This interference must be more than an
                  inconvenience.

         46 F.3d 948, 949 (9th Cir. 1995) (per curiam) (cleaned up)
         (quoting Graham, 822 F.2d at 850–51). 11
             The majority makes no effort to explain why we should
         not adhere to Bryant’s formulation of substantial burden.
         Nor does it distinguish our subsequent pre-Navajo Nation
         RFRA cases in which we consistently invoked the concept
         of preventing a person from engaging in religious conduct as
         a substantial burden in various contexts, including ones
         outside of the two RLUIPA contexts. For example, in a case
         considering a university’s mandatory student registration fee
         that, in part, covered abortion services, we “look[ed] to our


         11
            In Bryant, we rejected the plaintiff’s RFRA claim because “full
         Pentecostal services” were not “mandated by his faith.” 46 F.3d at 949
         (stating that religious exercise must be one that “the faith mandates” or
         “a tenet or belief that is central to religious doctrine”). However, as
         discussed supra § II(B)(ii), in 2000, Congress expanded the statutory
         protection for religious exercise by amending RFRA and RLUIPA’s
         definition of “exercise of religion” to include “any exercise of religion,
         whether or not compelled by, or central to, a system of religious belief.”
         42 U.S.C. §§ 2000bb-2(4), 2000cc-5(7)(A). So to the extent that Bryant
         and other cases discussed below applied a narrower definition of
         “religious exercise” that required it to be central to or mandated by a
         person’s faith, Congress has abrogated them. Similarly, RFRA and
         RLUIPA’s definition of “exercise of religion” is broader than O’Lone
         and Freeman’s definition under the Free Exercise Clause. Otherwise,
         Bryant’s discussion of substantial burden remains good law.
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         decisions prior to Smith,” including a Free Exercise Clause
         challenge by a taxpayer, to define substantial burden to
         include “preventing [a person] from engaging in conduct or
         having a religious experience.” Goehring v. Brophy, 94 F.3d
         1294, 1299 (9th Cir. 1996) (quoting Graham, 822 F.2d. at
         850–51, and discussing Bryant); see also Worldwide Church
         of God v. Phila. Church of God, Inc., 227 F.3d 1110, 1121
         (9th Cir. 2000) (citing Bryant’s substantial burden standard
         in a copyright case and concluding that the unauthorized use
         of intellectual property of religious texts was not a
         substantial burden under RFRA); Stefanow v. McFadden,
         103 F.3d 1466, 1471 (9th Cir. 1996) (citing Bryant’s
         standard and finding no substantial burden because an
         incarcerated person was not “prevented” from “engaging in
         any [religious] practices” when the prison confiscated a
         religious text not central to his practice). 12
             Similarly, before and since Navajo Nation, we have
         routinely recognized that preventing religious exercise
         qualifies as a substantial burden under RLUIPA, which
         applies the “same standard” as RFRA, Holt, 574 U.S. at 356–
         57. See Johnson v. Baker, 23 F.4th 1209, 1215–16 (9th Cir.
         2022) (recognizing that prohibiting plaintiff from possessing
         scented prayer oil in his cell substantially burdened his
         religious exercise); Foursquare Gospel, 673 F.3d at 1061,
         1066–70 (recognizing that preventing the plaintiff from
         building a place of worship could constitute a substantial
         burden); Greene v. Solano Cnty. Jail, 513 F.3d 982, 988 (9th

         12
            The Seventh, Eighth, and Tenth Circuits have followed Bryant’s
         interpretation of a substantial burden under RFRA. See Mack v.
         O’Leary, 80 F.3d 1175, 1179 (7th Cir. 1996) (expressly drawing on
         Bryant); Weir v. Nix, 114 F.3d 817, 820 (8th Cir. 1997); Werner v.
         McCotter, 49 F.3d 1476, 1480 (10th Cir. 1995) (citing Bryant).
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         Cir. 2008) (“We have little difficulty in concluding that an
         outright ban on a particular religious exercise”—i.e., a
         “policy of prohibiting [a person] from attending group
         religious worship services”—“is a substantial burden on that
         religious exercise.”); Guru Nanak Sikh Soc’y of Yuba City,
         456 F.3d at 981–82 (holding that a county “imposed a
         substantial burden” on a Sikh organization’s “religious
         exercise” by denying applications from the group for a
         conditional use permit to build a temple); cf. United States v.
         Antoine, 318 F.3d 919, 923–24 (9th Cir. 2003) (assuming
         that “raz[ing]” a “house of worship” to build a freeway
         would be a substantial burden). 13




         13
            Several other circuits also recognize that denying access to or
         preventing religious exercise qualifies as a substantial burden under
         RLUIPA. See Yellowbear v. Lampert, 741 F.3d 48, 55 (10th Cir. 2014)
         (Gorsuch, J.); Haight v. Thompson, 763 F.3d 554, 565 (6th Cir. 2014);
         Lovelace v. Lee, 472 F.3d 174, 187–88 (4th Cir. 2006); Murphy v. Mo.
         Dep’t of Corrs., 372 F.3d 979, 988 (8th Cir. 2004); cf. C.L. for Urb.
         Believers v. City of Chicago, 342 F.3d 752, 761 (7th Cir. 2003). Notably,
         the Tenth Circuit referenced this circuit’s definition of a substantial
         burden when defining it to include preventing religious exercise. See
         Werner, 49 F.3d at 1480 (citing Bryant); Abdulhaseeb v. Calbone, 600
         F.3d 1301, 1313 (10th Cir. 2010) (citing Werner).
              And in a recent RLUIPA case, the Supreme Court stayed the
         execution of an incarcerated person who requested that “his long-time
         pastor be allowed to pray with him and lay hands on him while he is
         being executed.” Ramirez, 595 U.S. at 416; see id. at 426, 433 (holding
         that the state’s refusal to permit audible prayer or religious touch,
         denying him access to his religious rites, “substantially burdens his
         exercise of religion,” because “he will be unable to engage in protected
         religious exercise in the final moments of his life”).
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         E. The Land Transfer Act Substantially Burdens the
            Exercise of Religion
             The foregoing firmly establishes that where the
         government prevents a person from engaging in religious
         exercise, the government has substantially burdened the
         exercise of religion. The plain meaning of RFRA clearly
         reaches such instances. The Free Exercise Clause cases prior
         to Smith so recognized. O’Lone, 482 U.S. at 347–52;
         Graham, 822 F.2d at 850–51. We held as much in our first
         RFRA case. See Bryant, 46 F.3d at 949. And, as Judge
         Bumatay pointed out in his dissent from the order declining
         to enjoin the land transfer pending appeal, this understanding
         is consistent with RLUIPA. See Injunction Order, 2021 U.S.
         App. LEXIS 6562, at *9 (Bumatay, J., dissenting) (“[A]s
         then-Judge Gorsuch wrote [in a RLUIPA case], a substantial
         burden exists when the government ‘prevents the plaintiff
         from participating in an activity motivated by a sincerely
         held religious belief.’” (quoting Yellowbear v. Lampert, 741
         F.3d 48, 55 (10th Cir. 2014))).
             I now turn to whether Apache Stronghold is likely to
         succeed in showing that the transfer and eventual destruction
         of Oak Flat constitutes a substantial burden on the Western
         Apaches’ religious exercise. The district court heard
         extensive testimony about the impact of the land transfer and
         mine. The district court found:

                Because the land embodies the spirit of the
                Creator, “without any of that, specifically
                those plants, because they have that same
                spirit, that same spirit at Oak Flat, that spirit
                is no longer there. And so without that spirit
                of Chí’chil Biłdagoteel, it is like a dead
                carcass.” If the mining activity continues,
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                 Naelyn Pike testified, “then we are dead
                 inside. We can’t call ourselves Apaches.”
                 Quite literally, in the eyes of many Western
                 Apache people, Resolution Copper’s planned
                 mining activity on the land will close off a
                 portal to the Creator forever and will
                 completely devastate the Western Apaches’
                 spiritual lifeblood. . . . [T]he land in this case
                 will be all but destroyed to install a large
                 underground mine, and Oak Flat will no
                 longer be accessible as a place of worship.

         Apache Stronghold, 519 F. Supp. 3d at 604, 606 (citations
         omitted).
             As discussed supra § I(A), the Forest Service, in its now-
         withdrawn EIS, similarly documented the extensive,
         irreversible, and devastating impact of the mine’s
         construction, and how the mining activity would prevent
         Apache worshipers from engaging in religious exercise at
         their religious sites. The crater will start to appear within six
         years of active mining, and the Forest Service concluded that
         the mining activity will cause “immediate” and “permanent”
         destruction of “archaeological sites, tribal sacred sites,
         cultural landscapes, and plant and mineral resources.” In
         addition, once the government publishes its Final EIS,
         regardless of its contents, “the Secretary shall convey” the
         land to Resolution Copper within sixty days. 16 U.S.C.
         § 539p(c)(10) (emphasis added). So once the land transfer
         occurs, Oak Flat will be private property no longer subject
         to RFRA and other federal protections.
             In other words, the land transfer will result in a crater that
         will subsume Oak Flat. The impact of the mining activity on
         sacred sites will be immediate and irreversible. All that will
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         be left is a massive hole and rubble, making the site
         unsuitable for religious exercise. Religious worship will be
         impossible, and the Apaches will be prevented from ever
         again worshipping at Oak Flat. As I have concluded, where
         the government prevents a religious adherent from engaging
         in religious exercise, the government has restricted the
         exercise of religion to a considerable amount. I would
         therefore hold that Apache Stronghold is likely to succeed in
         establishing that transferring Oak Flat to Resolution Copper
         will amount to a substantial burden under RFRA. See 42
         U.S.C. § 2000bb-1(a). Because the district court did not
         determine whether the government could justify that burden
         by demonstrating a compelling interest pursued through the
         least restrictive means, I would remand for the district court
         to make that determination in the first instance. See id.
         § 2000bb-1(b).
         F. Lyng Is Consistent with My Analysis
             i. Lyng and Prohibitions on Free Exercise
             The majority concludes that the destruction of a sacred
         site cannot be a substantial burden but cites no authority
         squarely supporting that proposition. Indeed, the majority
         fails to cite even one case foreclosing a RFRA claim where
         the government completely prevents a person from engaging
         in religious exercise. Confusingly, the majority agrees with
         me that then-Judge Gorsuch correctly held in Yellowbear
         “that ‘prevent[ing] the plaintiff from participating in an
         activity motivated by a sincerely held religious belief’
         qualifies as prohibiting free exercise.” Collins Op. at 33
         (quoting Yellowbear, 741 F.3d at 55). And the majority
         concedes that it is undisputed that the Land Transfer Act will
         categorically prevent the Apaches from participating in any
         worship at Oak Flat because their religious site will be
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         obliterated. See Collins Op. at 23. If the majority agrees
         with Yellowbear’s formulation—which mirrors the one I
         have laid out above in § II(D) (explaining that preventing
         religious exercise is an example of a substantial burden)—
         and agrees that the Apaches will be prevented from
         worshiping at Oak Flat, Apache Stronghold’s claim cannot
         fail. See Injunction Order, 2021 U.S. App. LEXIS 6562, at
         *9–10 (Bumatay, J., dissenting) (relying on Yellowbear to
         conclude that the destruction of Oak Flat is a substantial
         burden). And yet, the majority says that it does.
             Rather than acknowledge this inconsistency, the
         majority relies entirely on a pre-RFRA Free Exercise Clause
         case: Lyng v. Northwest Indian Cemetery Protective
         Association, 485 U.S. 439 (1988). But Lyng cannot bear the
         weight the majority places on it.
             The Supreme Court in Lyng did not analyze whether
         there was a substantial burden under the Free Exercise
         Clause. The case is therefore not inconsistent with my
         RFRA analysis and cannot foreclose Apache Stronghold’s
         statutory claim, which rests on the “substantial burden”
         concept.
             In its retelling of Lyng, the majority omits crucial facts.
         The Lyng plaintiffs challenged the federal government’s
         proposal to permit timber harvesting and build a road
         through part of a national forest that “ha[d] traditionally been
         used for religious purposes by members of three American
         Indian tribes.” 485 U.S. at 441–42. The proposed road
         “avoided archeological sites and was removed as far as
         possible from the sites used by [tribes] for specific spiritual
         activities.” Id. at 443. Unlike here—a fact that the majority
         entirely disregards—“[n]o sites where specific rituals t[ook]
         place were to be disturbed.” Id. at 454. The Lyng plaintiffs
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         continued to have full access to their sacred sites to engage
         in religious exercise, and there were “one-half mile
         protective zones around all the religious sites,” insulating
         them from any logging activity. See id. at 441–43.
         However, because the road and logging activity would
         generally disturb the “privacy,” “silence,” “spiritual
         development,” and the subjective enjoyment of those sacred
         sites, the plaintiffs brought a Free Exercise Clause challenge.
         Id. at 442, 444, 454 (citing the record to note that “successful
         use of the area is dependent upon and facilitated by certain
         qualities of the physical environment, the most important of
         which are privacy, silence, and an undisturbed natural
         setting” (cleaned up)); see id. at 462 (Brennan, J., dissenting)
         (quoting the record to highlight that “silence, the aesthetic
         perspective, and the physical attributes, are an extension of
         the sacredness of [each] particular site”).
             Assuming that the noise and general disturbance from
         logging would “have severe adverse effects” on the
         individuals’ subjective religious experience, the Supreme
         Court held that the government’s actions did not trigger the
         compelling interest test under the Free Exercise Clause. Id.
         at 447, 450–51. Relying on Bowen v. Roy, 476 U.S. 693
         (1986), the Court concluded that the Lyng plaintiffs’
         subjective spiritual harm from the loss of silence and privacy
         was “incidental” to the government’s “internal” affairs.
         Lyng, 485 U.S. at 448, 451. In Roy, the Supreme Court had
         rejected a religious objection to the use of Social Security
         numbers as a numerical identifier that, according to the
         plaintiffs’ religious beliefs, would “‘rob the spirit’ of [their]
         daughter and prevent her from attaining greater spiritual
         power.” 476 U.S. at 696. The Roy Court held that the “Free
         Exercise Clause simply cannot be understood to require the
         Government to conduct its own internal affairs in ways that
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         comport with the religious beliefs of particular citizens.” Id.
         at 699.
             Applying Roy, the Lyng Court explained that the
         plaintiffs’ allegations of spiritual harm “cannot
         meaningfully be distinguished from the use of a Social
         Security number in Roy”:

                  Similarly, in this case, it is said that
                  disruption of the natural environment caused
                  by the . . . road will diminish the sacredness
                  of the area in question and create distractions
                  that will interfere with “training and ongoing
                  religious experience of individuals using
                  [sites within] the area for personal medicine
                  and growth . . . and as integrated parts of a
                  system of religious belief and practice which
                  correlates ascending degrees of personal
                  power with a geographic hierarchy of
                  power.”

         485 U.S. at 448–49 (quoting the record). The Court
         construed the harm in both cases as “subjective” and so
         refused to decide whether the spiritual harm in Roy was
         “significantly greater” than the Lyng plaintiffs’ harm. Id. at
         449. 14


         14
            In rejecting the plaintiffs’ challenge, the Supreme Court did not
         minimize the impact that the road building and logging activity would
         have on the plaintiffs’ “personal spiritual development.” Lyng, 485 U.S.
         at 451. The Court, however, did not wish to weigh the magnitude of the
         subjective spiritual harm. Id. at 449, 451. So it explained that the noise
         and invasion of privacy caused by roadbuilding and logging had only an
         “incidental” constitutional effect under the Free Exercise Clause because
         the government was not “outright prohibit[ing]” religious exercise,
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             Lyng emphasized that the “crucial word in the
         constitutional text [of the Free Exercise Clause] is ‘prohibit’:
         ‘For the Free Exercise Clause is written in terms of what the
         government cannot do to the individual, not in terms of what
         the individual can exact from the government.’” Id. at 451
         (emphasis added) (quoting Sherbert, 374 U.S. at 412
         (Douglas, J., concurring)). The Court therefore concluded
         its analysis by reiterating that “[t]he Constitution does not
         permit [the] government to discriminate against religions
         that treat particular physical sites as sacred, and a law
         prohibiting the Indian respondents from visiting the [sacred]
         area would raise a different set of constitutional questions.”
         Id. at 453 (emphasis added).
             The majority argues that, as in Lyng, the land transfer
         here is not “a situation in which the Government ha[s]
         ‘discriminate[d]’ against the plaintiffs, as might be the case
         if Congress had passed ‘a law prohibiting the Indian
         [plaintiffs] from visiting the [sacred] area.’” Collins Op. at
         31 (quoting Lyng, 485 U.S. at 453). The majority is
         mistaken on two fronts. First, the Land Transfer Act is
         exactly that kind of “prohibitory” law. It is undisputed and
         indisputable that once implemented, the Act will prevent the
         Western Apaches from visiting Oak Flat for eternity. The
         majority concedes this point, but then goes on to argue that
         where government action only “frustrates or inhibits”
         religious exercise, the government does not violate RFRA.

         “indirect[ly] coerc[ing]” an individual to act contrary to their religious
         belief, or “penal[izing]” religious practice. Id. at 450–51 (citing U.S.
         Const. amend. I; Sherbert, 374 U.S. at 404).
              This discussion also highlights that Free Exercise Clause claims are
         not limited to the circumstances presented in Sherbert and Yoder but
         include the broader concept of “prohibitions.” Id. at 450; U.S. Const.
         amend. I.
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         But Apache Stronghold does not argue that the destruction
         of Oak Flat merely “frustrates” their ability to worship there;
         they argue—and the district court found—that worship there
         will be “impossible,” and their spiritual practice will be
         eviscerated. See Apache Stronghold, 519 F. Supp. 3d at 604
         (“Quite literally, in the eyes of many Western Apache
         people, Resolution Copper’s planned mining activity on the
         land will close off a portal to the Creator forever and will
         completely devastate the Western Apaches’ spiritual
         lifeblood.”); id. at 606 (“[T]he land in this case will be all
         but destroyed to install a large underground mine, and Oak
         Flat will no longer be accessible as a place of worship.”).
         So, contrary to the majority, this case does not ask us to
         determine at what point “frustrating” religious exercise
         qualifies as a substantial burden; 15 instead, we are
         confronted only with the utter erasure of a religious practice.
         In other words, the burden here is categorical and thus
         undisputedly “synonymous with ‘prohibit.’” Collins Op. at
         33.


         15
            See, e.g., Braunfeld v. Brown, 366 U.S. 599, 605 (1961) (plurality
         opinion) (no infringement where a law merely “operates so as to make
         the practice of [the individual’s] religious beliefs more expensive”);
         Lakewood, Ohio Congregation of Jehovah’s Witnesses, Inc. v. City of
         Lakewood, 699 F.2d 303, 306 (6th Cir. 1983) (similar); Goehring, 94
         F.3d at 1299; Worldwide Church of God, 227 F.3d at 1121; United States
         v. Friday, 525 F.3d 938, 947 (10th Cir. 2008) (“We are skeptical that the
         bare requirement of obtaining a permit can be regarded as a ‘substantial
         burden’ under RFRA.”); see also Adkins v. Kaspar, 393 F.3d 559, 570
         (5th Cir. 2004) (no infringement where government action “merely
         prevents the adherent from either enjoying some benefit that is not
         otherwise generally available or acting in a way that is not otherwise
         generally allowed”); Abdulhaseeb, 600 F.3d at 1316 (“[W]e do not
         intend to imply that every infringement on a religious exercise will
         constitute a substantial burden.”).
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             Second, that the Land Transfer Act does not specially
         “discriminate” against the Western Apaches by name—i.e.,
         that the Act is neutral and generally applicable to all who
         would visit Oak Flat—is irrelevant because, when enacting
         RFRA, Congress eliminated Smith’s neutrality test. See 42
         U.S.C. § 2000bb(a)(2) (“Congress finds that . . . laws
         ‘neutral’ toward religion may burden religious exercise as
         surely as laws intended to interfere with religious
         exercise.”). All that matters under RFRA, as opposed to the
         Free Exercise Clause, is whether the government has
         “substantially burden[ed]” sincere religious exercise. Id.
         § 2000bb-1(a).       The majority thus misunderstands
         Congress’s purpose in enshrining a broad right to religious
         liberty by eliminating Smith’s neutrality requirement.
             The majority argues that such a reading of RFRA is too
         “broad.” But a clear-cut conclusion that making religious
         exercise impossible is a “substantial burden” can hardly be
         called broad, especially when it adheres closely to both
         RFRA’s text and the Supreme Court’s precedent. The
         majority also contends that claims like Apache Stronghold’s
         would subject the government to “religious servitude.” Yet
         the majority proceeds as if, once a religious adherent has
         satisfied the substantial burden test, the outcome is a
         foregone conclusion.        However, Congress explicitly
         identified the compelling interest test as “a workable test for
         striking sensible balances between religious liberty and
         competing prior governmental interests.”           42 U.S.C.
         § 2000bb(a)(5).
             At this stage, Apache Stronghold has only proven that
         there is a substantial burden. On remand, the government
         could demonstrate that transferring Oak Flat is justified by a
         compelling interest pursued through the least restrictive
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         means. 16 See Thomas v. Rev. Bd. of Ind. Emp. Sec. Div., 450
         U.S. 707, 718 (1981) (“The mere fact that the petitioner’s
         religious practice is burdened by a governmental program
         does not mean that an exemption accommodating his
         practice must be granted. The state may justify an inroad on
         religious liberty by showing that it is the least restrictive
         means of achieving some compelling state interest.”); see
         also Gonzales, 546 U.S. at 430, 436 (rejecting the
         government’s “slippery slope” argument under RFRA, and
         noting that Sherbert did so under the Free Exercise Clause);
         cf. Cutter, 544 U.S. at 722 (stating that the Supreme Court
         had “no cause to believe” that the compelling interest test
         “would not be applied in an appropriately balanced way”).
         So although Lyng did not specifically address government
         action that prevented religious exercise, contrary to the

         16
            The compelling interest test has not proven fatal to the government.
         See Douglas Laycock & Thomas C. Berg, Protecting Free Exercise
         Under Smith and After Smith, Cato Sup. Ct. Rev. at 44–45 & n.66
         (2020–21) (noting that “the compelling-interest standard has not come
         close to producing the ‘anarchy’ of which Smith warned” and finding
         that “free-exercise claims, including RFRA claims, were the least likely
         to invalidate the government action” (citing Adam Winkler, Fatal in
         Theory and Strict in Fact: An Empirical Analysis of Strict Scrutiny in the
         Federal Courts, 59 Vand. L. Rev. 793, 857–58, 861 (2006))).
              And if the majority were correct that my reading of RFRA would
         subject the government to “religious servitude,” then we would
         necessarily have seen that concern play out in circuits that have long
         employed a broader reading of “substantial burden.” Neither the
         government nor the majority provide evidence that other circuits are
         inundated with such claims, and I have found no evidence hinting at that
         possibility. Cf. Yellowbear, 741 F.3d at 62 (Gorsuch, J.) (rejecting
         slippery slope argument). In addition, before Smith, the government was
         not yoked to religious deference—as the majority and the government
         fears it would be—even though the Supreme Court had read the Free
         Exercise Clause to cover claims about preventing religious exercise.
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         majority’s assertions, Lyng’s discussion of “discrimination”
         by “prohibiting” access to a sacred site confirms that the
         Land Transfer Act creates a substantial burden.
             ii. Lyng’s Post-RFRA Limits
            Moreover, to the degree Lyng’s Free Exercise ruling is
         in any tension with my understanding of RFRA, those
         aspects of Lyng were not carried forward into RFRA. Smith
         makes that much evident, as it treats Lyng as declining to
         apply the compelling interest test to a neutral law of general
         applicability, and RFRA displaced that standard for
         governmental decisions governed by RFRA.
             Smith held that Lyng “declined to apply Sherbert analysis
         to the Government’s logging and road construction activities
         on lands used for religious purposes by several Native
         American Tribes, even though it was undisputed that the
         activities ‘could have devastating effects on traditional
         Indian religious practices.’” Smith, 494 U.S. at 883 (quoting
         Lyng, 485 U.S. at 451). Per Smith, Lyng stood for the
         proposition that the compelling interest test is “inapplicable”
         to “across-the-board” neutral laws. Smith, 494 U.S. at 884–
         85. In declining to apply the compelling interest test, Smith
         relied on Lyng for the point that “[t]he government’s ability
         to enforce generally applicable prohibitions of socially
         harmful conduct, like its ability to carry out other aspects of
         public policy, ‘cannot depend on measuring the effects of a
         governmental action on a religious objector’s spiritual
         development.’” Smith, 494 U.S. at 885 (quoting Lyng, 485
         U.S. at 451). Smith then concluded that “generally
         applicable, religion-neutral laws that have the effect of
         burdening a particular religious practice need not be justified
         by a compelling governmental interest.” Id. at 886 n.3.
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            In so holding, Smith emphatically rejected Justice
         O’Connor’s concurrence suggesting that Lyng created an
         exception for Free Exercise challenges to the government’s
         conduct of its internal affairs. 494 U.S. at 885 n.2. 17
             The Smith majority first acknowledged that “Justice
         O’Connor seeks to distinguish Lyng and Roy on the ground
         that those cases involved the government’s conduct of ‘its
         own internal affairs.’” Id. (citations omitted). Smith then
         considered Justice O’Connor’s position that challenges to
         the government’s conduct of its internal affairs are “different
         because, as Justice Douglas said in Sherbert, ‘the Free
         Exercise Clause is written in terms of what the government
         cannot do to the individual, not in terms of what the
         individual can exact from the government.’” Id. (internal
         quotation marks and citation omitted). “But,” said the Smith
         majority in refuting the internal affairs proposition, “that
         quote obviously envisioned that what ‘the government
         cannot do to the individual’ includes not just the prohibition
         of an individual’s freedom of action through criminal laws
         but also the running of its programs . . . in such fashion as to
         harm the individual’s religious interests.” Id. “Moreover,”
         Smith continued, “it is hard to see any reason in principle or
         practicality why the government should have to tailor its
         health and safety laws to conform to the diversity of religious
         belief, but should not have to tailor its management of public
         lands, Lyng, supra.” Id. (emphasis added). 18



         17
              Judge Nelson’s concurring opinion so recognizes.
         18
           As the Smith majority alluded to, it is hard to see how an exception
         permitting the government to substantially burden religious exercise
         when “manag[ing] its internal affairs,” Nelson Op. at 148, would not
         encompass most government action and indeed swallow RFRA whole.
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            Smith treated Lyng as reflecting not any special
         exception for challenges to the government’s internal affairs,
         but as concerning the type of neutral and generally
         applicable laws not subject to the compelling interest test
         under Smith. Id. at 884–85 (citing Lyng, 485 U.S. at 451).
         Smith’s understanding of Lyng remains controlling. See
         Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1878 (2021)
         (“Smith . . . drew support for the neutral and generally
         applicable standard from cases involving internal
         government affairs.” (citing Lyng, 485 U.S. at 439)).
             Accordingly, Lyng was not about measuring the extent
         of burdens sufficient to trigger the compelling interest test.
         Nor was Lyng, as the majority and concurring opinions posit,
         a case concerning the borders of the Free Exercise Clause or
         a special carve-out category of government actions that were
         not covered by Smith. Instead, Lyng reflected the principle,
         further developed in Smith and rejected in RFRA, that the
         compelling interest test was categorically inapplicable to
         neutral and generally applicable laws. See Smith, 494 U.S.
         at 884–85; Fulton, 141 S. Ct. at 1878.
             Smith’s controlling interpretation of Lyng thus makes
         clear that (1) Lyng turned on the categorical inapplicability
         of the compelling interest test to the Free Exercise challenge
         in that case; and (2) the reason the compelling interest test
         was inapplicable in Lyng was that “the test [is] inapplicable
         to such challenges” to generally applicable laws. Smith, 494
         U.S. at 885. RFRA’s rejection of Smith’s rule—that the
         compelling interest test is inapplicable to neutral and
         generally applicable laws—means that Lyng likewise does
         not control in RFRA cases.
             The majority’s flawed response to this point is that Lyng
         did not involve a neutral or generally applicable law. Collins
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         Op. at 35–36. But that proposition is wrong. Indeed,
         elsewhere in its opinion, the majority asserts, accurately, that
         Lyng did not involve “a situation in which the Government
         had ‘discriminate[d]’ against the plaintiffs, as might be the
         case if Congress had passed ‘a law prohibiting the Indian
         [plaintiffs] from visiting the [sacred] area.’” Collins Op. at
         31 (quoting Lyng, 485 U.S. at 453). A law that “does not
         ‘discriminate’ against religious adherents,” like the policy in
         Lyng, is a neutral one for purposes of Free Exercise doctrine.
         See Church of the Lukumi Babalu Aye, 508 U.S. at 533
         (explaining that a “law is not neutral” if “the object of a law
         is to infringe upon or restrict practices because of their
         religious motivation” (citing Smith, 494 U.S. at 878–89)).
         The plan to build the road at issue in Lyng was indisputably
         neutral in this sense, as it would affect equally all who
         preferred      leaving     the    wilderness      untouched—
         environmentalists, for example, or ranchers.
              Nor is the majority correct that the policy challenged in
         Lyng was not generally applicable. In Lyng, the Forest
         Service proposed building a road connecting two towns and
         permitting timber harvesting in the same area; the road
         would be open to all, and there was no suggestion that the
         purpose of the Forest Service’s plan was to discriminate
         against Native American tribes. Indeed, the Forest Service
         took steps to mitigate the impact on tribes by “select[ing] a
         route that avoided archeological sites and was removed as
         far as possible from the sites used by [tribes] for specific
         spiritual activities.” Lyng, 485 U.S. at 443. While the
         litigation in Lyng was pending in the court of appeals,
         Congress enacted the California Wilderness Act, which
         designated portions of the forest as a protected wilderness
         area but excluded the proposed route. Id. at 444. While the
         choice of the route in the Act was made with knowledge of
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         the tribes’ religious interest in it, there was no indication that
         it was made because of, rather than in disregard of, that
         interest, and the impact of the choice remained generally
         applicable and neutral. 19
             In short, the plan to construct a road and harvest timber
         in Lyng was generally applicable and “‘neutral’ toward
         religion” in the sense that its purpose was not to “interfere
         with religious exercise.”        42 U.S.C. § 2000bb(a)(2).
         Therefore Lyng, a Free Exercise Clause case that rejected the
         compelling interest test for neutral laws of general
         applicability, does not answer the question of whether, under
         RFRA, preventing a person from engaging in religious
         exercise by denying them access to a sacred site is a
         substantial burden.
              iii. Terry Williams Is Inapplicable Here
             There is another, related problem with the majority’s
         treatment of Lyng. Relying on Williams v. Taylor, 529 U.S.
         362, 411 (2000) (“Terry Williams”), the majority
         erroneously proceeds as if Congress must be understood to
         have adopted the term “substantial burden” as interpreted in
         Justice O’Connor’s concurrence in Smith, and so excepted
         cases similar to Lyng from that concept.
             Terry Williams explained that “Congress need not
         mention a prior decision of this Court by name in a statute’s
         text in order to adopt either a rule or a meaning given a

         19
           Moreover, even if the majority were correct as to the impact of the
         California Wilderness Act, that would be beside the point. Lyng
         involved a challenge to the Forest Service’s plan to construct the road
         and harvest timber, not to the California Wilderness Act. See Lyng, 485
         U.S. at 448; Collins Op. at 28 (acknowledging that the California
         Wilderness Act was not enacted until the litigation in Lyng “was pending
         on appeal in this court”).
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         certain term in that decision.” 529 U.S. at 411. Where “[t]he
         separate opinions” in a prior Supreme Court case “concerned
         the very issue addressed” in a subsequently enacted statute,
         the prior case can “confirm what [the statutory] language
         already makes clear.” Id. at 411–12. But the majority
         opinion’s premises for applying Terry Williams here are
         flawed.
             First, the majority here is wrong that Smith “concerned
         the very issue” of what constitutes a cognizable substantial
         burden. The majority opinion asserts that “in superseding
         Smith, RFRA uses the phrase ‘substantially burden,’ id.
         § 2000b-1(a), (b),” so “[t]he inference is overwhelming that
         Congress thereby ‘adopt[ed]’ the ‘meaning given [that]
         certain term in that decision.’” Collins Op. at 48 (quoting
         Terry Williams, 529 U.S. at 411). From that premise, the
         majority concludes that “[w]hen Congress copied the
         ‘substantial burden’ phrase into RFRA, it must be
         understood as having similarly adopted the limits that Lyng
         places on what counts as a governmental imposition of a
         substantial burden on religious exercise.”
             But as Judge Nelson’s concurring opinion appears to
         acknowledge, neither Lyng nor the Smith majority
         interpreted the term “substantial burden.” Nelson Op. at
         140. Lyng simply refused to apply the compelling interest
         test. See 485 U.S. at 450–51 (explaining that Sherbert and
         Yoder “cannot imply that incidental effects of government
         programs,” without outright prohibition, coercion, or
         penalty, “require government to bring forward a compelling
         justification”); see also Smith, 494 U.S. at 883. Thus, Judge
         Nelson writes that Lyng is not

                part of any “old soil” that was used to define
                “substantial burden,” Bea Dissent at 79.
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                Indeed, Lyng does not even use “substantial
                burden” or any analogous framing of the
                phrase. Lyng therefore cannot be read as
                establishing a precise definition of
                “substantial burden” “carried over into the
                soil” of RFRA.

         Nelson Op. at 141 (citation omitted).
             Likewise, Smith was about categorically excepting
         neutral and generally applicable laws from the compelling
         interest test, rather than about defining the term “substantial
         burden.” See 494 U.S. at 884–85; see also supra § II(F)(ii)
         (discussing Justice O’Connor’s Smith concurrence and
         explaining that the Smith majority did not apply the
         compelling interest test). Although Justice O’Connor’s
         concurring opinion took the position that the denial of
         unemployment benefits based on religious drug use
         constituted a substantial burden, she did not rely on Lyng in
         her discussion of that term. See Smith, 494 U.S. at 897–98
         (O’Connor, J., concurring in the judgment). Moreover, the
         Smith majority never reached the question of what types of
         burdens would be required to satisfy the first step of the
         Sherbert test. Instead, it concluded that the test was entirely
         “inapplicable” in cases challenging neutral, generally
         applicable laws. See Smith, 494 U.S. at 884–85. So there
         was no “vigorous debate” in Smith on the meaning of the
         term substantial burden, contrary to the majority’s
         representation.
             Furthermore, Terry Williams involved a situation in
         which Congress did “not mention a prior decision of this
         Court by name in a statute’s text.” 529 U.S. at 411. That is
         not the circumstance here. Instead, RFRA explicitly
         identified which portion of Smith Congress sought to
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         address. Congress declared that “in Employment Division v.
         Smith, the Supreme Court virtually eliminated the
         requirement that the government justify burdens on religious
         exercise imposed by laws neutral toward religion.” 42
         U.S.C. § 2000bb(a)(4) (citation omitted). Congress’s view,
         by contrast, was that “laws ‘neutral’ toward religion may
         burden religious exercise as surely as laws intended to
         interfere with religious exercise.” Id. § 2000bb(a)(2).
         Consequently, although the majority opinion points to
         RFRA’s citation to Smith as reinforcing its holding, the
         appropriate conclusion is the opposite: Congress was
         specific about the aspect of Smith that it intended to
         address—the rule that neutral and generally applicable laws
         are not subject to the compelling interest test. Congress
         could not have, by expressly citing Smith in the course of
         negating its exception for neutral and generally applicable
         laws, intended to incorporate the “meaning given a certain
         term,” Terry Williams, 529 U.S. at 411, when that term
         simply was not at issue in Smith.
            The upshot is that RFRA’s text does not support the
         majority’s conclusion that Congress intended a special
         exception for certain types of government actions. Rather,
         RFRA is explicit that:

               •   Religious exercise includes the use of real property
                   for the purpose of religious exercise. 42 U.S.C.
                   § 2000bb-2(4); Id. § 2000cc-5(7)(B).
               •   Under RFRA, the “[g]overnment shall not
                   substantially burden a person’s exercise of religion”
                   except when the compelling interest test is satisfied.
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                 Id. § 2000bb-1(a), (b).    No other exceptions are
                 provided.
             •   Government “includes a branch, department, agency,
                 instrumentality, and official (or other person acting
                 under color of law) of the United States, or of a
                 covered entity.” Id. § 2000bb-2(1).
             •   RFRA “applies to all Federal law, and the
                 implementation of that law, whether statutory or
                 otherwise.” Id. § 2000bb-3(a) (emphasis added)
             •   “Nothing in” RFRA “shall be construed to authorize
                 any government to burden any religious belief.” Id.
                 § 2000bb-3(c). Here, Congress used the term
                 “burden” rather than “substantial burden.”
             •   “[T]he compelling interest test as set forth in prior
                 Federal court rulings is a workable test for striking
                 sensible balances between religious liberty and
                 competing prior governmental interests.”           Id.
                 § 2000bb(a)(5).

             Given these congressional directives, unlike in Terry
         Williams, this is not a case in which reference to Smith can
         “confirm what” RFRA’s statutory “language already makes
         clear.” Terry Williams, 529 U.S. at 411–12. Rather, for the
         reasons I have surveyed, what RFRA’s language makes clear
         is that there is a “substantial burden” when individuals are
         prevented from practicing their religion by governmental
         action; if Lyng indicates otherwise (which I do not believe),
         that implication of Lyng does not survive RFRA.
         G. This En Banc Panel Fails to Clarify Our Law
             “As an en banc court, we have a responsibility to bring
         clarity to our law.” Garfias-Rodriguez v. Holder, 702 F.3d
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         504, 532 (9th Cir. 2012) (en banc) (Kozinski, C.J.,
         concurring in part). Notably, although the divided three-
         judge panel rejected Apache Stronghold’s RFRA claim
         largely under Navajo Nation, the majority makes no mention
         of that case. Instead, litigants are forced to piece together
         from a composite of opinions that a majority of judges on
         this en banc panel rejects Navajo Nation’s reasoning.
             Furthermore, the majority opinion creates confusion as
         to how to define “substantial burden.” Although RFRA’s
         text simply provides that the federal government may not
         “substantially burden a person’s exercise of religion,” 42
         U.S.C. § 2000bb-1(a), the majority skips the test entirely and
         asks only whether litigants bring a “cognizable” claim. As I
         have discussed, see supra § II(E), preventing religious
         adherents from worshipping at a sacred site is inherently
         prohibitory. For the majority, only once a litigant has shown
         that the government action is cognizably “prohibitory” can a
         court ask whether there is a “substantial burden.” At that
         point, the majority finds it “adequate[]” to apply a dictionary
         definition of “substantial burden” in the context of zoning
         and confinement under both RFRA and RLUIPA, but not in
         other RFRA contexts. Collins Op. at 52. But this answer is
         not helpful. Under the majority’s approach, dictionaries can
         supply the meaning of substantial burden in RFRA cases
         about zoning and confinement, but dictionaries appear to be
         irrelevant when a person challenges a different type of
         government action—as Apache Stronghold does here.
         Either the meaning of “substantial burden” is the same under
         RFRA and RLUIPA, or the definition under RFRA is case-
         dependent. It cannot be both.
             And the majority provides no authority for this sort of
         distinction. Nor could it. If the meaning of “substantial
         burden” turned on the type of case, several Supreme Court
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         Free Exercise Clause cases would have lacked any
         discussion of substantial burden or compelling interest. See,
         e.g., Hernandez, 490 U.S. at 684–85, 699 (discussing
         substantial burden and concluding the government had a
         compelling justification in a Free Exercise Clause challenge
         to the Internal Revenue Service’s refusal to recognize
         payments made by Scientologists to churches as tax-
         deductible charitable contributions).
             The majority’s shapeshifting definition of substantial
         burden also finds no support in RFRA’s and RLUIPA’s text.
         RLUIPA’s land-use provision states that “[n]o government
         shall impose or implement a land use regulation in a manner
         that imposes a substantial burden on the religious exercise of
         a person.” 42 U.S.C. § 2000cc(a)(1) (emphasis added). And
         the institutionalized persons provision likewise states that
         “[n]o government shall impose a substantial burden on the
         religious exercise of a person residing in or confined to an
         institution.” Id. § 2000cc-1(a) (emphasis added). The
         majority argues that RLUIPA incorporates or “bake[s] in”
         the Free Exercise Clause’s “prohibition” requirement. But
         RLUIPA’s text does not use the word “prohibit,” so it is hard
         to see how RLUIPA incorporates the Free Exercise Clause
         in a way that RFRA does not. Compare id., with § 2000bb-
         1(a) (“Government shall not substantially burden a person’s
         exercise of religion.”).
             Nor does the majority meaningfully distinguish the
         coercion inherent in land-use cases from the coercion here.
         For instance, the majority contends that in the land-use
         context, the Free Exercise Clause’s “prohibition”
         requirement is inherent. Collins Op. at 52. But if a city
         precludes the building of a church on a parcel zoned for
         single-family dwellings, the city is not conditioning a benefit
         on forgoing religious exercise nor is it penalizing religious
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         exercise. So how is the city’s zoning law “inherently . . .
         coercive” in a way that the Land Transfer Act and the
         destruction of Oak Flat is not? The majority offers little
         guidance to litigants wondering what governmental actions
         are sufficiently “coercive” to allow for a substantial burden
         analysis.
             Indeed, contrary to what the majority says, Apache
         Stronghold’s RFRA claim “inherently involve[s] coercive
         restrictions.” Collins Op. at 52. As Judge Berzon noted in
         her panel dissent, Native American sacred sites—like the
         contexts of land-use and confinement—are unique in that
         “the government controls access to religious locations and
         resources.” Apache Stronghold, 38 F.4th at 776 (Berzon, J.,
         dissenting) (citing Stephanie Hall Barclay and Michalyn
         Steele, Rethinking Protections for Indigenous Sacred Sites,
         134 Harv. L. Rev. 1294, 1301 (2021)). In each of these
         contexts the government has control over religious sites and
         resources, and religious adherents must “practice their
         religion in contexts in which voluntary choice is not the
         baseline.” Id. As with the Western Apaches here, Native
         American religions are typically land-based, so many
         traditional Native American religious sites are located
         exclusively on federal land. Therefore, unlike most non-
         incarcerated Americans, Native Americans are “at the mercy
         of government permission to access sacred sites.” Id.
         (quoting Barclay & Steele, supra, at 1301); see also Douglas
         Laycock & Thomas C. Berg, Protecting Free Exercise
         Under Smith and After Smith, Cato Sup. Ct. Rev. at 33, 58
         (2020–21) (arguing that the government “took control over
         the tribes’ ability to practice their traditions fully—in
         somewhat the same way that prisons control [incarcerated
         persons’] ability to practice their faith”). The Land Transfer
         Act thus prevents the Apaches from practicing their religion
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         at Oak Flat, substantially burdening their religious exercise,
         just as would an outright ban of religious worship, meetings,
         or diet in prison, or a zoning law precluding a religious group
         from building a mosque, church, or synagogue. In other
         words, the government’s control over access to Oak Flat is
         coercive, and few other religious adherents are situated
         similarly to the Apache such that they need the government’s
         permission to worship.
         H. RFRA Applies to the Land Transfer Act
             For the first time in its Brief in Opposition to Rehearing
         En Banc, the government urges this court to affirm on the
         alternative ground that, under the legislative anti-
         entrenchment principle, RFRA cannot apply to the Land
         Transfer Act. Because the government did not raise that
         argument before the district court, and did not develop it on
         appeal, I would normally consider such eleventh-hour
         arguments waived. See Partenweederei, MS Belgrano v.
         Weigel, 313 F.2d 423, 425 (9th Cir. 1962). However, the
         issue is purely legal, and the government could and likely
         would raise the argument to the district court on remand. See
         Janes v. Wal-Mart Stores Inc., 279 F.3d 883, 888 n.4 (9th
         Cir. 2002). So for the sake of judicial efficiency, I address
         it now.
             RFRA applies to “all Federal” statutes enacted after
         RFRA’s adoption “unless such [later-enacted] law explicitly
         excludes such application by reference.” 42 U.S.C.
         § 2000bb-3(b). The government argues that § 2000bb-3(b)
         holds no force whatsoever and instead maintains the Land
         Transfer Act supersedes RFRA because “one legislature
         cannot abridge the powers of a succeeding legislature.”
         Fletcher v. Peck, 10 U.S. (6 Cranch) 87, 135 (1810)
         (Marshall, C.J.). Generally, under the legislative anti-
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         entrenchment doctrine, a prior Congressional enactment
         “may be repealed, amended, or disregarded by the legislature
         which enacted it, and is not binding upon any subsequent
         legislature.” United States v. Winstar Corp., 518 U.S. 839,
         873 (1996) (cleaned up).
             The Supreme Court has held, however, that “RFRA
         operates as a kind of super statute” because it applies to all
         federal statutes and thus “displac[es] the normal operation of
         other federal laws.” Bostock, 140 S. Ct. at 1754. In two
         RFRA cases, the Supreme Court accordingly determined
         that RFRA was controlling even though it conflicted with
         later-enacted federal law. See Little Sisters of the Poor v.
         Pennsylvania, 140 S. Ct. 2367, 2383 (2020) (applying RFRA
         to the Affordable Care Act (“ACA”), a later-enacted statute,
         because the “ACA does not explicitly exempt RFRA”);
         Hobby Lobby, 573 U.S. at 719 n.30 (rejecting an implied
         repeal argument for the same reason). And as the Seventh
         and Eleventh Circuits have recognized, RFRA is consistent
         with the anti-entrenchment principle because “the statute
         does not apply to a subsequently enacted law if it ‘explicitly
         excludes such application by reference to’” RFRA. Korte,
         735 F.3d at 672–73 (cleaned up) (quoting 42 U.S.C.
         § 2000bb-3(b)); accord Cheffer v. Reno, 55 F.3d 1517, 1522
         n.10 (11th Cir. 1995). In other words, because a majority of
         Congress can preclude the application of RFRA to any
         subsequently-enacted statute, Congress “remains free to
         repeal the earlier statute, to exempt the current statute from
         the earlier statute, to modify the earlier statute, or to apply
         the earlier statute but as modified.” Dorsey v. United States,
         567 U.S. 260, 274 (2012). 20 RFRA does not therefore limit

         20
           Neither Judge Bea’s concurrence nor the government explain why we
         should depart from Korte and Cheffer and create a circuit split. See
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         the authority of future Congresses and so does not violate the
         anti-entrenchment principle. See Little Sisters of the Poor,
         140 S. Ct. at 2383 (RFRA “permits Congress to exclude
         statutes from RFRA’s protections.” (citing 42 U.S.C.
         § 2000bb-3(b))).
             I note that RFRA’s express exemption provision is no
         different from the one contained in the Administrative
         Procedure Act (“APA”), which the Supreme Court
         considered in Marcello v. Bonds, 349 U.S. 302, 310 (1955).
         The question in Marcello was whether the Immigration and
         Nationality Act (“INA”) satisfied the APA’s requirement
         that any exemptions from its procedures be “express[],” such
         that the APA was inapplicable to deportation proceedings.
         349 U.S. at 305–10. The INA section at issue provided that
         “[t]he procedure (herein prescribed) shall be the sole and
         exclusive procedure for determining the deportability of an
         alien under this section.” Marcello, 349 U.S. at 309
         (emphasis added) (quotation marks omitted). The Supreme
         Court explained that this textual provision was a “clear and
         categorical direction” that the INA “was meant to exclude
         the application of the” APA. Id.
             In other words, the Supreme Court held that the INA did
         not need to explicitly mention the APA or use a “magical
         password[]” to supersede the APA’s express repeal
         provision. Id. at 309–10. The INA’s express inclusion of a
         “notwithstanding” clause—i.e., “notwithstanding the
         provisions of any other law”—was sufficient. Id. Consistent
         with Marcello, we have recognized the inclusion of a
         “notwithstanding” clause as “a method—akin to an express

         Kelton Arms Condo. Owners Ass’n, Inc. v. Homestead Ins. Co., 346 F.3d
         1190, 1192 (9th Cir. 2003) (“[W]e decline to create a circuit split unless
         there is a compelling reason to do so.”).
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         reference to the superseded statute—by which Congress can
         demonstrate that it intended to partially repeal an [earlier]
         Act.” United States v. Novak, 476 F.3d 1041, 1052 (9th Cir.
         2007) (en banc) (cleaned up).
             In short, for a statute to exempt itself from RFRA, a
         simple majority of Congress need only exempt that later-
         enacted statute from RFRA under 42 U.S.C. § 2000bb-3(b),
         either by referencing RFRA specifically or by including
         some variation of a “notwithstanding any other law”
         provision under Marcello. See Lujan-Armendariz v. I.N.S.,
         222 F.3d 728, 747 (9th Cir. 2000), overruled on other
         grounds by Nunez-Reyes v. Holder, 646 F.3d 684 (9th Cir.
         2011) (en banc). Such a requirement does not require a
         “magical password” to supersede RFRA, nor does it violate
         the legislative anti-entrenchment principle. Marcello, 349
         U.S. at 309–10; see Korte, 735 F.3d at 672–73.
             Here, the Land Transfer Act cannot escape RFRA’s
         reach. It neither explicitly exempts itself from RFRA, nor
         does it contain a “notwithstanding any other law” provision
         of any kind. See 16 U.S.C. § 539p. At the same time, had
         Congress wanted to exempt the Land Transfer Act from
         RFRA, it knew how to do so. The Land Transfer Act
         includes a specific exemption from another statute—the
         Federal Land Policy and Management Act of 1976—
         reinforcing that Congress could have, but did not, enact a
         similar exemption from RFRA.                 See 16 U.S.C.
         § 539p(c)(5)(B)(ii) (“The Secretary may accept a payment in
         excess of 25 percent of the total value of the land or interests
         conveyed, notwithstanding section 206(b) of the Federal
         Land Policy and Management Act of 1976 (43 U.S.C.
         1716(b)).” (emphasis added)). If Congress meant to exempt
         the Land Transfer Act from RFRA, Congress could and
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         would have done so explicitly. Accordingly, RFRA applies
         to the Land Transfer Act.
                               III. Conclusion
             The majority tragically errs in rejecting Apache
         Stronghold’s RFRA claim solely under Lyng. Lyng does not
         answer the question here, where we are faced with
         government action that will result in a massive hole
         obliterating Oak Flat and categorically preventing the
         Western Apaches from ever again communing with Usen
         and the Ga’an, the very foundation of the Apache religion.
         The effect will be immediate and irreversible. Under RFRA,
         preventing religious adherents from engaging in sincere
         religious exercise undeniably constitutes a “substantial[]
         burden.” 42 U.S.C. § 2000bb-1(a). RFRA’s plain text
         encompasses such claims, and the Supreme Court’s and our
         jurisprudence have long so recognized.
             I would therefore hold that, at this stage, Apache
         Stronghold has shown that it is likely to succeed on the
         merits of its RFRA claim, and I would remand for the district
         court to determine whether the Land Transfer Act is justified
         by a compelling interest pursued through the least restrictive
         means. 42 U.S.C. § 2000bb-1(b). Because the majority
         holds the opposite, I respectfully dissent.


         LEE, Circuit Judge, dissenting:

            Chief Judge Murguia’s excellent dissent lays out why
         Navajo Nation v. United States Forest Service, 535 F.3d
         1058 (9th Cir. 2008) (en banc), incorrectly defined
         “substantial burden” as a narrow term of art. Simply put, the
         complete obliteration of the land—which the Western
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         Apache consider sacred and where they have worshipped
         and conducted ceremonies for at least a millennium—
         obviously imposes a substantial burden on the Apache’s
         religious exercise.
             I join Chief Judge Murguia’s dissent except for Section
         II.H. I do not believe we should address the merits of the
         government’s last-minute argument that the Religious
         Freedom Restoration Act cannot apply to the Land Transfer
         Act. The government did not bother raising this difficult
         question before the district court or on appeal. Rather, the
         government advanced this argument for the first time in its
         brief opposing rehearing en banc, and now asks the en banc
         panel to rule in its favor on this newly developed argument.
         The government infrequently shows any grace when people
         miss deadlines or do not follow its rules. Cf. Niz-Chavez v.
         Garland, 141 S. Ct. 1474, 1486 (2021) (“If men must turn
         square corners when they deal with the government, it
         cannot be too much to expect the government to turn square
         corners when it deals with them.”). I would not show any
         leniency to the government and would consider this
         argument waived.
